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                               EXHIBIT 4
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                                            Exhibit 4
                                    Westchester Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                    Name                          Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 9/16/2018 Ajani Smith                     $9.00   50.13   $   11.00   $   100.27   $    55.73   $   156.00
  6/2/2019 Ajani Smith                     $9.00   57.67   $   12.00   $   173.00   $   106.00   $   279.00
  6/9/2019 Ajani Smith                     $9.00   69.23   $   12.00   $   207.70   $   175.40   $   383.10
 6/16/2019 Ajani Smith                     $9.00   68.25   $   12.00   $   204.75   $   169.50   $   374.25
 6/23/2019 Ajani Smith                     $9.00   68.53   $   12.00   $   205.60   $   171.20   $   376.80
 6/30/2019 Ajani Smith                     $9.00   70.00   $   12.00   $   210.00   $   180.00   $   390.00
  7/7/2019 Ajani Smith                    $10.00   56.98   $   12.00   $   113.97   $   101.90   $   215.87
 7/14/2019 Ajani Smith                    $10.00   68.93   $   12.00   $   137.87   $   173.60   $   311.47
 7/21/2019 Ajani Smith                    $10.00   68.75   $   12.00   $   137.50   $   172.50   $   310.00
 7/28/2019 Ajani Smith                    $10.00   68.78   $   12.00   $   137.57   $   172.70   $   310.27
  8/4/2019 Ajani Smith                    $10.00   69.05   $   12.00   $   138.10   $   174.30   $   312.40
 8/11/2019 Ajani Smith                    $10.00   69.55   $   12.00   $   139.10   $   177.30   $   316.40
 8/18/2019 Ajani Smith                    $10.00   69.15   $   12.00   $   138.30   $   174.90   $   313.20
 8/25/2019 Ajani Smith                    $10.00   69.52   $   12.00   $   139.03   $   177.10   $   316.13
  9/1/2019 Ajani Smith                    $10.00   69.47   $   12.00   $   138.93   $   176.80   $   315.73
  9/8/2019 Ajani Smith                    $10.00   57.47   $   12.00   $   114.93   $   104.80   $   219.73
 9/15/2019 Ajani Smith                    $10.00   59.02   $   12.00   $   118.03   $   114.10   $   232.13
 12/8/2019 Alberto Peralta Guzman         $10.00   57.52   $   12.00   $   115.03   $   105.10   $   220.13
12/15/2019 Alberto Peralta Guzman         $10.00   58.10   $   12.00   $   116.20   $   108.60   $   224.80
12/22/2019 Alberto Peralta Guzman         $10.00   59.50   $   12.00   $   119.00   $   117.00   $   236.00
12/29/2019 Alberto Peralta Guzman         $10.00   47.28   $   12.00   $    94.57   $    43.70   $   138.27
  1/5/2020 Alberto Peralta Guzman         $10.00   49.13   $   13.00   $   147.40   $    59.37   $   206.77
 1/12/2020 Alberto Peralta Guzman         $10.00   58.92   $   13.00   $   176.75   $   122.96   $   299.71
 1/19/2020 Alberto Peralta Guzman         $10.00   58.42   $   13.00   $   175.25   $   119.71   $   294.96
 1/26/2020 Alberto Peralta Guzman         $10.00   57.72   $   13.00   $   173.15   $   115.16   $   288.31
11/24/2019 Alberto Rabanales              $12.00   48.83   $   12.00                $    53.00   $    53.00
 12/1/2019 Alberto Rabanales              $12.00   48.50   $   12.00                $    51.00   $    51.00
 12/8/2019 Alberto Rabanales              $12.00   58.18   $   12.00                $   109.10   $   109.10
12/15/2019 Alberto Rabanales              $12.00   58.50   $   12.00                $   111.00   $   111.00
12/22/2019 Alberto Rabanales              $12.00   58.85   $   12.00                $   113.10   $   113.10
12/29/2019 Alberto Rabanales              $12.00   47.30   $   12.00                $    43.80   $    43.80
  1/5/2020 Alberto Rabanales              $12.00   48.50   $   13.00   $    48.50   $    55.25   $   103.75
 1/12/2020 Alberto Rabanales              $12.00   59.62   $   13.00   $    59.62   $   127.51   $   187.13
 1/19/2020 Alberto Rabanales              $12.00   59.95   $   13.00   $    59.95   $   129.68   $   189.63
 1/26/2020 Alberto Rabanales              $12.00   59.50   $   13.00   $    59.50   $   126.75   $   186.25
  7/2/2017 Alexander Carbajal             $10.00   59.03   $   10.00                $    95.17   $    95.17
  7/9/2017 Alexander Carbajal             $10.00   54.95   $   10.00                $    74.75   $    74.75
  8/6/2017 Alexander Carbajal             $10.00   52.38   $   10.00                $    61.92   $    61.92
 8/13/2017 Alexander Carbajal             $10.00   64.78   $   10.00                $   123.92   $   123.92
 8/20/2017 Alexander Carbajal             $10.00   64.52   $   10.00                $   122.58   $   122.58
 8/27/2017 Alexander Carbajal             $10.00   64.77   $   10.00                $   123.83   $   123.83
  9/3/2017 Alexander Carbajal             $10.00   64.90   $   10.00                $   124.50   $   124.50
 9/10/2017 Alexander Carbajal             $10.00   53.80   $   10.00                $    69.00   $    69.00
 9/17/2017 Alexander Carbajal             $10.00   64.93   $   10.00                $   124.67   $   124.67
 9/24/2017 Alexander Carbajal             $10.00   64.52   $   10.00                $   122.58   $   122.58
 10/1/2017 Alexander Carbajal             $10.00   65.12   $   10.00                $   125.58   $   125.58
 10/8/2017 Alexander Carbajal             $10.00   65.20   $   10.00                $   126.00   $   126.00
10/15/2017 Alexander Carbajal             $10.00   64.63   $   10.00                $   123.17   $   123.17
10/22/2017 Alexander Carbajal             $10.00   65.88   $   10.00                $   129.42   $   129.42
10/29/2017 Alexander Carbajal             $10.00   66.00   $   10.00                $   130.00   $   130.00
 11/5/2017 Alexander Carbajal             $10.00   64.97   $   10.00                $   124.83   $   124.83



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                                           Exhibit 4
                                   Westchester Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                         Hourly Hours /
 Ending                     Name                        Minimum Regular Half-Time Overtime Back
                                          Rate   Week
  Date                                                   Wage   Rate Due     Due       Wages Due

 12/3/2017 Alexander Carbajal            $10.00   65.45   $   10.00               $   127.25   $   127.25
 4/22/2018 Alexander Carbajal            $10.00   64.52   $   11.00   $   64.52   $   134.84   $   199.36
 4/29/2018 Alexander Carbajal            $10.00   68.88   $   11.00   $   68.88   $   158.86   $   227.74
 5/13/2018 Alexander Carbajal            $10.00   59.55   $   11.00   $   59.55   $   107.53   $   167.08
 5/20/2018 Alexander Carbajal            $10.00   68.63   $   11.00   $   68.63   $   157.48   $   226.12
 5/27/2018 Alexander Carbajal            $10.00   65.67   $   11.00   $   65.67   $   141.17   $   206.83
  6/3/2018 Alexander Carbajal            $10.00   57.13   $   11.00   $   57.13   $    94.23   $   151.37
 6/10/2018 Alexander Carbajal            $10.00   68.27   $   11.00   $   68.27   $   155.47   $   223.73
 6/17/2018 Alexander Carbajal            $10.00   62.43   $   11.00   $   62.43   $   123.38   $   185.82
 6/24/2018 Alexander Carbajal            $10.00   41.18   $   11.00   $   41.18   $     6.51   $    47.69
 9/23/2018 Alexander Carbajal            $10.50   62.75   $   11.00   $   31.38   $   125.13   $   156.50
 9/30/2018 Alexander Carbajal            $10.50   63.17   $   11.00   $   31.58   $   127.42   $   159.00
 10/7/2018 Alexander Carbajal            $10.50   61.95   $   11.00   $   30.98   $   120.73   $   151.70
10/14/2018 Alexander Carbajal            $10.50   62.77   $   11.00   $   31.38   $   125.22   $   156.60
10/21/2018 Alexander Carbajal            $10.50   63.08   $   11.00   $   31.54   $   126.96   $   158.50
10/28/2018 Alexander Carbajal            $10.50   63.53   $   11.00   $   31.77   $   129.43   $   161.20
 11/4/2018 Alexander Carbajal            $10.50   63.32   $   11.00   $   31.66   $   128.24   $   159.90
11/11/2018 Alexander Carbajal            $10.50   62.37   $   11.00   $   31.18   $   123.02   $   154.20
11/18/2018 Alexander Carbajal            $10.50   62.28   $   11.00   $   31.14   $   122.56   $   153.70
11/25/2018 Alexander Carbajal            $10.50   51.30   $   11.00   $   25.65   $    62.15   $    87.80
 12/2/2018 Alexander Carbajal            $10.50   63.08   $   11.00   $   31.54   $   126.96   $   158.50
 12/9/2018 Alexander Carbajal            $10.50   62.92   $   11.00   $   31.46   $   126.04   $   157.50
12/16/2018 Alexander Carbajal            $10.50   62.28   $   11.00   $   31.14   $   122.56   $   153.70
12/23/2018 Alexander Carbajal            $10.50   61.65   $   11.00   $   30.83   $   119.08   $   149.90
12/30/2018 Alexander Carbajal            $10.50   40.68   $   11.00   $   20.34   $     3.76   $    24.10
  1/6/2019 Alexander Carbajal            $10.50   48.78   $   12.00   $   73.18   $    52.70   $   125.88
 1/13/2019 Alexander Carbajal            $10.50   62.93   $   12.00   $   94.40   $   137.60   $   232.00
 1/20/2019 Alexander Carbajal            $10.50   63.17   $   12.00   $   94.75   $   139.00   $   233.75
 1/27/2019 Alexander Carbajal            $10.50   63.02   $   12.00   $   94.53   $   138.10   $   232.63
  2/3/2019 Alexander Carbajal            $10.50   62.92   $   12.00   $   94.38   $   137.50   $   231.88
 2/10/2019 Alexander Carbajal            $10.50   62.92   $   12.00   $   94.38   $   137.50   $   231.88
 2/17/2019 Alexander Carbajal            $10.50   62.75   $   12.00   $   94.13   $   136.50   $   230.63
 2/24/2019 Alexander Carbajal            $10.50   57.12   $   12.00   $   85.68   $   102.70   $   188.38
  3/3/2019 Alexander Carbajal            $10.50   62.80   $   12.00   $   94.20   $   136.80   $   231.00
 3/10/2019 Alexander Carbajal            $10.50   62.92   $   12.00   $   94.38   $   137.50   $   231.88
 3/17/2019 Alexander Carbajal            $10.50   62.53   $   12.00   $   93.80   $   135.20   $   229.00
 3/24/2019 Alexander Carbajal            $10.50   61.05   $   12.00   $   91.58   $   126.30   $   217.88
 3/31/2019 Alexander Carbajal            $10.50   60.47   $   12.00   $   90.70   $   122.80   $   213.50
  4/7/2019 Alexander Carbajal            $10.50   60.53   $   12.00   $   90.80   $   123.20   $   214.00
 4/14/2019 Alexander Carbajal            $10.50   61.87   $   12.00   $   92.80   $   131.20   $   224.00
 4/21/2019 Alexander Carbajal            $10.50   62.92   $   12.00   $   94.38   $   137.50   $   231.88
 4/28/2019 Alexander Carbajal            $10.50   62.52   $   12.00   $   93.78   $   135.10   $   228.88
  5/5/2019 Alexander Carbajal            $10.50   63.45   $   12.00   $   95.18   $   140.70   $   235.88
 5/12/2019 Alexander Carbajal            $10.50   62.97   $   12.00   $   94.45   $   137.80   $   232.25
 5/19/2019 Alexander Carbajal            $10.50   63.12   $   12.00   $   94.68   $   138.70   $   233.38
 5/26/2019 Alexander Carbajal            $10.50   63.17   $   12.00   $   94.75   $   139.00   $   233.75
  6/2/2019 Alexander Carbajal            $10.50   53.57   $   12.00   $   80.35   $    81.40   $   161.75
  6/9/2019 Alexander Carbajal            $10.50   64.03   $   12.00   $   96.05   $   144.20   $   240.25
 6/16/2019 Alexander Carbajal            $10.50   52.27   $   12.00   $   78.40   $    73.60   $   152.00
 6/23/2019 Alexander Carbajal            $10.50   62.35   $   12.00   $   93.53   $   134.10   $   227.63
 6/30/2019 Alexander Carbajal            $10.50   63.90   $   12.00   $   95.85   $   143.40   $   239.25



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                                                Exhibit 4
                                        Westchester Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                              Hourly Hours /
 Ending                    Name                              Minimum Regular Half-Time Overtime Back
                                               Rate   Week
  Date                                                        Wage   Rate Due     Due       Wages Due

  7/7/2019 Alexander Carbajal                 $10.50   51.67   $   12.00   $    77.50   $    70.00   $   147.50
 7/14/2019 Alexander Carbajal                 $10.50   62.47   $   12.00   $    93.70   $   134.80   $   228.50
 7/21/2019 Alexander Carbajal                 $10.50   62.02   $   12.00   $    93.03   $   132.10   $   225.13
 7/28/2019 Alexander Carbajal                 $10.50   62.05   $   12.00   $    93.08   $   132.30   $   225.38
  8/4/2019 Alexander Carbajal                 $10.50   62.18   $   12.00   $    93.28   $   133.10   $   226.38
 8/11/2019 Alexander Carbajal                 $10.50   62.98   $   12.00   $    94.48   $   137.90   $   232.38
 8/18/2019 Alexander Carbajal                 $10.50   62.60   $   12.00   $    93.90   $   135.60   $   229.50
 8/25/2019 Alexander Carbajal                 $10.50   62.47   $   12.00   $    93.70   $   134.80   $   228.50
  9/1/2019 Alexander Carbajal                 $10.50   62.27   $   12.00   $    93.40   $   133.60   $   227.00
  9/8/2019 Alexander Carbajal                 $10.50   51.70   $   12.00   $    77.55   $    70.20   $   147.75
 9/15/2019 Alexander Carbajal                 $10.50   62.13   $   12.00   $    93.20   $   132.80   $   226.00
 9/22/2019 Alexander Carbajal                 $10.50   62.77   $   12.00   $    94.15   $   136.60   $   230.75
 9/29/2019 Alexander Carbajal                 $10.50   55.70   $   12.00   $    83.55   $    94.20   $   177.75
 10/6/2019 Alexander Carbajal                 $10.50   41.55   $   12.00   $    62.33   $     9.30   $    71.63
10/13/2019 Alexander Carbajal                 $10.50   43.73   $   12.00   $    65.60   $    22.40   $    88.00
 9/17/2017 Alexander De Jesus Taveras          $9.50   64.03   $   10.00   $    32.02   $   120.17   $   152.18
 9/24/2017 Alexander De Jesus Taveras          $9.50   67.78   $   10.00   $    33.89   $   138.92   $   172.81
 10/1/2017 Alexander De Jesus Taveras          $9.50   72.52   $   10.00   $    36.26   $   162.58   $   198.84
 10/8/2017 Alexander De Jesus Taveras          $9.50   55.02   $   10.00   $    27.51   $    75.08   $   102.59
10/15/2017 Alexander De Jesus Taveras          $9.50   63.48   $   10.00   $    31.74   $   117.42   $   149.16
10/22/2017 Alexander De Jesus Taveras          $9.50   65.58   $   10.00   $    32.79   $   127.92   $   160.71
10/29/2017 Alexander De Jesus Taveras          $9.50   61.83   $   10.00   $    30.92   $   109.17   $   140.08
 11/5/2017 Alexander De Jesus Taveras          $9.50   54.33   $   10.00   $    27.17   $    71.67   $    98.83
11/12/2017 Alexander De Jesus Taveras          $9.50   63.48   $   10.00   $    31.74   $   117.42   $   149.16
11/19/2017 Alexander De Jesus Taveras          $9.50   65.75   $   10.00   $    32.88   $   128.75   $   161.63
11/26/2017 Alexander De Jesus Taveras          $9.50   43.42   $   10.00   $    21.71   $    17.08   $    38.79
 12/3/2017 Alexander De Jesus Taveras          $9.50   68.32   $   10.00   $    34.16   $   141.58   $   175.74
12/10/2017 Alexander De Jesus Taveras          $9.50   50.57   $   10.00   $    25.28   $    52.83   $    78.12
  2/4/2018 Alexander De Jesus Taveras          $9.50   64.88   $   11.00   $    97.33   $   136.86   $   234.18
 2/11/2018 Alexander De Jesus Taveras          $9.50   62.73   $   11.00   $    94.10   $   125.03   $   219.13
 2/18/2018 Alexander De Jesus Taveras          $9.50   63.77   $   11.00   $    95.65   $   130.72   $   226.37
 2/25/2018 Alexander De Jesus Taveras          $9.50   66.80   $   11.00   $   100.20   $   147.40   $   247.60
  3/4/2018 Alexander De Jesus Taveras          $9.50   52.07   $   11.00   $    78.10   $    66.37   $   144.47
 3/25/2018 Alexander De Jesus Taveras          $9.50   42.17   $   11.00   $    63.25   $    11.92   $    75.17
  4/1/2018 Alexander De Jesus Taveras          $9.50   64.60   $   11.00   $    96.90   $   135.30   $   232.20
  4/8/2018 Alexander De Jesus Taveras          $9.50   54.63   $   11.00   $    81.95   $    80.48   $   162.43
 4/15/2018 Alexander De Jesus Taveras          $9.50   66.82   $   11.00   $   100.23   $   147.49   $   247.72
 4/22/2018 Alexander De Jesus Taveras          $9.50   66.47   $   11.00   $    99.70   $   145.57   $   245.27
 4/29/2018 Alexander De Jesus Taveras          $9.50   54.97   $   11.00   $    82.45   $    82.32   $   164.77
  5/6/2018 Alexander De Jesus Taveras          $9.50   51.82   $   11.00   $    77.73   $    64.99   $   142.72
 5/13/2018 Alexander De Jesus Taveras          $9.50   64.18   $   11.00   $    96.28   $   133.01   $   229.28
 5/20/2018 Alexander De Jesus Taveras          $9.50   62.53   $   11.00   $    93.80   $   123.93   $   217.73
 5/27/2018 Alexander De Jesus Taveras          $9.50   56.72   $   11.00   $    85.08   $    91.94   $   177.02
  6/3/2018 Alexander De Jesus Taveras          $9.50   66.20   $   11.00   $    99.30   $   144.10   $   243.40
 6/10/2018 Alexander De Jesus Taveras          $9.50   70.67   $   11.00   $   106.00   $   168.67   $   274.67
 6/17/2018 Alexander De Jesus Taveras          $9.50   65.53   $   11.00   $    98.30   $   140.43   $   238.73
 6/24/2018 Alexander De Jesus Taveras          $9.50   46.18   $   11.00   $    69.28   $    34.01   $   103.28
  7/1/2018 Alexander De Jesus Taveras          $9.50   68.83   $   11.00   $   103.25   $   158.58   $   261.83
  7/8/2018 Alexander De Jesus Taveras          $9.50   45.28   $   11.00   $    67.93   $    29.06   $    96.98
 7/15/2018 Alexander De Jesus Taveras          $9.50   41.90   $   11.00   $    62.85   $    10.45   $    73.30
 7/22/2018 Alexander De Jesus Taveras          $9.50   69.03   $   11.00   $   103.55   $   159.68   $   263.23



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                                                Exhibit 4
                                        Westchester Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                              Hourly Hours /
 Ending                    Name                              Minimum Regular Half-Time Overtime Back
                                               Rate   Week
  Date                                                        Wage   Rate Due     Due       Wages Due

 7/29/2018 Alexander De Jesus Taveras          $9.50   71.83   $   11.00   $   107.75   $   175.08   $   282.83
  8/5/2018 Alexander De Jesus Taveras          $9.50   72.75   $   11.00   $   109.13   $   180.13   $   289.25
 8/12/2018 Alexander De Jesus Taveras          $9.50   69.95   $   11.00   $   104.93   $   164.73   $   269.65
 8/19/2018 Alexander De Jesus Taveras          $9.50   68.43   $   11.00   $   102.65   $   156.38   $   259.03
 8/26/2018 Alexander De Jesus Taveras          $9.50   56.65   $   11.00   $    84.98   $    91.58   $   176.55
  9/2/2018 Alexander De Jesus Taveras          $9.50   57.85   $   11.00   $    86.78   $    98.18   $   184.95
  9/9/2018 Alexander De Jesus Taveras          $9.50   56.08   $   11.00   $    84.13   $    88.46   $   172.58
 9/16/2018 Alexander De Jesus Taveras          $9.50   67.68   $   11.00   $   101.53   $   152.26   $   253.78
 9/23/2018 Alexander De Jesus Taveras          $9.50   53.75   $   11.00   $    80.63   $    75.63   $   156.25
 9/30/2018 Alexander De Jesus Taveras          $9.50   63.47   $   11.00   $    95.20   $   129.07   $   224.27
 10/7/2018 Alexander De Jesus Taveras          $9.50   54.22   $   11.00   $    81.33   $    78.19   $   159.52
10/14/2018 Alexander De Jesus Taveras          $9.50   63.32   $   11.00   $    94.98   $   128.24   $   223.22
10/28/2018 Alexander De Jesus Taveras          $9.50   45.92   $   11.00   $    68.88   $    32.54   $   101.42
 11/4/2018 Alexander De Jesus Taveras          $9.50   52.00   $   11.00   $    78.00   $    66.00   $   144.00
 4/23/2017 Alix E. Amador                      $9.50   54.83   $   10.00   $    27.42   $    74.17   $   101.58
 6/16/2019 Andres Guichardo                   $11.00   62.70   $   12.00   $    62.70   $   136.20   $   198.90
 6/23/2019 Andres Guichardo                   $11.00   51.00   $   12.00   $    51.00   $    66.00   $   117.00
 3/24/2019 Aneudi Cuevas                       $9.50   70.35   $   12.00   $   175.88   $   182.10   $   357.98
 3/31/2019 Aneudi Cuevas                       $9.50   69.80   $   12.00   $   174.50   $   178.80   $   353.30
  4/7/2019 Aneudi Cuevas                       $9.50   70.03   $   12.00   $   175.08   $   180.20   $   355.28
 4/14/2019 Aneudi Cuevas                       $9.50   69.70   $   12.00   $   174.25   $   178.20   $   352.45
 4/21/2019 Aneudi Cuevas                       $9.50   59.85   $   12.00   $   149.63   $   119.10   $   268.73
 4/28/2019 Aneudi Cuevas                       $9.50   69.85   $   12.00   $   174.63   $   179.10   $   353.73
  5/5/2019 Aneudi Cuevas                       $9.50   69.48   $   12.00   $   173.71   $   176.90   $   350.61
 5/12/2019 Aneudi Cuevas                       $9.50   66.18   $   12.00   $   165.46   $   157.10   $   322.56
 5/19/2019 Aneudi Cuevas                       $9.50   65.10   $   12.00   $   162.75   $   150.60   $   313.35
 5/26/2019 Aneudi Cuevas                       $9.50   53.82   $   12.00   $   134.54   $    82.90   $   217.44
  6/2/2019 Aneudi Cuevas                       $9.50   53.50   $   12.00   $   133.75   $    81.00   $   214.75
  6/9/2019 Aneudi Cuevas                       $9.50   64.93   $   12.00   $   162.33   $   149.60   $   311.93
 6/16/2019 Aneudi Cuevas                       $9.50   67.93   $   12.00   $   169.83   $   167.60   $   337.43
 6/23/2019 Aneudi Cuevas                       $9.50   69.03   $   12.00   $   172.58   $   174.20   $   346.78
 6/30/2019 Aneudi Cuevas                       $9.50   70.28   $   12.00   $   175.71   $   181.70   $   357.41
  7/7/2019 Aneudi Cuevas                      $10.00   46.10   $   12.00   $    92.20   $    36.60   $   128.80
 7/14/2019 Aneudi Cuevas                      $10.00   69.38   $   12.00   $   138.77   $   176.30   $   315.07
 7/21/2019 Aneudi Cuevas                      $10.00   69.22   $   12.00   $   138.43   $   175.30   $   313.73
 7/28/2019 Aneudi Cuevas                      $10.00   68.35   $   12.00   $   136.70   $   170.10   $   306.80
  8/4/2019 Aneudi Cuevas                      $10.00   68.80   $   12.00   $   137.60   $   172.80   $   310.40
 8/11/2019 Aneudi Cuevas                      $10.00   69.33   $   12.00   $   138.67   $   176.00   $   314.67
 8/18/2019 Aneudi Cuevas                      $10.00   58.15   $   12.00   $   116.30   $   108.90   $   225.20
 8/25/2019 Aneudi Cuevas                      $10.00   69.60   $   12.00   $   139.20   $   177.60   $   316.80
  9/1/2019 Aneudi Cuevas                      $10.00   69.22   $   12.00   $   138.43   $   175.30   $   313.73
  9/8/2019 Aneudi Cuevas                      $10.00   57.90   $   12.00   $   115.80   $   107.40   $   223.20
 9/15/2019 Aneudi Cuevas                      $10.00   69.78   $   12.00   $   139.57   $   178.70   $   318.27
 9/22/2019 Aneudi Cuevas                      $10.00   69.17   $   12.00   $   138.33   $   175.00   $   313.33
 9/29/2019 Aneudi Cuevas                      $10.00   56.75   $   12.00   $   113.50   $   100.50   $   214.00
 10/6/2019 Aneudi Cuevas                      $10.00   69.02   $   12.00   $   138.03   $   174.10   $   312.13
10/13/2019 Aneudi Cuevas                      $10.00   68.53   $   12.00   $   137.07   $   171.20   $   308.27
10/20/2019 Aneudi Cuevas                      $13.00   63.13   $   12.00                $   150.37   $   150.37
10/27/2019 Aneudi Cuevas                      $13.00   63.28   $   12.00                $   151.34   $   151.34
 11/3/2019 Aneudi Cuevas                      $13.00   63.42   $   12.00                $   152.21   $   152.21
11/10/2019 Aneudi Cuevas                      $13.00   53.85   $   12.00                $    90.03   $    90.03



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                                                Exhibit 4
                                        Westchester Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                              Hourly Hours /
 Ending                    Name                              Minimum Regular Half-Time Overtime Back
                                               Rate   Week
  Date                                                        Wage   Rate Due     Due       Wages Due

11/17/2019 Aneudi Cuevas                      $13.00   63.40   $   12.00                $   152.10   $   152.10
11/24/2019 Aneudi Cuevas                      $13.00   63.37   $   12.00                $   151.88   $   151.88
 12/1/2019 Aneudi Cuevas                      $13.00   52.03   $   12.00                $    78.22   $    78.22
 12/8/2019 Aneudi Cuevas                      $13.00   58.20   $   12.00                $   118.30   $   118.30
12/15/2019 Aneudi Cuevas                      $10.00   58.00   $   12.00   $   116.00   $   108.00   $   224.00
12/22/2019 Aneudi Cuevas                      $10.00   69.13   $   12.00   $   138.27   $   174.80   $   313.07
12/29/2019 Aneudi Cuevas                      $10.00   54.93   $   12.00   $   109.87   $    89.60   $   199.47
  1/5/2020 Aneudi Cuevas                      $10.00   56.42   $   13.00   $   169.25   $   106.71   $   275.96
 1/12/2020 Aneudi Cuevas                      $10.00   68.98   $   13.00   $   206.95   $   188.39   $   395.34
 1/19/2020 Aneudi Cuevas                      $10.00   65.53   $   13.00   $   196.60   $   165.97   $   362.57
 1/26/2020 Aneudi Cuevas                      $10.00   45.42   $   13.00   $   136.25   $    35.21   $   171.46
 5/20/2018 Angel R. Paulino                   $12.00   41.97   $   11.00                $    11.80   $    11.80
 5/27/2018 Angel R. Paulino                   $12.00   66.00   $   11.00                $   156.00   $   156.00
  6/3/2018 Angel R. Paulino                   $12.00   59.95   $   11.00                $   119.70   $   119.70
 6/10/2018 Angel R. Paulino                   $12.00   65.60   $   11.00                $   153.60   $   153.60
 6/17/2018 Angel R. Paulino                   $12.00   52.55   $   11.00                $    75.30   $    75.30
 6/24/2018 Angel R. Paulino                   $12.00   52.20   $   11.00                $    73.20   $    73.20
  7/1/2018 Angel R. Paulino                   $12.00   51.42   $   11.00                $    68.50   $    68.50
 7/15/2018 Angel R. Paulino                   $12.00   59.18   $   11.00                $   115.10   $   115.10
 7/22/2018 Angel R. Paulino                   $12.00   58.48   $   11.00                $   110.90   $   110.90
 7/29/2018 Angel R. Paulino                   $12.00   62.68   $   11.00                $   136.10   $   136.10
  8/5/2018 Angel R. Paulino                   $12.00   58.45   $   11.00                $   110.70   $   110.70
 8/12/2018 Angel R. Paulino                   $12.00   57.93   $   11.00                $   107.60   $   107.60
 8/19/2018 Angel R. Paulino                   $12.00   56.70   $   11.00                $   100.20   $   100.20
 8/26/2018 Angel R. Paulino                   $12.00   71.55   $   11.00                $   189.30   $   189.30
  9/2/2018 Angel R. Paulino                   $12.00   66.80   $   11.00                $   160.80   $   160.80
  9/9/2018 Angel R. Paulino                   $12.00   59.87   $   11.00                $   119.20   $   119.20
 9/16/2018 Angel R. Paulino                   $12.00   48.20   $   11.00                $    49.20   $    49.20
 9/23/2018 Angel R. Paulino                   $12.00   56.60   $   11.00                $    99.60   $    99.60
 9/30/2018 Angel R. Paulino                   $12.00   40.15   $   11.00                $     0.90   $     0.90
 10/7/2018 Angel R. Paulino                   $12.00   50.00   $   11.00                $    60.00   $    60.00
10/14/2018 Angel R. Paulino                   $12.00   56.40   $   11.00                $    98.40   $    98.40
10/28/2018 Angel R. Paulino                   $12.00   44.57   $   11.00                $    27.40   $    27.40
 11/4/2018 Angel R. Paulino                   $12.00   54.60   $   11.00                $    87.60   $    87.60
11/11/2018 Angel R. Paulino                   $12.00   55.77   $   11.00                $    94.60   $    94.60
11/18/2018 Angel R. Paulino                   $12.00   48.17   $   11.00                $    49.00   $    49.00
 12/2/2018 Angel R. Paulino                   $12.00   55.68   $   11.00                $    94.10   $    94.10
 12/9/2018 Angel R. Paulino                   $12.00   60.83   $   11.00                $   125.00   $   125.00
12/16/2018 Angel R. Paulino                   $12.00   65.33   $   11.00                $   152.00   $   152.00
  3/4/2018 Anthony Delgado                    $10.00   51.62   $   11.00   $    51.62   $    63.89   $   115.51
 3/25/2018 Anthony Delgado                    $10.00   56.32   $   11.00   $    56.32   $    89.74   $   146.06
  4/1/2018 Anthony Delgado                    $10.00   57.28   $   11.00   $    57.28   $    95.06   $   152.34
  4/8/2018 Anthony Delgado                    $10.00   49.00   $   11.00   $    49.00   $    49.50   $    98.50
 6/24/2018 Antonio Rosario Rojas-0449          $9.50   56.70   $   11.00   $    85.05   $    91.85   $   176.90
  7/1/2018 Antonio Rosario Rojas-0449          $9.50   63.60   $   11.00   $    95.40   $   129.80   $   225.20
 7/29/2018 Antonio Rosario Rojas-0449          $9.50   44.97   $   11.00   $    67.45   $    27.32   $    94.77
 8/26/2018 Antonio Rosario Rojas-0449          $9.50   52.43   $   11.00   $    78.65   $    68.38   $   147.03
  9/2/2018 Antonio Rosario Rojas-0449          $9.50   49.38   $   11.00   $    74.08   $    51.61   $   125.68
  9/9/2018 Antonio Rosario Rojas-0449          $9.50   51.48   $   11.00   $    77.23   $    63.16   $   140.38
 9/23/2018 Antonio Rosario Rojas-0449          $9.50   43.40   $   11.00   $    65.10   $    18.70   $    83.80
 9/30/2018 Antonio Rosario Rojas-0449          $9.50   53.97   $   11.00   $    80.95   $    76.82   $   157.77



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                                                Exhibit 4
                                        Westchester Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                              Hourly Hours /
 Ending                    Name                              Minimum Regular Half-Time Overtime Back
                                               Rate   Week
  Date                                                        Wage   Rate Due     Due       Wages Due

 10/7/2018 Antonio Rosario Rojas-0449          $9.50   62.75   $   11.00   $    94.13   $   125.13   $   219.25
12/23/2018 Arnaldo Arambarry                   $9.50   59.28   $   11.00   $    88.93   $   106.06   $   194.98
12/30/2018 Arnaldo Arambarry                   $9.50   47.58   $   11.00   $    71.38   $    41.71   $   113.08
  1/6/2019 Arnaldo Arambarry                   $9.50   50.47   $   12.00   $   126.17   $    62.80   $   188.97
 1/13/2019 Arnaldo Arambarry                   $9.50   54.07   $   12.00   $   135.17   $    84.40   $   219.57
 1/20/2019 Arnaldo Arambarry                   $9.50   60.10   $   12.00   $   150.25   $   120.60   $   270.85
  2/3/2019 Arnaldo Arambarry                   $9.50   47.83   $   12.00   $   119.58   $    47.00   $   166.58
 2/10/2019 Arnaldo Arambarry                   $9.50   47.52   $   12.00   $   118.79   $    45.10   $   163.89
 2/17/2019 Arnaldo Arambarry                   $9.50   55.00   $   12.00   $   137.50   $    90.00   $   227.50
 2/24/2019 Arnaldo Arambarry                   $9.50   50.00   $   12.00   $   125.00   $    60.00   $   185.00
  3/3/2019 Arnaldo Arambarry                   $9.50   49.55   $   12.00   $   123.88   $    57.30   $   181.18
 3/10/2019 Arnaldo Arambarry                   $9.50   46.50   $   12.00   $   116.25   $    39.00   $   155.25
 3/17/2019 Arnaldo Arambarry                   $9.50   55.83   $   12.00   $   139.58   $    95.00   $   234.58
 3/24/2019 Arnaldo Arambarry                   $9.50   56.03   $   12.00   $   140.08   $    96.20   $   236.28
 3/31/2019 Arnaldo Arambarry                   $9.50   57.70   $   12.00   $   144.25   $   106.20   $   250.45
  4/7/2019 Arnaldo Arambarry                   $9.50   58.65   $   12.00   $   146.63   $   111.90   $   258.53
 4/14/2019 Arnaldo Arambarry                   $9.50   56.95   $   12.00   $   142.38   $   101.70   $   244.08
 4/21/2019 Arnaldo Arambarry                   $9.50   53.08   $   12.00   $   132.71   $    78.50   $   211.21
 6/25/2017 Benjamin Rene Peralta              $10.00   43.12   $   10.00                $    15.58   $    15.58
  7/2/2017 Benjamin Rene Peralta               $9.50   68.73   $   10.00   $ 34.37      $   143.67   $   178.03
  7/9/2017 Benjamin Rene Peralta               $9.50   55.92   $   10.00   $ 27.96      $    79.58   $   107.54
 7/16/2017 Benjamin Rene Peralta               $9.50   67.30   $   10.00   $ 33.65      $   136.50   $   170.15
 7/23/2017 Benjamin Rene Peralta               $9.50   66.10   $   10.00   $ 33.05      $   130.50   $   163.55
 7/30/2017 Benjamin Rene Peralta               $9.50   65.02   $   10.00   $ 32.51      $   125.08   $   157.59
  8/6/2017 Benjamin Rene Peralta               $9.50   64.13   $   10.00   $ 32.07      $   120.67   $   152.73
 8/13/2017 Benjamin Rene Peralta               $9.50   66.65   $   10.00   $ 33.33      $   133.25   $   166.58
 8/20/2017 Benjamin Rene Peralta               $9.50   69.10   $   10.00   $ 34.55      $   145.50   $   180.05
 8/27/2017 Benjamin Rene Peralta               $9.50   68.82   $   10.00   $ 34.41      $   144.08   $   178.49
  9/3/2017 Benjamin Rene Peralta               $9.50   63.55   $   10.00   $ 31.78      $   117.75   $   149.53
 9/10/2017 Benjamin Rene Peralta               $9.50   53.57   $   10.00   $ 26.78      $    67.83   $    94.62
 9/17/2017 Benjamin Rene Peralta               $9.50   66.33   $   10.00   $ 33.17      $   131.67   $   164.83
 9/24/2017 Benjamin Rene Peralta               $9.50   65.48   $   10.00   $ 32.74      $   127.42   $   160.16
 10/1/2017 Benjamin Rene Peralta               $9.50   63.98   $   10.00   $ 31.99      $   119.92   $   151.91
 10/8/2017 Benjamin Rene Peralta               $9.50   64.12   $   10.00   $ 32.06      $   120.58   $   152.64
10/15/2017 Benjamin Rene Peralta               $9.50   63.70   $   10.00   $ 31.85      $   118.50   $   150.35
10/22/2017 Benjamin Rene Peralta               $9.50   64.53   $   10.00   $ 32.27      $   122.67   $   154.93
10/29/2017 Benjamin Rene Peralta               $9.50   63.10   $   10.00   $ 31.55      $   115.50   $   147.05
 11/5/2017 Benjamin Rene Peralta               $9.50   63.65   $   10.00   $ 31.83      $   118.25   $   150.08
11/12/2017 Benjamin Rene Peralta               $9.50   63.55   $   10.00   $ 31.78      $   117.75   $   149.53
11/19/2017 Benjamin Rene Peralta               $9.50   63.03   $   10.00   $ 31.52      $   115.17   $   146.68
11/26/2017 Benjamin Rene Peralta               $9.50   53.30   $   10.00   $ 26.65      $    66.50   $    93.15
 12/3/2017 Benjamin Rene Peralta               $9.50   66.72   $   10.00   $ 33.36      $   133.58   $   166.94
12/10/2017 Benjamin Rene Peralta               $9.50   68.08   $   10.00   $ 34.04      $   140.42   $   174.46
 2/25/2018 Benjamin Rene Peralta               $9.50   64.58   $   11.00   $ 96.88      $   135.21   $   232.08
  3/4/2018 Benjamin Rene Peralta               $9.50   63.88   $   11.00   $ 95.83      $   131.36   $   227.18
 3/25/2018 Benjamin Rene Peralta               $9.50   61.60   $   11.00   $ 92.40      $   118.80   $   211.20
  4/1/2018 Benjamin Rene Peralta               $9.50   67.58   $   11.00   $ 101.38     $   151.71   $   253.08
  4/8/2018 Benjamin Rene Peralta               $9.50   65.63   $   11.00   $ 98.45      $   140.98   $   239.43
 4/15/2018 Benjamin Rene Peralta               $9.50   65.13   $   11.00   $ 97.70      $   138.23   $   235.93
 4/22/2018 Benjamin Rene Peralta               $9.50   65.48   $   11.00   $ 98.23      $   140.16   $   238.38
 4/29/2018 Benjamin Rene Peralta               $9.50   65.30   $   11.00   $ 97.95      $   139.15   $   237.10



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                                           Exhibit 4
                                   Westchester Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                         Hourly Hours /
 Ending                    Name                         Minimum Regular Half-Time Overtime Back
                                          Rate   Week
  Date                                                   Wage   Rate Due     Due       Wages Due

  5/6/2018 Benjamin Rene Peralta          $9.50   64.75   $   11.00   $   97.13   $   136.13   $   233.25
 5/13/2018 Benjamin Rene Peralta          $9.50   65.07   $   11.00   $   97.60   $   137.87   $   235.47
 5/20/2018 Benjamin Rene Peralta          $9.50   64.60   $   11.00   $   96.90   $   135.30   $   232.20
 5/27/2018 Benjamin Rene Peralta          $9.50   64.77   $   11.00   $   97.15   $   136.22   $   233.37
  6/3/2018 Benjamin Rene Peralta          $9.50   54.07   $   11.00   $   81.10   $    77.37   $   158.47
 6/10/2018 Benjamin Rene Peralta          $9.50   64.68   $   11.00   $   97.03   $   135.76   $   232.78
 6/17/2018 Benjamin Rene Peralta          $9.50   53.03   $   11.00   $   79.55   $    71.68   $   151.23
 6/24/2018 Benjamin Rene Peralta          $9.50   64.27   $   11.00   $   96.40   $   133.47   $   229.87
  7/1/2018 Benjamin Rene Peralta          $9.50   63.75   $   11.00   $   95.63   $   130.63   $   226.25
  7/8/2018 Benjamin Rene Peralta          $9.50   52.60   $   11.00   $   78.90   $    69.30   $   148.20
 7/15/2018 Benjamin Rene Peralta          $9.50   62.20   $   11.00   $   93.30   $   122.10   $   215.40
 7/22/2018 Benjamin Rene Peralta          $9.50   58.55   $   11.00   $   87.83   $   102.03   $   189.85
 7/29/2018 Benjamin Rene Peralta         $10.50   56.50   $   11.00   $   28.25   $    90.75   $   119.00
  8/5/2018 Benjamin Rene Peralta         $10.50   59.73   $   11.00   $   29.87   $   108.53   $   138.40
 8/12/2018 Benjamin Rene Peralta         $10.50   60.48   $   11.00   $   30.24   $   112.66   $   142.90
 8/19/2018 Benjamin Rene Peralta         $10.50   58.90   $   11.00   $   29.45   $   103.95   $   133.40
 8/26/2018 Benjamin Rene Peralta         $10.50   43.85   $   11.00   $   21.93   $    21.18   $    43.10
  9/2/2018 Benjamin Rene Peralta         $10.50   56.63   $   11.00   $   28.32   $    91.48   $   119.80
  9/9/2018 Benjamin Rene Peralta         $10.50   48.85   $   11.00   $   24.43   $    48.68   $    73.10
 9/16/2018 Benjamin Rene Peralta         $10.50   46.17   $   11.00   $   23.08   $    33.92   $    57.00
 9/23/2018 Benjamin Rene Peralta         $10.50   60.32   $   11.00   $   30.16   $   111.74   $   141.90
 9/30/2018 Benjamin Rene Peralta         $10.50   60.87   $   11.00   $   30.43   $   114.77   $   145.20
 10/7/2018 Benjamin Rene Peralta         $10.50   61.88   $   11.00   $   30.94   $   120.36   $   151.30
10/14/2018 Benjamin Rene Peralta         $10.50   55.03   $   11.00   $   27.52   $    82.68   $   110.20
10/21/2018 Benjamin Rene Peralta         $10.50   56.10   $   11.00   $   28.05   $    88.55   $   116.60
10/28/2018 Benjamin Rene Peralta         $10.50   54.42   $   11.00   $   27.21   $    79.29   $   106.50
 11/4/2018 Benjamin Rene Peralta         $10.50   57.07   $   11.00   $   28.53   $    93.87   $   122.40
11/11/2018 Benjamin Rene Peralta         $10.50   54.52   $   11.00   $   27.26   $    79.84   $   107.10
11/18/2018 Benjamin Rene Peralta         $10.50   56.38   $   11.00   $   28.19   $    90.11   $   118.30
11/25/2018 Benjamin Rene Peralta         $10.50   49.42   $   11.00   $   24.71   $    51.79   $    76.50
 12/2/2018 Benjamin Rene Peralta         $10.50   58.77   $   11.00   $   29.38   $   103.22   $   132.60
 12/9/2018 Benjamin Rene Peralta         $10.50   49.62   $   11.00   $   24.81   $    52.89   $    77.70
  5/5/2019 Benjamin Rene Peralta         $10.50   56.38   $   12.00   $   84.58   $    98.30   $   182.88
 5/12/2019 Benjamin Rene Peralta         $10.50   55.90   $   12.00   $   83.85   $    95.40   $   179.25
 5/19/2019 Benjamin Rene Peralta         $10.50   56.75   $   12.00   $   85.13   $   100.50   $   185.63
 5/26/2019 Benjamin Rene Peralta         $10.50   58.13   $   12.00   $   87.20   $   108.80   $   196.00
  6/2/2019 Benjamin Rene Peralta         $10.50   47.95   $   12.00   $   71.93   $    47.70   $   119.63
  6/9/2019 Benjamin Rene Peralta         $10.50   58.22   $   12.00   $   87.33   $   109.30   $   196.63
 6/16/2019 Benjamin Rene Peralta         $10.50   56.70   $   12.00   $   85.05   $   100.20   $   185.25
 6/23/2019 Benjamin Rene Peralta         $10.50   57.42   $   12.00   $   86.13   $   104.50   $   190.63
 6/30/2019 Benjamin Rene Peralta         $10.50   55.77   $   12.00   $   83.65   $    94.60   $   178.25
  7/7/2019 Benjamin Rene Peralta         $10.50   41.58   $   12.00   $   62.38   $     9.50   $    71.88
 7/14/2019 Benjamin Rene Peralta         $10.50   49.97   $   12.00   $   74.95   $    59.80   $   134.75
 7/21/2019 Benjamin Rene Peralta         $10.50   57.02   $   12.00   $   85.53   $   102.10   $   187.63
 7/28/2019 Benjamin Rene Peralta         $10.50   49.07   $   12.00   $   73.60   $    54.40   $   128.00
  8/4/2019 Benjamin Rene Peralta         $10.50   62.83   $   12.00   $   94.25   $   137.00   $   231.25
 8/11/2019 Benjamin Rene Peralta         $10.50   56.72   $   12.00   $   85.08   $   100.30   $   185.38
 8/18/2019 Benjamin Rene Peralta         $11.50   64.00   $   12.00   $   32.00   $   144.00   $   176.00
 8/25/2019 Benjamin Rene Peralta         $11.50   64.85   $   12.00   $   32.43   $   149.10   $   181.53
  9/1/2019 Benjamin Rene Peralta         $11.50   64.02   $   12.00   $   32.01   $   144.10   $   176.11
  9/8/2019 Benjamin Rene Peralta         $11.50   52.13   $   12.00   $   26.07   $    72.80   $    98.87



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  Week                                                    State Section 7: Section 7: Total Section 7
                                         Hourly Hours /
 Ending                    Name                         Minimum Regular Half-Time Overtime Back
                                          Rate   Week
  Date                                                   Wage   Rate Due     Due       Wages Due

 9/15/2019 Benjamin Rene Peralta         $11.50   64.08   $   12.00   $   32.04   $   144.50   $   176.54
 9/22/2019 Benjamin Rene Peralta         $11.50   65.62   $   12.00   $   32.81   $   153.70   $   186.51
 9/29/2019 Benjamin Rene Peralta         $11.50   62.08   $   12.00   $   31.04   $   132.50   $   163.54
 10/6/2019 Benjamin Rene Peralta         $11.50   58.68   $   12.00   $   29.34   $   112.10   $   141.44
10/13/2019 Benjamin Rene Peralta         $11.50   58.65   $   12.00   $   29.33   $   111.90   $   141.23
10/20/2019 Benjamin Rene Peralta         $11.50   47.32   $   12.00   $   23.66   $    43.90   $    67.56
10/27/2019 Benjamin Rene Peralta         $11.50   62.85   $   12.00   $   31.43   $   137.10   $   168.53
 11/3/2019 Benjamin Rene Peralta         $11.50   61.15   $   12.00   $   30.58   $   126.90   $   157.48
11/10/2019 Benjamin Rene Peralta         $11.50   63.08   $   12.00   $   31.54   $   138.50   $   170.04
11/17/2019 Benjamin Rene Peralta         $11.50   45.37   $   12.00   $   22.68   $    32.20   $    54.88
11/24/2019 Benjamin Rene Peralta         $11.50   54.95   $   12.00   $   27.48   $    89.70   $   117.18
 12/1/2019 Benjamin Rene Peralta         $11.50   52.62   $   12.00   $   26.31   $    75.70   $   102.01
 12/8/2019 Benjamin Rene Peralta         $11.50   63.32   $   12.00   $   31.66   $   139.90   $   171.56
 4/23/2017 Bill Paulino Jimenez          $12.00   63.30   $   10.00               $   139.80   $   139.80
 4/30/2017 Bill Paulino Jimenez          $12.00   63.57   $   10.00               $   141.40   $   141.40
  5/7/2017 Bill Paulino Jimenez          $12.00   63.12   $   10.00               $   138.70   $   138.70
 5/14/2017 Bill Paulino Jimenez          $12.00   64.92   $   10.00               $   149.50   $   149.50
 5/21/2017 Bill Paulino Jimenez          $12.00   67.50   $   10.00               $   165.00   $   165.00
 5/28/2017 Bill Paulino Jimenez          $12.00   66.45   $   10.00               $   158.70   $   158.70
  6/4/2017 Bill Paulino Jimenez          $12.00   55.00   $   10.00               $    90.00   $    90.00
 6/11/2017 Bill Paulino Jimenez          $12.00   63.65   $   10.00               $   141.90   $   141.90
 6/18/2017 Bill Paulino Jimenez          $12.00   61.95   $   10.00               $   131.70   $   131.70
 6/25/2017 Bill Paulino Jimenez          $12.00   62.82   $   10.00               $   136.90   $   136.90
  7/2/2017 Bill Paulino Jimenez          $12.00   67.70   $   10.00               $   166.20   $   166.20
  7/9/2017 Bill Paulino Jimenez          $12.00   53.62   $   10.00               $    81.70   $    81.70
 7/16/2017 Bill Paulino Jimenez          $12.00   65.02   $   10.00               $   150.10   $   150.10
 7/23/2017 Bill Paulino Jimenez          $12.00   64.38   $   10.00               $   146.30   $   146.30
 7/30/2017 Bill Paulino Jimenez          $12.00   61.92   $   10.00               $   131.50   $   131.50
  8/6/2017 Bill Paulino Jimenez          $12.00   40.37   $   10.00               $     2.20   $     2.20
 8/13/2017 Bill Paulino Jimenez          $12.00   57.85   $   10.00               $   107.10   $   107.10
 8/20/2017 Bill Paulino Jimenez          $12.00   47.35   $   10.00               $    44.10   $    44.10
 8/27/2017 Bill Paulino Jimenez          $12.00   49.30   $   10.00               $    55.80   $    55.80
  9/3/2017 Bill Paulino Jimenez          $12.00   51.55   $   10.00               $    69.30   $    69.30
 9/10/2017 Bill Paulino Jimenez          $12.00   59.83   $   10.00               $   119.00   $   119.00
 9/17/2017 Bill Paulino Jimenez          $12.00   63.83   $   10.00               $   143.00   $   143.00
 9/24/2017 Bill Paulino Jimenez          $12.00   63.67   $   10.00               $   142.00   $   142.00
 10/1/2017 Bill Paulino Jimenez          $12.00   66.07   $   10.00               $   156.40   $   156.40
 10/8/2017 Bill Paulino Jimenez          $12.00   54.28   $   10.00               $    85.70   $    85.70
10/15/2017 Bill Paulino Jimenez          $12.00   64.52   $   10.00               $   147.10   $   147.10
10/22/2017 Bill Paulino Jimenez          $12.00   67.27   $   10.00               $   163.60   $   163.60
10/29/2017 Bill Paulino Jimenez          $12.00   66.75   $   10.00               $   160.50   $   160.50
 11/5/2017 Bill Paulino Jimenez          $12.00   65.95   $   10.00               $   155.70   $   155.70
11/12/2017 Bill Paulino Jimenez          $12.00   54.43   $   10.00               $    86.60   $    86.60
11/19/2017 Bill Paulino Jimenez          $12.00   65.87   $   10.00               $   155.20   $   155.20
11/26/2017 Bill Paulino Jimenez          $12.00   55.05   $   10.00               $    90.30   $    90.30
 12/3/2017 Bill Paulino Jimenez          $12.00   66.05   $   10.00               $   156.30   $   156.30
12/10/2017 Bill Paulino Jimenez          $12.00   64.17   $   10.00               $   145.00   $   145.00
12/17/2017 Bill Paulino Jimenez          $12.00   66.43   $   10.00               $   158.60   $   158.60
12/24/2017 Bill Paulino Jimenez          $12.00   64.47   $   10.00               $   146.80   $   146.80
12/31/2017 Bill Paulino Jimenez          $12.00   46.07   $   11.00               $    36.40   $    36.40
  1/7/2018 Bill Paulino Jimenez          $12.00   47.77   $   11.00               $    46.60   $    46.60



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  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 1/14/2018 Bill Paulino Jimenez           $12.00   46.97   $   11.00          $    41.80   $    41.80
 1/21/2018 Bill Paulino Jimenez           $12.00   66.32   $   11.00          $   157.90   $   157.90
 1/28/2018 Bill Paulino Jimenez           $12.00   55.32   $   11.00          $    91.90   $    91.90
  2/4/2018 Bill Paulino Jimenez           $12.00   63.93   $   11.00          $   143.60   $   143.60
 2/11/2018 Bill Paulino Jimenez           $12.00   61.93   $   11.00          $   131.60   $   131.60
 2/18/2018 Bill Paulino Jimenez           $12.00   57.25   $   11.00          $   103.50   $   103.50
 2/25/2018 Bill Paulino Jimenez           $12.00   60.53   $   11.00          $   123.20   $   123.20
  3/4/2018 Bill Paulino Jimenez           $12.00   55.88   $   11.00          $    95.30   $    95.30
 3/25/2018 Bill Paulino Jimenez           $12.00   64.55   $   11.00          $   147.30   $   147.30
  4/1/2018 Bill Paulino Jimenez           $12.00   65.12   $   11.00          $   150.70   $   150.70
  4/8/2018 Bill Paulino Jimenez           $12.00   55.37   $   11.00          $    92.20   $    92.20
 4/15/2018 Bill Paulino Jimenez           $12.00   58.32   $   11.00          $   109.90   $   109.90
 4/22/2018 Bill Paulino Jimenez           $12.00   60.33   $   11.00          $   122.00   $   122.00
 4/29/2018 Bill Paulino Jimenez           $12.00   62.48   $   11.00          $   134.90   $   134.90
  5/6/2018 Bill Paulino Jimenez           $12.00   66.70   $   11.00          $   160.20   $   160.20
 5/13/2018 Bill Paulino Jimenez           $12.00   64.62   $   11.00          $   147.70   $   147.70
 5/20/2018 Bill Paulino Jimenez           $12.00   41.90   $   11.00          $    11.40   $    11.40
 5/27/2018 Bill Paulino Jimenez           $12.00   65.18   $   11.00          $   151.10   $   151.10
  6/3/2018 Bill Paulino Jimenez           $12.00   59.92   $   11.00          $   119.50   $   119.50
 6/10/2018 Bill Paulino Jimenez           $12.00   65.60   $   11.00          $   153.60   $   153.60
 6/17/2018 Bill Paulino Jimenez           $12.00   59.82   $   11.00          $   118.90   $   118.90
 6/24/2018 Bill Paulino Jimenez           $12.00   51.40   $   11.00          $    68.40   $    68.40
  7/1/2018 Bill Paulino Jimenez           $12.00   61.90   $   11.00          $   131.40   $   131.40
  7/8/2018 Bill Paulino Jimenez           $12.00   41.00   $   11.00          $     6.00   $     6.00
 7/15/2018 Bill Paulino Jimenez           $12.00   66.47   $   11.00          $   158.80   $   158.80
 7/22/2018 Bill Paulino Jimenez           $12.00   65.38   $   11.00          $   152.30   $   152.30
 7/29/2018 Bill Paulino Jimenez           $12.00   63.70   $   11.00          $   142.20   $   142.20
  8/5/2018 Bill Paulino Jimenez           $12.00   53.58   $   11.00          $    81.50   $    81.50
 8/12/2018 Bill Paulino Jimenez           $12.00   63.83   $   11.00          $   143.00   $   143.00
 8/19/2018 Bill Paulino Jimenez           $12.00   66.35   $   11.00          $   158.10   $   158.10
 8/26/2018 Bill Paulino Jimenez           $12.00   65.03   $   11.00          $   150.20   $   150.20
  9/2/2018 Bill Paulino Jimenez           $12.00   64.40   $   11.00          $   146.40   $   146.40
  9/9/2018 Bill Paulino Jimenez           $12.00   53.75   $   11.00          $    82.50   $    82.50
 9/16/2018 Bill Paulino Jimenez           $12.00   54.93   $   11.00          $    89.60   $    89.60
 9/23/2018 Bill Paulino Jimenez           $12.00   48.68   $   11.00          $    52.10   $    52.10
10/21/2018 Bill Paulino Jimenez           $12.00   41.53   $   11.00          $     9.20   $     9.20
10/28/2018 Bill Paulino Jimenez           $12.00   52.03   $   11.00          $    72.20   $    72.20
 11/4/2018 Bill Paulino Jimenez           $12.00   66.77   $   11.00          $   160.60   $   160.60
11/11/2018 Bill Paulino Jimenez           $12.00   64.67   $   11.00          $   148.00   $   148.00
11/18/2018 Bill Paulino Jimenez           $12.00   58.22   $   11.00          $   109.30   $   109.30
11/25/2018 Bill Paulino Jimenez           $12.00   48.68   $   11.00          $    52.10   $    52.10
 12/2/2018 Bill Paulino Jimenez           $12.00   60.05   $   11.00          $   120.30   $   120.30
 12/9/2018 Bill Paulino Jimenez           $12.00   59.57   $   11.00          $   117.40   $   117.40
12/16/2018 Bill Paulino Jimenez           $12.00   59.87   $   11.00          $   119.20   $   119.20
12/23/2018 Bill Paulino Jimenez           $12.00   52.40   $   11.00          $    74.40   $    74.40
12/30/2018 Bill Paulino Jimenez           $12.00   47.23   $   11.00          $    43.40   $    43.40
  1/6/2019 Bill Paulino Jimenez           $12.00   49.30   $   12.00          $    55.80   $    55.80
 1/13/2019 Bill Paulino Jimenez           $12.00   59.93   $   12.00          $   119.60   $   119.60
 1/20/2019 Bill Paulino Jimenez           $12.00   61.95   $   12.00          $   131.70   $   131.70
 1/27/2019 Bill Paulino Jimenez           $12.00   63.03   $   12.00          $   138.20   $   138.20
  2/3/2019 Bill Paulino Jimenez           $12.00   47.53   $   12.00          $    45.20   $    45.20



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  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 2/10/2019 Bill Paulino Jimenez           $12.00   64.67   $   12.00               $   148.00   $   148.00
 2/17/2019 Bill Paulino Jimenez           $12.00   62.52   $   12.00               $   135.10   $   135.10
 2/24/2019 Bill Paulino Jimenez           $12.00   64.17   $   12.00               $   145.00   $   145.00
  3/3/2019 Bill Paulino Jimenez           $12.00   64.30   $   12.00               $   145.80   $   145.80
 3/10/2019 Bill Paulino Jimenez           $12.00   58.97   $   12.00               $   113.80   $   113.80
 3/17/2019 Bill Paulino Jimenez           $12.00   55.93   $   12.00               $    95.60   $    95.60
 3/24/2019 Bill Paulino Jimenez           $12.00   64.25   $   12.00               $   145.50   $   145.50
 3/31/2019 Bill Paulino Jimenez           $12.00   66.12   $   12.00               $   156.70   $   156.70
  4/7/2019 Bill Paulino Jimenez           $12.00   65.20   $   12.00               $   151.20   $   151.20
 4/14/2019 Bill Paulino Jimenez           $12.00   64.85   $   12.00               $   149.10   $   149.10
 4/21/2019 Bill Paulino Jimenez           $12.00   51.15   $   12.00               $    66.90   $    66.90
 4/28/2019 Bill Paulino Jimenez           $12.00   68.78   $   12.00               $   172.70   $   172.70
  5/5/2019 Bill Paulino Jimenez           $12.00   68.85   $   12.00               $   173.10   $   173.10
 5/12/2019 Bill Paulino Jimenez           $12.00   65.73   $   12.00               $   154.40   $   154.40
 5/19/2019 Bill Paulino Jimenez           $12.00   63.03   $   12.00               $   138.20   $   138.20
 5/26/2019 Bill Paulino Jimenez           $12.00   63.78   $   12.00               $   142.70   $   142.70
  6/2/2019 Bill Paulino Jimenez           $12.00   41.30   $   12.00               $     7.80   $     7.80
  6/9/2019 Bill Paulino Jimenez           $12.00   63.38   $   12.00               $   140.30   $   140.30
 6/16/2019 Bill Paulino Jimenez           $12.00   62.38   $   12.00               $   134.30   $   134.30
 6/23/2019 Bill Paulino Jimenez           $12.00   58.92   $   12.00               $   113.50   $   113.50
 6/30/2019 Bill Paulino Jimenez           $12.00   66.85   $   12.00               $   161.10   $   161.10
  7/7/2019 Bill Paulino Jimenez           $12.00   56.80   $   12.00               $   100.80   $   100.80
 7/14/2019 Bill Paulino Jimenez           $12.00   68.83   $   12.00               $   173.00   $   173.00
 7/21/2019 Bill Paulino Jimenez           $12.00   68.67   $   12.00               $   172.00   $   172.00
 7/28/2019 Bill Paulino Jimenez           $12.00   68.03   $   12.00               $   168.20   $   168.20
  8/4/2019 Bill Paulino Jimenez           $12.00   68.68   $   12.00               $   172.10   $   172.10
 8/11/2019 Bill Paulino Jimenez           $12.00   68.27   $   12.00               $   169.60   $   169.60
 8/18/2019 Bill Paulino Jimenez           $12.00   66.62   $   12.00               $   159.70   $   159.70
 8/25/2019 Bill Paulino Jimenez           $12.00   67.68   $   12.00               $   166.10   $   166.10
  9/1/2019 Bill Paulino Jimenez           $12.00   58.40   $   12.00               $   110.40   $   110.40
  9/8/2019 Bill Paulino Jimenez           $12.00   55.72   $   12.00               $    94.30   $    94.30
 9/15/2019 Bill Paulino Jimenez           $12.00   67.97   $   12.00               $   167.80   $   167.80
 9/22/2019 Bill Paulino Jimenez           $12.00   67.47   $   12.00               $   164.80   $   164.80
 9/29/2019 Bill Paulino Jimenez           $12.00   67.92   $   12.00               $   167.50   $   167.50
 10/6/2019 Bill Paulino Jimenez           $12.00   55.33   $   12.00               $    92.00   $    92.00
10/13/2019 Bill Paulino Jimenez           $12.00   67.12   $   12.00               $   162.70   $   162.70
10/20/2019 Bill Paulino Jimenez           $13.00   61.47   $   12.00               $   139.53   $   139.53
10/27/2019 Bill Paulino Jimenez           $13.00   62.03   $   12.00               $   143.22   $   143.22
 11/3/2019 Bill Paulino Jimenez           $13.00   61.77   $   12.00               $   141.48   $   141.48
11/10/2019 Bill Paulino Jimenez           $13.00   61.57   $   12.00               $   140.18   $   140.18
11/17/2019 Bill Paulino Jimenez           $13.00   53.45   $   12.00               $    87.43   $    87.43
11/24/2019 Bill Paulino Jimenez           $13.00   62.08   $   12.00               $   143.54   $   143.54
 12/1/2019 Bill Paulino Jimenez           $13.00   51.02   $   12.00               $    71.61   $    71.61
 12/8/2019 Bill Paulino Jimenez           $13.00   60.05   $   12.00               $   130.33   $   130.33
12/15/2019 Bill Paulino Jimenez           $12.00   67.57   $   12.00               $   165.40   $   165.40
12/22/2019 Bill Paulino Jimenez           $12.00   68.17   $   12.00               $   169.00   $   169.00
12/29/2019 Bill Paulino Jimenez           $12.00   43.60   $   12.00               $    21.60   $    21.60
 1/26/2020 Bill Paulino Jimenez           $12.00   63.73   $   13.00   $   63.73   $   154.27   $   218.00
 1/14/2018 Bryan Nin                      $11.00   61.10   $   11.00               $   116.05   $   116.05
 1/21/2018 Bryan Nin                      $11.00   58.32   $   11.00               $   100.74   $   100.74
 1/28/2018 Bryan Nin                      $11.00   46.55   $   11.00               $    36.03   $    36.03



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                                   Westchester Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                         Hourly Hours /
 Ending                    Name                         Minimum Regular Half-Time Overtime Back
                                          Rate   Week
  Date                                                   Wage   Rate Due     Due       Wages Due

  2/4/2018 Bryan Nin                     $11.00   57.48   $   11.00               $    96.16   $    96.16
 2/11/2018 Bryan Nin                     $11.00   60.95   $   11.00               $   115.23   $   115.23
 2/18/2018 Bryan Nin                     $11.00   59.35   $   11.00               $   106.43   $   106.43
 2/25/2018 Bryan Nin                     $11.00   58.38   $   11.00               $   101.11   $   101.11
  3/4/2018 Bryan Nin                     $11.00   58.08   $   11.00               $    99.46   $    99.46
 3/25/2018 Bryan Nin                     $11.00   51.37   $   11.00               $    62.52   $    62.52
  4/1/2018 Bryan Nin                     $11.00   52.78   $   11.00               $    70.31   $    70.31
 9/23/2018 Bryan Nin                     $11.50   48.38   $   11.00               $    48.20   $    48.20
 9/30/2018 Bryan Nin                     $11.50   47.70   $   11.00               $    44.28   $    44.28
 10/7/2018 Bryan Nin                     $11.50   46.55   $   11.00               $    37.66   $    37.66
10/14/2018 Bryan Nin                     $11.50   53.02   $   11.00               $    74.85   $    74.85
10/21/2018 Bryan Nin                     $11.50   41.98   $   11.00               $    11.40   $    11.40
10/28/2018 Bryan Nin                     $11.50   41.18   $   11.00               $     6.80   $     6.80
 11/4/2018 Bryan Nin                     $11.50   47.55   $   11.00               $    43.41   $    43.41
11/18/2018 Bryan Nin                     $11.50   49.70   $   11.00               $    55.78   $    55.78
11/25/2018 Bryan Nin                     $11.50   40.80   $   11.00               $     4.60   $     4.60
12/23/2018 Bryan Nin                     $11.50   48.02   $   11.00               $    46.10   $    46.10
 1/13/2019 Bryan Nin                     $11.50   40.25   $   12.00   $   20.13   $     1.50   $    21.63
 1/20/2019 Bryan Nin                     $11.50   47.80   $   12.00   $   23.90   $    46.80   $    70.70
 2/10/2019 Bryan Nin                     $11.50   54.57   $   12.00   $   27.28   $    87.40   $   114.68
 2/17/2019 Bryan Nin                     $11.50   51.08   $   12.00   $   25.54   $    66.50   $    92.04
 2/24/2019 Bryan Nin                     $11.50   51.05   $   12.00   $   25.53   $    66.30   $    91.83
  3/3/2019 Bryan Nin                     $11.50   44.02   $   12.00   $   22.01   $    24.10   $    46.11
 3/10/2019 Bryan Nin                     $11.50   70.87   $   12.00   $   35.43   $   185.20   $   220.63
  6/2/2019 Bryan Nin                     $12.00   52.30   $   12.00               $    73.80   $    73.80
  6/9/2019 Bryan Nin                     $12.00   62.05   $   12.00               $   132.30   $   132.30
 6/16/2019 Bryan Nin                     $12.00   62.08   $   12.00               $   132.50   $   132.50
 6/23/2019 Bryan Nin                     $12.00   61.92   $   12.00               $   131.50   $   131.50
 6/30/2019 Bryan Nin                     $12.00   51.05   $   12.00               $    66.30   $    66.30
  7/7/2019 Bryan Nin                     $12.00   40.38   $   12.00               $     2.30   $     2.30
 7/14/2019 Bryan Nin                     $12.00   51.30   $   12.00               $    67.80   $    67.80
 7/21/2019 Bryan Nin                     $12.00   51.37   $   12.00               $    68.20   $    68.20
 7/28/2019 Bryan Nin                     $12.00   59.57   $   12.00               $   117.40   $   117.40
  8/4/2019 Bryan Nin                     $12.00   51.13   $   12.00               $    66.80   $    66.80
 8/11/2019 Bryan Nin                     $12.00   60.68   $   12.00               $   124.10   $   124.10
 8/18/2019 Bryan Nin                     $12.00   61.25   $   12.00               $   127.50   $   127.50
 8/25/2019 Bryan Nin                     $12.00   50.80   $   12.00               $    64.80   $    64.80
  9/1/2019 Bryan Nin                     $12.00   63.18   $   12.00               $   139.10   $   139.10
  9/8/2019 Bryan Nin                     $12.00   60.18   $   12.00               $   121.10   $   121.10
 9/15/2019 Bryan Nin                     $12.00   49.95   $   12.00               $    59.70   $    59.70
 9/22/2019 Bryan Nin                     $12.00   60.52   $   12.00               $   123.10   $   123.10
 9/29/2019 Bryan Nin                     $12.00   61.20   $   12.00               $   127.20   $   127.20
 10/6/2019 Bryan Nin                     $12.00   50.95   $   12.00               $    65.70   $    65.70
10/13/2019 Bryan Nin                     $12.00   50.10   $   12.00               $    60.60   $    60.60
10/20/2019 Bryan Nin                     $12.00   51.35   $   12.00               $    68.10   $    68.10
10/27/2019 Bryan Nin                     $12.00   52.98   $   12.00               $    77.90   $    77.90
 11/3/2019 Bryan Nin                     $12.00   51.62   $   12.00               $    69.70   $    69.70
11/10/2019 Bryan Nin                     $12.00   46.12   $   12.00               $    36.70   $    36.70
11/17/2019 Bryan Nin                     $12.00   51.83   $   12.00               $    71.00   $    71.00
11/24/2019 Bryan Nin                     $12.00   46.30   $   12.00               $    37.80   $    37.80
 1/27/2019 Carlos Jose Fernandez          $9.50   64.68   $   12.00   $ 161.71    $   148.10   $   309.81



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                                   Westchester Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                         Hourly Hours /
 Ending                    Name                         Minimum Regular Half-Time Overtime Back
                                          Rate   Week
  Date                                                   Wage   Rate Due     Due       Wages Due

  2/3/2019 Carlos Jose Fernandez          $9.50   60.08   $   12.00   $   150.21   $   120.50   $   270.71
 2/10/2019 Carlos Jose Fernandez          $9.50   64.47   $   12.00   $   161.17   $   146.80   $   307.97
 2/17/2019 Carlos Jose Fernandez          $9.50   60.05   $   12.00   $   150.13   $   120.30   $   270.43
 2/24/2019 Carlos Jose Fernandez          $9.50   60.03   $   12.00   $   150.08   $   120.20   $   270.28
  3/3/2019 Carlos Jose Fernandez          $9.50   63.93   $   12.00   $   159.83   $   143.60   $   303.43
 3/10/2019 Carlos Jose Fernandez          $9.50   62.93   $   12.00   $   157.33   $   137.60   $   294.93
 3/17/2019 Carlos Jose Fernandez          $9.50   61.73   $   12.00   $   154.33   $   130.40   $   284.73
 3/24/2019 Carlos Jose Fernandez          $9.50   62.48   $   12.00   $   156.21   $   134.90   $   291.11
 3/31/2019 Carlos Jose Fernandez          $9.50   60.32   $   12.00   $   150.79   $   121.90   $   272.69
  4/7/2019 Carlos Jose Fernandez          $9.50   56.85   $   12.00   $   142.13   $   101.10   $   243.23
12/17/2017 Carlos Manuel Brito           $10.00   49.93   $   10.00                $    49.67   $    49.67
12/24/2017 Carlos Manuel Brito           $10.00   65.55   $   10.00                $   127.75   $   127.75
12/31/2017 Carlos Manuel Brito           $10.00   53.95   $   11.00   $    53.95   $    76.73   $   130.68
 1/14/2018 Carlos Manuel Brito           $10.00   66.90   $   11.00   $    66.90   $   147.95   $   214.85
 1/21/2018 Carlos Manuel Brito           $10.00   54.67   $   11.00   $    54.67   $    80.67   $   135.33
 1/28/2018 Carlos Manuel Brito           $10.00   65.53   $   11.00   $    65.53   $   140.43   $   205.97
  2/4/2018 Carlos Manuel Brito           $10.00   63.98   $   11.00   $    63.98   $   131.91   $   195.89
 2/11/2018 Carlos Manuel Brito           $10.00   62.28   $   11.00   $    62.28   $   122.56   $   184.84
 2/18/2018 Carlos Manuel Brito           $10.00   66.63   $   11.00   $    66.63   $   146.48   $   213.12
 2/25/2018 Carlos Manuel Brito           $10.00   55.42   $   11.00   $    55.42   $    84.79   $   140.21
  3/4/2018 Carlos Manuel Brito           $10.00   58.53   $   11.00   $    58.53   $   101.93   $   160.47
 3/25/2018 Carlos Manuel Brito           $10.00   64.55   $   11.00   $    64.55   $   135.03   $   199.58
  4/1/2018 Carlos Manuel Brito           $10.00   65.12   $   11.00   $    65.12   $   138.14   $   203.26
  4/8/2018 Carlos Manuel Brito           $10.00   63.60   $   11.00   $    63.60   $   129.80   $   193.40
 4/15/2018 Carlos Manuel Brito           $10.00   60.67   $   11.00   $    60.67   $   113.67   $   174.33
 4/22/2018 Carlos Manuel Brito           $10.00   60.05   $   11.00   $    60.05   $   110.28   $   170.33
 4/29/2018 Carlos Manuel Brito           $10.00   60.47   $   11.00   $    60.47   $   112.57   $   173.03
  5/6/2018 Carlos Manuel Brito           $10.00   66.68   $   11.00   $    66.68   $   146.76   $   213.44
 5/13/2018 Carlos Manuel Brito           $10.00   64.18   $   11.00   $    64.18   $   133.01   $   197.19
 5/20/2018 Carlos Manuel Brito           $10.00   41.83   $   11.00   $    41.83   $    10.08   $    51.92
 5/27/2018 Carlos Manuel Brito           $10.00   65.42   $   11.00   $    65.42   $   139.79   $   205.21
  6/3/2018 Carlos Manuel Brito           $10.00   59.90   $   11.00   $    59.90   $   109.45   $   169.35
 6/10/2018 Carlos Manuel Brito           $10.00   53.77   $   11.00   $    53.77   $    75.72   $   129.48
 6/17/2018 Carlos Manuel Brito           $10.00   52.55   $   11.00   $    52.55   $    69.03   $   121.58
 6/24/2018 Carlos Manuel Brito           $10.00   52.18   $   11.00   $    52.18   $    67.01   $   119.19
  7/1/2018 Carlos Manuel Brito           $10.50   60.77   $   11.00   $    30.38   $   114.22   $   144.60
 7/15/2018 Carlos Manuel Brito           $10.50   59.18   $   11.00   $    29.59   $   105.51   $   135.10
 7/22/2018 Carlos Manuel Brito           $10.50   55.17   $   11.00   $    27.58   $    83.42   $   111.00
 7/29/2018 Carlos Manuel Brito           $10.50   62.23   $   11.00   $    31.12   $   122.28   $   153.40
  8/5/2018 Carlos Manuel Brito           $10.50   47.77   $   11.00   $    23.88   $    42.72   $    66.60
 8/12/2018 Carlos Manuel Brito           $10.50   57.95   $   11.00   $    28.98   $    98.73   $   127.70
 8/19/2018 Carlos Manuel Brito           $10.50   56.92   $   11.00   $    28.46   $    93.04   $   121.50
 8/26/2018 Carlos Manuel Brito           $10.50   71.52   $   11.00   $    35.76   $   173.34   $   209.10
  9/2/2018 Carlos Manuel Brito           $10.50   59.83   $   11.00   $    29.92   $   109.08   $   139.00
  9/9/2018 Carlos Manuel Brito           $10.50   44.82   $   11.00   $    22.41   $    26.49   $    48.90
 9/16/2018 Carlos Manuel Brito           $10.50   55.45   $   11.00   $    27.73   $    84.98   $   112.70
 9/23/2018 Carlos Manuel Brito           $10.50   46.58   $   11.00   $    23.29   $    36.21   $    59.50
 9/30/2018 Carlos Manuel Brito           $10.50   45.95   $   11.00   $    22.98   $    32.73   $    55.70
 10/7/2018 Carlos Manuel Brito           $10.50   57.05   $   11.00   $    28.53   $    93.78   $   122.30
10/14/2018 Carlos Manuel Brito           $10.50   46.40   $   11.00   $    23.20   $    35.20   $    58.40
10/28/2018 Carlos Manuel Brito           $10.50   46.22   $   11.00   $    23.11   $    34.19   $    57.30



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                                   Westchester Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                         Hourly Hours /
 Ending                     Name                        Minimum Regular Half-Time Overtime Back
                                          Rate   Week
  Date                                                   Wage   Rate Due     Due       Wages Due

 11/4/2018 Carlos Manuel Brito           $10.50   44.37   $   11.00   $   22.18   $    24.02   $    46.20
11/11/2018 Carlos Manuel Brito           $10.50   54.32   $   11.00   $   27.16   $    78.74   $   105.90
11/18/2018 Carlos Manuel Brito           $10.50   44.68   $   11.00   $   22.34   $    25.76   $    48.10
11/25/2018 Carlos Manuel Brito           $10.50   44.17   $   11.00   $   22.08   $    22.92   $    45.00
 12/2/2018 Carlos Manuel Brito           $10.50   56.55   $   11.00   $   28.28   $    91.03   $   119.30
 12/9/2018 Carlos Manuel Brito           $10.50   55.95   $   11.00   $   27.98   $    87.73   $   115.70
12/16/2018 Carlos Manuel Brito           $10.50   45.60   $   11.00   $   22.80   $    30.80   $    53.60
12/23/2018 Carlos Manuel Brito           $10.50   55.92   $   11.00   $   27.96   $    87.54   $   115.50
12/30/2018 Carlos Manuel Brito           $10.50   41.73   $   11.00   $   20.87   $     9.53   $    30.40
 1/13/2019 Carlos Manuel Brito           $10.50   54.37   $   12.00   $   81.55   $    86.20   $   167.75
 1/20/2019 Carlos Manuel Brito           $10.50   52.62   $   12.00   $   78.93   $    75.70   $   154.63
  2/3/2019 Carlos Manuel Brito           $10.50   43.57   $   12.00   $   65.35   $    21.40   $    86.75
 2/10/2019 Carlos Manuel Brito           $10.50   51.60   $   12.00   $   77.40   $    69.60   $   147.00
 2/17/2019 Carlos Manuel Brito           $10.50   53.85   $   12.00   $   80.78   $    83.10   $   163.88
 2/24/2019 Carlos Manuel Brito           $10.50   41.98   $   12.00   $   62.98   $    11.90   $    74.88
 3/10/2019 Carlos Manuel Brito           $10.50   40.02   $   12.00   $   60.03   $     0.10   $    60.13
 3/17/2019 Carlos Manuel Brito           $10.50   55.22   $   12.00   $   82.83   $    91.30   $   174.13
 3/24/2019 Carlos Manuel Brito           $10.50   54.93   $   12.00   $   82.40   $    89.60   $   172.00
 3/31/2019 Carlos Manuel Brito           $10.50   58.52   $   12.00   $   87.78   $   111.10   $   198.88
  4/7/2019 Carlos Manuel Brito           $10.50   40.27   $   12.00   $   60.40   $     1.60   $    62.00
 4/14/2019 Carlos Manuel Brito           $10.50   56.70   $   12.00   $   85.05   $   100.20   $   185.25
 4/21/2019 Carlos Manuel Brito           $10.50   44.73   $   12.00   $   67.10   $    28.40   $    95.50
 4/28/2019 Carlos Manuel Brito           $10.50   41.02   $   12.00   $   61.53   $     6.10   $    67.63
  5/5/2019 Carlos Manuel Brito           $10.50   54.82   $   12.00   $   82.23   $    88.90   $   171.13
 5/12/2019 Carlos Manuel Brito           $10.50   59.78   $   12.00   $   89.68   $   118.70   $   208.38
 5/19/2019 Carlos Manuel Brito           $10.50   55.60   $   12.00   $   83.40   $    93.60   $   177.00
 5/26/2019 Carlos Manuel Brito           $10.50   56.12   $   12.00   $   84.18   $    96.70   $   180.88
  6/2/2019 Carlos Manuel Brito           $10.50   40.52   $   12.00   $   60.78   $     3.10   $    63.88
  6/9/2019 Carlos Manuel Brito           $10.50   55.95   $   12.00   $   83.93   $    95.70   $   179.63
 6/16/2019 Carlos Manuel Brito           $10.50   44.40   $   12.00   $   66.60   $    26.40   $    93.00
 6/23/2019 Carlos Manuel Brito           $10.50   56.43   $   12.00   $   84.65   $    98.60   $   183.25
 6/30/2019 Carlos Manuel Brito           $10.50   57.42   $   12.00   $   86.13   $   104.50   $   190.63
  7/7/2019 Carlos Manuel Brito           $10.50   44.22   $   12.00   $   66.33   $    25.30   $    91.63
 7/14/2019 Carlos Manuel Brito           $10.50   57.58   $   12.00   $   86.38   $   105.50   $   191.88
 7/21/2019 Carlos Manuel Brito           $10.50   55.90   $   12.00   $   83.85   $    95.40   $   179.25
 7/28/2019 Carlos Manuel Brito           $10.50   52.22   $   12.00   $   78.33   $    73.30   $   151.63
  8/4/2019 Carlos Manuel Brito           $10.50   47.97   $   12.00   $   71.95   $    47.80   $   119.75
 8/11/2019 Carlos Manuel Brito           $10.50   54.68   $   12.00   $   82.03   $    88.10   $   170.13
 8/18/2019 Carlos Manuel Brito           $10.50   54.95   $   12.00   $   82.43   $    89.70   $   172.13
 8/25/2019 Carlos Manuel Brito           $10.50   55.02   $   12.00   $   82.53   $    90.10   $   172.63
  9/1/2019 Carlos Manuel Brito           $10.50   57.63   $   12.00   $   86.45   $   105.80   $   192.25
  9/8/2019 Carlos Manuel Brito           $10.50   44.43   $   12.00   $   66.65   $    26.60   $    93.25
 9/22/2019 Carlos Manuel Brito           $10.50   55.98   $   12.00   $   83.98   $    95.90   $   179.88
 9/29/2019 Carlos Manuel Brito           $10.50   55.50   $   12.00   $   83.25   $    93.00   $   176.25
 10/6/2019 Carlos Manuel Brito           $10.50   59.48   $   12.00   $   89.23   $   116.90   $   206.13
10/13/2019 Carlos Manuel Brito           $10.50   49.92   $   12.00   $   74.88   $    59.50   $   134.38
10/20/2019 Carlos Manuel Brito           $13.00   50.85   $   12.00               $    70.53   $    70.53
10/27/2019 Carlos Manuel Brito           $13.00   56.68   $   12.00               $   108.44   $   108.44
 11/3/2019 Carlos Manuel Brito           $13.00   54.57   $   12.00               $    94.68   $    94.68
11/10/2019 Carlos Manuel Brito           $13.00   56.13   $   12.00               $   104.87   $   104.87
11/17/2019 Carlos Manuel Brito           $13.00   54.75   $   12.00               $    95.88   $    95.88



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  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                     Name                         Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

11/24/2019 Carlos Manuel Brito            $13.00   51.27   $   12.00                $    73.23   $    73.23
 12/1/2019 Carlos Manuel Brito            $13.00   44.80   $   12.00                $    31.20   $    31.20
 12/8/2019 Carlos Manuel Brito            $13.00   48.48   $   12.00                $    55.14   $    55.14
12/15/2019 Carlos Manuel Brito            $10.50   58.87   $   12.00   $    88.30   $   113.20   $   201.50
12/22/2019 Carlos Manuel Brito            $10.50   61.43   $   12.00   $    92.15   $   128.60   $   220.75
12/29/2019 Carlos Manuel Brito            $10.50   41.77   $   12.00   $    62.65   $    10.60   $    73.25
  1/5/2020 Carlos Manuel Brito            $10.50   48.25   $   13.00   $   120.63   $    53.63   $   174.25
 1/12/2020 Carlos Manuel Brito            $10.50   48.92   $   13.00   $   122.29   $    57.96   $   180.25
 1/19/2020 Carlos Manuel Brito            $10.50   59.63   $   13.00   $   149.08   $   127.62   $   276.70
 1/26/2020 Carlos Manuel Brito            $10.50   60.88   $   13.00   $   152.21   $   135.74   $   287.95
 1/14/2018 Carlos Medina                   $9.50   52.95   $   11.00   $    79.43   $    71.23   $   150.65
 1/21/2018 Carlos Medina                   $9.50   50.07   $   11.00   $    75.10   $    55.37   $   130.47
 1/28/2018 Carlos Medina                   $9.50   65.27   $   11.00   $    97.90   $   138.97   $   236.87
  2/4/2018 Carlos Medina                   $9.50   68.57   $   11.00   $   102.85   $   157.12   $   259.97
 2/11/2018 Carlos Medina                   $9.50   69.73   $   11.00   $   104.60   $   163.53   $   268.13
 2/18/2018 Carlos Medina                   $9.50   66.82   $   11.00   $   100.23   $   147.49   $   247.72
 2/25/2018 Carlos Medina                   $9.50   68.08   $   11.00   $   102.13   $   154.46   $   256.58
  3/4/2018 Carlos Medina                   $9.50   67.20   $   11.00   $   100.80   $   149.60   $   250.40
 3/25/2018 Carlos Medina                   $9.50   65.88   $   11.00   $    98.83   $   142.36   $   241.18
  4/1/2018 Carlos Medina                   $9.50   70.82   $   11.00   $   106.23   $   169.49   $   275.72
  4/8/2018 Carlos Medina                   $9.50   69.93   $   11.00   $   104.90   $   164.63   $   269.53
 4/15/2018 Carlos Medina                   $9.50   69.72   $   11.00   $   104.58   $   163.44   $   268.02
 4/22/2018 Carlos Medina                   $9.50   69.55   $   11.00   $   104.33   $   162.53   $   266.85
 4/29/2018 Carlos Medina                   $9.50   69.80   $   11.00   $   104.70   $   163.90   $   268.60
  5/6/2018 Carlos Medina                   $9.50   69.70   $   11.00   $   104.55   $   163.35   $   267.90
 5/13/2018 Carlos Medina                   $9.50   70.13   $   11.00   $   105.20   $   165.73   $   270.93
 5/20/2018 Carlos Medina                   $9.50   65.72   $   11.00   $    98.58   $   141.44   $   240.02
 5/27/2018 Carlos Medina                   $9.50   68.98   $   11.00   $   103.48   $   159.41   $   262.88
  6/3/2018 Carlos Medina                   $9.50   56.25   $   11.00   $    84.38   $    89.38   $   173.75
 6/10/2018 Carlos Medina                   $9.50   68.68   $   11.00   $   103.03   $   157.76   $   260.78
 6/17/2018 Carlos Medina                   $9.50   64.05   $   11.00   $    96.08   $   132.28   $   228.35
 6/24/2018 Carlos Medina                   $9.50   70.68   $   11.00   $   106.03   $   168.76   $   274.78
  7/1/2018 Carlos Medina                   $9.50   71.45   $   11.00   $   107.18   $   172.98   $   280.15
 7/15/2018 Carlos Medina                   $9.50   57.27   $   11.00   $    85.90   $    94.97   $   180.87
 7/22/2018 Carlos Medina                   $9.50   51.13   $   11.00   $    76.70   $    61.23   $   137.93
  9/9/2018 Carlos Medina                   $9.50   66.12   $   11.00   $    99.18   $   143.64   $   242.82
 9/23/2018 Carlos Medina                   $9.50   53.92   $   11.00   $    80.88   $    76.54   $   157.42
 9/30/2018 Carlos Medina                   $9.50   57.73   $   11.00   $    86.60   $    97.53   $   184.13
 10/7/2018 Carlos Medina                   $9.50   56.75   $   11.00   $    85.13   $    92.13   $   177.25
10/14/2018 Carlos Medina                   $9.50   56.38   $   11.00   $    84.58   $    90.11   $   174.68
10/21/2018 Carlos Medina                   $9.50   58.18   $   11.00   $    87.28   $   100.01   $   187.28
10/28/2018 Carlos Medina                   $9.50   48.35   $   11.00   $    72.53   $    45.93   $   118.45
 11/4/2018 Carlos Medina                   $9.50   51.08   $   11.00   $    76.63   $    60.96   $   137.58
11/11/2018 Carlos Medina                   $9.50   45.17   $   11.00   $    67.75   $    28.42   $    96.17
11/18/2018 Carlos Medina                   $9.50   59.02   $   11.00   $    88.53   $   104.59   $   193.12
11/25/2018 Carlos Medina                   $9.50   50.23   $   11.00   $    75.35   $    56.28   $   131.63
 12/2/2018 Carlos Medina                   $9.50   46.12   $   11.00   $    69.18   $    33.64   $   102.82
 12/9/2018 Carlos Medina                   $9.50   56.68   $   11.00   $    85.03   $    91.76   $   176.78
 7/29/2018 Carlos Miguel Bautista          $9.50   62.45   $   11.00   $    93.68   $   123.48   $   217.15
  8/5/2018 Carlos Miguel Bautista          $9.50   61.02   $   11.00   $    91.53   $   115.59   $   207.12
 8/12/2018 Carlos Miguel Bautista          $9.50   53.33   $   11.00   $    80.00   $    73.33   $   153.33



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                                              Exhibit 4
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  Week                                                       State Section 7: Section 7: Total Section 7
                                            Hourly Hours /
 Ending                    Name                            Minimum Regular Half-Time Overtime Back
                                             Rate   Week
  Date                                                      Wage   Rate Due     Due       Wages Due

 8/19/2018 Carlos Miguel Bautista            $9.50   61.03   $   11.00   $    91.55   $   115.68   $   207.23
 8/26/2018 Carlos Miguel Bautista            $9.50   61.25   $   11.00   $    91.88   $   116.88   $   208.75
  9/2/2018 Carlos Miguel Bautista            $9.50   54.53   $   11.00   $    81.80   $    79.93   $   161.73
 9/16/2018 Carlos Miguel Bautista            $9.50   56.48   $   11.00   $    84.73   $    90.66   $   175.38
 9/23/2018 Carlos Miguel Bautista            $9.50   58.05   $   11.00   $    87.08   $    99.28   $   186.35
 9/30/2018 Carlos Miguel Bautista            $9.50   64.48   $   11.00   $    96.73   $   134.66   $   231.38
 10/7/2018 Carlos Miguel Bautista            $9.50   61.22   $   11.00   $    91.83   $   116.69   $   208.52
10/14/2018 Carlos Miguel Bautista            $9.50   58.38   $   11.00   $    87.58   $   101.11   $   188.68
10/21/2018 Carlos Miguel Bautista            $9.50   62.75   $   11.00   $    94.13   $   125.13   $   219.25
10/28/2018 Carlos Miguel Bautista            $9.50   58.20   $   11.00   $    87.30   $   100.10   $   187.40
 11/4/2018 Carlos Miguel Bautista            $9.50   67.75   $   11.00   $   101.63   $   152.63   $   254.25
11/11/2018 Carlos Miguel Bautista            $9.50   68.05   $   11.00   $   102.08   $   154.28   $   256.35
11/18/2018 Carlos Miguel Bautista            $9.50   68.35   $   11.00   $   102.53   $   155.93   $   258.45
11/25/2018 Carlos Miguel Bautista            $9.50   55.92   $   11.00   $    83.88   $    87.54   $   171.42
 12/2/2018 Carlos Miguel Bautista           $10.00   66.45   $   11.00   $    66.45   $   145.48   $   211.93
 12/9/2018 Carlos Miguel Bautista           $10.00   62.52   $   11.00   $    62.52   $   123.84   $   186.36
12/16/2018 Carlos Miguel Bautista           $10.00   63.28   $   11.00   $    63.28   $   128.06   $   191.34
12/23/2018 Carlos Miguel Bautista           $10.00   60.07   $   11.00   $    60.07   $   110.37   $   170.43
12/30/2018 Carlos Miguel Bautista           $10.00   40.57   $   11.00   $    40.57   $     3.12   $    43.68
  1/6/2019 Carlos Miguel Bautista           $10.00   50.23   $   12.00   $   100.47   $    61.40   $   161.87
 1/13/2019 Carlos Miguel Bautista           $10.00   65.72   $   12.00   $   131.43   $   154.30   $   285.73
 1/20/2019 Carlos Miguel Bautista           $10.00   51.38   $   12.00   $   102.77   $    68.30   $   171.07
 1/27/2019 Carlos Miguel Bautista           $10.00   51.12   $   12.00   $   102.23   $    66.70   $   168.93
  2/3/2019 Carlos Miguel Bautista           $10.00   52.97   $   12.00   $   105.93   $    77.80   $   183.73
 2/10/2019 Carlos Miguel Bautista           $10.00   59.08   $   12.00   $   118.17   $   114.50   $   232.67
 2/17/2019 Carlos Miguel Bautista           $10.00   61.80   $   12.00   $   123.60   $   130.80   $   254.40
  2/5/2017 Cecilio Monroy                    $9.00   49.27   $   10.00   $    49.27   $    46.33   $    95.60
 2/12/2017 Cecilio Monroy                    $9.00   47.05   $   10.00   $    47.05   $    35.25   $    82.30
 2/19/2017 Cecilio Monroy                    $9.00   40.10   $   10.00   $    40.10   $     0.50   $    40.60
 2/26/2017 Cecilio Monroy                    $9.00   54.22   $   10.00   $    54.22   $    71.08   $   125.30
 3/25/2018 Cesar Contreras Colin            $10.00   54.38   $   11.00   $    54.38   $    79.11   $   133.49
  4/1/2018 Cesar Contreras Colin            $10.00   58.37   $   11.00   $    58.37   $   101.02   $   159.38
  4/8/2018 Cesar Contreras Colin            $10.00   57.73   $   11.00   $    57.73   $    97.53   $   155.27
 4/15/2018 Cesar Contreras Colin            $10.00   57.63   $   11.00   $    57.63   $    96.98   $   154.62
 4/22/2018 Cesar Contreras Colin            $10.00   57.15   $   11.00   $    57.15   $    94.33   $   151.48
 4/29/2018 Cesar Contreras Colin            $10.00   58.33   $   11.00   $    58.33   $   100.83   $   159.17
  5/6/2018 Cesar Contreras Colin            $10.00   57.48   $   11.00   $    57.48   $    96.16   $   153.64
 5/13/2018 Cesar Contreras Colin            $10.00   57.62   $   11.00   $    57.62   $    96.89   $   154.51
 5/20/2018 Cesar Contreras Colin            $10.00   58.28   $   11.00   $    58.28   $   100.56   $   158.84
 5/27/2018 Cesar Contreras Colin            $10.00   58.58   $   11.00   $    58.58   $   102.21   $   160.79
  6/3/2018 Cesar Contreras Colin            $10.00   40.43   $   11.00   $    40.43   $     2.38   $    42.82
 6/10/2018 Cesar Contreras Colin            $10.00   57.32   $   11.00   $    57.32   $    95.24   $   152.56
 6/17/2018 Cesar Contreras Colin            $10.00   46.75   $   11.00   $    46.75   $    37.13   $    83.88
 6/24/2018 Cesar Contreras Colin            $10.00   56.68   $   11.00   $    56.68   $    91.76   $   148.44
  7/1/2018 Cesar Contreras Colin            $10.00   59.38   $   11.00   $    59.38   $   106.61   $   165.99
 7/15/2018 Cesar Contreras Colin            $10.00   59.12   $   11.00   $    59.12   $   105.14   $   164.26
 7/22/2018 Cesar Contreras Colin            $10.00   59.05   $   11.00   $    59.05   $   104.78   $   163.83
12/10/2017 Cesar Perez - Car Washer         $10.00   65.90   $   10.00                $   129.50   $   129.50
12/17/2017 Cesar Perez - Car Washer         $10.00   67.17   $   10.00                $   135.83   $   135.83
12/24/2017 Cesar Perez - Car Washer         $10.00   57.58   $   10.00                $    87.92   $    87.92
12/31/2017 Cesar Perez - Car Washer         $10.00   42.23   $   11.00   $    42.23   $    12.28   $    54.52



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                                              Exhibit 4
                                      Westchester Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                            Hourly Hours /
 Ending                    Name                            Minimum Regular Half-Time Overtime Back
                                             Rate   Week
  Date                                                      Wage   Rate Due     Due       Wages Due

  1/7/2018 Cesar Perez - Car Washer         $10.00   45.20   $   11.00   $    45.20   $    28.60   $    73.80
 1/14/2018 Cesar Perez - Car Washer         $10.00   52.90   $   11.00   $    52.90   $    70.95   $   123.85
 1/21/2018 Cesar Perez - Car Washer         $10.00   65.33   $   11.00   $    65.33   $   139.33   $   204.67
 1/28/2018 Cesar Perez - Car Washer         $10.00   66.90   $   11.00   $    66.90   $   147.95   $   214.85
  2/4/2018 Cesar Perez - Car Washer         $10.00   67.42   $   11.00   $    67.42   $   150.79   $   218.21
 2/11/2018 Cesar Perez - Car Washer         $10.00   60.32   $   11.00   $    60.32   $   111.74   $   172.06
 2/18/2018 Cesar Perez - Car Washer         $10.00   61.68   $   11.00   $    61.68   $   119.26   $   180.94
10/21/2018 Christian Martinez                $9.50   42.00   $   11.00   $    63.00   $    11.00   $    74.00
10/28/2018 Christian Martinez                $9.50   55.02   $   11.00   $    82.53   $    82.59   $   165.12
 11/4/2018 Christian Martinez                $9.50   53.63   $   11.00   $    80.45   $    74.98   $   155.43
11/11/2018 Christian Martinez                $9.50   65.02   $   11.00   $    97.53   $   137.59   $   235.12
11/18/2018 Christian Martinez                $9.50   63.42   $   11.00   $    95.13   $   128.79   $   223.92
11/25/2018 Christian Martinez                $9.50   41.02   $   11.00   $    61.53   $     5.59   $    67.12
 12/2/2018 Christian Martinez                $9.50   63.00   $   11.00   $    94.50   $   126.50   $   221.00
 12/9/2018 Christian Martinez                $9.50   53.88   $   11.00   $    80.83   $    76.36   $   157.18
12/16/2018 Christian Mena-7202               $9.50   55.13   $   11.00   $    82.70   $    83.23   $   165.93
12/23/2018 Christian Mena-7202               $9.50   65.07   $   11.00   $    97.60   $   137.87   $   235.47
12/30/2018 Christian Mena-7202               $9.50   42.85   $   11.00   $    64.28   $    15.68   $    79.95
  9/9/2018 Christopher Jorge Rosa            $9.50   58.30   $   11.00   $    87.45   $   100.65   $   188.10
 9/16/2018 Christopher Jorge Rosa            $9.50   45.33   $   11.00   $    68.00   $    29.33   $    97.33
 9/23/2018 Christopher Jorge Rosa            $9.50   50.23   $   11.00   $    75.35   $    56.28   $   131.63
 9/30/2018 Christopher Jorge Rosa            $9.50   62.20   $   11.00   $    93.30   $   122.10   $   215.40
 10/7/2018 Christopher Jorge Rosa            $9.50   67.35   $   11.00   $   101.03   $   150.43   $   251.45
10/14/2018 Christopher Jorge Rosa            $9.50   64.55   $   11.00   $    96.83   $   135.03   $   231.85
10/21/2018 Christopher Jorge Rosa            $9.50   65.30   $   11.00   $    97.95   $   139.15   $   237.10
10/28/2018 Christopher Jorge Rosa            $9.50   69.60   $   11.00   $   104.40   $   162.80   $   267.20
 11/4/2018 Christopher Jorge Rosa            $9.50   69.07   $   11.00   $   103.60   $   159.87   $   263.47
11/11/2018 Christopher Jorge Rosa            $9.50   69.57   $   11.00   $   104.35   $   162.62   $   266.97
11/18/2018 Christopher Jorge Rosa            $9.50   69.22   $   11.00   $   103.83   $   160.69   $   264.52
11/25/2018 Christopher Jorge Rosa            $9.50   47.60   $   11.00   $    71.40   $    41.80   $   113.20
 12/2/2018 Christopher Jorge Rosa            $9.50   72.02   $   11.00   $   108.03   $   176.09   $   284.12
 12/9/2018 Christopher Jorge Rosa            $9.50   67.67   $   11.00   $   101.50   $   152.17   $   253.67
12/16/2018 Christopher Jorge Rosa            $9.50   74.48   $   11.00   $   111.73   $   189.66   $   301.38
12/23/2018 Christopher Jorge Rosa            $9.50   56.93   $   11.00   $    85.40   $    93.13   $   178.53
 1/13/2019 Christopher Jorge Rosa            $9.50   72.80   $   12.00   $   182.00   $   196.80   $   378.80
 1/20/2019 Christopher Jorge Rosa            $9.50   71.67   $   12.00   $   179.17   $   190.00   $   369.17
 1/27/2019 Christopher Jorge Rosa            $9.50   72.25   $   12.00   $   180.63   $   193.50   $   374.13
  2/3/2019 Christopher Jorge Rosa            $9.50   70.20   $   12.00   $   175.50   $   181.20   $   356.70
 2/10/2019 Christopher Jorge Rosa            $9.50   67.30   $   12.00   $   168.25   $   163.80   $   332.05
 2/17/2019 Christopher Jorge Rosa            $9.50   70.17   $   12.00   $   175.42   $   181.00   $   356.42
 2/24/2019 Christopher Jorge Rosa            $9.50   67.77   $   12.00   $   169.42   $   166.60   $   336.02
  3/3/2019 Christopher Jorge Rosa            $9.50   69.43   $   12.00   $   173.58   $   176.60   $   350.18
 3/10/2019 Christopher Jorge Rosa            $9.50   70.25   $   12.00   $   175.63   $   181.50   $   357.13
 3/17/2019 Christopher Jorge Rosa            $9.50   69.93   $   12.00   $   174.83   $   179.60   $   354.43
 3/24/2019 Christopher Jorge Rosa            $9.50   70.32   $   12.00   $   175.79   $   181.90   $   357.69
 3/31/2019 Christopher Jorge Rosa            $9.50   68.92   $   12.00   $   172.29   $   173.50   $   345.79
  4/7/2019 Christopher Jorge Rosa            $9.50   71.03   $   12.00   $   177.58   $   186.20   $   363.78
 4/14/2019 Christopher Jorge Rosa            $9.50   67.68   $   12.00   $   169.21   $   166.10   $   335.31
 4/21/2019 Christopher Jorge Rosa            $9.50   69.70   $   12.00   $   174.25   $   178.20   $   352.45
 4/28/2019 Christopher Jorge Rosa            $9.50   65.63   $   12.00   $   164.08   $   153.80   $   317.88
  5/5/2019 Christopher Jorge Rosa            $9.50   74.60   $   12.00   $   186.50   $   207.60   $   394.10



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                                            Exhibit 4
                                    Westchester Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                    Name                          Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 5/12/2019 Christopher Jorge Rosa          $9.50   70.07   $   12.00   $   175.17   $   180.40   $   355.57
 5/19/2019 Christopher Jorge Rosa          $9.50   59.73   $   12.00   $   149.33   $   118.40   $   267.73
 5/26/2019 Christopher Jorge Rosa          $9.50   72.03   $   12.00   $   180.08   $   192.20   $   372.28
  6/2/2019 Christopher Jorge Rosa          $9.50   65.25   $   12.00   $   163.13   $   151.50   $   314.63
  6/9/2019 Christopher Jorge Rosa          $9.50   73.43   $   12.00   $   183.58   $   200.60   $   384.18
 6/16/2019 Christopher Jorge Rosa          $9.50   56.52   $   12.00   $   141.29   $    99.10   $   240.39
 6/23/2019 Christopher Jorge Rosa          $9.50   65.02   $   12.00   $   162.54   $   150.10   $   312.64
 6/30/2019 Christopher Jorge Rosa          $9.50   70.53   $   12.00   $   176.33   $   183.20   $   359.53
 5/21/2017 Daneuris Peralta               $10.00   44.03   $   10.00                $    20.17   $    20.17
 5/28/2017 Daneuris Peralta               $10.00   66.43   $   10.00                $   132.17   $   132.17
  6/4/2017 Daneuris Peralta               $10.00   52.63   $   10.00                $    63.17   $    63.17
 6/11/2017 Daneuris Peralta               $10.00   64.98   $   10.00                $   124.92   $   124.92
 6/18/2017 Daneuris Peralta               $10.00   49.05   $   10.00                $    45.25   $    45.25
 6/25/2017 Daneuris Peralta               $10.00   64.28   $   10.00                $   121.42   $   121.42
  7/2/2017 Daneuris Peralta               $10.00   67.72   $   10.00                $   138.58   $   138.58
  7/9/2017 Daneuris Peralta               $10.00   57.30   $   10.00                $    86.50   $    86.50
 7/16/2017 Daneuris Peralta               $10.00   66.92   $   10.00                $   134.58   $   134.58
 7/23/2017 Daneuris Peralta               $10.00   66.20   $   10.00                $   131.00   $   131.00
 7/30/2017 Daneuris Peralta               $10.00   64.60   $   10.00                $   123.00   $   123.00
  8/6/2017 Daneuris Peralta               $10.00   64.10   $   10.00                $   120.50   $   120.50
 8/13/2017 Daneuris Peralta               $10.00   42.83   $   10.00                $    14.17   $    14.17
 8/20/2017 Daneuris Peralta               $10.00   69.22   $   10.00                $   146.08   $   146.08
 8/27/2017 Daneuris Peralta               $10.00   63.98   $   10.00                $   119.92   $   119.92
  9/3/2017 Daneuris Peralta               $10.00   63.43   $   10.00                $   117.17   $   117.17
 9/10/2017 Daneuris Peralta               $10.00   43.45   $   10.00                $    17.25   $    17.25
 9/17/2017 Daneuris Peralta               $10.00   66.32   $   10.00                $   131.58   $   131.58
 9/24/2017 Daneuris Peralta               $10.00   65.50   $   10.00                $   127.50   $   127.50
 10/1/2017 Daneuris Peralta               $10.00   63.93   $   10.00                $   119.67   $   119.67
 10/8/2017 Daneuris Peralta               $10.00   64.13   $   10.00                $   120.67   $   120.67
10/15/2017 Daneuris Peralta               $10.00   63.65   $   10.00                $   118.25   $   118.25
10/22/2017 Daneuris Peralta               $10.00   64.55   $   10.00                $   122.75   $   122.75
10/29/2017 Daneuris Peralta               $10.00   63.43   $   10.00                $   117.17   $   117.17
 11/5/2017 Daneuris Peralta               $10.00   63.60   $   10.00                $   118.00   $   118.00
11/12/2017 Daneuris Peralta               $10.00   63.58   $   10.00                $   117.92   $   117.92
11/19/2017 Daneuris Peralta               $10.00   63.05   $   10.00                $   115.25   $   115.25
11/26/2017 Daneuris Peralta               $10.00   53.32   $   10.00                $    66.58   $    66.58
 12/3/2017 Daneuris Peralta               $10.00   66.72   $   10.00                $   133.58   $   133.58
12/10/2017 Daneuris Peralta               $10.00   68.05   $   10.00                $   140.25   $   140.25
 2/18/2018 Daneuris Peralta               $10.00   52.65   $   11.00   $    52.65   $    69.58   $   122.23
 2/25/2018 Daneuris Peralta               $10.00   64.02   $   11.00   $    64.02   $   132.09   $   196.11
  3/4/2018 Daneuris Peralta               $10.00   63.90   $   11.00   $    63.90   $   131.45   $   195.35
 3/25/2018 Daneuris Peralta               $10.00   61.62   $   11.00   $    61.62   $   118.89   $   180.51
  4/1/2018 Daneuris Peralta               $10.00   67.57   $   11.00   $    67.57   $   151.62   $   219.18
  4/8/2018 Daneuris Peralta               $10.00   65.63   $   11.00   $    65.63   $   140.98   $   206.62
 4/15/2018 Daneuris Peralta               $10.00   65.12   $   11.00   $    65.12   $   138.14   $   203.26
 4/22/2018 Daneuris Peralta               $10.00   65.47   $   11.00   $    65.47   $   140.07   $   205.53
 4/29/2018 Daneuris Peralta               $10.00   65.30   $   11.00   $    65.30   $   139.15   $   204.45
  5/6/2018 Daneuris Peralta               $10.00   64.73   $   11.00   $    64.73   $   136.03   $   200.77
 5/13/2018 Daneuris Peralta               $10.00   65.07   $   11.00   $    65.07   $   137.87   $   202.93
 5/20/2018 Daneuris Peralta               $10.00   64.60   $   11.00   $    64.60   $   135.30   $   199.90
 5/27/2018 Daneuris Peralta               $10.00   65.83   $   11.00   $    65.83   $   142.08   $   207.92



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                                             Exhibit 4
                                     Westchester Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                           Hourly Hours /
 Ending                       Name                        Minimum Regular Half-Time Overtime Back
                                            Rate   Week
  Date                                                     Wage   Rate Due     Due       Wages Due

  6/3/2018 Daneuris Peralta                $10.00   54.08   $   11.00   $    54.08   $    77.46   $   131.54
 6/10/2018 Daneuris Peralta                $10.00   64.68   $   11.00   $    64.68   $   135.76   $   200.44
 6/17/2018 Daneuris Peralta                $10.00   53.03   $   11.00   $    53.03   $    71.68   $   124.72
 6/24/2018 Daneuris Peralta                $10.00   64.28   $   11.00   $    64.28   $   133.56   $   197.84
  7/1/2018 Daneuris Peralta                $10.00   63.78   $   11.00   $    63.78   $   130.81   $   194.59
  7/8/2018 Daneuris Peralta                $10.00   46.90   $   11.00   $    46.90   $    37.95   $    84.85
 7/15/2018 Daneuris Peralta                $10.00   51.92   $   11.00   $    51.92   $    65.54   $   117.46
 7/22/2018 Daneuris Peralta                $10.00   62.25   $   11.00   $    62.25   $   122.38   $   184.63
 7/29/2018 Daneuris Peralta                $10.00   58.72   $   11.00   $    58.72   $   102.94   $   161.66
  8/5/2018 Daneuris Peralta                $10.00   58.87   $   11.00   $    58.87   $   103.77   $   162.63
 8/12/2018 Daneuris Peralta                $10.00   57.93   $   11.00   $    57.93   $    98.63   $   156.57
 8/19/2018 Daneuris Peralta                $10.00   53.07   $   11.00   $    53.07   $    71.87   $   124.93
 8/26/2018 Daneuris Peralta                $10.00   72.35   $   11.00   $    72.35   $   177.93   $   250.28
  9/9/2018 Daneuris Peralta                $10.00   59.93   $   11.00   $    59.93   $   109.63   $   169.57
 9/16/2018 Daneuris Peralta                $10.00   55.45   $   11.00   $    55.45   $    84.98   $   140.43
 9/23/2018 Daneuris Peralta                $10.00   56.60   $   11.00   $    56.60   $    91.30   $   147.90
 9/30/2018 Daneuris Peralta                $10.00   55.87   $   11.00   $    55.87   $    87.27   $   143.13
 10/7/2018 Daneuris Peralta                $10.00   57.07   $   11.00   $    57.07   $    93.87   $   150.93
10/14/2018 Daneuris Peralta                $10.00   56.37   $   11.00   $    56.37   $    90.02   $   146.38
10/21/2018 Daneuris Peralta                $10.00   55.80   $   11.00   $    55.80   $    86.90   $   142.70
10/28/2018 Daneuris Peralta                $10.00   54.50   $   11.00   $    54.50   $    79.75   $   134.25
 11/4/2018 Daneuris Peralta                $10.00   52.78   $   11.00   $    52.78   $    70.31   $   123.09
11/11/2018 Daneuris Peralta                $10.00   45.65   $   11.00   $    45.65   $    31.08   $    76.73
11/18/2018 Daneuris Peralta                $10.00   54.78   $   11.00   $    54.78   $    81.31   $   136.09
11/25/2018 Daneuris Peralta                $10.00   46.02   $   11.00   $    46.02   $    33.09   $    79.11
 12/2/2018 Daneuris Peralta                $10.00   56.72   $   11.00   $    56.72   $    91.94   $   148.66
 12/9/2018 Daneuris Peralta                $10.00   56.35   $   11.00   $    56.35   $    89.93   $   146.28
 4/28/2019 Daneuris Peralta                $10.00   56.20   $   12.00   $   112.40   $    97.20   $   209.60
  5/5/2019 Daneuris Peralta                $10.00   66.23   $   12.00   $   132.47   $   157.40   $   289.87
 5/12/2019 Daneuris Peralta                $10.00   64.75   $   12.00   $   129.50   $   148.50   $   278.00
 5/19/2019 Daneuris Peralta                $10.00   65.50   $   12.00   $   131.00   $   153.00   $   284.00
 5/26/2019 Daneuris Peralta                $10.00   65.78   $   12.00   $   131.57   $   154.70   $   286.27
  6/2/2019 Daneuris Peralta                $10.00   54.87   $   12.00   $   109.73   $    89.20   $   198.93
  6/9/2019 Daneuris Peralta                $10.00   65.48   $   12.00   $   130.97   $   152.90   $   283.87
 6/16/2019 Daneuris Peralta                $10.00   66.08   $   12.00   $   132.17   $   156.50   $   288.67
 6/23/2019 Daneuris Peralta                $10.00   65.63   $   12.00   $   131.27   $   153.80   $   285.07
 6/30/2019 Daneuris Peralta                $10.00   66.23   $   12.00   $   132.47   $   157.40   $   289.87
  7/7/2019 Daneuris Peralta                $11.00   53.67   $   12.00   $    53.67   $    82.00   $   135.67
 7/14/2019 Daneuris Peralta                $11.00   53.43   $   12.00   $    53.43   $    80.60   $   134.03
 7/21/2019 Daneuris Peralta                $11.00   64.30   $   12.00   $    64.30   $   145.80   $   210.10
 7/28/2019 Daneuris Peralta                $11.00   46.68   $   12.00   $    46.68   $    40.10   $    86.78
  8/4/2019 Daneuris Peralta                $11.00   44.53   $   12.00   $    44.53   $    27.20   $    71.73
  9/1/2019 Daneuris Peralta                $11.00   60.17   $   12.00   $    60.17   $   121.00   $   181.17
  9/8/2019 Daneuris Peralta                $11.00   57.18   $   12.00   $    57.18   $   103.10   $   160.28
 9/15/2019 Daneuris Peralta                $11.00   59.33   $   12.00   $    59.33   $   116.00   $   175.33
 9/22/2019 Daneuris Peralta                $11.00   49.77   $   12.00   $    49.77   $    58.60   $   108.37
 9/29/2019 Daneuris Peralta                $11.00   59.55   $   12.00   $    59.55   $   117.30   $   176.85
 10/6/2019 Daneuris Peralta                $11.00   68.22   $   12.00   $    68.22   $   169.30   $   237.52
10/13/2019 Daneuris Peralta                $11.00   58.95   $   12.00   $    58.95   $   113.70   $   172.65
10/20/2019 Daneuris Peralta                $11.00   59.25   $   12.00   $    59.25   $   115.50   $   174.75
10/27/2019 Daneuris Peralta                $11.00   57.22   $   12.00   $    57.22   $   103.30   $   160.52



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                                             Exhibit 4
                                     Westchester Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                           Hourly Hours /
 Ending                       Name                        Minimum Regular Half-Time Overtime Back
                                            Rate   Week
  Date                                                     Wage   Rate Due     Due       Wages Due

 11/3/2019 Daneuris Peralta                $11.00   58.20   $   12.00   $    58.20   $   109.20   $   167.40
11/10/2019 Daneuris Peralta                $11.00   58.75   $   12.00   $    58.75   $   112.50   $   171.25
11/17/2019 Daneuris Peralta                $11.00   57.23   $   12.00   $    57.23   $   103.40   $   160.63
11/24/2019 Daneuris Peralta                $11.00   49.02   $   12.00   $    49.02   $    54.10   $   103.12
 12/1/2019 Daneuris Peralta                $11.00   48.77   $   12.00   $    48.77   $    52.60   $   101.37
 12/8/2019 Daneuris Peralta                $11.00   58.57   $   12.00   $    58.57   $   111.40   $   169.97
12/15/2019 Daneuris Peralta                $11.00   59.05   $   12.00   $    59.05   $   114.30   $   173.35
12/22/2019 Daneuris Peralta                $11.00   59.23   $   12.00   $    59.23   $   115.40   $   174.63
12/29/2019 Daneuris Peralta                $11.00   47.58   $   12.00   $    47.58   $    45.50   $    93.08
  1/5/2020 Daneuris Peralta                $11.00   48.65   $   13.00   $    97.30   $    56.23   $   153.53
 1/12/2020 Daneuris Peralta                $11.00   59.78   $   13.00   $   119.57   $   128.59   $   248.16
 1/19/2020 Daneuris Peralta                $11.00   59.98   $   13.00   $   119.97   $   129.89   $   249.86
 12/2/2018 Daris Morales                   $10.00   70.52   $   11.00   $    70.52   $   167.84   $   238.36
12/16/2018 Daris Morales                   $10.00   58.33   $   11.00   $    58.33   $   100.83   $   159.17
12/23/2018 Daris Morales                   $10.00   47.47   $   11.00   $    47.47   $    41.07   $    88.53
12/30/2018 Daris Morales                   $10.00   54.30   $   11.00   $    54.30   $    78.65   $   132.95
  1/6/2019 Daris Morales                   $10.00   49.38   $   12.00   $    98.77   $    56.30   $   155.07
 1/13/2019 Daris Morales                   $10.00   62.88   $   12.00   $   125.77   $   137.30   $   263.07
 1/20/2019 Daris Morales                   $10.00   59.62   $   12.00   $   119.23   $   117.70   $   236.93
 1/27/2019 Daris Morales                   $10.00   58.72   $   12.00   $   117.43   $   112.30   $   229.73
  2/3/2019 Daris Morales                   $10.00   58.23   $   12.00   $   116.47   $   109.40   $   225.87
 2/10/2019 Daris Morales                   $10.00   64.43   $   12.00   $   128.87   $   146.60   $   275.47
 2/17/2019 Daris Morales                   $10.00   52.98   $   12.00   $   105.97   $    77.90   $   183.87
 2/24/2019 Daris Morales                   $10.00   73.23   $   12.00   $   146.47   $   199.40   $   345.87
  3/3/2019 Daris Morales                   $10.00   71.63   $   12.00   $   143.27   $   189.80   $   333.07
  9/9/2018 Deini Reynoso                   $10.50   53.03   $   11.00   $    26.52   $    71.68   $    98.20
 9/16/2018 Deini Reynoso                   $10.50   60.18   $   11.00   $    30.09   $   111.01   $   141.10
 9/23/2018 Deini Reynoso                   $10.50   64.42   $   11.00   $    32.21   $   134.29   $   166.50
 9/30/2018 Deini Reynoso                   $10.50   65.00   $   11.00   $    32.50   $   137.50   $   170.00
 10/7/2018 Deini Reynoso                   $10.50   64.65   $   11.00   $    32.33   $   135.58   $   167.90
10/14/2018 Deini Reynoso                   $10.50   57.57   $   11.00   $    28.78   $    96.62   $   125.40
10/21/2018 Deini Reynoso                   $10.50   47.28   $   11.00   $    23.64   $    40.06   $    63.70
10/28/2018 Deini Reynoso                   $10.50   63.40   $   11.00   $    31.70   $   128.70   $   160.40
 4/23/2017 Delbi Reyes                      $9.50   63.33   $   10.00   $    31.67   $   116.67   $   148.33
 4/30/2017 Delbi Reyes                      $9.50   63.53   $   10.00   $    31.77   $   117.67   $   149.43
  5/7/2017 Delbi Reyes                      $9.50   58.98   $   10.00   $    29.49   $    94.92   $   124.41
 5/14/2017 Delbi Reyes                      $9.50   64.92   $   10.00   $    32.46   $   124.58   $   157.04
 5/21/2017 Delbi Reyes                      $9.50   67.55   $   10.00   $    33.78   $   137.75   $   171.53
 5/28/2017 Delbi Reyes                      $9.50   66.42   $   10.00   $    33.21   $   132.08   $   165.29
  6/4/2017 Delbi Reyes                      $9.50   52.63   $   10.00   $    26.32   $    63.17   $    89.48
 6/11/2017 Delbi Reyes                      $9.50   65.08   $   10.00   $    32.54   $   125.42   $   157.96
 6/18/2017 Delbi Reyes                      $9.50   49.07   $   10.00   $    24.53   $    45.33   $    69.87
 6/25/2017 Delbi Reyes                      $9.50   64.28   $   10.00   $    32.14   $   121.42   $   153.56
  7/2/2017 Delbi Reyes                      $9.50   67.70   $   10.00   $    33.85   $   138.50   $   172.35
  7/9/2017 Delbi Reyes                      $9.50   57.30   $   10.00   $    28.65   $    86.50   $   115.15
 7/16/2017 Delbi Reyes                      $9.50   66.50   $   10.00   $    33.25   $   132.50   $   165.75
 7/23/2017 Delbi Reyes                      $9.50   62.15   $   10.00   $    31.08   $   110.75   $   141.83
 7/30/2017 Delbi Reyes                      $9.50   61.92   $   10.00   $    30.96   $   109.58   $   140.54
  8/6/2017 Delbi Reyes                      $9.50   62.97   $   10.00   $    31.48   $   114.83   $   146.32
 8/13/2017 Delbi Reyes                      $9.50   61.57   $   10.00   $    30.78   $   107.83   $   138.62
 8/20/2017 Delbi Reyes                      $9.50   52.55   $   10.00   $    26.28   $    62.75   $    89.03



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                                            Exhibit 4
                                    Westchester Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 8/27/2017 Delbi Reyes                     $9.50   54.37   $   10.00   $   27.18   $    71.83   $    99.02
  9/3/2017 Delbi Reyes                     $9.50   62.70   $   10.00   $   31.35   $   113.50   $   144.85
 9/10/2017 Delbi Reyes                     $9.50   53.28   $   10.00   $   26.64   $    66.42   $    93.06
 9/17/2017 Delbi Reyes                     $9.50   44.67   $   10.00   $   22.33   $    23.33   $    45.67
 8/26/2018 Disleury Reyes                  $9.50   65.05   $   11.00   $   97.58   $   137.78   $   235.35
  9/2/2018 Disleury Reyes                  $9.50   65.67   $   11.00   $   98.50   $   141.17   $   239.67
  9/9/2018 Disleury Reyes                  $9.50   54.32   $   11.00   $   81.48   $    78.74   $   160.22
 9/16/2018 Disleury Reyes                  $9.50   52.53   $   11.00   $   78.80   $    68.93   $   147.73
 9/23/2018 Disleury Reyes                  $9.50   64.62   $   11.00   $   96.93   $   135.39   $   232.32
 9/30/2018 Disleury Reyes                  $9.50   52.42   $   11.00   $   78.63   $    68.29   $   146.92
 10/7/2018 Disleury Reyes                  $9.50   53.73   $   11.00   $   80.60   $    75.53   $   156.13
 1/14/2018 Diver Valencia                 $10.00   64.78   $   11.00   $   64.78   $   136.31   $   201.09
 1/21/2018 Diver Valencia                 $10.00   62.25   $   11.00   $   62.25   $   122.38   $   184.63
 1/28/2018 Diver Valencia                 $11.00   57.40   $   11.00               $    95.70   $    95.70
  2/4/2018 Diver Valencia                 $11.00   53.27   $   11.00               $    72.97   $    72.97
 2/18/2018 Diver Valencia                 $11.00   61.87   $   11.00               $   120.27   $   120.27
 2/25/2018 Diver Valencia                 $11.00   54.88   $   11.00               $    81.86   $    81.86
  3/4/2018 Diver Valencia                 $11.00   67.05   $   11.00               $   148.78   $   148.78
 3/25/2018 Diver Valencia                 $11.00   51.15   $   11.00               $    61.33   $    61.33
  4/1/2018 Diver Valencia                 $11.00   71.22   $   11.00               $   171.69   $   171.69
  4/8/2018 Diver Valencia                 $11.00   70.52   $   11.00               $   167.84   $   167.84
 4/15/2018 Diver Valencia                 $11.00   57.87   $   11.00               $    98.27   $    98.27
 4/22/2018 Diver Valencia                 $11.00   69.17   $   11.00               $   160.42   $   160.42
 4/29/2018 Diver Valencia                 $10.00   69.82   $   11.00   $   69.82   $   163.99   $   233.81
  5/6/2018 Diver Valencia                 $10.00   59.72   $   11.00   $   59.72   $   108.44   $   168.16
 5/13/2018 Diver Valencia                 $10.00   70.88   $   11.00   $   70.88   $   169.86   $   240.74
 5/20/2018 Diver Valencia                 $10.00   58.15   $   11.00   $   58.15   $    99.83   $   157.98
  6/3/2018 Diver Valencia                 $10.00   55.60   $   11.00   $   55.60   $    85.80   $   141.40
 6/10/2018 Diver Valencia                 $10.00   65.45   $   11.00   $   65.45   $   139.98   $   205.43
 6/17/2018 Diver Valencia                 $10.00   67.83   $   11.00   $   67.83   $   153.08   $   220.92
 6/24/2018 Diver Valencia                 $10.00   64.37   $   11.00   $   64.37   $   134.02   $   198.38
  7/1/2018 Diver Valencia                 $10.00   56.95   $   11.00   $   56.95   $    93.23   $   150.18
  7/8/2018 Diver Valencia                 $10.00   46.62   $   11.00   $   46.62   $    36.39   $    83.01
 7/15/2018 Diver Valencia                 $10.00   70.38   $   11.00   $   70.38   $   167.11   $   237.49
 7/22/2018 Diver Valencia                 $10.00   70.03   $   11.00   $   70.03   $   165.18   $   235.22
 7/29/2018 Diver Valencia                 $10.00   66.12   $   11.00   $   66.12   $   143.64   $   209.76
  8/5/2018 Diver Valencia                 $10.00   69.08   $   11.00   $   69.08   $   159.96   $   229.04
 8/12/2018 Diver Valencia                 $10.00   57.33   $   11.00   $   57.33   $    95.33   $   152.67
  2/5/2017 Douglas Aguilar                $13.00   57.35   $   10.00               $   112.78   $   112.78
 2/12/2017 Douglas Aguilar                $13.00   46.90   $   10.00               $    44.85   $    44.85
 2/19/2017 Douglas Aguilar                $13.00   57.60   $   10.00               $   114.40   $   114.40
 2/26/2017 Douglas Aguilar                $13.00   59.15   $   10.00               $   124.48   $   124.48
  3/5/2017 Douglas Aguilar                $13.00   49.12   $   10.00               $    59.26   $    59.26
 3/12/2017 Douglas Aguilar                $13.00   47.92   $   10.00               $    51.46   $    51.46
 3/19/2017 Douglas Aguilar                $13.00   49.05   $   10.00               $    58.83   $    58.83
 3/26/2017 Douglas Aguilar                $13.00   52.70   $   10.00               $    82.55   $    82.55
  4/2/2017 Douglas Aguilar                $13.00   59.00   $   10.00               $   123.50   $   123.50
  4/9/2017 Douglas Aguilar                $13.00   59.77   $   10.00               $   128.48   $   128.48
 4/16/2017 Douglas Aguilar                $13.00   59.20   $   10.00               $   124.80   $   124.80
 4/23/2017 Douglas Aguilar                $13.00   57.33   $   10.00               $   112.67   $   112.67
 4/30/2017 Douglas Aguilar                $13.00   56.07   $   10.00               $   104.43   $   104.43



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                                            Exhibit 4
                                    Westchester Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

  5/7/2017 Douglas Aguilar                $13.00   59.22   $   10.00          $   124.91   $   124.91
 5/14/2017 Douglas Aguilar                $13.00   57.15   $   10.00          $   111.48   $   111.48
 5/21/2017 Douglas Aguilar                $13.00   59.35   $   10.00          $   125.78   $   125.78
 5/28/2017 Douglas Aguilar                $13.00   57.88   $   10.00          $   116.24   $   116.24
  6/4/2017 Douglas Aguilar                $13.00   50.03   $   10.00          $    65.22   $    65.22
 6/11/2017 Douglas Aguilar                $13.00   60.10   $   10.00          $   130.65   $   130.65
 6/18/2017 Douglas Aguilar                $13.00   57.03   $   10.00          $   110.72   $   110.72
 6/25/2017 Douglas Aguilar                $13.00   59.32   $   10.00          $   125.56   $   125.56
  7/2/2017 Douglas Aguilar                $13.00   58.30   $   10.00          $   118.95   $   118.95
  7/9/2017 Douglas Aguilar                $13.00   49.12   $   10.00          $    59.26   $    59.26
 7/16/2017 Douglas Aguilar                $13.00   42.88   $   10.00          $    18.74   $    18.74
 7/23/2017 Douglas Aguilar                $13.00   59.02   $   10.00          $   123.61   $   123.61
 7/30/2017 Douglas Aguilar                $13.00   54.53   $   10.00          $    94.47   $    94.47
  8/6/2017 Douglas Aguilar                $13.00   49.23   $   10.00          $    60.02   $    60.02
 8/13/2017 Douglas Aguilar                $13.00   57.40   $   10.00          $   113.10   $   113.10
 8/20/2017 Douglas Aguilar                $13.00   56.77   $   10.00          $   108.98   $   108.98
 8/27/2017 Douglas Aguilar                $13.00   54.58   $   10.00          $    94.79   $    94.79
  9/3/2017 Douglas Aguilar                $13.00   60.73   $   10.00          $   134.77   $   134.77
 9/10/2017 Douglas Aguilar                $13.00   47.42   $   10.00          $    48.21   $    48.21
 9/17/2017 Douglas Aguilar                $13.00   59.20   $   10.00          $   124.80   $   124.80
 9/24/2017 Douglas Aguilar                $13.00   59.95   $   10.00          $   129.68   $   129.68
 10/1/2017 Douglas Aguilar                $13.00   57.38   $   10.00          $   112.99   $   112.99
 10/8/2017 Douglas Aguilar                $13.00   48.97   $   10.00          $    58.28   $    58.28
10/15/2017 Douglas Aguilar                $13.00   57.68   $   10.00          $   114.94   $   114.94
10/22/2017 Douglas Aguilar                $13.00   49.47   $   10.00          $    61.53   $    61.53
10/29/2017 Douglas Aguilar                $13.00   59.37   $   10.00          $   125.88   $   125.88
 11/5/2017 Douglas Aguilar                $13.00   62.07   $   10.00          $   143.43   $   143.43
11/12/2017 Douglas Aguilar                $13.00   60.55   $   10.00          $   133.58   $   133.58
11/19/2017 Douglas Aguilar                $13.00   59.83   $   10.00          $   128.92   $   128.92
11/26/2017 Douglas Aguilar                $13.00   50.05   $   10.00          $    65.33   $    65.33
 12/3/2017 Douglas Aguilar                $13.00   60.22   $   10.00          $   131.41   $   131.41
12/10/2017 Douglas Aguilar                $13.00   59.88   $   10.00          $   129.24   $   129.24
12/17/2017 Douglas Aguilar                $13.00   59.40   $   10.00          $   126.10   $   126.10
12/24/2017 Douglas Aguilar                $13.00   59.92   $   10.00          $   129.46   $   129.46
12/31/2017 Douglas Aguilar                $13.00   50.17   $   11.00          $    66.08   $    66.08
 1/21/2018 Douglas Aguilar                $13.00   59.48   $   11.00          $   126.64   $   126.64
 1/28/2018 Douglas Aguilar                $13.00   60.13   $   11.00          $   130.87   $   130.87
  2/4/2018 Douglas Aguilar                $13.00   56.85   $   11.00          $   109.53   $   109.53
 2/11/2018 Douglas Aguilar                $13.00   58.12   $   11.00          $   117.76   $   117.76
 2/18/2018 Douglas Aguilar                $13.00   58.32   $   11.00          $   119.06   $   119.06
 2/25/2018 Douglas Aguilar                $13.00   48.13   $   11.00          $    52.87   $    52.87
  3/4/2018 Douglas Aguilar                $13.00   57.80   $   11.00          $   115.70   $   115.70
 3/25/2018 Douglas Aguilar                $13.00   55.45   $   11.00          $   100.43   $   100.43
  4/1/2018 Douglas Aguilar                $13.00   60.35   $   11.00          $   132.28   $   132.28
  4/8/2018 Douglas Aguilar                $13.00   63.80   $   11.00          $   154.70   $   154.70
 4/15/2018 Douglas Aguilar                $13.00   62.15   $   11.00          $   143.98   $   143.98
 4/22/2018 Douglas Aguilar                $13.00   63.65   $   11.00          $   153.73   $   153.73
 4/29/2018 Douglas Aguilar                $13.00   58.82   $   11.00          $   122.31   $   122.31
  5/6/2018 Douglas Aguilar                $13.00   65.42   $   11.00          $   165.21   $   165.21
 5/13/2018 Douglas Aguilar                $13.00   63.93   $   11.00          $   155.57   $   155.57
 5/20/2018 Douglas Aguilar                $13.00   64.55   $   11.00          $   159.58   $   159.58



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  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 5/27/2018 Douglas Aguilar                $13.00   65.10   $   11.00          $   163.15   $   163.15
  6/3/2018 Douglas Aguilar                $13.00   53.78   $   11.00          $    89.59   $    89.59
 6/10/2018 Douglas Aguilar                $13.00   66.25   $   11.00          $   170.63   $   170.63
 6/17/2018 Douglas Aguilar                $13.00   67.20   $   11.00          $   176.80   $   176.80
 6/24/2018 Douglas Aguilar                $13.00   67.33   $   11.00          $   177.67   $   177.67
  7/1/2018 Douglas Aguilar                $13.00   66.63   $   11.00          $   173.12   $   173.12
  7/8/2018 Douglas Aguilar                $13.00   55.80   $   11.00          $   102.70   $   102.70
 7/15/2018 Douglas Aguilar                $13.00   67.25   $   11.00          $   177.13   $   177.13
 7/22/2018 Douglas Aguilar                $13.00   66.62   $   11.00          $   173.01   $   173.01
 7/29/2018 Douglas Aguilar                $13.00   63.95   $   11.00          $   155.68   $   155.68
  8/5/2018 Douglas Aguilar                $13.00   66.25   $   11.00          $   170.63   $   170.63
 8/12/2018 Douglas Aguilar                $13.00   67.30   $   11.00          $   177.45   $   177.45
 8/19/2018 Douglas Aguilar                $13.00   67.35   $   11.00          $   177.78   $   177.78
 8/26/2018 Douglas Aguilar                $13.00   71.13   $   11.00          $   202.37   $   202.37
  9/2/2018 Douglas Aguilar                $13.00   67.38   $   11.00          $   177.99   $   177.99
  9/9/2018 Douglas Aguilar                $13.00   60.12   $   11.00          $   130.76   $   130.76
 9/16/2018 Douglas Aguilar                $13.00   65.12   $   11.00          $   163.26   $   163.26
 9/23/2018 Douglas Aguilar                $13.00   67.25   $   11.00          $   177.13   $   177.13
 9/30/2018 Douglas Aguilar                $13.00   54.20   $   11.00          $    92.30   $    92.30
 10/7/2018 Douglas Aguilar                $13.00   66.30   $   11.00          $   170.95   $   170.95
10/14/2018 Douglas Aguilar                $13.00   66.05   $   11.00          $   169.33   $   169.33
10/21/2018 Douglas Aguilar                $13.00   66.68   $   11.00          $   173.44   $   173.44
10/28/2018 Douglas Aguilar                $13.00   68.07   $   11.00          $   182.43   $   182.43
 11/4/2018 Douglas Aguilar                $13.00   66.97   $   11.00          $   175.28   $   175.28
11/11/2018 Douglas Aguilar                $13.00   67.35   $   11.00          $   177.78   $   177.78
11/18/2018 Douglas Aguilar                $13.00   66.80   $   11.00          $   174.20   $   174.20
11/25/2018 Douglas Aguilar                $13.00   54.82   $   11.00          $    96.31   $    96.31
 12/2/2018 Douglas Aguilar                $13.00   63.45   $   11.00          $   152.43   $   152.43
 12/9/2018 Douglas Aguilar                $13.00   66.93   $   11.00          $   175.07   $   175.07
12/16/2018 Douglas Aguilar                $13.00   65.38   $   11.00          $   164.99   $   164.99
12/23/2018 Douglas Aguilar                $13.00   66.90   $   11.00          $   174.85   $   174.85
12/30/2018 Douglas Aguilar                $13.00   50.87   $   11.00          $    70.63   $    70.63
  1/6/2019 Douglas Aguilar                $13.00   54.10   $   12.00          $    91.65   $    91.65
 1/13/2019 Douglas Aguilar                $13.00   67.10   $   12.00          $   176.15   $   176.15
 1/20/2019 Douglas Aguilar                $13.00   66.87   $   12.00          $   174.63   $   174.63
 1/27/2019 Douglas Aguilar                $13.00   47.65   $   12.00          $    49.73   $    49.73
  2/3/2019 Douglas Aguilar                $13.00   66.67   $   12.00          $   173.33   $   173.33
 2/10/2019 Douglas Aguilar                $13.00   66.72   $   12.00          $   173.66   $   173.66
 2/17/2019 Douglas Aguilar                $13.00   65.18   $   12.00          $   163.69   $   163.69
 2/24/2019 Douglas Aguilar                $13.00   66.67   $   12.00          $   173.33   $   173.33
  3/3/2019 Douglas Aguilar                $13.00   54.42   $   12.00          $    93.71   $    93.71
 3/10/2019 Douglas Aguilar                $13.00   66.92   $   12.00          $   174.96   $   174.96
 3/17/2019 Douglas Aguilar                $13.00   66.82   $   12.00          $   174.31   $   174.31
 3/24/2019 Douglas Aguilar                $13.00   66.80   $   12.00          $   174.20   $   174.20
 3/31/2019 Douglas Aguilar                $13.00   66.92   $   12.00          $   174.96   $   174.96
  4/7/2019 Douglas Aguilar                $13.00   68.18   $   12.00          $   183.19   $   183.19
 4/14/2019 Douglas Aguilar                $13.00   67.78   $   12.00          $   180.59   $   180.59
 4/21/2019 Douglas Aguilar                $13.00   64.23   $   12.00          $   157.52   $   157.52
 4/28/2019 Douglas Aguilar                $13.00   65.87   $   12.00          $   168.13   $   168.13
  5/5/2019 Douglas Aguilar                $13.00   66.77   $   12.00          $   173.98   $   173.98
 5/12/2019 Douglas Aguilar                $13.00   66.43   $   12.00          $   171.82   $   171.82



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                                    Westchester Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 5/19/2019 Douglas Aguilar                $13.00   66.53   $   12.00               $   172.47   $   172.47
 5/26/2019 Douglas Aguilar                $13.00   66.58   $   12.00               $   172.79   $   172.79
  6/2/2019 Douglas Aguilar                $13.00   54.68   $   12.00               $    95.44   $    95.44
  6/9/2019 Douglas Aguilar                $13.00   66.82   $   12.00               $   174.31   $   174.31
 6/16/2019 Douglas Aguilar                $13.00   66.18   $   12.00               $   170.19   $   170.19
 6/23/2019 Douglas Aguilar                $13.00   66.37   $   12.00               $   171.38   $   171.38
 6/30/2019 Douglas Aguilar                $13.00   66.25   $   12.00               $   170.63   $   170.63
  7/7/2019 Douglas Aguilar                $14.00   54.18   $   12.00               $    99.28   $    99.28
 7/14/2019 Douglas Aguilar                $14.00   66.47   $   12.00               $   185.27   $   185.27
 7/21/2019 Douglas Aguilar                $14.00   66.72   $   12.00               $   187.02   $   187.02
 7/28/2019 Douglas Aguilar                $14.00   66.27   $   12.00               $   183.87   $   183.87
  8/4/2019 Douglas Aguilar                $14.00   66.13   $   12.00               $   182.93   $   182.93
 8/11/2019 Douglas Aguilar                $14.00   66.27   $   12.00               $   183.87   $   183.87
 8/18/2019 Douglas Aguilar                $14.00   58.97   $   12.00               $   132.77   $   132.77
 8/25/2019 Douglas Aguilar                $14.00   66.78   $   12.00               $   187.48   $   187.48
  9/1/2019 Douglas Aguilar                $14.00   66.18   $   12.00               $   183.28   $   183.28
  9/8/2019 Douglas Aguilar                $14.00   54.07   $   12.00               $    98.47   $    98.47
 9/15/2019 Douglas Aguilar                $14.00   65.08   $   12.00               $   175.58   $   175.58
 9/22/2019 Douglas Aguilar                $14.00   66.23   $   12.00               $   183.63   $   183.63
 9/29/2019 Douglas Aguilar                $14.00   66.28   $   12.00               $   183.98   $   183.98
 10/6/2019 Douglas Aguilar                $14.00   66.78   $   12.00               $   187.48   $   187.48
10/13/2019 Douglas Aguilar                $14.00   66.05   $   12.00               $   182.35   $   182.35
10/20/2019 Douglas Aguilar                $14.00   57.20   $   12.00               $   120.40   $   120.40
10/27/2019 Douglas Aguilar                $14.00   57.03   $   12.00               $   119.23   $   119.23
 11/3/2019 Douglas Aguilar                $14.00   56.92   $   12.00               $   118.42   $   118.42
11/10/2019 Douglas Aguilar                $14.00   57.15   $   12.00               $   120.05   $   120.05
11/17/2019 Douglas Aguilar                $14.00   57.95   $   12.00               $   125.65   $   125.65
11/24/2019 Douglas Aguilar                $14.00   59.10   $   12.00               $   133.70   $   133.70
 12/1/2019 Douglas Aguilar                $14.00   47.80   $   12.00               $    54.60   $    54.60
 12/8/2019 Douglas Aguilar                $14.00   57.18   $   12.00               $   120.28   $   120.28
12/15/2019 Douglas Aguilar                $14.00   64.88   $   12.00               $   174.18   $   174.18
12/22/2019 Douglas Aguilar                $14.00   66.27   $   12.00               $   183.87   $   183.87
12/29/2019 Douglas Aguilar                $14.00   49.65   $   12.00               $    67.55   $    67.55
  1/5/2020 Douglas Aguilar                $14.00   53.08   $   13.00               $    91.58   $    91.58
 1/12/2020 Douglas Aguilar                $14.00   65.12   $   13.00               $   175.82   $   175.82
 1/19/2020 Douglas Aguilar                $14.00   65.75   $   13.00               $   180.25   $   180.25
 1/26/2020 Douglas Aguilar                $14.00   65.73   $   13.00               $   180.13   $   180.13
  7/2/2017 Edany Perez                     $9.00   71.67   $   10.00   $   71.67   $   158.33   $   230.00
  7/9/2017 Edany Perez                     $9.00   59.15   $   10.00   $   59.15   $    95.75   $   154.90
 7/16/2017 Edany Perez                     $9.00   71.55   $   10.00   $   71.55   $   157.75   $   229.30
 7/23/2017 Edany Perez                     $9.00   71.72   $   10.00   $   71.72   $   158.58   $   230.30
 7/30/2017 Edany Perez                     $9.00   71.05   $   10.00   $   71.05   $   155.25   $   226.30
  8/6/2017 Edany Perez                     $9.00   57.87   $   10.00   $   57.87   $    89.33   $   147.20
 8/13/2017 Edany Perez                     $9.00   69.98   $   10.00   $   69.98   $   149.92   $   219.90
 8/20/2017 Edany Perez                     $9.00   69.78   $   10.00   $   69.78   $   148.92   $   218.70
 8/27/2017 Edany Perez                     $9.00   70.33   $   10.00   $   70.33   $   151.67   $   222.00
  9/3/2017 Edany Perez                     $9.00   69.67   $   10.00   $   69.67   $   148.33   $   218.00
 9/10/2017 Edany Perez                     $9.00   58.15   $   10.00   $   58.15   $    90.75   $   148.90
 9/17/2017 Edany Perez                     $9.00   58.05   $   10.00   $   58.05   $    90.25   $   148.30
 9/24/2017 Edany Perez                     $9.00   69.62   $   10.00   $   69.62   $   148.08   $   217.70
 10/1/2017 Edany Perez                     $9.00   70.95   $   10.00   $   70.95   $   154.75   $   225.70



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                                         Exhibit 4
                                 Westchester Computations


  Week                                                  State Section 7: Section 7: Total Section 7
                                       Hourly Hours /
 Ending                   Name                        Minimum Regular Half-Time Overtime Back
                                        Rate   Week
  Date                                                 Wage   Rate Due     Due       Wages Due

 10/8/2017 Edany Perez                  $9.00   70.67   $   10.00   $   70.67   $   153.33   $   224.00
10/15/2017 Edany Perez                  $9.00   70.42   $   10.00   $   70.42   $   152.08   $   222.50
10/22/2017 Edany Perez                  $9.00   59.53   $   10.00   $   59.53   $    97.67   $   157.20
 9/23/2018 Eddher Agramonte            $10.00   62.72   $   11.00   $   62.72   $   124.94   $   187.66
 9/30/2018 Eddher Agramonte            $10.00   63.20   $   11.00   $   63.20   $   127.60   $   190.80
 10/7/2018 Eddher Agramonte            $10.00   61.18   $   11.00   $   61.18   $   116.51   $   177.69
10/14/2018 Eddher Agramonte            $10.00   62.72   $   11.00   $   62.72   $   124.94   $   187.66
10/21/2018 Eddher Agramonte            $10.00   61.57   $   11.00   $   61.57   $   118.62   $   180.18
10/28/2018 Eddher Agramonte            $10.00   56.88   $   11.00   $   56.88   $    92.86   $   149.74
 11/4/2018 Eddher Agramonte            $10.00   68.13   $   11.00   $   68.13   $   154.73   $   222.87
11/11/2018 Eddher Agramonte            $10.00   67.50   $   11.00   $   67.50   $   151.25   $   218.75
11/18/2018 Eddher Agramonte            $10.00   65.23   $   11.00   $   65.23   $   138.78   $   204.02
11/25/2018 Eddher Agramonte            $10.00   43.33   $   11.00   $   43.33   $    18.33   $    61.67
 12/2/2018 Eddher Agramonte            $11.00   67.85   $   11.00               $   153.18   $   153.18
 12/9/2018 Eddher Agramonte            $11.00   65.62   $   11.00               $   140.89   $   140.89
12/16/2018 Eddher Agramonte            $11.00   66.63   $   11.00               $   146.48   $   146.48
12/23/2018 Eddher Agramonte            $11.00   67.42   $   11.00               $   150.79   $   150.79
12/30/2018 Eddher Agramonte            $11.00   48.80   $   11.00               $    48.40   $    48.40
  1/6/2019 Eddher Agramonte            $11.00   54.20   $   12.00   $   54.20   $    85.20   $   139.40
 1/13/2019 Eddher Agramonte            $11.00   63.10   $   12.00   $   63.10   $   138.60   $   201.70
 1/20/2019 Eddher Agramonte            $11.00   64.05   $   12.00   $   64.05   $   144.30   $   208.35
 1/27/2019 Eddher Agramonte            $11.00   66.27   $   12.00   $   66.27   $   157.60   $   223.87
  2/3/2019 Eddher Agramonte            $11.00   68.93   $   12.00   $   68.93   $   173.60   $   242.53
 2/10/2019 Eddher Agramonte            $11.00   68.25   $   12.00   $   68.25   $   169.50   $   237.75
 2/17/2019 Eddher Agramonte            $11.00   67.53   $   12.00   $   67.53   $   165.20   $   232.73
 3/31/2019 Eddher Agramonte            $11.00   46.08   $   12.00   $   46.08   $    36.50   $    82.58
  4/7/2019 Eddher Agramonte            $11.00   69.75   $   12.00   $   69.75   $   178.50   $   248.25
 4/14/2019 Eddher Agramonte            $11.00   70.85   $   12.00   $   70.85   $   185.10   $   255.95
 4/21/2019 Eddher Agramonte            $11.00   69.63   $   12.00   $   69.63   $   177.80   $   247.43
 4/28/2019 Eddher Agramonte            $11.00   69.98   $   12.00   $   69.98   $   179.90   $   249.88
  5/5/2019 Eddher Agramonte            $11.00   68.77   $   12.00   $   68.77   $   172.60   $   241.37
 5/12/2019 Eddher Agramonte            $11.00   68.63   $   12.00   $   68.63   $   171.80   $   240.43
 5/19/2019 Eddher Agramonte            $11.00   70.07   $   12.00   $   70.07   $   180.40   $   250.47
 5/26/2019 Eddher Agramonte            $11.00   69.08   $   12.00   $   69.08   $   174.50   $   243.58
  6/2/2019 Eddher Agramonte            $11.00   58.63   $   12.00   $   58.63   $   111.80   $   170.43
  6/9/2019 Eddher Agramonte            $11.00   68.33   $   12.00   $   68.33   $   170.00   $   238.33
 6/16/2019 Eddher Agramonte            $11.00   69.32   $   12.00   $   69.32   $   175.90   $   245.22
 6/23/2019 Eddher Agramonte            $11.00   68.87   $   12.00   $   68.87   $   173.20   $   242.07
 6/30/2019 Eddher Agramonte            $11.00   68.28   $   12.00   $   68.28   $   169.70   $   237.98
  7/7/2019 Eddher Agramonte            $11.00   57.02   $   12.00   $   57.02   $   102.10   $   159.12
 7/14/2019 Eddher Agramonte            $11.00   66.07   $   12.00   $   66.07   $   156.40   $   222.47
 7/21/2019 Eddher Agramonte            $11.00   67.07   $   12.00   $   67.07   $   162.40   $   229.47
 7/28/2019 Eddher Agramonte            $11.00   55.83   $   12.00   $   55.83   $    95.00   $   150.83
  8/4/2019 Eddher Agramonte            $11.00   56.82   $   12.00   $   56.82   $   100.90   $   157.72
 8/11/2019 Eddher Agramonte            $11.00   65.02   $   12.00   $   65.02   $   150.10   $   215.12
 8/18/2019 Eddher Agramonte            $11.00   63.45   $   12.00   $   63.45   $   140.70   $   204.15
 8/25/2019 Eddher Agramonte            $11.00   65.02   $   12.00   $   65.02   $   150.10   $   215.12
  9/1/2019 Eddher Agramonte            $11.00   65.00   $   12.00   $   65.00   $   150.00   $   215.00
  9/8/2019 Eddher Agramonte            $11.00   53.75   $   12.00   $   53.75   $    82.50   $   136.25
 9/15/2019 Eddher Agramonte            $11.00   68.45   $   12.00   $   68.45   $   170.70   $   239.15
 9/22/2019 Eddher Agramonte            $11.00   68.30   $   12.00   $   68.30   $   169.80   $   238.10



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                                          Exhibit 4
                                  Westchester Computations


  Week                                                   State Section 7: Section 7: Total Section 7
                                        Hourly Hours /
 Ending                    Name                        Minimum Regular Half-Time Overtime Back
                                         Rate   Week
  Date                                                  Wage   Rate Due     Due       Wages Due

 9/29/2019 Eddher Agramonte             $11.00   70.82   $   12.00   $    70.82   $   184.90   $   255.72
 10/6/2019 Eddher Agramonte             $11.00   69.85   $   12.00   $    69.85   $   179.10   $   248.95
10/13/2019 Eddher Agramonte             $11.00   69.45   $   12.00   $    69.45   $   176.70   $   246.15
10/20/2019 Eddher Agramonte             $11.00   71.18   $   12.00   $    71.18   $   187.10   $   258.28
10/27/2019 Eddher Agramonte             $11.00   68.90   $   12.00   $    68.90   $   173.40   $   242.30
 11/3/2019 Eddher Agramonte             $11.00   69.47   $   12.00   $    69.47   $   176.80   $   246.27
11/10/2019 Eddher Agramonte             $11.00   69.13   $   12.00   $    69.13   $   174.80   $   243.93
11/17/2019 Eddher Agramonte             $11.00   70.95   $   12.00   $    70.95   $   185.70   $   256.65
11/24/2019 Eddher Agramonte             $11.00   70.17   $   12.00   $    70.17   $   181.00   $   251.17
 12/1/2019 Eddher Agramonte             $11.00   57.47   $   12.00   $    57.47   $   104.80   $   162.27
 12/8/2019 Eddher Agramonte             $11.00   69.93   $   12.00   $    69.93   $   179.60   $   249.53
12/15/2019 Eddher Agramonte             $11.00   70.52   $   12.00   $    70.52   $   183.10   $   253.62
12/22/2019 Eddher Agramonte             $11.00   70.42   $   12.00   $    70.42   $   182.50   $   252.92
12/29/2019 Eddher Agramonte             $11.00   57.22   $   12.00   $    57.22   $   103.30   $   160.52
  1/5/2020 Eddher Agramonte             $11.00   58.47   $   13.00   $   116.93   $   120.03   $   236.97
 1/12/2020 Eddher Agramonte             $11.00   71.88   $   13.00   $   143.77   $   207.24   $   351.01
 1/19/2020 Eddher Agramonte             $11.00   70.17   $   13.00   $   140.33   $   196.08   $   336.42
 1/26/2020 Eddher Agramonte             $11.00   68.80   $   13.00   $   137.60   $   187.20   $   324.80
 1/13/2019 Eduardo Del Valle            $10.00   52.17   $   12.00   $   104.33   $    73.00   $   177.33
 1/20/2019 Eduardo Del Valle            $10.00   52.27   $   12.00   $   104.53   $    73.60   $   178.13
 1/27/2019 Eduardo Del Valle            $10.00   40.92   $   12.00   $    81.83   $     5.50   $    87.33
  2/3/2019 Eduardo Del Valle            $10.00   48.37   $   12.00   $    96.73   $    50.20   $   146.93
 2/10/2019 Eduardo Del Valle            $10.00   50.10   $   12.00   $   100.20   $    60.60   $   160.80
 2/17/2019 Eduardo Del Valle            $10.00   49.35   $   12.00   $    98.70   $    56.10   $   154.80
 2/24/2019 Eduardo Del Valle            $10.00   50.43   $   12.00   $   100.87   $    62.60   $   163.47
  3/3/2019 Eduardo Del Valle            $10.00   52.25   $   12.00   $   104.50   $    73.50   $   178.00
 3/10/2019 Eduardo Del Valle            $10.00   40.45   $   12.00   $    80.90   $     2.70   $    83.60
 3/17/2019 Eduardo Del Valle            $10.00   51.30   $   12.00   $   102.60   $    67.80   $   170.40
 3/31/2019 Eduardo Del Valle            $10.00   54.12   $   12.00   $   108.23   $    84.70   $   192.93
  4/7/2019 Eduardo Del Valle            $10.00   53.52   $   12.00   $   107.03   $    81.10   $   188.13
 4/14/2019 Eduardo Del Valle            $10.00   54.92   $   12.00   $   109.83   $    89.50   $   199.33
 4/21/2019 Eduardo Del Valle            $10.00   53.98   $   12.00   $   107.97   $    83.90   $   191.87
 4/28/2019 Eduardo Del Valle            $10.00   42.57   $   12.00   $    85.13   $    15.40   $   100.53
 1/14/2018 Eduardo Duverge              $12.50   45.25   $   11.00                $    32.81   $    32.81
 1/21/2018 Eduardo Duverge              $12.50   59.15   $   11.00                $   119.69   $   119.69
 1/28/2018 Eduardo Duverge              $12.50   57.68   $   11.00                $   110.52   $   110.52
  2/4/2018 Eduardo Duverge              $12.50   64.68   $   11.00                $   154.27   $   154.27
 2/11/2018 Eduardo Duverge              $12.50   52.18   $   11.00                $    76.15   $    76.15
 2/18/2018 Eduardo Duverge              $12.50   56.98   $   11.00                $   106.15   $   106.15
 2/25/2018 Eduardo Duverge              $13.00   58.98   $   11.00                $   123.39   $   123.39
  3/4/2018 Eduardo Duverge              $13.00   56.40   $   11.00                $   106.60   $   106.60
 3/25/2018 Eduardo Duverge              $13.00   49.62   $   11.00                $    62.51   $    62.51
  4/1/2018 Eduardo Duverge              $13.00   60.10   $   11.00                $   130.65   $   130.65
  4/8/2018 Eduardo Duverge              $13.00   49.05   $   11.00                $    58.83   $    58.83
 4/15/2018 Eduardo Duverge              $13.00   54.08   $   11.00                $    91.54   $    91.54
 4/22/2018 Eduardo Duverge              $13.00   58.77   $   11.00                $   121.98   $   121.98
 4/29/2018 Eduardo Duverge              $13.00   59.80   $   11.00                $   128.70   $   128.70
  5/6/2018 Eduardo Duverge              $13.00   63.52   $   11.00                $   152.86   $   152.86
 5/13/2018 Eduardo Duverge              $13.00   61.55   $   11.00                $   140.08   $   140.08
  6/3/2018 Eduardo Duverge              $13.00   50.15   $   11.00                $    65.97   $    65.97
 6/10/2018 Eduardo Duverge              $13.00   61.63   $   11.00                $   140.62   $   140.62



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  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 6/17/2018 Eduardo Duverge                $13.00   62.13   $   11.00          $   143.87   $   143.87
 6/24/2018 Eduardo Duverge                $13.00   50.55   $   11.00          $    68.58   $    68.58
  7/1/2018 Eduardo Duverge                $13.00   61.15   $   11.00          $   137.48   $   137.48
  7/8/2018 Eduardo Duverge                $13.00   51.28   $   11.00          $    73.34   $    73.34
 7/15/2018 Eduardo Duverge                $13.00   57.15   $   11.00          $   111.48   $   111.48
 7/22/2018 Eduardo Duverge                $13.00   66.02   $   11.00          $   169.11   $   169.11
 7/29/2018 Eduardo Duverge                $13.00   62.52   $   11.00          $   146.36   $   146.36
  8/5/2018 Eduardo Duverge                $13.00   57.25   $   11.00          $   112.13   $   112.13
 8/12/2018 Eduardo Duverge                $13.00   64.02   $   11.00          $   156.11   $   156.11
 8/19/2018 Eduardo Duverge                $13.00   64.07   $   11.00          $   156.43   $   156.43
 8/26/2018 Eduardo Duverge                $13.00   65.12   $   11.00          $   163.26   $   163.26
  9/2/2018 Eduardo Duverge                $13.00   53.28   $   11.00          $    86.34   $    86.34
  9/9/2018 Eduardo Duverge                $13.00   53.07   $   11.00          $    84.93   $    84.93
 9/16/2018 Eduardo Duverge                $13.00   60.20   $   11.00          $   131.30   $   131.30
 9/23/2018 Eduardo Duverge                $13.00   64.42   $   11.00          $   158.71   $   158.71
 9/30/2018 Eduardo Duverge                $13.00   64.93   $   11.00          $   162.07   $   162.07
 10/7/2018 Eduardo Duverge                $13.00   64.65   $   11.00          $   160.23   $   160.23
10/14/2018 Eduardo Duverge                $13.00   57.58   $   11.00          $   114.29   $   114.29
10/21/2018 Eduardo Duverge                $13.00   58.80   $   11.00          $   122.20   $   122.20
10/28/2018 Eduardo Duverge                $13.00   63.38   $   11.00          $   151.99   $   151.99
 11/4/2018 Eduardo Duverge                $13.00   61.80   $   11.00          $   141.70   $   141.70
11/18/2018 Eduardo Duverge                $13.00   50.68   $   11.00          $    69.44   $    69.44
11/25/2018 Eduardo Duverge                $13.00   48.93   $   11.00          $    58.07   $    58.07
 12/2/2018 Eduardo Duverge                $13.00   57.60   $   11.00          $   114.40   $   114.40
 12/9/2018 Eduardo Duverge                $13.00   58.45   $   11.00          $   119.93   $   119.93
12/16/2018 Eduardo Duverge                $13.00   62.50   $   11.00          $   146.25   $   146.25
12/23/2018 Eduardo Duverge                $13.00   63.32   $   11.00          $   151.56   $   151.56
12/30/2018 Eduardo Duverge                $13.00   49.52   $   11.00          $    61.86   $    61.86
  1/6/2019 Eduardo Duverge                $13.00   52.38   $   12.00          $    80.49   $    80.49
 1/13/2019 Eduardo Duverge                $13.00   63.72   $   12.00          $   154.16   $   154.16
 1/20/2019 Eduardo Duverge                $13.00   63.12   $   12.00          $   150.26   $   150.26
 1/27/2019 Eduardo Duverge                $13.00   65.40   $   12.00          $   165.10   $   165.10
  2/3/2019 Eduardo Duverge                $13.00   50.55   $   12.00          $    68.58   $    68.58
 2/10/2019 Eduardo Duverge                $13.00   51.50   $   12.00          $    74.75   $    74.75
 2/17/2019 Eduardo Duverge                $13.00   58.32   $   12.00          $   119.06   $   119.06
 2/24/2019 Eduardo Duverge                $13.00   61.58   $   12.00          $   140.29   $   140.29
  3/3/2019 Eduardo Duverge                $13.00   54.12   $   12.00          $    91.76   $    91.76
 3/10/2019 Eduardo Duverge                $13.00   63.08   $   12.00          $   150.04   $   150.04
 3/17/2019 Eduardo Duverge                $13.00   53.37   $   12.00          $    86.88   $    86.88
 3/31/2019 Eduardo Duverge                $13.00   63.23   $   12.00          $   151.02   $   151.02
  4/7/2019 Eduardo Duverge                $13.00   62.43   $   12.00          $   145.82   $   145.82
 4/14/2019 Eduardo Duverge                $13.00   60.92   $   12.00          $   135.96   $   135.96
 4/21/2019 Eduardo Duverge                $13.00   60.12   $   12.00          $   130.76   $   130.76
 4/28/2019 Eduardo Duverge                $13.00   50.12   $   12.00          $    65.76   $    65.76
  5/5/2019 Eduardo Duverge                $13.00   63.28   $   12.00          $   151.34   $   151.34
 5/12/2019 Eduardo Duverge                $13.00   63.42   $   12.00          $   152.21   $   152.21
 5/19/2019 Eduardo Duverge                $13.00   62.93   $   12.00          $   149.07   $   149.07
 5/26/2019 Eduardo Duverge                $13.00   55.33   $   12.00          $    99.67   $    99.67
  6/2/2019 Eduardo Duverge                $13.00   53.20   $   12.00          $    85.80   $    85.80
  6/9/2019 Eduardo Duverge                $13.00   65.60   $   12.00          $   166.40   $   166.40
 6/16/2019 Eduardo Duverge                $13.00   62.67   $   12.00          $   147.33   $   147.33



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                                 Westchester Computations


  Week                                                  State Section 7: Section 7: Total Section 7
                                       Hourly Hours /
 Ending                   Name                        Minimum Regular Half-Time Overtime Back
                                        Rate   Week
  Date                                                 Wage   Rate Due     Due       Wages Due

 6/23/2019 Eduardo Duverge             $13.00   54.55   $   12.00          $    94.57   $    94.57
 6/30/2019 Eduardo Duverge             $13.00   52.40   $   12.00          $    80.60   $    80.60
  7/7/2019 Eduardo Duverge             $13.00   48.97   $   12.00          $    58.28   $    58.28
 7/14/2019 Eduardo Duverge             $13.00   60.70   $   12.00          $   134.55   $   134.55
 7/21/2019 Eduardo Duverge             $13.00   62.78   $   12.00          $   148.09   $   148.09
 7/28/2019 Eduardo Duverge             $13.00   62.85   $   12.00          $   148.53   $   148.53
  8/4/2019 Eduardo Duverge             $13.00   62.38   $   12.00          $   145.49   $   145.49
 8/11/2019 Eduardo Duverge             $13.00   61.98   $   12.00          $   142.89   $   142.89
 8/18/2019 Eduardo Duverge             $13.00   41.18   $   12.00          $     7.69   $     7.69
 8/25/2019 Eduardo Duverge             $13.00   63.47   $   12.00          $   152.53   $   152.53
  9/1/2019 Eduardo Duverge             $13.00   55.00   $   12.00          $    97.50   $    97.50
  9/8/2019 Eduardo Duverge             $13.00   52.12   $   12.00          $    78.76   $    78.76
 9/15/2019 Eduardo Duverge             $13.00   63.13   $   12.00          $   150.37   $   150.37
 9/22/2019 Eduardo Duverge             $13.00   63.67   $   12.00          $   153.83   $   153.83
 9/29/2019 Eduardo Duverge             $13.00   63.05   $   12.00          $   149.83   $   149.83
 10/6/2019 Eduardo Duverge             $13.00   53.93   $   12.00          $    90.57   $    90.57
10/13/2019 Eduardo Duverge             $13.00   63.65   $   12.00          $   153.73   $   153.73
10/20/2019 Eduardo Duverge             $13.00   62.82   $   12.00          $   148.31   $   148.31
10/27/2019 Eduardo Duverge             $13.00   62.77   $   12.00          $   147.98   $   147.98
 11/3/2019 Eduardo Duverge             $13.00   62.40   $   12.00          $   145.60   $   145.60
11/10/2019 Eduardo Duverge             $13.00   63.17   $   12.00          $   150.58   $   150.58
11/17/2019 Eduardo Duverge             $13.00   64.68   $   12.00          $   160.44   $   160.44
11/24/2019 Eduardo Duverge             $13.00   63.90   $   12.00          $   155.35   $   155.35
 12/1/2019 Eduardo Duverge             $13.00   52.32   $   12.00          $    80.06   $    80.06
 12/8/2019 Eduardo Duverge             $13.00   62.37   $   12.00          $   145.38   $   145.38
12/15/2019 Eduardo Duverge             $13.00   63.10   $   12.00          $   150.15   $   150.15
12/22/2019 Eduardo Duverge             $13.00   62.92   $   12.00          $   148.96   $   148.96
 1/12/2020 Eduardo Duverge             $13.00   41.18   $   13.00          $     7.69   $     7.69
 1/19/2020 Eduardo Duverge             $13.00   62.78   $   13.00          $   148.09   $   148.09
 1/26/2020 Eduardo Duverge             $13.00   63.42   $   13.00          $   152.21   $   152.21
 1/20/2019 Eduardo Medina Mata         $13.00   56.05   $   12.00          $   104.33   $   104.33
 1/27/2019 Eduardo Medina Mata         $13.00   56.65   $   12.00          $   108.23   $   108.23
  2/3/2019 Eduardo Medina Mata         $13.00   56.55   $   12.00          $   107.58   $   107.58
 2/10/2019 Eduardo Medina Mata         $13.00   53.57   $   12.00          $    88.18   $    88.18
 2/17/2019 Eduardo Medina Mata         $13.00   55.78   $   12.00          $   102.59   $   102.59
 2/24/2019 Eduardo Medina Mata         $13.00   56.68   $   12.00          $   108.44   $   108.44
  3/3/2019 Eduardo Medina Mata         $13.00   56.93   $   12.00          $   110.07   $   110.07
 3/10/2019 Eduardo Medina Mata         $13.00   54.77   $   12.00          $    95.98   $    95.98
 3/17/2019 Eduardo Medina Mata         $13.00   56.43   $   12.00          $   106.82   $   106.82
 3/24/2019 Eduardo Medina Mata         $13.00   57.15   $   12.00          $   111.48   $   111.48
 3/31/2019 Eduardo Medina Mata         $13.00   61.50   $   12.00          $   139.75   $   139.75
  4/7/2019 Eduardo Medina Mata         $13.00   48.25   $   12.00          $    53.63   $    53.63
 4/14/2019 Eduardo Medina Mata         $13.00   54.35   $   12.00          $    93.28   $    93.28
 4/21/2019 Eduardo Medina Mata         $13.00   53.45   $   12.00          $    87.43   $    87.43
 4/28/2019 Eduardo Medina Mata         $13.00   61.47   $   12.00          $   139.53   $   139.53
  5/5/2019 Eduardo Medina Mata         $13.00   62.83   $   12.00          $   148.42   $   148.42
 5/12/2019 Eduardo Medina Mata         $13.00   45.77   $   12.00          $    37.48   $    37.48
 5/19/2019 Eduardo Medina Mata         $13.00   57.63   $   12.00          $   114.62   $   114.62
 5/26/2019 Eduardo Medina Mata         $13.00   49.12   $   12.00          $    59.26   $    59.26
  6/2/2019 Eduardo Medina Mata         $13.00   51.30   $   12.00          $    73.45   $    73.45
  6/9/2019 Eduardo Medina Mata         $13.00   60.53   $   12.00          $   133.47   $   133.47



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                                         Exhibit 4
                                 Westchester Computations


  Week                                                  State Section 7: Section 7: Total Section 7
                                       Hourly Hours /
 Ending                   Name                        Minimum Regular Half-Time Overtime Back
                                        Rate   Week
  Date                                                 Wage   Rate Due     Due       Wages Due

 6/16/2019 Eduardo Medina Mata         $13.00   47.12   $   12.00                $    46.26   $    46.26
 6/23/2019 Eduardo Medina Mata         $13.00   50.90   $   12.00                $    70.85   $    70.85
 6/30/2019 Eduardo Medina Mata         $13.00   58.10   $   12.00                $   117.65   $   117.65
  7/7/2019 Eduardo Medina Mata         $14.00   47.22   $   12.00                $    50.52   $    50.52
 7/14/2019 Eduardo Medina Mata         $14.00   52.62   $   12.00                $    88.32   $    88.32
 7/21/2019 Eduardo Medina Mata         $14.00   53.78   $   12.00                $    96.48   $    96.48
 7/28/2019 Eduardo Medina Mata         $14.00   56.32   $   12.00                $   114.22   $   114.22
  8/4/2019 Eduardo Medina Mata         $14.00   51.92   $   12.00                $    83.42   $    83.42
 8/11/2019 Eduardo Medina Mata         $14.00   48.30   $   12.00                $    58.10   $    58.10
 8/25/2019 Eduardo Medina Mata         $14.00   56.78   $   12.00                $   117.48   $   117.48
  9/1/2019 Eduardo Medina Mata         $14.00   56.27   $   12.00                $   113.87   $   113.87
  9/8/2019 Eduardo Medina Mata         $14.00   47.12   $   12.00                $    49.82   $    49.82
 9/15/2019 Eduardo Medina Mata         $14.00   56.58   $   12.00                $   116.08   $   116.08
 9/22/2019 Eduardo Medina Mata         $14.00   57.50   $   12.00                $   122.50   $   122.50
 9/29/2019 Eduardo Medina Mata         $14.00   60.55   $   12.00                $   143.85   $   143.85
 10/6/2019 Eduardo Medina Mata         $14.00   60.40   $   12.00                $   142.80   $   142.80
10/13/2019 Eduardo Medina Mata         $14.00   54.03   $   12.00                $    98.23   $    98.23
10/20/2019 Eduardo Medina Mata         $14.00   50.17   $   12.00                $    71.17   $    71.17
10/27/2019 Eduardo Medina Mata         $14.00   45.12   $   12.00                $    35.82   $    35.82
 11/3/2019 Eduardo Medina Mata         $14.00   47.47   $   12.00                $    52.27   $    52.27
11/10/2019 Eduardo Medina Mata         $14.00   47.08   $   12.00                $    49.58   $    49.58
11/17/2019 Eduardo Medina Mata         $14.00   46.10   $   12.00                $    42.70   $    42.70
11/24/2019 Eduardo Medina Mata         $14.00   52.13   $   12.00                $    84.93   $    84.93
 12/1/2019 Eduardo Medina Mata         $14.00   43.45   $   12.00                $    24.15   $    24.15
 12/8/2019 Eduardo Medina Mata         $14.00   50.28   $   12.00                $    71.98   $    71.98
12/15/2019 Eduardo Medina Mata         $14.00   58.53   $   12.00                $   129.73   $   129.73
12/22/2019 Eduardo Medina Mata         $14.00   52.70   $   12.00                $    88.90   $    88.90
12/29/2019 Eduardo Medina Mata         $14.00   46.55   $   12.00                $    45.85   $    45.85
  1/5/2020 Eduardo Medina Mata         $14.00   48.20   $   13.00                $    57.40   $    57.40
 1/12/2020 Eduardo Medina Mata         $14.00   58.88   $   13.00                $   132.18   $   132.18
 1/19/2020 Eduardo Medina Mata         $14.00   53.12   $   13.00                $    91.82   $    91.82
 1/26/2020 Eduardo Medina Mata         $14.00   54.98   $   13.00                $   104.88   $   104.88
 1/13/2019 Eduardo Sepulveda            $9.50   65.20   $   12.00   $   163.00   $   151.20   $   314.20
 1/20/2019 Eduardo Sepulveda            $9.50   67.05   $   12.00   $   167.63   $   162.30   $   329.93
 1/27/2019 Eduardo Sepulveda            $9.50   63.53   $   12.00   $   158.83   $   141.20   $   300.03
  2/3/2019 Eduardo Sepulveda            $9.50   56.17   $   12.00   $   140.42   $    97.00   $   237.42
 2/10/2019 Eduardo Sepulveda            $9.50   61.68   $   12.00   $   154.21   $   130.10   $   284.31
 2/17/2019 Eduardo Sepulveda            $9.50   61.70   $   12.00   $   154.25   $   130.20   $   284.45
 2/24/2019 Eduardo Sepulveda            $9.50   66.62   $   12.00   $   166.54   $   159.70   $   326.24
  3/3/2019 Eduardo Sepulveda            $9.50   65.68   $   12.00   $   164.21   $   154.10   $   318.31
 3/10/2019 Eduardo Sepulveda            $9.50   50.65   $   12.00   $   126.63   $    63.90   $   190.53
 3/17/2019 Eduardo Sepulveda            $9.50   67.00   $   12.00   $   167.50   $   162.00   $   329.50
 3/24/2019 Eduardo Sepulveda            $9.50   64.67   $   12.00   $   161.67   $   148.00   $   309.67
 3/31/2019 Eduardo Sepulveda            $9.50   67.77   $   12.00   $   169.42   $   166.60   $   336.02
  4/7/2019 Eduardo Sepulveda            $9.50   67.57   $   12.00   $   168.92   $   165.40   $   334.32
 4/21/2019 Eduardo Sepulveda            $9.50   63.55   $   12.00   $   158.88   $   141.30   $   300.18
 4/28/2019 Eduardo Sepulveda            $9.50   67.25   $   12.00   $   168.13   $   163.50   $   331.63
  5/5/2019 Eduardo Sepulveda            $9.50   63.92   $   12.00   $   159.79   $   143.50   $   303.29
 5/12/2019 Eduardo Sepulveda            $9.50   41.48   $   12.00   $   103.71   $     8.90   $   112.61
 5/19/2019 Eduardo Sepulveda            $9.50   57.20   $   12.00   $   143.00   $   103.20   $   246.20
 5/26/2019 Eduardo Sepulveda            $9.50   64.57   $   12.00   $   161.42   $   147.40   $   308.82



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                                                 Exhibit 4
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  Week                                                          State Section 7: Section 7: Total Section 7
                                               Hourly Hours /
 Ending                    Name                               Minimum Regular Half-Time Overtime Back
                                                Rate   Week
  Date                                                         Wage   Rate Due     Due       Wages Due

  6/2/2019 Eduardo Sepulveda                    $9.50   51.85   $   12.00   $   129.63   $    71.10   $   200.73
  6/9/2019 Eduardo Sepulveda                    $9.50   61.65   $   12.00   $   154.13   $   129.90   $   284.03
 6/16/2019 Eduardo Sepulveda                    $9.50   63.67   $   12.00   $   159.17   $   142.00   $   301.17
 6/23/2019 Eduardo Sepulveda                    $9.50   63.20   $   12.00   $   158.00   $   139.20   $   297.20
 6/30/2019 Eduardo Sepulveda                    $9.50   64.20   $   12.00   $   160.50   $   145.20   $   305.70
  7/7/2019 Eduardo Sepulveda                   $10.00   49.87   $   12.00   $    99.73   $    59.20   $   158.93
 7/14/2019 Eduardo Sepulveda                   $10.00   63.55   $   12.00   $   127.10   $   141.30   $   268.40
 7/21/2019 Eduardo Sepulveda                   $10.00   61.63   $   12.00   $   123.27   $   129.80   $   253.07
 7/28/2019 Eduardo Sepulveda                   $10.00   62.62   $   12.00   $   125.23   $   135.70   $   260.93
  8/4/2019 Eduardo Sepulveda                   $10.00   61.98   $   12.00   $   123.97   $   131.90   $   255.87
 8/11/2019 Eduardo Sepulveda                   $10.00   62.48   $   12.00   $   124.97   $   134.90   $   259.87
 8/18/2019 Eduardo Sepulveda                   $10.00   59.48   $   12.00   $   118.97   $   116.90   $   235.87
 8/25/2019 Eduardo Sepulveda                   $10.00   58.35   $   12.00   $   116.70   $   110.10   $   226.80
  9/1/2019 Eduardo Sepulveda                   $10.00   57.00   $   12.00   $   114.00   $   102.00   $   216.00
  9/8/2019 Eduardo Sepulveda                   $10.00   48.30   $   12.00   $    96.60   $    49.80   $   146.40
 9/15/2019 Eduardo Sepulveda                   $10.00   65.03   $   12.00   $   130.07   $   150.20   $   280.27
 9/22/2019 Eduardo Sepulveda                   $10.00   60.38   $   12.00   $   120.77   $   122.30   $   243.07
 9/29/2019 Eduardo Sepulveda                   $10.00   61.88   $   12.00   $   123.77   $   131.30   $   255.07
 10/6/2019 Eduardo Sepulveda                   $10.00   67.90   $   12.00   $   135.80   $   167.40   $   303.20
10/13/2019 Eduardo Sepulveda                   $10.00   68.73   $   12.00   $   137.47   $   172.40   $   309.87
10/20/2019 Eduardo Sepulveda                   $13.00   54.52   $   12.00                $    94.36   $    94.36
10/27/2019 Eduardo Sepulveda                   $13.00   57.75   $   12.00                $   115.38   $   115.38
 11/3/2019 Eduardo Sepulveda                   $13.00   55.82   $   12.00                $   102.81   $   102.81
11/10/2019 Eduardo Sepulveda                   $13.00   56.27   $   12.00                $   105.73   $   105.73
11/17/2019 Eduardo Sepulveda                   $13.00   54.73   $   12.00                $    95.77   $    95.77
11/24/2019 Eduardo Sepulveda                   $13.00   55.55   $   12.00                $   101.08   $   101.08
 12/1/2019 Eduardo Sepulveda                   $13.00   48.08   $   12.00                $    52.54   $    52.54
 12/8/2019 Eduardo Sepulveda                   $13.00   54.23   $   12.00                $    92.52   $    92.52
12/15/2019 Eduardo Sepulveda                   $10.00   63.18   $   12.00   $   126.37   $   139.10   $   265.47
12/22/2019 Eduardo Sepulveda                   $10.00   64.22   $   12.00   $   128.43   $   145.30   $   273.73
12/29/2019 Eduardo Sepulveda                   $10.00   50.15   $   12.00   $   100.30   $    60.90   $   161.20
  1/5/2020 Eduardo Sepulveda                   $10.00   51.75   $   13.00   $   155.25   $    76.38   $   231.63
 1/12/2020 Eduardo Sepulveda                   $10.00   63.45   $   13.00   $   190.35   $   152.43   $   342.78
 1/19/2020 Eduardo Sepulveda                   $10.00   63.17   $   13.00   $   189.50   $   150.58   $   340.08
 1/26/2020 Eduardo Sepulveda                   $10.00   56.63   $   13.00   $   169.90   $   108.12   $   278.02
11/11/2018 Elbio Manuel Sanchez Lopez          $10.00   40.28   $   11.00   $    40.28   $     1.56   $    41.84
11/18/2018 Elbio Manuel Sanchez Lopez          $10.00   58.97   $   11.00   $    58.97   $   104.32   $   163.28
11/25/2018 Elbio Manuel Sanchez Lopez          $10.00   46.52   $   11.00   $    46.52   $    35.84   $    82.36
11/10/2019 Elvis De Jesus Cruz Valerio         $11.00   54.35   $   12.00   $    54.35   $    86.10   $   140.45
11/17/2019 Elvis De Jesus Cruz Valerio         $11.00   54.87   $   12.00   $    54.87   $    89.20   $   144.07
11/24/2019 Elvis De Jesus Cruz Valerio         $11.00   55.00   $   12.00   $    55.00   $    90.00   $   145.00
 12/1/2019 Elvis De Jesus Cruz Valerio         $11.00   44.05   $   12.00   $    44.05   $    24.30   $    68.35
 12/8/2019 Elvis De Jesus Cruz Valerio         $11.00   55.62   $   12.00   $    55.62   $    93.70   $   149.32
12/15/2019 Elvis De Jesus Cruz Valerio         $11.00   54.68   $   12.00   $    54.68   $    88.10   $   142.78
12/22/2019 Elvis De Jesus Cruz Valerio         $11.00   55.20   $   12.00   $    55.20   $    91.20   $   146.40
12/29/2019 Elvis De Jesus Cruz Valerio         $11.00   44.87   $   12.00   $    44.87   $    29.20   $    74.07
  1/5/2020 Elvis De Jesus Cruz Valerio         $11.00   48.03   $   13.00   $    96.07   $    52.22   $   148.28
 1/12/2020 Elvis De Jesus Cruz Valerio         $11.00   57.43   $   13.00   $   114.87   $   113.32   $   228.18
 1/19/2020 Elvis De Jesus Cruz Valerio         $11.00   55.93   $   13.00   $   111.87   $   103.57   $   215.43
 1/26/2020 Elvis De Jesus Cruz Valerio         $11.00   57.47   $   13.00   $   114.93   $   113.53   $   228.47
 5/21/2017 Emilio A. Guichardo Gil             $10.00   44.00   $   10.00                $    20.00   $    20.00



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  Week                                                               State Section 7: Section 7: Total Section 7
                                                    Hourly Hours /
 Ending                     Name                                   Minimum Regular Half-Time Overtime Back
                                                     Rate   Week
  Date                                                              Wage   Rate Due     Due       Wages Due

 5/28/2017 Emilio A. Guichardo Gil                  $10.00   66.45   $   10.00          $   132.25   $   132.25
  6/4/2017 Emilio A. Guichardo Gil                  $10.00   59.38   $   10.00          $    96.92   $    96.92
 6/11/2017 Emilio A. Guichardo Gil                  $10.00   63.65   $   10.00          $   118.25   $   118.25
 6/18/2017 Emilio A. Guichardo Gil                  $10.00   61.98   $   10.00          $   109.92   $   109.92
 6/25/2017 Emilio A. Guichardo Gil                  $10.00   62.83   $   10.00          $   114.17   $   114.17
  7/2/2017 Emilio A. Guichardo Gil                  $10.00   67.72   $   10.00          $   138.58   $   138.58
  7/9/2017 Emilio A. Guichardo Gil                  $10.00   53.63   $   10.00          $    68.17   $    68.17
 7/16/2017 Emilio A. Guichardo Gil                  $10.00   65.02   $   10.00          $   125.08   $   125.08
 7/23/2017 Emilio A. Guichardo Gil                  $10.00   64.43   $   10.00          $   122.17   $   122.17
 7/30/2017 Emilio A. Guichardo Gil                  $10.00   61.90   $   10.00          $   109.50   $   109.50
  8/6/2017 Emilio A. Guichardo Gil                  $10.00   60.57   $   10.00          $   102.83   $   102.83
 8/13/2017 Emilio A. Guichardo Gil                  $10.00   56.65   $   10.00          $    83.25   $    83.25
 8/20/2017 Emilio A. Guichardo Gil                  $10.00   52.42   $   10.00          $    62.08   $    62.08
 8/27/2017 Emilio A. Guichardo Gil                  $10.00   43.23   $   10.00          $    16.17   $    16.17
 5/12/2019 Erick Osberto Barrios Mazariegos         $13.50   58.52   $   12.00          $   124.99   $   124.99
 5/19/2019 Erick Osberto Barrios Mazariegos         $13.50   49.50   $   12.00          $    64.13   $    64.13
 5/26/2019 Erick Osberto Barrios Mazariegos         $13.50   58.27   $   12.00          $   123.30   $   123.30
  6/2/2019 Erick Osberto Barrios Mazariegos         $13.50   54.27   $   12.00          $    96.30   $    96.30
  6/9/2019 Erick Osberto Barrios Mazariegos         $13.50   58.53   $   12.00          $   125.10   $   125.10
 6/16/2019 Erick Osberto Barrios Mazariegos         $13.50   40.18   $   12.00          $     1.24   $     1.24
 6/23/2019 Erick Osberto Barrios Mazariegos         $13.50   46.27   $   12.00          $    42.30   $    42.30
 6/30/2019 Erick Osberto Barrios Mazariegos         $13.50   47.52   $   12.00          $    50.74   $    50.74
  7/7/2019 Erick Osberto Barrios Mazariegos         $14.00   46.30   $   12.00          $    44.10   $    44.10
 7/28/2019 Erick Osberto Barrios Mazariegos         $14.00   47.42   $   12.00          $    51.92   $    51.92
  8/4/2019 Erick Osberto Barrios Mazariegos         $14.00   43.85   $   12.00          $    26.95   $    26.95
  2/5/2017 Ever Gutierrez                           $10.50   61.78   $   10.00          $   114.36   $   114.36
 2/12/2017 Ever Gutierrez                           $10.50   50.65   $   10.00          $    55.91   $    55.91
 2/19/2017 Ever Gutierrez                           $10.50   63.30   $   10.00          $   122.33   $   122.33
 2/26/2017 Ever Gutierrez                           $10.50   62.00   $   10.00          $   115.50   $   115.50
  3/5/2017 Ever Gutierrez                           $10.50   62.02   $   10.00          $   115.59   $   115.59
 3/12/2017 Ever Gutierrez                           $10.50   64.30   $   10.00          $   127.58   $   127.58
 3/19/2017 Ever Gutierrez                           $10.50   45.60   $   10.00          $    29.40   $    29.40
 3/26/2017 Ever Gutierrez                           $10.50   64.95   $   10.00          $   130.99   $   130.99
  4/2/2017 Ever Gutierrez                           $10.50   65.08   $   10.00          $   131.69   $   131.69
  4/9/2017 Ever Gutierrez                           $10.50   61.50   $   10.00          $   112.88   $   112.88
 4/16/2017 Ever Gutierrez                           $10.50   62.47   $   10.00          $   117.95   $   117.95
 4/23/2017 Ever Gutierrez                           $10.50   62.57   $   10.00          $   118.48   $   118.48
 4/30/2017 Ever Gutierrez                           $10.50   62.62   $   10.00          $   118.74   $   118.74
  5/7/2017 Ever Gutierrez                           $10.50   63.68   $   10.00          $   124.34   $   124.34
 5/14/2017 Ever Gutierrez                           $10.50   63.00   $   10.00          $   120.75   $   120.75
 5/21/2017 Ever Gutierrez                           $10.50   63.52   $   10.00          $   123.46   $   123.46
 5/28/2017 Ever Gutierrez                           $10.50   62.47   $   10.00          $   117.95   $   117.95
  6/4/2017 Ever Gutierrez                           $10.50   52.28   $   10.00          $    64.49   $    64.49
 6/11/2017 Ever Gutierrez                           $10.50   62.70   $   10.00          $   119.18   $   119.18
 6/18/2017 Ever Gutierrez                           $10.50   62.58   $   10.00          $   118.56   $   118.56
 6/25/2017 Ever Gutierrez                           $10.50   62.73   $   10.00          $   119.35   $   119.35
  7/2/2017 Ever Gutierrez                           $10.50   64.13   $   10.00          $   126.70   $   126.70
  7/9/2017 Ever Gutierrez                           $10.50   51.55   $   10.00          $    60.64   $    60.64
 7/16/2017 Ever Gutierrez                           $10.50   64.52   $   10.00          $   128.71   $   128.71
 7/23/2017 Ever Gutierrez                           $10.50   63.17   $   10.00          $   121.63   $   121.63
 7/30/2017 Ever Gutierrez                           $10.50   63.47   $   10.00          $   123.20   $   123.20



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                                  Westchester Computations


  Week                                                   State Section 7: Section 7: Total Section 7
                                        Hourly Hours /
 Ending                    Name                        Minimum Regular Half-Time Overtime Back
                                         Rate   Week
  Date                                                  Wage   Rate Due     Due       Wages Due

  8/6/2017 Ever Gutierrez               $10.50   63.00   $   10.00               $   120.75   $   120.75
 8/13/2017 Ever Gutierrez               $10.50   63.97   $   10.00               $   125.83   $   125.83
 8/20/2017 Ever Gutierrez               $10.50   62.25   $   10.00               $   116.81   $   116.81
 8/27/2017 Ever Gutierrez               $10.50   63.12   $   10.00               $   121.36   $   121.36
  9/3/2017 Ever Gutierrez               $10.50   62.63   $   10.00               $   118.83   $   118.83
 9/10/2017 Ever Gutierrez               $10.50   51.43   $   10.00               $    60.03   $    60.03
 9/17/2017 Ever Gutierrez               $10.50   57.52   $   10.00               $    91.96   $    91.96
 9/24/2017 Ever Gutierrez               $10.50   52.63   $   10.00               $    66.33   $    66.33
 10/1/2017 Ever Gutierrez               $10.50   60.73   $   10.00               $   108.85   $   108.85
 10/8/2017 Ever Gutierrez               $10.50   61.98   $   10.00               $   115.41   $   115.41
10/15/2017 Ever Gutierrez               $10.50   63.23   $   10.00               $   121.98   $   121.98
10/22/2017 Ever Gutierrez               $10.50   62.60   $   10.00               $   118.65   $   118.65
10/29/2017 Ever Gutierrez               $10.50   63.25   $   10.00               $   122.06   $   122.06
 11/5/2017 Ever Gutierrez               $10.50   62.27   $   10.00               $   116.90   $   116.90
11/12/2017 Ever Gutierrez               $10.50   62.87   $   10.00               $   120.05   $   120.05
11/19/2017 Ever Gutierrez               $10.50   63.53   $   10.00               $   123.55   $   123.55
11/26/2017 Ever Gutierrez               $10.50   53.60   $   10.00               $    71.40   $    71.40
 12/3/2017 Ever Gutierrez               $10.50   65.60   $   10.00               $   134.40   $   134.40
12/10/2017 Ever Gutierrez               $10.50   63.50   $   10.00               $   123.38   $   123.38
12/17/2017 Ever Gutierrez               $10.50   63.45   $   10.00               $   123.11   $   123.11
12/24/2017 Ever Gutierrez               $10.50   54.15   $   10.00               $    74.29   $    74.29
12/31/2017 Ever Gutierrez               $10.50   52.80   $   11.00   $   26.40   $    70.40   $    96.80
  1/7/2018 Ever Gutierrez               $10.50   45.50   $   11.00   $   22.75   $    30.25   $    53.00
 1/14/2018 Ever Gutierrez               $10.50   64.57   $   11.00   $   32.28   $   135.12   $   167.40
 1/21/2018 Ever Gutierrez               $10.50   66.00   $   11.00   $   33.00   $   143.00   $   176.00
  7/9/2017 Fabio Nelson Cortes           $9.50   55.05   $   10.00   $   27.53   $    75.25   $   102.78
 7/16/2017 Fabio Nelson Cortes           $9.50   66.17   $   10.00   $   33.08   $   130.83   $   163.92
 7/23/2017 Fabio Nelson Cortes           $9.50   71.67   $   10.00   $   35.83   $   158.33   $   194.17
 7/30/2017 Fabio Nelson Cortes           $9.50   75.97   $   10.00   $   37.98   $   179.83   $   217.82
  8/6/2017 Fabio Nelson Cortes           $9.50   76.02   $   10.00   $   38.01   $   180.08   $   218.09
 8/13/2017 Fabio Nelson Cortes           $9.50   66.38   $   10.00   $   33.19   $   131.92   $   165.11
 8/20/2017 Fabio Nelson Cortes           $9.50   75.80   $   10.00   $   37.90   $   179.00   $   216.90
 8/27/2017 Fabio Nelson Cortes           $9.50   68.58   $   10.00   $   34.29   $   142.92   $   177.21
  9/3/2017 Fabio Nelson Cortes           $9.50   54.95   $   10.00   $   27.48   $    74.75   $   102.23
 9/10/2017 Fabio Nelson Cortes           $9.50   54.67   $   10.00   $   27.33   $    73.33   $   100.67
 9/17/2017 Fabio Nelson Cortes           $9.50   67.20   $   10.00   $   33.60   $   136.00   $   169.60
 9/24/2017 Fabio Nelson Cortes           $9.50   67.22   $   10.00   $   33.61   $   136.08   $   169.69
 10/1/2017 Fabio Nelson Cortes           $9.50   67.15   $   10.00   $   33.58   $   135.75   $   169.33
 10/8/2017 Fabio Nelson Cortes           $9.50   73.00   $   10.00   $   36.50   $   165.00   $   201.50
10/15/2017 Fabio Nelson Cortes           $9.50   67.28   $   10.00   $   33.64   $   136.42   $   170.06
10/22/2017 Fabio Nelson Cortes           $9.50   67.00   $   10.00   $   33.50   $   135.00   $   168.50
10/29/2017 Fabio Nelson Cortes           $9.50   67.23   $   10.00   $   33.62   $   136.17   $   169.78
 11/5/2017 Fabio Nelson Cortes           $9.50   55.05   $   10.00   $   27.53   $    75.25   $   102.78
11/12/2017 Fabio Nelson Cortes           $9.50   67.72   $   10.00   $   33.86   $   138.58   $   172.44
11/19/2017 Fabio Nelson Cortes           $9.50   67.55   $   10.00   $   33.78   $   137.75   $   171.53
11/26/2017 Fabio Nelson Cortes           $9.50   44.10   $   10.00   $   22.05   $    20.50   $    42.55
 12/3/2017 Fabio Nelson Cortes           $9.50   67.53   $   10.00   $   33.77   $   137.67   $   171.43
12/10/2017 Fabio Nelson Cortes           $9.50   69.43   $   10.00   $   34.72   $   147.17   $   181.88
12/17/2017 Fabio Nelson Cortes           $9.50   67.92   $   10.00   $   33.96   $   139.58   $   173.54
12/24/2017 Fabio Nelson Cortes           $9.50   70.80   $   10.00   $   35.40   $   154.00   $   189.40
12/31/2017 Fabio Nelson Cortes           $9.50   56.17   $   11.00   $   84.25   $    88.92   $   173.17



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                                              Exhibit 4
                                      Westchester Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                            Hourly Hours /
 Ending                      Name                          Minimum Regular Half-Time Overtime Back
                                             Rate   Week
  Date                                                      Wage   Rate Due     Due       Wages Due

  1/7/2018 Fabio Nelson Cortes               $9.50   52.82   $   11.00   $    79.23   $    70.49   $   149.72
 1/14/2018 Fabio Nelson Cortes               $9.50   72.15   $   11.00   $   108.23   $   176.83   $   285.05
 1/21/2018 Fabio Nelson Cortes               $9.50   72.38   $   11.00   $   108.58   $   178.11   $   286.68
 1/28/2018 Fabio Nelson Cortes               $9.50   71.28   $   11.00   $   106.93   $   172.06   $   278.98
  2/4/2018 Fabio Nelson Cortes               $9.50   75.52   $   11.00   $   113.28   $   195.34   $   308.62
 2/11/2018 Fabio Nelson Cortes               $9.50   74.12   $   11.00   $   111.18   $   187.64   $   298.82
 2/18/2018 Fabio Nelson Cortes               $9.50   67.12   $   11.00   $   100.68   $   149.14   $   249.82
 2/25/2018 Fabio Nelson Cortes               $9.50   68.57   $   11.00   $   102.85   $   157.12   $   259.97
  3/4/2018 Fabio Nelson Cortes               $9.50   71.33   $   11.00   $   107.00   $   172.33   $   279.33
 3/25/2018 Fabio Nelson Cortes               $9.50   70.87   $   11.00   $   106.30   $   169.77   $   276.07
  4/1/2018 Fabio Nelson Cortes               $9.50   73.72   $   11.00   $   110.58   $   185.44   $   296.02
  4/8/2018 Fabio Nelson Cortes               $9.50   70.50   $   11.00   $   105.75   $   167.75   $   273.50
 4/15/2018 Fabio Nelson Cortes               $9.50   72.72   $   11.00   $   109.08   $   179.94   $   289.02
 4/22/2018 Fabio Nelson Cortes               $9.50   72.27   $   11.00   $   108.40   $   177.47   $   285.87
 4/29/2018 Fabio Nelson Cortes               $9.50   72.03   $   11.00   $   108.05   $   176.18   $   284.23
  5/6/2018 Fabio Nelson Cortes               $9.50   72.55   $   11.00   $   108.83   $   179.03   $   287.85
 5/13/2018 Fabio Nelson Cortes               $9.50   73.80   $   11.00   $   110.70   $   185.90   $   296.60
 5/20/2018 Fabio Nelson Cortes               $9.50   71.60   $   11.00   $   107.40   $   173.80   $   281.20
 5/27/2018 Fabio Nelson Cortes               $9.50   56.42   $   11.00   $    84.63   $    90.29   $   174.92
  6/3/2018 Fabio Nelson Cortes               $9.50   56.12   $   11.00   $    84.18   $    88.64   $   172.82
 6/10/2018 Fabio Nelson Cortes               $9.50   66.98   $   11.00   $   100.48   $   148.41   $   248.88
 6/17/2018 Fabio Nelson Cortes               $9.50   55.72   $   11.00   $    83.58   $    86.44   $   170.02
 6/24/2018 Fabio Nelson Cortes               $9.50   69.07   $   11.00   $   103.60   $   159.87   $   263.47
  7/1/2018 Fabio Nelson Cortes               $9.50   67.87   $   11.00   $   101.80   $   153.27   $   255.07
  7/8/2018 Fabio Nelson Cortes               $9.50   56.55   $   11.00   $    84.83   $    91.03   $   175.85
 7/15/2018 Fabio Nelson Cortes               $9.50   68.00   $   11.00   $   102.00   $   154.00   $   256.00
 7/22/2018 Fabio Nelson Cortes               $9.50   68.45   $   11.00   $   102.68   $   156.48   $   259.15
 7/29/2018 Fabio Nelson Cortes               $9.50   68.17   $   11.00   $   102.25   $   154.92   $   257.17
  8/5/2018 Fabio Nelson Cortes               $9.50   56.20   $   11.00   $    84.30   $    89.10   $   173.40
11/10/2019 Faustino Cuevas                  $12.00   55.00   $   12.00                $    90.00   $    90.00
11/17/2019 Faustino Cuevas                  $12.00   56.05   $   12.00                $    96.30   $    96.30
11/24/2019 Faustino Cuevas                  $12.00   57.30   $   12.00                $   103.80   $   103.80
 12/1/2019 Faustino Cuevas                  $12.00   46.00   $   12.00                $    36.00   $    36.00
 12/8/2019 Faustino Cuevas                  $12.00   57.27   $   12.00                $   103.60   $   103.60
  1/5/2020 Faustino Cuevas                  $12.00   44.57   $   13.00   $    44.57   $    29.68   $    74.25
 1/12/2020 Faustino Cuevas                  $12.00   55.62   $   13.00   $    55.62   $   101.51   $   157.13
 1/19/2020 Faustino Cuevas                  $12.00   54.35   $   13.00   $    54.35   $    93.28   $   147.63
 1/26/2020 Faustino Cuevas                  $12.00   58.68   $   13.00   $    58.68   $   121.44   $   180.13
 12/8/2019 Francis Reyes                    $10.50   54.22   $   12.00   $    81.33   $    85.30   $   166.63
12/15/2019 Francis Reyes                    $10.50   63.07   $   12.00   $    94.60   $   138.40   $   233.00
12/22/2019 Francis Reyes                    $10.50   61.27   $   12.00   $    91.90   $   127.60   $   219.50
  1/5/2020 Francis Reyes                    $10.50   44.67   $   13.00   $   111.67   $    30.33   $   142.00
 1/12/2020 Francis Reyes                    $10.50   56.87   $   13.00   $   142.17   $   109.63   $   251.80
 1/19/2020 Francis Reyes                    $10.50   58.67   $   13.00   $   146.67   $   121.33   $   268.00
 1/26/2020 Francis Reyes                    $10.50   47.87   $   13.00   $   119.67   $    51.13   $   170.80
 7/29/2018 Francisco Javier Peralta          $9.50   63.72   $   11.00   $    95.58   $   130.44   $   226.02
  8/5/2018 Francisco Javier Peralta          $9.50   41.15   $   11.00   $    61.73   $     6.33   $    68.05
 8/12/2018 Francisco Javier Peralta          $9.50   50.22   $   11.00   $    75.33   $    56.19   $   131.52
 8/19/2018 Francisco Javier Peralta          $9.50   66.00   $   11.00   $    99.00   $   143.00   $   242.00
 8/26/2018 Francisco Javier Peralta          $9.50   66.00   $   11.00   $    99.00   $   143.00   $   242.00
  9/2/2018 Francisco Javier Peralta          $9.50   62.37   $   11.00   $    93.55   $   123.02   $   216.57



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                                              Exhibit 4
                                      Westchester Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                            Hourly Hours /
 Ending                      Name                          Minimum Regular Half-Time Overtime Back
                                             Rate   Week
  Date                                                      Wage   Rate Due     Due       Wages Due

  9/9/2018 Francisco Javier Peralta          $9.50   54.25   $   11.00   $    81.38   $    78.38   $   159.75
 9/16/2018 Francisco Javier Peralta          $9.50   65.40   $   11.00   $    98.10   $   139.70   $   237.80
 9/23/2018 Francisco Javier Peralta          $9.50   66.52   $   11.00   $    99.78   $   145.84   $   245.62
 9/30/2018 Francisco Javier Peralta          $9.50   66.13   $   11.00   $    99.20   $   143.73   $   242.93
 10/7/2018 Francisco Javier Peralta         $10.00   60.02   $   11.00   $    60.02   $   110.09   $   170.11
10/14/2018 Francisco Javier Peralta         $10.00   62.20   $   11.00   $    62.20   $   122.10   $   184.30
10/21/2018 Francisco Javier Peralta         $10.00   62.80   $   11.00   $    62.80   $   125.40   $   188.20
10/28/2018 Francisco Javier Peralta         $10.00   64.80   $   11.00   $    64.80   $   136.40   $   201.20
 11/4/2018 Francisco Javier Peralta         $10.00   65.55   $   11.00   $    65.55   $   140.53   $   206.08
11/11/2018 Francisco Javier Peralta         $10.00   65.95   $   11.00   $    65.95   $   142.73   $   208.68
11/18/2018 Francisco Javier Peralta         $10.00   65.28   $   11.00   $    65.28   $   139.06   $   204.34
11/25/2018 Francisco Javier Peralta         $10.00   53.17   $   11.00   $    53.17   $    72.42   $   125.58
 12/2/2018 Francisco Javier Peralta         $10.00   65.75   $   11.00   $    65.75   $   141.63   $   207.38
 12/9/2018 Francisco Javier Peralta         $10.00   64.65   $   11.00   $    64.65   $   135.58   $   200.23
12/16/2018 Francisco Javier Peralta         $10.00   66.85   $   11.00   $    66.85   $   147.68   $   214.53
12/23/2018 Francisco Javier Peralta         $10.00   66.17   $   11.00   $    66.17   $   143.92   $   210.08
12/30/2018 Francisco Javier Peralta         $10.00   52.18   $   11.00   $    52.18   $    67.01   $   119.19
  1/6/2019 Francisco Javier Peralta         $10.00   53.92   $   12.00   $   107.83   $    83.50   $   191.33
 1/13/2019 Francisco Javier Peralta         $10.00   66.75   $   12.00   $   133.50   $   160.50   $   294.00
 1/20/2019 Francisco Javier Peralta         $10.00   65.95   $   12.00   $   131.90   $   155.70   $   287.60
 1/27/2019 Francisco Javier Peralta         $10.00   67.83   $   12.00   $   135.67   $   167.00   $   302.67
  2/3/2019 Francisco Javier Peralta         $10.00   65.92   $   12.00   $   131.83   $   155.50   $   287.33
 2/10/2019 Francisco Javier Peralta         $10.00   66.37   $   12.00   $   132.73   $   158.20   $   290.93
 2/17/2019 Francisco Javier Peralta         $10.00   64.32   $   12.00   $   128.63   $   145.90   $   274.53
 2/24/2019 Francisco Javier Peralta         $10.00   65.70   $   12.00   $   131.40   $   154.20   $   285.60
  3/3/2019 Francisco Javier Peralta         $10.00   65.78   $   12.00   $   131.57   $   154.70   $   286.27
 3/10/2019 Francisco Javier Peralta         $10.00   66.67   $   12.00   $   133.33   $   160.00   $   293.33
 3/17/2019 Francisco Javier Peralta         $10.00   66.10   $   12.00   $   132.20   $   156.60   $   288.80
 3/24/2019 Francisco Javier Peralta         $10.00   67.55   $   12.00   $   135.10   $   165.30   $   300.40
 3/31/2019 Francisco Javier Peralta         $10.00   68.42   $   12.00   $   136.83   $   170.50   $   307.33
  4/7/2019 Francisco Javier Peralta         $10.00   67.55   $   12.00   $   135.10   $   165.30   $   300.40
 4/14/2019 Francisco Javier Peralta         $10.00   65.30   $   12.00   $   130.60   $   151.80   $   282.40
 4/21/2019 Francisco Javier Peralta         $10.00   66.93   $   12.00   $   133.87   $   161.60   $   295.47
 4/28/2019 Francisco Javier Peralta         $10.00   46.57   $   12.00   $    93.13   $    39.40   $   132.53
  5/5/2019 Francisco Javier Peralta         $10.00   58.75   $   12.00   $   117.50   $   112.50   $   230.00
 5/12/2019 Francisco Javier Peralta         $10.00   68.17   $   12.00   $   136.33   $   169.00   $   305.33
 5/19/2019 Francisco Javier Peralta         $10.00   68.42   $   12.00   $   136.83   $   170.50   $   307.33
 5/26/2019 Francisco Javier Peralta         $10.00   68.18   $   12.00   $   136.37   $   169.10   $   305.47
  6/2/2019 Francisco Javier Peralta         $10.00   55.27   $   12.00   $   110.53   $    91.60   $   202.13
  6/9/2019 Francisco Javier Peralta         $10.00   67.80   $   12.00   $   135.60   $   166.80   $   302.40
 6/16/2019 Francisco Javier Peralta         $10.00   66.18   $   12.00   $   132.37   $   157.10   $   289.47
 6/23/2019 Francisco Javier Peralta         $10.00   66.50   $   12.00   $   133.00   $   159.00   $   292.00
 6/30/2019 Francisco Javier Peralta         $10.00   55.78   $   12.00   $   111.57   $    94.70   $   206.27
 7/14/2019 Francisco Javier Peralta         $10.00   67.53   $   12.00   $   135.07   $   165.20   $   300.27
 7/21/2019 Francisco Javier Peralta         $10.00   67.30   $   12.00   $   134.60   $   163.80   $   298.40
 7/28/2019 Francisco Javier Peralta         $10.00   66.73   $   12.00   $   133.47   $   160.40   $   293.87
  8/4/2019 Francisco Javier Peralta         $10.00   67.18   $   12.00   $   134.37   $   163.10   $   297.47
 8/11/2019 Francisco Javier Peralta         $10.00   66.80   $   12.00   $   133.60   $   160.80   $   294.40
 8/18/2019 Francisco Javier Peralta         $10.00   66.93   $   12.00   $   133.87   $   161.60   $   295.47
 8/25/2019 Francisco Javier Peralta         $10.00   67.10   $   12.00   $   134.20   $   162.60   $   296.80
  9/1/2019 Francisco Javier Peralta         $10.00   67.32   $   12.00   $   134.63   $   163.90   $   298.53



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                                              Exhibit 4
                                      Westchester Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                            Hourly Hours /
 Ending                      Name                          Minimum Regular Half-Time Overtime Back
                                             Rate   Week
  Date                                                      Wage   Rate Due     Due       Wages Due

  9/8/2019 Francisco Javier Peralta         $10.00   55.23   $   12.00   $   110.47   $    91.40   $   201.87
 9/15/2019 Francisco Javier Peralta         $10.00   58.78   $   12.00   $   117.57   $   112.70   $   230.27
 9/22/2019 Francisco Javier Peralta         $10.00   66.70   $   12.00   $   133.40   $   160.20   $   293.60
 9/29/2019 Francisco Javier Peralta         $10.00   66.77   $   12.00   $   133.53   $   160.60   $   294.13
 10/6/2019 Francisco Javier Peralta         $10.00   66.48   $   12.00   $   132.97   $   158.90   $   291.87
10/13/2019 Francisco Javier Peralta         $10.00   66.35   $   12.00   $   132.70   $   158.10   $   290.80
10/20/2019 Francisco Javier Peralta         $10.00   66.18   $   12.00   $   132.37   $   157.10   $   289.47
10/27/2019 Francisco Javier Peralta         $10.00   66.42   $   12.00   $   132.83   $   158.50   $   291.33
 11/3/2019 Francisco Javier Peralta         $10.00   66.55   $   12.00   $   133.10   $   159.30   $   292.40
11/10/2019 Francisco Javier Peralta         $10.00   66.90   $   12.00   $   133.80   $   161.40   $   295.20
11/17/2019 Francisco Javier Peralta         $10.00   67.55   $   12.00   $   135.10   $   165.30   $   300.40
11/24/2019 Francisco Javier Peralta         $10.00   66.83   $   12.00   $   133.67   $   161.00   $   294.67
 12/1/2019 Francisco Javier Peralta         $10.00   54.92   $   12.00   $   109.83   $    89.50   $   199.33
 12/8/2019 Francisco Javier Peralta         $10.00   65.70   $   12.00   $   131.40   $   154.20   $   285.60
12/15/2019 Francisco Javier Peralta         $10.00   66.47   $   12.00   $   132.93   $   158.80   $   291.73
12/22/2019 Francisco Javier Peralta         $10.00   65.40   $   12.00   $   130.80   $   152.40   $   283.20
12/29/2019 Francisco Javier Peralta         $10.00   51.60   $   12.00   $   103.20   $    69.60   $   172.80
  1/5/2020 Francisco Javier Peralta         $10.00   53.25   $   13.00   $   159.75   $    86.13   $   245.88
 1/12/2020 Francisco Javier Peralta         $10.00   66.35   $   13.00   $   199.05   $   171.28   $   370.33
 1/19/2020 Francisco Javier Peralta         $10.00   66.23   $   13.00   $   198.70   $   170.52   $   369.22
 1/26/2020 Francisco Javier Peralta         $10.00   64.48   $   13.00   $   193.45   $   159.14   $   352.59
 3/25/2018 Francisco Marte-0220              $9.50   56.15   $   11.00   $    84.23   $    88.83   $   173.05
  4/1/2018 Francisco Marte-0220              $9.50   52.30   $   11.00   $    78.45   $    67.65   $   146.10
  4/8/2018 Francisco Marte-0220              $9.50   46.43   $   11.00   $    69.65   $    35.38   $   105.03
 4/15/2018 Francisco Marte-0220              $9.50   57.32   $   11.00   $    85.98   $    95.24   $   181.22
 4/22/2018 Francisco Marte-0220              $9.50   46.98   $   11.00   $    70.48   $    38.41   $   108.88
 4/29/2018 Francisco Marte-0220              $9.50   56.98   $   11.00   $    85.48   $    93.41   $   178.88
  5/6/2018 Francisco Marte-0220              $9.50   47.83   $   11.00   $    71.75   $    43.08   $   114.83
 5/13/2018 Francisco Marte-0220              $9.50   54.20   $   11.00   $    81.30   $    78.10   $   159.40
 5/20/2018 Francisco Marte-0220              $9.50   55.65   $   11.00   $    83.48   $    86.08   $   169.55
 5/27/2018 Francisco Marte-0220              $9.50   47.00   $   11.00   $    70.50   $    38.50   $   109.00
12/23/2018 Francisco Marte-0220              $9.50   56.67   $   11.00   $    85.00   $    91.67   $   176.67
10/20/2019 Frank Junior Gomez               $11.50   43.45   $   12.00   $    21.73   $    20.70   $    42.43
10/27/2019 Frank Junior Gomez               $11.50   55.02   $   12.00   $    27.51   $    90.10   $   117.61
 11/3/2019 Frank Junior Gomez               $11.50   55.52   $   12.00   $    27.76   $    93.10   $   120.86
11/10/2019 Frank Junior Gomez               $11.50   54.70   $   12.00   $    27.35   $    88.20   $   115.55
11/17/2019 Frank Junior Gomez               $11.50   57.68   $   12.00   $    28.84   $   106.10   $   134.94
11/24/2019 Frank Junior Gomez               $11.50   57.12   $   12.00   $    28.56   $   102.70   $   131.26
 12/1/2019 Frank Junior Gomez               $11.50   45.95   $   12.00   $    22.98   $    35.70   $    58.68
 12/8/2019 Frank Junior Gomez               $11.50   55.50   $   12.00   $    27.75   $    93.00   $   120.75
12/15/2019 Frank Junior Gomez               $11.50   56.92   $   12.00   $    28.46   $   101.50   $   129.96
12/22/2019 Frank Junior Gomez               $11.50   55.82   $   12.00   $    27.91   $    94.90   $   122.81
12/29/2019 Frank Junior Gomez               $11.50   46.02   $   12.00   $    23.01   $    36.10   $    59.11
  1/5/2020 Frank Junior Gomez               $11.50   47.12   $   13.00   $    70.68   $    46.26   $   116.93
 1/12/2020 Frank Junior Gomez               $11.50   59.05   $   13.00   $    88.58   $   123.83   $   212.40
 1/19/2020 Frank Junior Gomez               $11.50   56.43   $   13.00   $    84.65   $   106.82   $   191.47
 1/26/2020 Frank Junior Gomez               $11.50   55.52   $   13.00   $    83.28   $   100.86   $   184.13
10/20/2019 Fredy Carbajal                   $11.00   64.88   $   12.00   $    64.88   $   149.30   $   214.18
10/27/2019 Fredy Carbajal                   $11.00   64.67   $   12.00   $    64.67   $   148.00   $   212.67
 11/3/2019 Fredy Carbajal                   $11.00   64.88   $   12.00   $    64.88   $   149.30   $   214.18
11/10/2019 Fredy Carbajal                   $11.00   53.68   $   12.00   $    53.68   $    82.10   $   135.78



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                                           Exhibit 4
                                   Westchester Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                         Hourly Hours /
 Ending                     Name                        Minimum Regular Half-Time Overtime Back
                                          Rate   Week
  Date                                                   Wage   Rate Due     Due       Wages Due

11/17/2019 Fredy Carbajal                $11.00   65.00   $   12.00   $ 65.00      $   150.00   $   215.00
11/24/2019 Fredy Carbajal                $11.00   64.05   $   12.00   $ 64.05      $   144.30   $   208.35
 12/1/2019 Fredy Carbajal                $11.00   52.75   $   12.00   $ 52.75      $    76.50   $   129.25
 12/8/2019 Fredy Carbajal                $11.00   64.72   $   12.00   $ 64.72      $   148.30   $   213.02
12/15/2019 Fredy Carbajal                $11.00   64.37   $   12.00   $ 64.37      $   146.20   $   210.57
12/22/2019 Fredy Carbajal                $11.00   64.17   $   12.00   $ 64.17      $   145.00   $   209.17
12/29/2019 Fredy Carbajal                $11.00   47.43   $   12.00   $ 47.43      $    44.60   $    92.03
  1/5/2020 Fredy Carbajal                $11.00   49.40   $   13.00   $ 98.80      $    61.10   $   159.90
 1/12/2020 Fredy Carbajal                $11.00   65.52   $   13.00   $ 131.03     $   165.86   $   296.89
 1/19/2020 Fredy Carbajal                $11.00   64.97   $   13.00   $ 129.93     $   162.28   $   292.22
 1/26/2020 Fredy Carbajal                $11.00   65.20   $   13.00   $ 130.40     $   163.80   $   294.20
 11/3/2019 Glenda Estrada                $13.00   41.67   $   12.00                $    10.83   $    10.83
11/10/2019 Glenda Estrada                $13.00   51.22   $   12.00                $    72.91   $    72.91
11/17/2019 Glenda Estrada                $13.00   50.75   $   12.00                $    69.88   $    69.88
11/24/2019 Glenda Estrada                $13.00   50.12   $   12.00                $    65.76   $    65.76
 12/1/2019 Glenda Estrada                $13.00   42.43   $   12.00                $    15.82   $    15.82
 12/8/2019 Glenda Estrada                $13.00   50.22   $   12.00                $    66.41   $    66.41
12/15/2019 Glenda Estrada                $10.00   57.12   $   12.00   $   114.23   $   102.70   $   216.93
12/22/2019 Glenda Estrada                $10.00   57.80   $   12.00   $   115.60   $   106.80   $   222.40
12/29/2019 Glenda Estrada                $10.00   43.53   $   12.00   $    87.07   $    21.20   $   108.27
  1/5/2020 Glenda Estrada                $10.00   47.25   $   13.00   $   141.75   $    47.13   $   188.88
 1/12/2020 Glenda Estrada                $10.00   57.67   $   13.00   $   173.00   $   114.83   $   287.83
 1/19/2020 Glenda Estrada                $10.00   57.42   $   13.00   $   172.25   $   113.21   $   285.46
 1/26/2020 Glenda Estrada                $10.00   57.83   $   13.00   $   173.50   $   115.92   $   289.42
  5/6/2018 Jason Manzueta                $10.00   66.70   $   11.00   $    66.70   $   146.85   $   213.55
 5/13/2018 Jason Manzueta                $10.00   61.50   $   11.00   $    61.50   $   118.25   $   179.75
 5/20/2018 Jason Manzueta                $10.00   41.65   $   11.00   $    41.65   $     9.07   $    50.73
 5/27/2018 Jason Manzueta                $10.00   65.12   $   11.00   $    65.12   $   138.14   $   203.26
  6/3/2018 Jason Manzueta                $10.00   52.95   $   11.00   $    52.95   $    71.23   $   124.18
 6/10/2018 Jason Manzueta                $10.00   55.48   $   11.00   $    55.48   $    85.16   $   140.64
 6/24/2018 Jason Manzueta                $10.00   60.80   $   11.00   $    60.80   $   114.40   $   175.20
  7/1/2018 Jason Manzueta                $10.00   62.85   $   11.00   $    62.85   $   125.68   $   188.53
  2/5/2017 Jefri Mejia                    $9.00   57.10   $   10.00   $    57.10   $    85.50   $   142.60
 2/12/2017 Jefri Mejia                    $9.00   54.60   $   10.00   $    54.60   $    73.00   $   127.60
 2/19/2017 Jefri Mejia                    $9.00   58.15   $   10.00   $    58.15   $    90.75   $   148.90
 2/26/2017 Jefri Mejia                    $9.00   63.08   $   10.00   $    63.08   $   115.42   $   178.50
  3/5/2017 Jefri Mejia                    $9.00   57.85   $   10.00   $    57.85   $    89.25   $   147.10
 3/12/2017 Jefri Mejia                    $9.00   59.15   $   10.00   $    59.15   $    95.75   $   154.90
 3/19/2017 Jefri Mejia                    $9.00   45.92   $   10.00   $    45.92   $    29.58   $    75.50
 3/26/2017 Jefri Mejia                    $9.00   59.20   $   10.00   $    59.20   $    96.00   $   155.20
  4/2/2017 Jefri Mejia                    $9.00   64.80   $   10.00   $    64.80   $   124.00   $   188.80
  4/9/2017 Jefri Mejia                    $9.00   60.17   $   10.00   $    60.17   $   100.83   $   161.00
  7/2/2017 Jefri Mejia                    $9.50   67.10   $   10.00   $    33.55   $   135.50   $   169.05
  7/9/2017 Jefri Mejia                    $9.50   55.08   $   10.00   $    27.54   $    75.42   $   102.96
 7/16/2017 Jefri Mejia                    $9.50   66.92   $   10.00   $    33.46   $   134.58   $   168.04
 7/23/2017 Jefri Mejia                    $9.50   64.98   $   10.00   $    32.49   $   124.92   $   157.41
 7/30/2017 Jefri Mejia                    $9.50   67.20   $   10.00   $    33.60   $   136.00   $   169.60
  8/6/2017 Jefri Mejia                    $9.50   67.00   $   10.00   $    33.50   $   135.00   $   168.50
 8/13/2017 Jefri Mejia                    $9.50   66.87   $   10.00   $    33.43   $   134.33   $   167.77
 8/20/2017 Jefri Mejia                    $9.50   66.93   $   10.00   $    33.47   $   134.67   $   168.13
 8/27/2017 Jefri Mejia                    $9.50   67.20   $   10.00   $    33.60   $   136.00   $   169.60



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                                        Exhibit 4
                                Westchester Computations


  Week                                                 State Section 7: Section 7: Total Section 7
                                      Hourly Hours /
 Ending                  Name                        Minimum Regular Half-Time Overtime Back
                                       Rate   Week
  Date                                                Wage   Rate Due     Due       Wages Due

  9/3/2017 Jefri Mejia                 $9.50   67.33   $   10.00   $    33.67   $   136.67   $   170.33
 9/10/2017 Jefri Mejia                 $9.50   55.12   $   10.00   $    27.56   $    75.58   $   103.14
 9/17/2017 Jefri Mejia                 $9.50   67.15   $   10.00   $    33.58   $   135.75   $   169.33
 9/24/2017 Jefri Mejia                 $9.50   67.33   $   10.00   $    33.67   $   136.67   $   170.33
 10/1/2017 Jefri Mejia                 $9.50   67.03   $   10.00   $    33.52   $   135.17   $   168.68
 10/8/2017 Jefri Mejia                 $9.50   67.32   $   10.00   $    33.66   $   136.58   $   170.24
10/15/2017 Jefri Mejia                 $9.50   67.55   $   10.00   $    33.78   $   137.75   $   171.53
10/22/2017 Jefri Mejia                 $9.50   66.95   $   10.00   $    33.48   $   134.75   $   168.23
10/29/2017 Jefri Mejia                 $9.50   67.48   $   10.00   $    33.74   $   137.42   $   171.16
 11/5/2017 Jefri Mejia                 $9.50   67.20   $   10.00   $    33.60   $   136.00   $   169.60
11/12/2017 Jefri Mejia                 $9.50   67.87   $   10.00   $    33.93   $   139.33   $   173.27
11/19/2017 Jefri Mejia                 $9.50   67.40   $   10.00   $    33.70   $   137.00   $   170.70
11/26/2017 Jefri Mejia                 $9.50   55.47   $   10.00   $    27.73   $    77.33   $   105.07
 12/3/2017 Jefri Mejia                 $9.50   67.42   $   10.00   $    33.71   $   137.08   $   170.79
12/10/2017 Jefri Mejia                 $9.50   59.67   $   10.00   $    29.83   $    98.33   $   128.17
12/17/2017 Jefri Mejia                 $9.50   67.22   $   10.00   $    33.61   $   136.08   $   169.69
12/24/2017 Jefri Mejia                 $9.50   67.03   $   10.00   $    33.52   $   135.17   $   168.68
12/31/2017 Jefri Mejia                 $9.50   55.40   $   11.00   $    83.10   $    84.70   $   167.80
  1/7/2018 Jefri Mejia                 $9.50   42.25   $   11.00   $    63.38   $    12.38   $    75.75
 1/14/2018 Jefri Mejia                 $9.50   52.07   $   11.00   $    78.10   $    66.37   $   144.47
 1/21/2018 Jefri Mejia                 $9.50   67.60   $   11.00   $   101.40   $   151.80   $   253.20
 1/28/2018 Jefri Mejia                 $9.50   67.83   $   11.00   $   101.75   $   153.08   $   254.83
  2/4/2018 Jefri Mejia                 $9.50   65.93   $   11.00   $    98.90   $   142.63   $   241.53
 2/11/2018 Jefri Mejia                 $9.50   63.35   $   11.00   $    95.03   $   128.43   $   223.45
 2/18/2018 Jefri Mejia                 $9.50   60.48   $   11.00   $    90.73   $   112.66   $   203.38
 2/25/2018 Jefri Mejia                 $9.50   51.13   $   11.00   $    76.70   $    61.23   $   137.93
  3/4/2018 Jefri Mejia                 $9.50   59.53   $   11.00   $    89.30   $   107.43   $   196.73
 3/25/2018 Jefri Mejia                 $9.50   55.70   $   11.00   $    83.55   $    86.35   $   169.90
  4/1/2018 Jefri Mejia                 $9.50   63.80   $   11.00   $    95.70   $   130.90   $   226.60
  4/8/2018 Jefri Mejia                 $9.50   63.43   $   11.00   $    95.15   $   128.88   $   224.03
 4/15/2018 Jefri Mejia                 $9.50   65.43   $   11.00   $    98.15   $   139.88   $   238.03
 4/22/2018 Jefri Mejia                 $9.50   65.13   $   11.00   $    97.70   $   138.23   $   235.93
 4/29/2018 Jefri Mejia                 $9.50   65.93   $   11.00   $    98.90   $   142.63   $   241.53
  5/6/2018 Jefri Mejia                 $9.50   65.48   $   11.00   $    98.23   $   140.16   $   238.38
 5/13/2018 Jefri Mejia                 $9.50   64.92   $   11.00   $    97.38   $   137.04   $   234.42
 5/20/2018 Jefri Mejia                 $9.50   65.85   $   11.00   $    98.78   $   142.18   $   240.95
 5/27/2018 Jefri Mejia                 $9.50   68.80   $   11.00   $   103.20   $   158.40   $   261.60
  6/3/2018 Jefri Mejia                 $9.50   59.37   $   11.00   $    89.05   $   106.52   $   195.57
 6/10/2018 Jefri Mejia                 $9.50   72.42   $   11.00   $   108.63   $   178.29   $   286.92
 6/17/2018 Jefri Mejia                 $9.50   71.42   $   11.00   $   107.13   $   172.79   $   279.92
 6/24/2018 Jefri Mejia                 $9.50   70.67   $   11.00   $   106.00   $   168.67   $   274.67
  7/1/2018 Jefri Mejia                 $9.50   71.35   $   11.00   $   107.03   $   172.43   $   279.45
  7/8/2018 Jefri Mejia                 $9.50   45.75   $   11.00   $    68.63   $    31.63   $   100.25
 7/15/2018 Jefri Mejia                 $9.50   64.60   $   11.00   $    96.90   $   135.30   $   232.20
 3/31/2019 Jefri Mejia                 $9.50   65.37   $   12.00   $   163.42   $   152.20   $   315.62
  4/7/2019 Jefri Mejia                 $9.50   42.02   $   12.00   $   105.04   $    12.10   $   117.14
  4/9/2017 Jerry Lopez                $12.00   65.05   $   10.00                $   150.30   $   150.30
 4/16/2017 Jerry Lopez                $12.00   64.67   $   10.00                $   148.00   $   148.00
 4/23/2017 Jerry Lopez                $12.00   63.42   $   10.00                $   140.50   $   140.50
 4/30/2017 Jerry Lopez                $12.00   63.65   $   10.00                $   141.90   $   141.90
  5/7/2017 Jerry Lopez                $12.00   63.28   $   10.00                $   139.70   $   139.70



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                                Westchester Computations


  Week                                                 State Section 7: Section 7: Total Section 7
                                      Hourly Hours /
 Ending                  Name                        Minimum Regular Half-Time Overtime Back
                                       Rate   Week
  Date                                                Wage   Rate Due     Due       Wages Due

 5/14/2017 Jerry Lopez                $12.00   56.18   $   10.00          $    97.10   $    97.10
 5/21/2017 Jerry Lopez                $12.00   67.48   $   10.00          $   164.90   $   164.90
 5/28/2017 Jerry Lopez                $12.00   66.45   $   10.00          $   158.70   $   158.70
  6/4/2017 Jerry Lopez                $12.00   59.33   $   10.00          $   116.00   $   116.00
 6/11/2017 Jerry Lopez                $12.00   57.42   $   10.00          $   104.50   $   104.50
 6/18/2017 Jerry Lopez                $12.00   61.95   $   10.00          $   131.70   $   131.70
 6/25/2017 Jerry Lopez                $12.00   64.28   $   10.00          $   145.70   $   145.70
  7/2/2017 Jerry Lopez                $12.00   67.72   $   10.00          $   166.30   $   166.30
  7/9/2017 Jerry Lopez                $12.00   53.60   $   10.00          $    81.60   $    81.60
 7/16/2017 Jerry Lopez                $12.00   56.92   $   10.00          $   101.50   $   101.50
 7/23/2017 Jerry Lopez                $12.00   64.40   $   10.00          $   146.40   $   146.40
 7/30/2017 Jerry Lopez                $12.00   61.90   $   10.00          $   131.40   $   131.40
  8/6/2017 Jerry Lopez                $12.00   62.98   $   10.00          $   137.90   $   137.90
 8/13/2017 Jerry Lopez                $12.00   52.92   $   10.00          $    77.50   $    77.50
 8/20/2017 Jerry Lopez                $12.00   53.48   $   10.00          $    80.90   $    80.90
 8/27/2017 Jerry Lopez                $12.00   62.27   $   10.00          $   133.60   $   133.60
  9/3/2017 Jerry Lopez                $12.00   62.70   $   10.00          $   136.20   $   136.20
 9/10/2017 Jerry Lopez                $12.00   59.90   $   10.00          $   119.40   $   119.40
 9/17/2017 Jerry Lopez                $12.00   63.18   $   10.00          $   139.10   $   139.10
 9/24/2017 Jerry Lopez                $12.00   55.93   $   10.00          $    95.60   $    95.60
 10/1/2017 Jerry Lopez                $12.00   66.07   $   10.00          $   156.40   $   156.40
 10/8/2017 Jerry Lopez                $12.00   64.88   $   10.00          $   149.30   $   149.30
10/15/2017 Jerry Lopez                $12.00   56.35   $   10.00          $    98.10   $    98.10
10/22/2017 Jerry Lopez                $12.00   67.30   $   10.00          $   163.80   $   163.80
10/29/2017 Jerry Lopez                $12.00   66.77   $   10.00          $   160.60   $   160.60
 11/5/2017 Jerry Lopez                $12.00   65.97   $   10.00          $   155.80   $   155.80
11/12/2017 Jerry Lopez                $12.00   57.67   $   10.00          $   106.00   $   106.00
11/19/2017 Jerry Lopez                $12.00   54.60   $   10.00          $    87.60   $    87.60
11/26/2017 Jerry Lopez                $12.00   55.05   $   10.00          $    90.30   $    90.30
 12/3/2017 Jerry Lopez                $12.00   41.28   $   10.00          $     7.70   $     7.70
12/10/2017 Jerry Lopez                $12.00   63.32   $   10.00          $   139.90   $   139.90
12/17/2017 Jerry Lopez                $12.00   60.93   $   10.00          $   125.60   $   125.60
12/24/2017 Jerry Lopez                $12.00   63.02   $   10.00          $   138.10   $   138.10
12/31/2017 Jerry Lopez                $12.00   52.50   $   11.00          $    75.00   $    75.00
  1/7/2018 Jerry Lopez                $12.00   48.27   $   11.00          $    49.60   $    49.60
 1/14/2018 Jerry Lopez                $12.00   64.55   $   11.00          $   147.30   $   147.30
 1/21/2018 Jerry Lopez                $12.00   67.77   $   11.00          $   166.60   $   166.60
 1/28/2018 Jerry Lopez                $12.00   68.12   $   11.00          $   168.70   $   168.70
  2/4/2018 Jerry Lopez                $12.00   57.42   $   11.00          $   104.50   $   104.50
 2/11/2018 Jerry Lopez                $12.00   68.97   $   11.00          $   173.80   $   173.80
 2/18/2018 Jerry Lopez                $12.00   52.98   $   11.00          $    77.90   $    77.90
 9/23/2018 Jerry Lopez                $12.00   68.98   $   11.00          $   173.90   $   173.90
 9/30/2018 Jerry Lopez                $12.00   40.22   $   11.00          $     1.30   $     1.30
 10/7/2018 Jerry Lopez                $12.00   63.38   $   11.00          $   140.30   $   140.30
10/14/2018 Jerry Lopez                $12.00   68.22   $   11.00          $   169.30   $   169.30
10/21/2018 Jerry Lopez                $12.00   62.88   $   11.00          $   137.30   $   137.30
10/28/2018 Jerry Lopez                $12.00   54.23   $   11.00          $    85.40   $    85.40
 11/4/2018 Jerry Lopez                $12.00   67.10   $   11.00          $   162.60   $   162.60
11/11/2018 Jerry Lopez                $12.00   64.02   $   11.00          $   144.10   $   144.10
11/18/2018 Jerry Lopez                $12.00   53.62   $   11.00          $    81.70   $    81.70
11/25/2018 Jerry Lopez                $12.00   51.52   $   11.00          $    69.10   $    69.10



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  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 12/2/2018 Jerry Lopez                    $12.00   53.83   $   11.00                $    83.00   $    83.00
 12/9/2018 Jerry Lopez                    $12.00   64.28   $   11.00                $   145.70   $   145.70
12/16/2018 Jerry Lopez                    $12.00   53.57   $   11.00                $    81.40   $    81.40
12/23/2018 Jerry Lopez                    $12.00   67.07   $   11.00                $   162.40   $   162.40
12/30/2018 Jerry Lopez                    $12.00   53.38   $   11.00                $    80.30   $    80.30
  1/6/2019 Jerry Lopez                    $12.00   42.40   $   12.00                $    14.40   $    14.40
 1/27/2019 Jerry Lopez                    $12.00   53.00   $   12.00                $    78.00   $    78.00
 7/15/2018 Jeser Rodriguez                 $9.50   63.33   $   11.00   $    95.00   $   128.33   $   223.33
 7/22/2018 Jeser Rodriguez                 $9.50   58.52   $   11.00   $    87.78   $   101.84   $   189.62
 7/29/2018 Jeser Rodriguez                 $9.50   60.38   $   11.00   $    90.58   $   112.11   $   202.68
  8/5/2018 Jeser Rodriguez                 $9.50   52.32   $   11.00   $    78.48   $    67.74   $   146.22
 8/12/2018 Jeser Rodriguez                 $9.50   61.43   $   11.00   $    92.15   $   117.88   $   210.03
 8/19/2018 Jeser Rodriguez                 $9.50   52.95   $   11.00   $    79.43   $    71.23   $   150.65
 8/26/2018 Jeser Rodriguez                 $9.50   57.72   $   11.00   $    86.58   $    97.44   $   184.02
  9/2/2018 Jeser Rodriguez                 $9.50   61.95   $   11.00   $    92.93   $   120.73   $   213.65
  9/9/2018 Jeser Rodriguez                 $9.50   50.00   $   11.00   $    75.00   $    55.00   $   130.00
 9/16/2018 Jeser Rodriguez                 $9.50   56.22   $   11.00   $    84.33   $    89.19   $   173.52
 9/23/2018 Jeser Rodriguez                 $9.50   61.63   $   11.00   $    92.45   $   118.98   $   211.43
 9/30/2018 Jeser Rodriguez                 $9.50   56.33   $   11.00   $    84.50   $    89.83   $   174.33
 10/7/2018 Jeser Rodriguez                 $9.50   55.47   $   11.00   $    83.20   $    85.07   $   168.27
10/14/2018 Jeser Rodriguez                 $9.50   62.30   $   11.00   $    93.45   $   122.65   $   216.10
10/21/2018 Jeser Rodriguez                 $9.50   60.40   $   11.00   $    90.60   $   112.20   $   202.80
10/28/2018 Jeser Rodriguez                 $9.50   60.00   $   11.00   $    90.00   $   110.00   $   200.00
11/11/2018 Jeser Rodriguez                 $9.50   50.20   $   11.00   $    75.30   $    56.10   $   131.40
11/18/2018 Jeser Rodriguez                 $9.50   50.67   $   11.00   $    76.00   $    58.67   $   134.67
 12/2/2018 Jeser Rodriguez                 $9.50   59.70   $   11.00   $    89.55   $   108.35   $   197.90
 12/9/2018 Jeser Rodriguez                 $9.50   59.17   $   11.00   $    88.75   $   105.42   $   194.17
12/16/2018 Jeser Rodriguez                 $9.50   58.58   $   11.00   $    87.88   $   102.21   $   190.08
12/23/2018 Jeser Rodriguez                 $9.50   65.78   $   11.00   $    98.68   $   141.81   $   240.48
12/30/2018 Jeser Rodriguez                 $9.50   49.65   $   11.00   $    74.48   $    53.08   $   127.55
  1/6/2019 Jeser Rodriguez                 $9.50   53.07   $   12.00   $   132.67   $    78.40   $   211.07
 1/13/2019 Jeser Rodriguez                 $9.50   55.23   $   12.00   $   138.08   $    91.40   $   229.48
 1/20/2019 Jeser Rodriguez                 $9.50   52.65   $   12.00   $   131.63   $    75.90   $   207.53
 1/27/2019 Jeser Rodriguez                 $9.50   58.98   $   12.00   $   147.46   $   113.90   $   261.36
  2/3/2019 Jeser Rodriguez                 $9.50   48.55   $   12.00   $   121.38   $    51.30   $   172.68
 2/10/2019 Jeser Rodriguez                 $9.50   54.65   $   12.00   $   136.63   $    87.90   $   224.53
 2/17/2019 Jeser Rodriguez                 $9.50   49.20   $   12.00   $   123.00   $    55.20   $   178.20
 2/24/2019 Jeser Rodriguez                 $9.50   61.27   $   12.00   $   153.17   $   127.60   $   280.77
 5/12/2019 Jeser Rodriguez                 $9.50   48.42   $   12.00   $   121.04   $    50.50   $   171.54
 5/19/2019 Jeser Rodriguez                 $9.50   57.98   $   12.00   $   144.96   $   107.90   $   252.86
 5/26/2019 Jeser Rodriguez                 $9.50   41.67   $   12.00   $   104.17   $    10.00   $   114.17
  6/2/2019 Jeser Rodriguez                 $9.50   43.62   $   12.00   $   109.04   $    21.70   $   130.74
  6/9/2019 Jeser Rodriguez                 $9.50   59.75   $   12.00   $   149.38   $   118.50   $   267.88
 6/16/2019 Jeser Rodriguez                 $9.50   61.40   $   12.00   $   153.50   $   128.40   $   281.90
 6/23/2019 Jeser Rodriguez                 $9.50   64.38   $   12.00   $   160.96   $   146.30   $   307.26
 6/30/2019 Jeser Rodriguez                 $9.50   54.37   $   12.00   $   135.92   $    86.20   $   222.12
  7/7/2019 Jeser Rodriguez                $10.00   42.10   $   12.00   $    84.20   $    12.60   $    96.80
 7/14/2019 Jeser Rodriguez                $10.00   51.00   $   12.00   $   102.00   $    66.00   $   168.00
 7/21/2019 Jeser Rodriguez                $10.00   61.30   $   12.00   $   122.60   $   127.80   $   250.40
 7/28/2019 Jeser Rodriguez                $10.00   67.27   $   12.00   $   134.53   $   163.60   $   298.13
  8/4/2019 Jeser Rodriguez                $10.00   64.62   $   12.00   $   129.23   $   147.70   $   276.93



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                                    Westchester Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 8/11/2019 Jeser Rodriguez                $10.00   68.40   $   12.00   $   136.80   $   170.40   $   307.20
 8/18/2019 Jeser Rodriguez                $10.00   57.30   $   12.00   $   114.60   $   103.80   $   218.40
 8/25/2019 Jeser Rodriguez                $10.00   49.18   $   12.00   $    98.37   $    55.10   $   153.47
  9/1/2019 Jeser Rodriguez                $10.00   55.60   $   12.00   $   111.20   $    93.60   $   204.80
 9/15/2019 Jeser Rodriguez                $10.00   57.25   $   12.00   $   114.50   $   103.50   $   218.00
 9/22/2019 Jeser Rodriguez                $10.00   51.58   $   12.00   $   103.17   $    69.50   $   172.67
12/15/2019 Jeser Rodriguez                $10.00   58.92   $   12.00   $   117.83   $   113.50   $   231.33
12/22/2019 Jeser Rodriguez                $10.00   56.60   $   12.00   $   113.20   $    99.60   $   212.80
 12/8/2019 Jhonny Perez                   $14.15   58.20   $   12.00                $   128.77   $   128.77
  1/5/2020 Jhonny Perez                   $14.15   48.62   $   13.00                $    60.96   $    60.96
 1/12/2020 Jhonny Perez                   $14.15   49.58   $   13.00                $    67.80   $    67.80
 1/19/2020 Jhonny Perez                   $14.15   60.00   $   13.00                $   141.50   $   141.50
 1/26/2020 Jhonny Perez                   $14.15   59.48   $   13.00                $   137.84   $   137.84
12/17/2017 Joel Zepeda                     $9.50   46.00   $   10.00   $    23.00   $    30.00   $    53.00
12/24/2017 Joel Zepeda                     $9.50   50.37   $   10.00   $    25.18   $    51.83   $    77.02
12/31/2017 Joel Zepeda                     $9.50   47.37   $   11.00   $    71.05   $    40.52   $   111.57
  1/7/2018 Joel Zepeda                     $9.50   41.58   $   11.00   $    62.38   $     8.71   $    71.08
 1/14/2018 Joel Zepeda                     $9.50   58.12   $   11.00   $    87.18   $    99.64   $   186.82
 1/21/2018 Joel Zepeda                     $9.50   55.47   $   11.00   $    83.20   $    85.07   $   168.27
 1/28/2018 Joel Zepeda                     $9.50   57.40   $   11.00   $    86.10   $    95.70   $   181.80
  2/4/2018 Joel Zepeda                     $9.50   57.03   $   11.00   $    85.55   $    93.68   $   179.23
 2/11/2018 Joel Zepeda                     $9.50   58.62   $   11.00   $    87.93   $   102.39   $   190.32
 2/18/2018 Joel Zepeda                     $9.50   56.72   $   11.00   $    85.08   $    91.94   $   177.02
 2/25/2018 Joel Zepeda                     $9.50   57.48   $   11.00   $    86.23   $    96.16   $   182.38
  3/4/2018 Joel Zepeda                     $9.50   58.25   $   11.00   $    87.38   $   100.38   $   187.75
 9/17/2017 Johan Rodriguez                $11.00   51.08   $   10.00                $    60.96   $    60.96
 9/24/2017 Johan Rodriguez                $11.00   56.22   $   10.00                $    89.19   $    89.19
 10/1/2017 Johan Rodriguez                $11.00   55.05   $   10.00                $    82.78   $    82.78
 10/8/2017 Johan Rodriguez                $11.00   48.03   $   10.00                $    44.18   $    44.18
10/15/2017 Johan Rodriguez                $11.00   55.75   $   10.00                $    86.63   $    86.63
10/22/2017 Johan Rodriguez                $11.00   46.47   $   10.00                $    35.57   $    35.57
10/29/2017 Johan Rodriguez                $11.00   57.78   $   10.00                $    97.81   $    97.81
 11/5/2017 Johan Rodriguez                $11.00   49.47   $   10.00                $    52.07   $    52.07
11/12/2017 Johan Rodriguez                $11.00   55.02   $   10.00                $    82.59   $    82.59
11/19/2017 Johan Rodriguez                $11.00   54.07   $   10.00                $    77.37   $    77.37
 12/3/2017 Johan Rodriguez                $11.00   49.93   $   10.00                $    54.63   $    54.63
12/10/2017 Johan Rodriguez                $11.00   51.20   $   10.00                $    61.60   $    61.60
12/17/2017 Johan Rodriguez                $11.00   49.55   $   10.00                $    52.53   $    52.53
12/24/2017 Johan Rodriguez                $11.00   56.30   $   10.00                $    89.65   $    89.65
 1/14/2018 Johan Rodriguez                $11.00   47.57   $   11.00                $    41.62   $    41.62
 1/21/2018 Johan Rodriguez                $11.00   46.05   $   11.00                $    33.28   $    33.28
 1/28/2018 Johan Rodriguez                $11.00   57.18   $   11.00                $    94.51   $    94.51
  2/4/2018 Johan Rodriguez                $11.00   46.25   $   11.00                $    34.38   $    34.38
 2/11/2018 Johan Rodriguez                $11.00   57.45   $   11.00                $    95.98   $    95.98
 2/18/2018 Johan Rodriguez                $11.00   54.97   $   11.00                $    82.32   $    82.32
 2/25/2018 Johan Rodriguez                $11.00   49.23   $   11.00                $    50.78   $    50.78
  3/4/2018 Johan Rodriguez                $11.00   52.88   $   11.00                $    70.86   $    70.86
 3/25/2018 Johan Rodriguez                $11.00   52.83   $   11.00                $    70.58   $    70.58
  4/1/2018 Johan Rodriguez                $11.00   50.75   $   11.00                $    59.13   $    59.13
  4/8/2018 Johan Rodriguez                $11.00   50.63   $   11.00                $    58.48   $    58.48
 4/15/2018 Johan Rodriguez                $11.00   58.48   $   11.00                $   101.66   $   101.66



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  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 4/22/2018 Johan Rodriguez                $11.00   57.93   $   11.00               $    98.63   $    98.63
 4/29/2018 Johan Rodriguez                $11.00   56.57   $   11.00               $    91.12   $    91.12
  5/6/2018 Johan Rodriguez                $11.00   48.23   $   11.00               $    45.28   $    45.28
 5/13/2018 Johan Rodriguez                $11.00   57.00   $   11.00               $    93.50   $    93.50
 5/20/2018 Johan Rodriguez                $11.00   56.18   $   11.00               $    89.01   $    89.01
 5/27/2018 Johan Rodriguez                $11.00   57.17   $   11.00               $    94.42   $    94.42
 6/10/2018 Johan Rodriguez                $11.00   55.58   $   11.00               $    85.71   $    85.71
 6/17/2018 Johan Rodriguez                $11.00   55.02   $   11.00               $    82.59   $    82.59
 6/24/2018 Johan Rodriguez                $11.00   49.17   $   11.00               $    50.42   $    50.42
  7/1/2018 Johan Rodriguez                $11.00   57.28   $   11.00               $    95.06   $    95.06
  7/8/2018 Johan Rodriguez                $11.00   46.63   $   11.00               $    36.48   $    36.48
 7/22/2018 Johan Rodriguez                $11.00   57.10   $   11.00               $    94.05   $    94.05
 7/29/2018 Johan Rodriguez                $11.00   58.72   $   11.00               $   102.94   $   102.94
  8/5/2018 Johan Rodriguez                $11.00   56.68   $   11.00               $    91.76   $    91.76
 8/12/2018 Johan Rodriguez                $11.00   47.05   $   11.00               $    38.78   $    38.78
 8/19/2018 Johan Rodriguez                $11.00   50.28   $   11.00               $    56.56   $    56.56
 8/26/2018 Johan Rodriguez                $11.00   71.98   $   11.00               $   175.91   $   175.91
  9/2/2018 Johan Rodriguez                $11.00   66.78   $   11.00               $   147.31   $   147.31
  9/9/2018 Johan Rodriguez                $11.00   48.75   $   11.00               $    48.13   $    48.13
 9/16/2018 Johan Rodriguez                $11.00   54.47   $   11.00               $    79.57   $    79.57
 9/23/2018 Johan Rodriguez                $11.00   56.07   $   11.00               $    88.37   $    88.37
 9/30/2018 Johan Rodriguez                $11.00   51.78   $   11.00               $    64.81   $    64.81
 10/7/2018 Johan Rodriguez                $11.00   48.70   $   11.00               $    47.85   $    47.85
10/14/2018 Johan Rodriguez                $11.00   45.32   $   11.00               $    29.24   $    29.24
10/21/2018 Johan Rodriguez                $11.00   47.47   $   11.00               $    41.07   $    41.07
10/28/2018 Johan Rodriguez                $11.00   44.17   $   11.00               $    22.92   $    22.92
 11/4/2018 Johan Rodriguez                $11.00   64.60   $   11.00               $   135.30   $   135.30
11/11/2018 Johan Rodriguez                $11.00   60.22   $   11.00               $   111.19   $   111.19
11/18/2018 Johan Rodriguez                $11.00   52.47   $   11.00               $    68.57   $    68.57
11/25/2018 Johan Rodriguez                $11.00   51.30   $   11.00               $    62.15   $    62.15
 12/2/2018 Johan Rodriguez                $11.00   52.67   $   11.00               $    69.67   $    69.67
 12/9/2018 Johan Rodriguez                $11.00   63.32   $   11.00               $   128.24   $   128.24
12/16/2018 Johan Rodriguez                $11.00   62.08   $   11.00               $   121.46   $   121.46
12/23/2018 Johan Rodriguez                $11.00   53.07   $   11.00               $    71.87   $    71.87
12/30/2018 Johan Rodriguez                $11.00   55.55   $   11.00               $    85.53   $    85.53
  1/6/2019 Johan Rodriguez                $11.00   44.27   $   12.00   $   44.27   $    25.60   $    69.87
 1/13/2019 Johan Rodriguez                $11.00   65.17   $   12.00   $   65.17   $   151.00   $   216.17
 1/20/2019 Johan Rodriguez                $11.00   62.47   $   12.00   $   62.47   $   134.80   $   197.27
 1/27/2019 Johan Rodriguez                $11.00   54.10   $   12.00   $   54.10   $    84.60   $   138.70
  2/3/2019 Johan Rodriguez                $11.00   59.22   $   12.00   $   59.22   $   115.30   $   174.52
 2/10/2019 Johan Rodriguez                $11.00   64.95   $   12.00   $   64.95   $   149.70   $   214.65
 2/17/2019 Johan Rodriguez                $11.00   45.62   $   12.00   $   45.62   $    33.70   $    79.32
 2/24/2019 Johan Rodriguez                $11.00   63.80   $   12.00   $   63.80   $   142.80   $   206.60
  3/3/2019 Johan Rodriguez                $11.00   63.85   $   12.00   $   63.85   $   143.10   $   206.95
 3/10/2019 Johan Rodriguez                $11.00   65.28   $   12.00   $   65.28   $   151.70   $   216.98
 3/17/2019 Johan Rodriguez                $11.00   52.68   $   12.00   $   52.68   $    76.10   $   128.78
 3/24/2019 Johan Rodriguez                $11.00   65.93   $   12.00   $   65.93   $   155.60   $   221.53
 3/31/2019 Johan Rodriguez                $11.00   70.90   $   12.00   $   70.90   $   185.40   $   256.30
  4/7/2019 Johan Rodriguez                $11.00   64.57   $   12.00   $   64.57   $   147.40   $   211.97
 4/14/2019 Johan Rodriguez                $11.00   64.80   $   12.00   $   64.80   $   148.80   $   213.60
  5/5/2019 Johan Rodriguez                $11.00   66.25   $   12.00   $   66.25   $   157.50   $   223.75



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  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 5/12/2019 Johan Rodriguez                $11.00   64.73   $   12.00   $    64.73   $   148.40   $   213.13
 5/19/2019 Johan Rodriguez                $11.00   65.58   $   12.00   $    65.58   $   153.50   $   219.08
 5/26/2019 Johan Rodriguez                $11.00   56.68   $   12.00   $    56.68   $   100.10   $   156.78
  6/2/2019 Johan Rodriguez                $11.00   45.53   $   12.00   $    45.53   $    33.20   $    78.73
  6/9/2019 Johan Rodriguez                $11.00   66.38   $   12.00   $    66.38   $   158.30   $   224.68
 6/16/2019 Johan Rodriguez                $11.00   65.03   $   12.00   $    65.03   $   150.20   $   215.23
 6/23/2019 Johan Rodriguez                $11.00   61.52   $   12.00   $    61.52   $   129.10   $   190.62
 6/30/2019 Johan Rodriguez                $11.00   74.53   $   12.00   $    74.53   $   207.20   $   281.73
  7/7/2019 Johan Rodriguez                $11.00   52.08   $   12.00   $    52.08   $    72.50   $   124.58
 7/14/2019 Johan Rodriguez                $11.00   61.12   $   12.00   $    61.12   $   126.70   $   187.82
 7/21/2019 Johan Rodriguez                $11.00   62.15   $   12.00   $    62.15   $   132.90   $   195.05
  8/4/2019 Johan Rodriguez                $11.00   52.67   $   12.00   $    52.67   $    76.00   $   128.67
 8/11/2019 Johan Rodriguez                $11.00   63.52   $   12.00   $    63.52   $   141.10   $   204.62
 8/18/2019 Johan Rodriguez                $11.00   62.17   $   12.00   $    62.17   $   133.00   $   195.17
 8/25/2019 Johan Rodriguez                $11.00   63.10   $   12.00   $    63.10   $   138.60   $   201.70
  9/1/2019 Johan Rodriguez                $11.00   62.62   $   12.00   $    62.62   $   135.70   $   198.32
  9/8/2019 Johan Rodriguez                $11.00   51.78   $   12.00   $    51.78   $    70.70   $   122.48
 9/15/2019 Johan Rodriguez                $11.00   62.92   $   12.00   $    62.92   $   137.50   $   200.42
 9/22/2019 Johan Rodriguez                $11.00   62.52   $   12.00   $    62.52   $   135.10   $   197.62
 9/29/2019 Johan Rodriguez                $11.00   68.70   $   12.00   $    68.70   $   172.20   $   240.90
 10/6/2019 Johan Rodriguez                $11.00   62.28   $   12.00   $    62.28   $   133.70   $   195.98
10/13/2019 Johan Rodriguez                $11.00   62.28   $   12.00   $    62.28   $   133.70   $   195.98
 11/3/2019 Johan Rodriguez                $13.00   63.72   $   12.00                $   154.16   $   154.16
11/10/2019 Johan Rodriguez                $13.00   61.97   $   12.00                $   142.78   $   142.78
11/17/2019 Johan Rodriguez                $13.00   62.70   $   12.00                $   147.55   $   147.55
11/24/2019 Johan Rodriguez                $13.00   57.53   $   12.00                $   113.97   $   113.97
 12/1/2019 Johan Rodriguez                $13.00   51.57   $   12.00                $    75.18   $    75.18
 12/8/2019 Johan Rodriguez                $13.00   61.90   $   12.00                $   142.35   $   142.35
12/15/2019 Johan Rodriguez                $11.00   60.90   $   12.00   $    60.90   $   125.40   $   186.30
12/22/2019 Johan Rodriguez                $11.00   62.28   $   12.00   $    62.28   $   133.70   $   195.98
12/29/2019 Johan Rodriguez                $11.00   54.27   $   12.00   $    54.27   $    85.60   $   139.87
  1/5/2020 Johan Rodriguez                $11.00   51.27   $   13.00   $   102.53   $    73.23   $   175.77
 1/12/2020 Johan Rodriguez                $11.00   62.58   $   13.00   $   125.17   $   146.79   $   271.96
 1/19/2020 Johan Rodriguez                $11.00   62.57   $   13.00   $   125.13   $   146.68   $   271.82
 1/26/2020 Johan Rodriguez                $11.00   64.58   $   13.00   $   129.17   $   159.79   $   288.96
 4/28/2019 John Jairo Villegas            $10.00   60.58   $   12.00   $   121.17   $   123.50   $   244.67
  5/5/2019 John Jairo Villegas            $10.00   62.83   $   12.00   $   125.67   $   137.00   $   262.67
 5/12/2019 John Jairo Villegas            $10.00   62.80   $   12.00   $   125.60   $   136.80   $   262.40
 5/19/2019 John Jairo Villegas            $10.00   63.35   $   12.00   $   126.70   $   140.10   $   266.80
 5/26/2019 John Jairo Villegas            $10.00   63.50   $   12.00   $   127.00   $   141.00   $   268.00
  6/2/2019 John Jairo Villegas            $10.00   53.90   $   12.00   $   107.80   $    83.40   $   191.20
  6/9/2019 John Jairo Villegas            $10.00   64.10   $   12.00   $   128.20   $   144.60   $   272.80
 6/16/2019 John Jairo Villegas            $10.00   63.10   $   12.00   $   126.20   $   138.60   $   264.80
 6/23/2019 John Jairo Villegas            $10.00   62.35   $   12.00   $   124.70   $   134.10   $   258.80
 6/30/2019 John Jairo Villegas            $10.00   63.80   $   12.00   $   127.60   $   142.80   $   270.40
  7/7/2019 John Jairo Villegas            $10.00   51.73   $   12.00   $   103.47   $    70.40   $   173.87
 7/14/2019 John Jairo Villegas            $10.00   62.55   $   12.00   $   125.10   $   135.30   $   260.40
 7/21/2019 John Jairo Villegas            $10.00   62.00   $   12.00   $   124.00   $   132.00   $   256.00
 7/28/2019 John Jairo Villegas            $10.00   62.08   $   12.00   $   124.17   $   132.50   $   256.67
  8/4/2019 John Jairo Villegas            $10.00   62.20   $   12.00   $   124.40   $   133.20   $   257.60
 8/11/2019 John Jairo Villegas            $10.00   62.98   $   12.00   $   125.97   $   137.90   $   263.87



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  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 8/18/2019 John Jairo Villegas            $10.00   62.62   $   12.00   $   125.23   $   135.70   $   260.93
 8/25/2019 John Jairo Villegas            $10.00   62.47   $   12.00   $   124.93   $   134.80   $   259.73
  9/1/2019 John Jairo Villegas            $10.00   62.23   $   12.00   $   124.47   $   133.40   $   257.87
  9/8/2019 John Jairo Villegas            $10.00   51.70   $   12.00   $   103.40   $    70.20   $   173.60
 9/15/2019 John Jairo Villegas            $10.00   62.10   $   12.00   $   124.20   $   132.60   $   256.80
 9/22/2019 John Jairo Villegas            $10.00   62.77   $   12.00   $   125.53   $   136.60   $   262.13
 9/29/2019 John Jairo Villegas            $10.00   47.90   $   12.00   $    95.80   $    47.40   $   143.20
 10/6/2019 John Jairo Villegas            $10.00   62.90   $   12.00   $   125.80   $   137.40   $   263.20
10/13/2019 John Jairo Villegas            $10.00   62.85   $   12.00   $   125.70   $   137.10   $   262.80
10/20/2019 John Jairo Villegas            $13.00   54.28   $   12.00                $    92.84   $    92.84
10/27/2019 John Jairo Villegas            $13.00   57.05   $   12.00                $   110.83   $   110.83
 11/3/2019 John Jairo Villegas            $13.00   56.45   $   12.00                $   106.93   $   106.93
11/10/2019 John Jairo Villegas            $13.00   55.83   $   12.00                $   102.92   $   102.92
11/17/2019 John Jairo Villegas            $13.00   57.22   $   12.00                $   111.91   $   111.91
11/24/2019 John Jairo Villegas            $13.00   53.62   $   12.00                $    88.51   $    88.51
 12/1/2019 John Jairo Villegas            $13.00   46.93   $   12.00                $    45.07   $    45.07
 12/8/2019 John Jairo Villegas            $13.00   54.13   $   12.00                $    91.87   $    91.87
12/15/2019 John Jairo Villegas            $10.00   63.10   $   12.00   $   126.20   $   138.60   $   264.80
12/22/2019 John Jairo Villegas            $10.00   63.93   $   12.00   $   127.87   $   143.60   $   271.47
12/29/2019 John Jairo Villegas            $10.00   50.50   $   12.00   $   101.00   $    63.00   $   164.00
  1/5/2020 John Jairo Villegas            $10.00   51.78   $   13.00   $   155.35   $    76.59   $   231.94
 1/12/2020 John Jairo Villegas            $10.00   63.53   $   13.00   $   190.60   $   152.97   $   343.57
 1/19/2020 John Jairo Villegas            $10.00   63.22   $   13.00   $   189.65   $   150.91   $   340.56
 1/26/2020 John Jairo Villegas            $10.00   57.20   $   13.00   $   171.60   $   111.80   $   283.40
  1/7/2018 Jonathan Solano                $10.50   42.77   $   11.00   $    21.38   $    15.22   $    36.60
 1/14/2018 Jonathan Solano                $10.50   63.87   $   11.00   $    31.93   $   131.27   $   163.20
 1/21/2018 Jonathan Solano                $10.50   65.97   $   11.00   $    32.98   $   142.82   $   175.80
 1/28/2018 Jonathan Solano                $10.50   70.63   $   11.00   $    35.32   $   168.48   $   203.80
  2/4/2018 Jonathan Solano                $10.50   71.17   $   11.00   $    35.58   $   171.42   $   207.00
 2/11/2018 Jonathan Solano                $10.50   70.78   $   11.00   $    35.39   $   169.31   $   204.70
 2/18/2018 Jonathan Solano                $10.50   70.72   $   11.00   $    35.36   $   168.94   $   204.30
 2/25/2018 Jonathan Solano                $10.50   70.23   $   11.00   $    35.12   $   166.28   $   201.40
  3/4/2018 Jonathan Solano                $10.50   59.37   $   11.00   $    29.68   $   106.52   $   136.20
 3/25/2018 Jonathan Solano                $10.50   65.65   $   11.00   $    32.83   $   141.08   $   173.90
  4/1/2018 Jonathan Solano                $10.50   70.70   $   11.00   $    35.35   $   168.85   $   204.20
  4/8/2018 Jonathan Solano                $10.50   70.43   $   11.00   $    35.22   $   167.38   $   202.60
 4/15/2018 Jonathan Solano                $10.50   70.15   $   11.00   $    35.08   $   165.83   $   200.90
 4/22/2018 Jonathan Solano                $10.50   70.08   $   11.00   $    35.04   $   165.46   $   200.50
 4/29/2018 Jonathan Solano                $10.50   70.53   $   11.00   $    35.27   $   167.93   $   203.20
  5/6/2018 Jonathan Solano                $10.50   71.38   $   11.00   $    35.69   $   172.61   $   208.30
 5/13/2018 Jonathan Solano                $10.50   71.43   $   11.00   $    35.72   $   172.88   $   208.60
 5/20/2018 Jonathan Solano                $10.50   68.78   $   11.00   $    34.39   $   158.31   $   192.70
 5/27/2018 Jonathan Solano                $10.50   44.92   $   11.00   $    22.46   $    27.04   $    49.50
  6/3/2018 Jonathan Solano                $10.50   55.75   $   11.00   $    27.88   $    86.63   $   114.50
 6/10/2018 Jonathan Solano                $10.50   67.68   $   11.00   $    33.84   $   152.26   $   186.10
 6/17/2018 Jonathan Solano                $10.50   58.93   $   11.00   $    29.47   $   104.13   $   133.60
 6/24/2018 Jonathan Solano                $10.50   70.37   $   11.00   $    35.18   $   167.02   $   202.20
  7/1/2018 Jonathan Solano                $10.50   71.08   $   11.00   $    35.54   $   170.96   $   206.50
  7/8/2018 Jonathan Solano                $10.50   56.83   $   11.00   $    28.42   $    92.58   $   121.00
 7/15/2018 Jonathan Solano                $10.50   69.28   $   11.00   $    34.64   $   161.06   $   195.70
 7/22/2018 Jonathan Solano                $10.50   68.80   $   11.00   $    34.40   $   158.40   $   192.80



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                                            Exhibit 4
                                    Westchester Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 7/29/2018 Jonathan Solano                $10.50   67.03   $   11.00   $    33.52   $   148.68   $   182.20
  8/5/2018 Jonathan Solano                $10.50   53.68   $   11.00   $    26.84   $    75.26   $   102.10
 8/12/2018 Jonathan Solano                $10.50   64.58   $   11.00   $    32.29   $   135.21   $   167.50
 8/19/2018 Jonathan Solano                $10.50   64.23   $   11.00   $    32.12   $   133.28   $   165.40
 8/26/2018 Jonathan Solano                $10.50   64.68   $   11.00   $    32.34   $   135.76   $   168.10
  9/2/2018 Jonathan Solano                $10.50   64.13   $   11.00   $    32.07   $   132.73   $   164.80
  9/9/2018 Jonathan Solano                $10.50   53.50   $   11.00   $    26.75   $    74.25   $   101.00
 9/16/2018 Jonathan Solano                $10.50   64.35   $   11.00   $    32.18   $   133.93   $   166.10
 9/23/2018 Jonathan Solano                $10.50   64.17   $   11.00   $    32.08   $   132.92   $   165.00
 9/30/2018 Jonathan Solano                $10.50   64.85   $   11.00   $    32.43   $   136.68   $   169.10
 10/7/2018 Jonathan Solano                $10.50   64.88   $   11.00   $    32.44   $   136.86   $   169.30
10/14/2018 Jonathan Solano                $10.50   65.10   $   11.00   $    32.55   $   138.05   $   170.60
10/21/2018 Jonathan Solano                $10.50   64.22   $   11.00   $    32.11   $   133.19   $   165.30
10/28/2018 Jonathan Solano                $10.50   64.58   $   11.00   $    32.29   $   135.21   $   167.50
 11/4/2018 Jonathan Solano                $10.50   63.95   $   11.00   $    31.98   $   131.73   $   163.70
11/11/2018 Jonathan Solano                $10.50   52.62   $   11.00   $    26.31   $    69.39   $    95.70
11/18/2018 Jonathan Solano                $10.50   51.43   $   11.00   $    25.72   $    62.88   $    88.60
 12/2/2018 Jonathan Solano                $10.50   62.18   $   11.00   $    31.09   $   122.01   $   153.10
 12/9/2018 Jonathan Solano                $10.50   46.15   $   11.00   $    23.08   $    33.83   $    56.90
12/16/2018 Jonathan Solano                $10.50   58.38   $   11.00   $    29.19   $   101.11   $   130.30
  4/7/2019 Jonathan Solano                $10.50   62.20   $   12.00   $    93.30   $   133.20   $   226.50
 4/14/2019 Jonathan Solano                $10.50   70.45   $   12.00   $   105.68   $   182.70   $   288.38
 4/21/2019 Jonathan Solano                $10.50   70.12   $   12.00   $   105.18   $   180.70   $   285.88
 4/28/2019 Jonathan Solano                $10.50   69.65   $   12.00   $   104.48   $   177.90   $   282.38
  5/5/2019 Jonathan Solano                $10.50   70.87   $   12.00   $   106.30   $   185.20   $   291.50
 5/12/2019 Jonathan Solano                $10.50   67.83   $   12.00   $   101.75   $   167.00   $   268.75
 5/19/2019 Jonathan Solano                $10.50   66.18   $   12.00   $    99.28   $   157.10   $   256.38
 5/26/2019 Jonathan Solano                $10.50   67.43   $   12.00   $   101.15   $   164.60   $   265.75
  6/2/2019 Jonathan Solano                $10.50   56.45   $   12.00   $    84.68   $    98.70   $   183.38
  6/9/2019 Jonathan Solano                $10.50   68.18   $   12.00   $   102.28   $   169.10   $   271.38
 6/16/2019 Jonathan Solano                $10.50   67.80   $   12.00   $   101.70   $   166.80   $   268.50
 6/23/2019 Jonathan Solano                $10.50   67.08   $   12.00   $   100.63   $   162.50   $   263.13
 6/30/2019 Jonathan Solano                $10.50   67.08   $   12.00   $   100.63   $   162.50   $   263.13
  7/7/2019 Jonathan Solano                $10.50   55.55   $   12.00   $    83.33   $    93.30   $   176.63
 7/14/2019 Jonathan Solano                $10.50   68.13   $   12.00   $   102.20   $   168.80   $   271.00
 7/21/2019 Jonathan Solano                $10.50   67.23   $   12.00   $   100.85   $   163.40   $   264.25
 8/18/2019 Jonathan Solano                $10.50   66.90   $   12.00   $   100.35   $   161.40   $   261.75
 8/25/2019 Jonathan Solano                $10.50   67.62   $   12.00   $   101.43   $   165.70   $   267.13
  9/1/2019 Jonathan Solano                $10.50   68.15   $   12.00   $   102.23   $   168.90   $   271.13
  9/8/2019 Jonathan Solano                $10.50   56.37   $   12.00   $    84.55   $    98.20   $   182.75
 9/15/2019 Jonathan Solano                $10.50   68.18   $   12.00   $   102.28   $   169.10   $   271.38
 9/22/2019 Jonathan Solano                $10.50   67.97   $   12.00   $   101.95   $   167.80   $   269.75
 9/29/2019 Jonathan Solano                $10.50   68.55   $   12.00   $   102.83   $   171.30   $   274.13
 10/6/2019 Jonathan Solano                $10.50   57.38   $   12.00   $    86.08   $   104.30   $   190.38
10/13/2019 Jonathan Solano                $10.50   69.02   $   12.00   $   103.53   $   174.10   $   277.63
10/20/2019 Jonathan Solano                $13.00   63.30   $   12.00                $   151.45   $   151.45
10/27/2019 Jonathan Solano                $13.00   63.43   $   12.00                $   152.32   $   152.32
 11/3/2019 Jonathan Solano                $13.00   62.58   $   12.00                $   146.79   $   146.79
11/10/2019 Jonathan Solano                $13.00   63.35   $   12.00                $   151.78   $   151.78
11/17/2019 Jonathan Solano                $13.00   62.55   $   12.00                $   146.58   $   146.58
11/24/2019 Jonathan Solano                $13.00   63.23   $   12.00                $   151.02   $   151.02



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  Week                                                      State Section 7: Section 7: Total Section 7
                                           Hourly Hours /
 Ending                      Name                         Minimum Regular Half-Time Overtime Back
                                            Rate   Week
  Date                                                     Wage   Rate Due     Due       Wages Due

 12/1/2019 Jonathan Solano                 $13.00   51.97   $   12.00                $    77.78   $    77.78
 12/8/2019 Jonathan Solano                 $13.00   62.60   $   12.00                $   146.90   $   146.90
12/15/2019 Jonathan Solano                 $10.50   68.38   $   12.00   $   102.58   $   170.30   $   272.88
12/22/2019 Jonathan Solano                 $10.50   69.12   $   12.00   $   103.68   $   174.70   $   278.38
12/29/2019 Jonathan Solano                 $10.50   54.97   $   12.00   $    82.45   $    89.80   $   172.25
  1/5/2020 Jonathan Solano                 $10.50   56.48   $   13.00   $   141.21   $   107.14   $   248.35
 1/12/2020 Jonathan Solano                 $10.50   69.05   $   13.00   $   172.63   $   188.83   $   361.45
 1/19/2020 Jonathan Solano                 $10.50   67.85   $   13.00   $   169.63   $   181.03   $   350.65
 1/26/2020 Jonathan Solano                 $10.50   60.60   $   13.00   $   151.50   $   133.90   $   285.40
 2/26/2017 Jose Alberto Brito Loza          $9.50   52.73   $   10.00   $    26.37   $    63.67   $    90.03
  3/5/2017 Jose Alberto Brito Loza          $9.50   61.05   $   10.00   $    30.53   $   105.25   $   135.78
 3/12/2017 Jose Alberto Brito Loza          $9.50   58.45   $   10.00   $    29.23   $    92.25   $   121.48
  7/2/2017 Jose Alberto Brito Loza          $9.50   51.12   $   10.00   $    25.56   $    55.58   $    81.14
  7/9/2017 Jose Alberto Brito Loza          $9.50   53.93   $   10.00   $    26.97   $    69.67   $    96.63
 7/16/2017 Jose Alberto Brito Loza          $9.50   64.98   $   10.00   $    32.49   $   124.92   $   157.41
 7/23/2017 Jose Alberto Brito Loza          $9.50   63.08   $   10.00   $    31.54   $   115.42   $   146.96
 7/30/2017 Jose Alberto Brito Loza          $9.50   48.17   $   10.00   $    24.08   $    40.83   $    64.92
  8/6/2017 Jose Alberto Brito Loza          $9.50   61.27   $   10.00   $    30.63   $   106.33   $   136.97
  2/5/2017 Jose E. Leon Guerra             $11.00   59.18   $   10.00                $   105.51   $   105.51
 2/12/2017 Jose E. Leon Guerra             $11.00   48.23   $   10.00                $    45.28   $    45.28
 2/19/2017 Jose E. Leon Guerra             $11.00   55.08   $   10.00                $    82.96   $    82.96
 2/26/2017 Jose E. Leon Guerra             $11.00   59.70   $   10.00                $   108.35   $   108.35
  3/5/2017 Jose E. Leon Guerra             $11.00   60.33   $   10.00                $   111.83   $   111.83
 3/12/2017 Jose E. Leon Guerra             $11.00   60.13   $   10.00                $   110.73   $   110.73
 3/19/2017 Jose E. Leon Guerra             $11.00   49.72   $   10.00                $    53.44   $    53.44
 3/26/2017 Jose E. Leon Guerra             $11.00   60.28   $   10.00                $   111.56   $   111.56
  4/2/2017 Jose E. Leon Guerra             $11.00   52.80   $   10.00                $    70.40   $    70.40
  4/9/2017 Jose E. Leon Guerra             $11.00   62.67   $   10.00                $   124.67   $   124.67
 4/16/2017 Jose E. Leon Guerra             $11.00   50.48   $   10.00                $    57.66   $    57.66
 4/23/2017 Jose E. Leon Guerra             $11.00   57.07   $   10.00                $    93.87   $    93.87
 4/30/2017 Jose E. Leon Guerra             $11.00   56.95   $   10.00                $    93.23   $    93.23
  8/6/2017 Jose E. Leon Guerra             $12.00   63.68   $   10.00                $   142.10   $   142.10
 8/13/2017 Jose E. Leon Guerra             $12.00   53.77   $   10.00                $    82.60   $    82.60
 8/20/2017 Jose E. Leon Guerra             $12.00   64.57   $   10.00                $   147.40   $   147.40
 8/27/2017 Jose E. Leon Guerra             $12.00   64.83   $   10.00                $   149.00   $   149.00
 9/10/2017 Jose E. Leon Guerra             $12.00   53.83   $   10.00                $    83.00   $    83.00
 9/17/2017 Jose E. Leon Guerra             $12.00   65.02   $   10.00                $   150.10   $   150.10
 9/24/2017 Jose E. Leon Guerra             $12.00   64.53   $   10.00                $   147.20   $   147.20
 10/1/2017 Jose E. Leon Guerra             $12.00   54.15   $   10.00                $    84.90   $    84.90
 10/8/2017 Jose E. Leon Guerra             $12.00   65.28   $   10.00                $   151.70   $   151.70
10/15/2017 Jose E. Leon Guerra             $12.00   64.72   $   10.00                $   148.30   $   148.30
10/22/2017 Jose E. Leon Guerra             $12.00   65.97   $   10.00                $   155.80   $   155.80
10/29/2017 Jose E. Leon Guerra             $12.00   66.08   $   10.00                $   156.50   $   156.50
 11/5/2017 Jose E. Leon Guerra             $12.00   64.98   $   10.00                $   149.90   $   149.90
 4/22/2018 Jose E. Leon Guerra             $12.00   64.53   $   11.00                $   147.20   $   147.20
 4/29/2018 Jose E. Leon Guerra             $12.00   68.63   $   11.00                $   171.80   $   171.80
 5/13/2018 Jose E. Leon Guerra             $12.00   69.23   $   11.00                $   175.40   $   175.40
 5/20/2018 Jose E. Leon Guerra             $12.00   68.65   $   11.00                $   171.90   $   171.90
 5/27/2018 Jose E. Leon Guerra             $12.00   68.43   $   11.00                $   170.60   $   170.60
  6/3/2018 Jose E. Leon Guerra             $12.00   57.20   $   11.00                $   103.20   $   103.20
 6/10/2018 Jose E. Leon Guerra             $12.00   68.57   $   11.00                $   171.40   $   171.40



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  Week                                                   State Section 7: Section 7: Total Section 7
                                        Hourly Hours /
 Ending                    Name                        Minimum Regular Half-Time Overtime Back
                                         Rate   Week
  Date                                                  Wage   Rate Due     Due       Wages Due

 6/17/2018 Jose E. Leon Guerra          $12.00   68.02   $   11.00          $   168.10   $   168.10
 6/24/2018 Jose E. Leon Guerra          $12.00   53.52   $   11.00          $    81.10   $    81.10
 9/23/2018 Jose E. Leon Guerra          $13.00   64.33   $   11.00          $   158.17   $   158.17
 9/30/2018 Jose E. Leon Guerra          $13.00   63.98   $   11.00          $   155.89   $   155.89
 10/7/2018 Jose E. Leon Guerra          $13.00   63.05   $   11.00          $   149.83   $   149.83
10/14/2018 Jose E. Leon Guerra          $13.00   63.48   $   11.00          $   152.64   $   152.64
10/21/2018 Jose E. Leon Guerra          $13.00   63.58   $   11.00          $   153.29   $   153.29
10/28/2018 Jose E. Leon Guerra          $13.00   64.02   $   11.00          $   156.11   $   156.11
 11/4/2018 Jose E. Leon Guerra          $13.00   63.77   $   11.00          $   154.48   $   154.48
11/11/2018 Jose E. Leon Guerra          $13.00   62.45   $   11.00          $   145.93   $   145.93
11/18/2018 Jose E. Leon Guerra          $13.00   62.35   $   11.00          $   145.28   $   145.28
11/25/2018 Jose E. Leon Guerra          $13.00   51.28   $   11.00          $    73.34   $    73.34
 12/2/2018 Jose E. Leon Guerra          $13.00   63.10   $   11.00          $   150.15   $   150.15
 12/9/2018 Jose E. Leon Guerra          $13.00   62.98   $   11.00          $   149.39   $   149.39
12/16/2018 Jose E. Leon Guerra          $13.00   62.20   $   11.00          $   144.30   $   144.30
12/23/2018 Jose E. Leon Guerra          $13.00   61.60   $   11.00          $   140.40   $   140.40
12/30/2018 Jose E. Leon Guerra          $13.00   40.72   $   11.00          $     4.66   $     4.66
  1/6/2019 Jose E. Leon Guerra          $13.00   48.85   $   12.00          $    57.53   $    57.53
 1/13/2019 Jose E. Leon Guerra          $13.00   63.55   $   12.00          $   153.08   $   153.08
 1/20/2019 Jose E. Leon Guerra          $13.00   63.25   $   12.00          $   151.13   $   151.13
 1/27/2019 Jose E. Leon Guerra          $13.00   63.05   $   12.00          $   149.83   $   149.83
  2/3/2019 Jose E. Leon Guerra          $13.00   63.00   $   12.00          $   149.50   $   149.50
 2/10/2019 Jose E. Leon Guerra          $13.00   62.95   $   12.00          $   149.18   $   149.18
 2/17/2019 Jose E. Leon Guerra          $13.00   62.85   $   12.00          $   148.53   $   148.53
 2/24/2019 Jose E. Leon Guerra          $13.00   62.93   $   12.00          $   149.07   $   149.07
  3/3/2019 Jose E. Leon Guerra          $13.00   62.82   $   12.00          $   148.31   $   148.31
 3/10/2019 Jose E. Leon Guerra          $13.00   62.90   $   12.00          $   148.85   $   148.85
 3/17/2019 Jose E. Leon Guerra          $13.00   62.52   $   12.00          $   146.36   $   146.36
 3/24/2019 Jose E. Leon Guerra          $13.00   61.00   $   12.00          $   136.50   $   136.50
 3/31/2019 Jose E. Leon Guerra          $13.00   60.27   $   12.00          $   131.73   $   131.73
  4/7/2019 Jose E. Leon Guerra          $13.00   60.52   $   12.00          $   133.36   $   133.36
 4/14/2019 Jose E. Leon Guerra          $13.00   61.87   $   12.00          $   142.13   $   142.13
 4/21/2019 Jose E. Leon Guerra          $13.00   62.88   $   12.00          $   148.74   $   148.74
 4/28/2019 Jose E. Leon Guerra          $13.00   62.48   $   12.00          $   146.14   $   146.14
  5/5/2019 Jose E. Leon Guerra          $13.00   63.40   $   12.00          $   152.10   $   152.10
 5/12/2019 Jose E. Leon Guerra          $13.00   62.92   $   12.00          $   148.96   $   148.96
 5/19/2019 Jose E. Leon Guerra          $13.00   63.13   $   12.00          $   150.37   $   150.37
 5/26/2019 Jose E. Leon Guerra          $13.00   63.12   $   12.00          $   150.26   $   150.26
  6/2/2019 Jose E. Leon Guerra          $13.00   53.57   $   12.00          $    88.18   $    88.18
  6/9/2019 Jose E. Leon Guerra          $13.00   64.05   $   12.00          $   156.33   $   156.33
 6/16/2019 Jose E. Leon Guerra          $13.00   63.20   $   12.00          $   150.80   $   150.80
 6/23/2019 Jose E. Leon Guerra          $13.00   62.33   $   12.00          $   145.17   $   145.17
 6/30/2019 Jose E. Leon Guerra          $13.00   53.23   $   12.00          $    86.02   $    86.02
 7/14/2019 Jose E. Leon Guerra          $13.00   62.52   $   12.00          $   146.36   $   146.36
 7/21/2019 Jose E. Leon Guerra          $13.00   62.02   $   12.00          $   143.11   $   143.11
 7/28/2019 Jose E. Leon Guerra          $13.00   62.10   $   12.00          $   143.65   $   143.65
  8/4/2019 Jose E. Leon Guerra          $13.00   62.73   $   12.00          $   147.77   $   147.77
 8/11/2019 Jose E. Leon Guerra          $13.00   64.05   $   12.00          $   156.33   $   156.33
 8/18/2019 Jose E. Leon Guerra          $13.00   63.52   $   12.00          $   152.86   $   152.86
 8/25/2019 Jose E. Leon Guerra          $13.00   64.23   $   12.00          $   157.52   $   157.52
  9/1/2019 Jose E. Leon Guerra          $13.00   63.43   $   12.00          $   152.32   $   152.32



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  Week                                                           State Section 7: Section 7: Total Section 7
                                                Hourly Hours /
 Ending                    Name                                Minimum Regular Half-Time Overtime Back
                                                 Rate   Week
  Date                                                          Wage   Rate Due     Due       Wages Due

  9/8/2019 Jose E. Leon Guerra                  $13.00   53.05   $   12.00          $    84.83   $    84.83
 9/15/2019 Jose E. Leon Guerra                  $13.00   63.65   $   12.00          $   153.73   $   153.73
 9/22/2019 Jose E. Leon Guerra                  $13.00   63.50   $   12.00          $   152.75   $   152.75
 9/29/2019 Jose E. Leon Guerra                  $13.00   52.53   $   12.00          $    81.47   $    81.47
 10/6/2019 Jose E. Leon Guerra                  $13.00   42.45   $   12.00          $    15.93   $    15.93
10/13/2019 Jose E. Leon Guerra                  $13.00   65.35   $   12.00          $   164.78   $   164.78
10/20/2019 Jose E. Leon Guerra                  $13.50   67.20   $   12.00          $   183.60   $   183.60
10/27/2019 Jose E. Leon Guerra                  $13.50   66.88   $   12.00          $   181.46   $   181.46
 11/3/2019 Jose E. Leon Guerra                  $13.50   66.77   $   12.00          $   180.68   $   180.68
11/10/2019 Jose E. Leon Guerra                  $13.50   66.48   $   12.00          $   178.76   $   178.76
11/17/2019 Jose E. Leon Guerra                  $13.50   66.88   $   12.00          $   181.46   $   181.46
11/24/2019 Jose E. Leon Guerra                  $13.50   65.45   $   12.00          $   171.79   $   171.79
 12/1/2019 Jose E. Leon Guerra                  $13.50   53.48   $   12.00          $    91.01   $    91.01
 12/8/2019 Jose E. Leon Guerra                  $13.50   66.70   $   12.00          $   180.23   $   180.23
12/15/2019 Jose E. Leon Guerra                  $13.50   66.30   $   12.00          $   177.53   $   177.53
12/22/2019 Jose E. Leon Guerra                  $13.50   65.62   $   12.00          $   172.91   $   172.91
  1/5/2020 Jose E. Leon Guerra                  $13.50   49.40   $   13.00          $    63.45   $    63.45
 1/12/2020 Jose E. Leon Guerra                  $13.50   65.47   $   13.00          $   171.90   $   171.90
 1/19/2020 Jose E. Leon Guerra                  $13.50   65.67   $   13.00          $   173.25   $   173.25
 1/26/2020 Jose E. Leon Guerra                  $13.50   66.13   $   13.00          $   176.40   $   176.40
 4/21/2019 Jose Fernando Juarez Sanchez         $12.00   57.05   $   12.00          $   102.30   $   102.30
 4/28/2019 Jose Fernando Juarez Sanchez         $12.00   57.85   $   12.00          $   107.10   $   107.10
  5/5/2019 Jose Fernando Juarez Sanchez         $12.00   56.63   $   12.00          $    99.80   $    99.80
 5/12/2019 Jose Fernando Juarez Sanchez         $12.00   58.87   $   12.00          $   113.20   $   113.20
 5/19/2019 Jose Fernando Juarez Sanchez         $12.00   59.05   $   12.00          $   114.30   $   114.30
 5/26/2019 Jose Fernando Juarez Sanchez         $12.00   48.17   $   12.00          $    49.00   $    49.00
  6/2/2019 Jose Fernando Juarez Sanchez         $12.00   54.42   $   12.00          $    86.50   $    86.50
  6/9/2019 Jose Fernando Juarez Sanchez         $12.00   57.23   $   12.00          $   103.40   $   103.40
 6/16/2019 Jose Fernando Juarez Sanchez         $12.00   58.90   $   12.00          $   113.40   $   113.40
 6/23/2019 Jose Fernando Juarez Sanchez         $12.00   54.83   $   12.00          $    89.00   $    89.00
 6/30/2019 Jose Fernando Juarez Sanchez         $12.00   55.77   $   12.00          $    94.60   $    94.60
  7/7/2019 Jose Fernando Juarez Sanchez         $13.00   46.28   $   12.00          $    40.84   $    40.84
 7/14/2019 Jose Fernando Juarez Sanchez         $13.00   55.83   $   12.00          $   102.92   $   102.92
 7/21/2019 Jose Fernando Juarez Sanchez         $13.00   55.55   $   12.00          $   101.08   $   101.08
 7/28/2019 Jose Fernando Juarez Sanchez         $13.00   55.60   $   12.00          $   101.40   $   101.40
  8/4/2019 Jose Fernando Juarez Sanchez         $13.00   55.75   $   12.00          $   102.38   $   102.38
 8/11/2019 Jose Fernando Juarez Sanchez         $13.00   55.88   $   12.00          $   103.24   $   103.24
 8/18/2019 Jose Fernando Juarez Sanchez         $13.00   53.78   $   12.00          $    89.59   $    89.59
 8/25/2019 Jose Fernando Juarez Sanchez         $13.00   46.32   $   12.00          $    41.06   $    41.06
  9/1/2019 Jose Fernando Juarez Sanchez         $13.00   56.12   $   12.00          $   104.76   $   104.76
  9/8/2019 Jose Fernando Juarez Sanchez         $13.00   54.25   $   12.00          $    92.63   $    92.63
 9/15/2019 Jose Fernando Juarez Sanchez         $13.00   54.87   $   12.00          $    96.63   $    96.63
 9/22/2019 Jose Fernando Juarez Sanchez         $13.00   56.30   $   12.00          $   105.95   $   105.95
 9/29/2019 Jose Fernando Juarez Sanchez         $13.00   55.88   $   12.00          $   103.24   $   103.24
 10/6/2019 Jose Fernando Juarez Sanchez         $13.00   56.52   $   12.00          $   107.36   $   107.36
10/13/2019 Jose Fernando Juarez Sanchez         $13.00   56.85   $   12.00          $   109.53   $   109.53
10/20/2019 Jose Fernando Juarez Sanchez         $13.00   57.47   $   12.00          $   113.53   $   113.53
10/27/2019 Jose Fernando Juarez Sanchez         $13.00   58.68   $   12.00          $   121.44   $   121.44
 11/3/2019 Jose Fernando Juarez Sanchez         $13.00   59.17   $   12.00          $   124.58   $   124.58
11/10/2019 Jose Fernando Juarez Sanchez         $13.00   54.85   $   12.00          $    96.53   $    96.53
11/17/2019 Jose Fernando Juarez Sanchez         $13.00   58.63   $   12.00          $   121.12   $   121.12



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  Week                                                           State Section 7: Section 7: Total Section 7
                                                Hourly Hours /
 Ending                    Name                                Minimum Regular Half-Time Overtime Back
                                                 Rate   Week
  Date                                                          Wage   Rate Due     Due       Wages Due

11/24/2019 Jose Fernando Juarez Sanchez         $13.00   54.58   $   12.00          $    94.79   $    94.79
 12/1/2019 Jose Fernando Juarez Sanchez         $13.00   43.55   $   12.00          $    23.08   $    23.08
 12/8/2019 Jose Fernando Juarez Sanchez         $13.00   56.93   $   12.00          $   110.07   $   110.07
12/15/2019 Jose Fernando Juarez Sanchez         $13.00   57.08   $   12.00          $   111.04   $   111.04
12/22/2019 Jose Fernando Juarez Sanchez         $13.00   57.05   $   12.00          $   110.83   $   110.83
12/29/2019 Jose Fernando Juarez Sanchez         $13.00   46.90   $   12.00          $    44.85   $    44.85
  1/5/2020 Jose Fernando Juarez Sanchez         $13.00   47.47   $   13.00          $    48.53   $    48.53
 1/12/2020 Jose Fernando Juarez Sanchez         $13.00   59.07   $   13.00          $   123.93   $   123.93
 1/19/2020 Jose Fernando Juarez Sanchez         $13.00   59.45   $   13.00          $   126.43   $   126.43
 1/26/2020 Jose Fernando Juarez Sanchez         $13.00   57.17   $   13.00          $   111.58   $   111.58
11/19/2017 Jose Gabriel Tejada                  $10.00   71.33   $   10.00          $   156.67   $   156.67
11/26/2017 Jose Gabriel Tejada                  $10.00   60.97   $   10.00          $   104.83   $   104.83
 12/3/2017 Jose Gabriel Tejada                  $10.00   74.55   $   10.00          $   172.75   $   172.75
12/10/2017 Jose Gabriel Tejada                  $10.00   75.30   $   10.00          $   176.50   $   176.50
  2/5/2017 Jose Guerra                          $11.00   60.42   $   10.00          $   112.29   $   112.29
 2/12/2017 Jose Guerra                          $11.00   40.07   $   10.00          $     0.37   $     0.37
 2/19/2017 Jose Guerra                          $11.00   58.05   $   10.00          $    99.28   $    99.28
 2/26/2017 Jose Guerra                          $11.00   65.80   $   10.00          $   141.90   $   141.90
  3/5/2017 Jose Guerra                          $11.00   52.95   $   10.00          $    71.23   $    71.23
 3/12/2017 Jose Guerra                          $11.00   56.57   $   10.00          $    91.12   $    91.12
 3/19/2017 Jose Guerra                          $11.00   50.90   $   10.00          $    59.95   $    59.95
 3/26/2017 Jose Guerra                          $11.00   61.68   $   10.00          $   119.26   $   119.26
  4/2/2017 Jose Guerra                          $11.00   64.70   $   10.00          $   135.85   $   135.85
  4/9/2017 Jose Guerra                          $11.00   63.55   $   10.00          $   129.53   $   129.53
 4/16/2017 Jose Guerra                          $11.00   65.83   $   10.00          $   142.08   $   142.08
 4/23/2017 Jose Guerra                          $11.00   64.85   $   10.00          $   136.68   $   136.68
 4/30/2017 Jose Guerra                          $11.00   53.15   $   10.00          $    72.33   $    72.33
  5/7/2017 Jose Guerra                          $11.00   61.28   $   10.00          $   117.06   $   117.06
 5/14/2017 Jose Guerra                          $11.00   63.48   $   10.00          $   129.16   $   129.16
 5/21/2017 Jose Guerra                          $11.00   63.15   $   10.00          $   127.33   $   127.33
 5/28/2017 Jose Guerra                          $11.00   60.57   $   10.00          $   113.12   $   113.12
  6/4/2017 Jose Guerra                          $11.00   40.65   $   10.00          $     3.58   $     3.58
 6/11/2017 Jose Guerra                          $11.00   56.85   $   10.00          $    92.68   $    92.68
 6/18/2017 Jose Guerra                          $11.00   63.42   $   10.00          $   128.79   $   128.79
 6/25/2017 Jose Guerra                          $11.00   61.60   $   10.00          $   118.80   $   118.80
  7/2/2017 Jose Guerra                          $11.00   62.10   $   10.00          $   121.55   $   121.55
  7/9/2017 Jose Guerra                          $11.00   51.75   $   10.00          $    64.63   $    64.63
 7/16/2017 Jose Guerra                          $11.00   51.65   $   10.00          $    64.08   $    64.08
 7/23/2017 Jose Guerra                          $11.00   64.87   $   10.00          $   136.77   $   136.77
 7/30/2017 Jose Guerra                          $11.00   66.07   $   10.00          $   143.37   $   143.37
  8/6/2017 Jose Guerra                          $11.00   53.80   $   10.00          $    75.90   $    75.90
 8/13/2017 Jose Guerra                          $11.00   62.72   $   10.00          $   124.94   $   124.94
 8/20/2017 Jose Guerra                          $11.00   63.77   $   10.00          $   130.72   $   130.72
 8/27/2017 Jose Guerra                          $11.00   52.33   $   10.00          $    67.83   $    67.83
  9/3/2017 Jose Guerra                          $11.00   60.60   $   10.00          $   113.30   $   113.30
 9/10/2017 Jose Guerra                          $11.00   51.83   $   10.00          $    65.08   $    65.08
 9/17/2017 Jose Guerra                          $11.00   62.95   $   10.00          $   126.23   $   126.23
 9/24/2017 Jose Guerra                          $11.00   51.18   $   10.00          $    61.51   $    61.51
 10/1/2017 Jose Guerra                          $11.00   59.68   $   10.00          $   108.26   $   108.26
 10/8/2017 Jose Guerra                          $11.00   57.38   $   10.00          $    95.61   $    95.61
10/15/2017 Jose Guerra                          $11.00   48.10   $   10.00          $    44.55   $    44.55



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  Week                                                       State Section 7: Section 7: Total Section 7
                                            Hourly Hours /
 Ending                        Name                        Minimum Regular Half-Time Overtime Back
                                             Rate   Week
  Date                                                      Wage   Rate Due     Due       Wages Due

10/22/2017 Jose Guerra                      $11.00   59.27   $   10.00                $   105.97   $   105.97
10/29/2017 Jose Guerra                      $11.00   58.53   $   10.00                $   101.93   $   101.93
 11/5/2017 Jose Guerra                      $11.00   61.40   $   10.00                $   117.70   $   117.70
11/12/2017 Jose Guerra                      $11.00   56.75   $   10.00                $    92.13   $    92.13
11/19/2017 Jose Guerra                      $11.00   56.97   $   10.00                $    93.32   $    93.32
11/26/2017 Jose Guerra                      $11.00   51.10   $   10.00                $    61.05   $    61.05
 12/3/2017 Jose Guerra                      $11.00   59.35   $   10.00                $   106.43   $   106.43
12/10/2017 Jose Guerra                      $11.00   62.57   $   10.00                $   124.12   $   124.12
12/17/2017 Jose Guerra                      $11.00   67.83   $   10.00                $   153.08   $   153.08
12/24/2017 Jose Guerra                      $11.00   70.57   $   10.00                $   168.12   $   168.12
 6/17/2018 Jose Juan Peralta                $11.00   50.45   $   11.00                $    57.48   $    57.48
  7/1/2018 Jose Juan Peralta                 $9.50   70.08   $   11.00   $   105.13   $   165.46   $   270.58
  7/8/2018 Jose Juan Peralta                 $9.50   57.90   $   11.00   $    86.85   $    98.45   $   185.30
 7/15/2018 Jose Juan Peralta                 $9.50   72.07   $   11.00   $   108.10   $   176.37   $   284.47
 7/22/2018 Jose Juan Peralta                 $9.50   72.50   $   11.00   $   108.75   $   178.75   $   287.50
 7/29/2018 Jose Juan Peralta                 $9.50   71.82   $   11.00   $   107.73   $   174.99   $   282.72
  8/5/2018 Jose Juan Peralta                 $9.50   64.57   $   11.00   $    96.85   $   135.12   $   231.97
 8/12/2018 Jose Juan Peralta                 $9.50   67.03   $   11.00   $   100.55   $   148.68   $   249.23
 8/19/2018 Jose Juan Peralta                 $9.50   71.07   $   11.00   $   106.60   $   170.87   $   277.47
 2/17/2019 Jose Juan Peralta                 $9.50   54.25   $   12.00   $   135.63   $    85.50   $   221.13
 2/24/2019 Jose Juan Peralta                 $9.50   67.20   $   12.00   $   168.00   $   163.20   $   331.20
  3/3/2019 Jose Juan Peralta                 $9.50   68.85   $   12.00   $   172.13   $   173.10   $   345.23
 3/10/2019 Jose Juan Peralta                 $9.50   67.35   $   12.00   $   168.38   $   164.10   $   332.48
 3/17/2019 Jose Juan Peralta                 $9.50   66.88   $   12.00   $   167.21   $   161.30   $   328.51
 3/24/2019 Jose Juan Peralta                 $9.50   67.07   $   12.00   $   167.67   $   162.40   $   330.07
 3/31/2019 Jose Juan Peralta                 $9.50   55.77   $   12.00   $   139.42   $    94.60   $   234.02
  4/7/2019 Jose Juan Peralta                 $9.50   67.45   $   12.00   $   168.63   $   164.70   $   333.33
 4/14/2019 Jose Juan Peralta                 $9.50   68.60   $   12.00   $   171.50   $   171.60   $   343.10
 4/21/2019 Jose Juan Peralta                 $9.50   66.52   $   12.00   $   166.29   $   159.10   $   325.39
 5/26/2019 Jose Juan Peralta                 $9.50   66.53   $   12.00   $   166.33   $   159.20   $   325.53
  6/2/2019 Jose Juan Peralta                 $9.50   64.68   $   12.00   $   161.71   $   148.10   $   309.81
  6/9/2019 Jose Juan Peralta                 $9.50   68.23   $   12.00   $   170.58   $   169.40   $   339.98
 6/16/2019 Jose Juan Peralta                 $9.50   54.00   $   12.00   $   135.00   $    84.00   $   219.00
 6/23/2019 Jose Juan Peralta                 $9.50   65.12   $   12.00   $   162.79   $   150.70   $   313.49
 6/30/2019 Jose Juan Peralta                 $9.50   67.83   $   12.00   $   169.58   $   167.00   $   336.58
  7/7/2019 Jose Juan Peralta                 $9.50   47.88   $   12.00   $   119.71   $    47.30   $   167.01
 7/14/2019 Jose Juan Peralta                 $9.50   48.08   $   12.00   $   120.21   $    48.50   $   168.71
 7/21/2019 Jose Juan Peralta                 $9.50   57.58   $   12.00   $   143.96   $   105.50   $   249.46
 7/28/2019 Jose Juan Peralta                 $9.50   47.92   $   12.00   $   119.79   $    47.50   $   167.29
  8/4/2019 Jose Juan Peralta                $10.00   59.27   $   12.00   $   118.53   $   115.60   $   234.13
 8/11/2019 Jose Juan Peralta                $10.00   62.33   $   12.00   $   124.67   $   134.00   $   258.67
 8/18/2019 Jose Juan Peralta                $10.00   60.05   $   12.00   $   120.10   $   120.30   $   240.40
 8/25/2019 Jose Juan Peralta                $10.00   62.97   $   12.00   $   125.93   $   137.80   $   263.73
  9/1/2019 Jose Juan Peralta                $10.00   66.95   $   12.00   $   133.90   $   161.70   $   295.60
  9/8/2019 Jose Juan Peralta                $10.00   59.47   $   12.00   $   118.93   $   116.80   $   235.73
 9/15/2019 Jose Juan Peralta                $10.00   65.03   $   12.00   $   130.07   $   150.20   $   280.27
 3/25/2018 Jose Luis Peralta                $10.00   62.15   $   11.00   $    62.15   $   121.83   $   183.98
  4/1/2018 Jose Luis Peralta                $10.00   67.92   $   11.00   $    67.92   $   153.54   $   221.46
  4/8/2018 Jose Luis Peralta                $10.00   66.35   $   11.00   $    66.35   $   144.93   $   211.28
 4/15/2018 Jose Luis Peralta                $10.00   66.58   $   11.00   $    66.58   $   146.21   $   212.79
 4/22/2018 Jose Luis Peralta                $10.00   66.27   $   11.00   $    66.27   $   144.47   $   210.73



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  Week                                                        State Section 7: Section 7: Total Section 7
                                             Hourly Hours /
 Ending                      Name                           Minimum Regular Half-Time Overtime Back
                                              Rate   Week
  Date                                                       Wage   Rate Due     Due       Wages Due

 4/29/2018 Jose Luis Peralta                 $10.00   66.35   $   11.00   $    66.35   $   144.93   $   211.28
  5/6/2018 Jose Luis Peralta                 $10.00   65.97   $   11.00   $    65.97   $   142.82   $   208.78
 5/13/2018 Jose Luis Peralta                 $10.00   66.57   $   11.00   $    66.57   $   146.12   $   212.68
 5/20/2018 Jose Luis Peralta                 $10.00   66.23   $   11.00   $    66.23   $   144.28   $   210.52
 5/27/2018 Jose Luis Peralta                 $10.00   54.65   $   11.00   $    54.65   $    80.58   $   135.23
  6/3/2018 Jose Luis Peralta                 $10.00   54.17   $   11.00   $    54.17   $    77.92   $   132.08
 6/10/2018 Jose Luis Peralta                 $10.00   67.97   $   11.00   $    67.97   $   153.82   $   221.78
 6/17/2018 Jose Luis Peralta                 $10.00   62.50   $   11.00   $    62.50   $   123.75   $   186.25
10/14/2018 Jose Luis Peralta                 $10.00   62.78   $   11.00   $    62.78   $   125.31   $   188.09
10/21/2018 Jose Luis Peralta                 $10.00   52.97   $   11.00   $    52.97   $    71.32   $   124.28
10/28/2018 Jose Luis Peralta                 $10.00   63.35   $   11.00   $    63.35   $   128.43   $   191.78
 11/4/2018 Jose Luis Peralta                 $10.00   63.30   $   11.00   $    63.30   $   128.15   $   191.45
11/11/2018 Jose Luis Peralta                 $10.00   62.40   $   11.00   $    62.40   $   123.20   $   185.60
11/18/2018 Jose Luis Peralta                 $10.00   62.35   $   11.00   $    62.35   $   122.93   $   185.28
 5/26/2019 Jose Luis Peralta                 $10.00   72.75   $   12.00   $   145.50   $   196.50   $   342.00
  6/2/2019 Jose Luis Peralta                 $10.00   48.35   $   12.00   $    96.70   $    50.10   $   146.80
  6/9/2019 Jose Luis Peralta                 $10.00   44.82   $   12.00   $    89.63   $    28.90   $   118.53
 6/16/2019 Jose Luis Peralta                 $10.00   42.52   $   12.00   $    85.03   $    15.10   $   100.13
 6/23/2019 Jose Luis Peralta                 $10.00   65.05   $   12.00   $   130.10   $   150.30   $   280.40
 6/30/2019 Jose Luis Peralta                 $10.00   54.68   $   12.00   $   109.37   $    88.10   $   197.47
  7/7/2019 Jose Luis Peralta                 $10.00   51.72   $   12.00   $   103.43   $    70.30   $   173.73
 7/14/2019 Jose Luis Peralta                 $10.00   55.50   $   12.00   $   111.00   $    93.00   $   204.00
 7/21/2019 Jose Luis Peralta                 $10.00   58.83   $   12.00   $   117.67   $   113.00   $   230.67
 7/28/2019 Jose Luis Peralta                 $10.00   42.33   $   12.00   $    84.67   $    14.00   $    98.67
  8/4/2019 Jose Luis Peralta                 $10.50   48.92   $   12.00   $    73.38   $    53.50   $   126.88
 8/11/2019 Jose Luis Peralta                 $10.50   47.60   $   12.00   $    71.40   $    45.60   $   117.00
 8/18/2019 Jose Luis Peralta                 $10.50   58.80   $   12.00   $    88.20   $   112.80   $   201.00
 8/25/2019 Jose Luis Peralta                 $10.50   48.43   $   12.00   $    72.65   $    50.60   $   123.25
  9/1/2019 Jose Luis Peralta                 $10.50   62.20   $   12.00   $    93.30   $   133.20   $   226.50
  9/8/2019 Jose Luis Peralta                 $10.50   51.70   $   12.00   $    77.55   $    70.20   $   147.75
 9/22/2019 Jose Luis Peralta                 $10.50   52.03   $   12.00   $    78.05   $    72.20   $   150.25
 10/6/2019 Jose Luis Peralta                 $10.50   62.68   $   12.00   $    94.03   $   136.10   $   230.13
10/13/2019 Jose Luis Peralta                 $10.50   63.62   $   12.00   $    95.43   $   141.70   $   237.13
10/20/2019 Jose Luis Peralta                 $11.00   64.15   $   12.00   $    64.15   $   144.90   $   209.05
10/27/2019 Jose Luis Peralta                 $11.00   64.72   $   12.00   $    64.72   $   148.30   $   213.02
 11/3/2019 Jose Luis Peralta                 $11.00   64.87   $   12.00   $    64.87   $   149.20   $   214.07
11/10/2019 Jose Luis Peralta                 $11.00   64.65   $   12.00   $    64.65   $   147.90   $   212.55
11/17/2019 Jose Luis Peralta                 $11.00   64.20   $   12.00   $    64.20   $   145.20   $   209.40
11/24/2019 Jose Luis Peralta                 $11.00   64.00   $   12.00   $    64.00   $   144.00   $   208.00
 12/1/2019 Jose Luis Peralta                 $11.00   52.78   $   12.00   $    52.78   $    76.70   $   129.48
 12/8/2019 Jose Luis Peralta                 $11.00   59.53   $   12.00   $    59.53   $   117.20   $   176.73
12/15/2019 Jose Luis Peralta                 $11.00   61.57   $   12.00   $    61.57   $   129.40   $   190.97
12/22/2019 Jose Luis Peralta                 $11.00   60.77   $   12.00   $    60.77   $   124.60   $   185.37
12/29/2019 Jose Luis Peralta                 $11.00   47.00   $   12.00   $    47.00   $    42.00   $    89.00
  1/5/2020 Jose Luis Peralta                 $11.00   49.35   $   13.00   $    98.70   $    60.78   $   159.48
 1/12/2020 Jose Luis Peralta                 $11.00   65.53   $   13.00   $   131.07   $   165.97   $   297.03
 1/19/2020 Jose Luis Peralta Peralta         $11.00   68.78   $   13.00   $   137.57   $   187.09   $   324.66
 1/26/2020 Jose Luis Peralta Peralta         $11.00   68.70   $   13.00   $   137.40   $   186.55   $   323.95
 4/28/2019 Jose Luis Rojas                    $9.50   73.40   $   12.00   $   183.50   $   200.40   $   383.90
 9/24/2017 Jose Manuel Guzman                $10.00   56.42   $   10.00                $    82.08   $    82.08
 10/1/2017 Jose Manuel Guzman                $10.00   48.17   $   10.00                $    40.83   $    40.83



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                                                  Exhibit 4
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  Week                                                           State Section 7: Section 7: Total Section 7
                                                Hourly Hours /
 Ending                    Name                                Minimum Regular Half-Time Overtime Back
                                                 Rate   Week
  Date                                                          Wage   Rate Due     Due       Wages Due

 10/8/2017 Jose Manuel Guzman                   $10.00   54.82   $   10.00              $    74.08   $    74.08
10/22/2017 Jose Manuel Guzman                   $10.00   57.08   $   10.00              $    85.42   $    85.42
10/29/2017 Jose Manuel Guzman                   $10.00   50.12   $   10.00              $    50.58   $    50.58
 11/5/2017 Jose Manuel Guzman                   $10.00   45.67   $   10.00              $    28.33   $    28.33
11/12/2017 Jose Manuel Guzman                   $10.00   47.05   $   10.00              $    35.25   $    35.25
11/19/2017 Jose Manuel Guzman                   $10.00   55.23   $   10.00              $    76.17   $    76.17
 12/3/2017 Jose Manuel Guzman                   $10.00   55.82   $   10.00              $    79.08   $    79.08
12/10/2017 Jose Manuel Guzman                   $10.00   48.93   $   10.00              $    44.67   $    44.67
12/17/2017 Jose Manuel Guzman                   $10.00   49.68   $   10.00              $    48.42   $    48.42
12/24/2017 Jose Manuel Guzman                   $10.00   46.02   $   10.00              $    30.08   $    30.08
  7/2/2017 Jose Manuel Martinez Rosaldo          $9.50   66.98   $   10.00   $ 33.49    $   134.92   $   168.41
  7/9/2017 Jose Manuel Martinez Rosaldo          $9.50   51.68   $   10.00   $ 25.84    $    58.42   $    84.26
 7/16/2017 Jose Manuel Martinez Rosaldo          $9.50   66.40   $   10.00   $ 33.20    $   132.00   $   165.20
 7/23/2017 Jose Manuel Martinez Rosaldo          $9.50   52.63   $   10.00   $ 26.32    $    63.17   $    89.48
 7/30/2017 Jose Manuel Martinez Rosaldo          $9.50   66.93   $   10.00   $ 33.47    $   134.67   $   168.13
  8/6/2017 Jose Manuel Martinez Rosaldo          $9.50   66.68   $   10.00   $ 33.34    $   133.42   $   166.76
 8/13/2017 Jose Manuel Martinez Rosaldo          $9.50   66.85   $   10.00   $ 33.43    $   134.25   $   167.68
 8/20/2017 Jose Manuel Martinez Rosaldo          $9.50   66.80   $   10.00   $ 33.40    $   134.00   $   167.40
 8/27/2017 Jose Manuel Martinez Rosaldo          $9.50   67.25   $   10.00   $ 33.63    $   136.25   $   169.88
  9/3/2017 Jose Manuel Martinez Rosaldo          $9.50   67.18   $   10.00   $ 33.59    $   135.92   $   169.51
 9/10/2017 Jose Manuel Martinez Rosaldo          $9.50   54.78   $   10.00   $ 27.39    $    73.92   $   101.31
 9/17/2017 Jose Manuel Martinez Rosaldo          $9.50   67.27   $   10.00   $ 33.63    $   136.33   $   169.97
 9/24/2017 Jose Manuel Martinez Rosaldo          $9.50   67.08   $   10.00   $ 33.54    $   135.42   $   168.96
 10/1/2017 Jose Manuel Martinez Rosaldo          $9.50   67.22   $   10.00   $ 33.61    $   136.08   $   169.69
 10/8/2017 Jose Manuel Martinez Rosaldo          $9.50   67.42   $   10.00   $ 33.71    $   137.08   $   170.79
10/15/2017 Jose Manuel Martinez Rosaldo          $9.50   67.13   $   10.00   $ 33.57    $   135.67   $   169.23
10/22/2017 Jose Manuel Martinez Rosaldo          $9.50   66.97   $   10.00   $ 33.48    $   134.83   $   168.32
10/29/2017 Jose Manuel Martinez Rosaldo          $9.50   67.55   $   10.00   $ 33.78    $   137.75   $   171.53
 11/5/2017 Jose Manuel Martinez Rosaldo          $9.50   67.13   $   10.00   $ 33.57    $   135.67   $   169.23
11/12/2017 Jose Manuel Martinez Rosaldo          $9.50   67.77   $   10.00   $ 33.88    $   138.83   $   172.72
11/19/2017 Jose Manuel Martinez Rosaldo          $9.50   67.57   $   10.00   $ 33.78    $   137.83   $   171.62
11/26/2017 Jose Manuel Martinez Rosaldo          $9.50   54.90   $   10.00   $ 27.45    $    74.50   $   101.95
 12/3/2017 Jose Manuel Martinez Rosaldo          $9.50   67.53   $   10.00   $ 33.77    $   137.67   $   171.43
12/10/2017 Jose Manuel Martinez Rosaldo          $9.50   61.88   $   10.00   $ 30.94    $   109.42   $   140.36
12/17/2017 Jose Manuel Martinez Rosaldo          $9.50   67.20   $   10.00   $ 33.60    $   136.00   $   169.60
12/24/2017 Jose Manuel Martinez Rosaldo          $9.50   66.95   $   10.00   $ 33.48    $   134.75   $   168.23
12/31/2017 Jose Manuel Martinez Rosaldo          $9.50   48.53   $   11.00   $ 72.80    $    46.93   $   119.73
  1/7/2018 Jose Manuel Martinez Rosaldo          $9.50   43.07   $   11.00   $ 64.60    $    16.87   $    81.47
 1/14/2018 Jose Manuel Martinez Rosaldo          $9.50   65.00   $   11.00   $ 97.50    $   137.50   $   235.00
 1/21/2018 Jose Manuel Martinez Rosaldo          $9.50   67.57   $   11.00   $ 101.35   $   151.62   $   252.97
 1/28/2018 Jose Manuel Martinez Rosaldo          $9.50   67.75   $   11.00   $ 101.63   $   152.63   $   254.25
  2/4/2018 Jose Manuel Martinez Rosaldo          $9.50   66.62   $   11.00   $ 99.93    $   146.39   $   246.32
 2/11/2018 Jose Manuel Martinez Rosaldo          $9.50   53.80   $   11.00   $ 80.70    $    75.90   $   156.60
 2/18/2018 Jose Manuel Martinez Rosaldo          $9.50   65.28   $   11.00   $ 97.93    $   139.06   $   236.98
 2/25/2018 Jose Manuel Martinez Rosaldo          $9.50   52.08   $   11.00   $ 78.13    $    66.46   $   144.58
  3/4/2018 Jose Manuel Martinez Rosaldo          $9.50   64.20   $   11.00   $ 96.30    $   133.10   $   229.40
 3/25/2018 Jose Manuel Martinez Rosaldo          $9.50   54.78   $   11.00   $ 82.18    $    81.31   $   163.48
  4/1/2018 Jose Manuel Martinez Rosaldo          $9.50   58.38   $   11.00   $ 87.58    $   101.11   $   188.68
  4/8/2018 Jose Manuel Martinez Rosaldo          $9.50   59.60   $   11.00   $ 89.40    $   107.80   $   197.20
 4/15/2018 Jose Manuel Martinez Rosaldo          $9.50   65.23   $   11.00   $ 97.85    $   138.78   $   236.63
 4/22/2018 Jose Manuel Martinez Rosaldo          $9.50   47.22   $   11.00   $ 70.83    $    39.69   $   110.52



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  Week                                                    State Section 7: Section 7: Total Section 7
                                         Hourly Hours /
 Ending                     Name                        Minimum Regular Half-Time Overtime Back
                                          Rate   Week
  Date                                                   Wage   Rate Due     Due       Wages Due

11/19/2017 Jose Marcelino                $10.00   66.30   $   10.00               $   131.50   $   131.50
11/26/2017 Jose Marcelino                $10.00   58.35   $   10.00               $    91.75   $    91.75
 12/3/2017 Jose Marcelino                $10.00   74.45   $   10.00               $   172.25   $   172.25
12/10/2017 Jose Marcelino                $10.00   73.88   $   10.00               $   169.42   $   169.42
12/17/2017 Jose Marcelino                $10.00   63.67   $   10.00               $   118.33   $   118.33
12/24/2017 Jose Marcelino                $10.00   66.82   $   10.00               $   134.08   $   134.08
12/31/2017 Jose Marcelino                $10.00   41.37   $   11.00   $   41.37   $     7.52   $    48.88
12/10/2017 Jose Marte                    $16.50   55.72   $   10.00               $   129.66   $   129.66
12/17/2017 Jose Marte                    $16.50   60.88   $   10.00               $   172.29   $   172.29
12/24/2017 Jose Marte                    $16.50   63.02   $   10.00               $   189.89   $   189.89
12/31/2017 Jose Marte                    $16.50   52.52   $   11.00               $   103.26   $   103.26
  1/7/2018 Jose Marte                    $16.50   48.28   $   11.00               $    68.34   $    68.34
 1/14/2018 Jose Marte                    $16.50   59.73   $   11.00               $   162.80   $   162.80
 1/21/2018 Jose Marte                    $16.50   55.70   $   11.00               $   129.53   $   129.53
 1/28/2018 Jose Marte                    $16.50   68.12   $   11.00               $   231.96   $   231.96
  2/4/2018 Jose Marte                    $16.50   55.80   $   11.00               $   130.35   $   130.35
 2/11/2018 Jose Milla                    $12.00   61.65   $   11.00               $   129.90   $   129.90
 2/18/2018 Jose Milla                    $12.00   62.63   $   11.00               $   135.80   $   135.80
 2/25/2018 Jose Milla                    $12.00   58.12   $   11.00               $   108.70   $   108.70
  3/4/2018 Jose Milla                    $12.00   56.88   $   11.00               $   101.30   $   101.30
 3/25/2018 Jose Milla                    $12.00   53.50   $   11.00               $    81.00   $    81.00
  4/1/2018 Jose Milla                    $12.00   58.72   $   11.00               $   112.30   $   112.30
  4/8/2018 Jose Milla                    $12.00   58.18   $   11.00               $   109.10   $   109.10
 4/15/2018 Jose Milla                    $12.00   61.85   $   11.00               $   131.10   $   131.10
 4/22/2018 Jose Milla                    $12.00   61.87   $   11.00               $   131.20   $   131.20
 4/29/2018 Jose Milla                    $12.00   62.40   $   11.00               $   134.40   $   134.40
  5/6/2018 Jose Milla                    $12.00   63.28   $   11.00               $   139.70   $   139.70
 5/13/2018 Jose Milla                    $12.00   62.15   $   11.00               $   132.90   $   132.90
 5/20/2018 Jose Milla                    $12.00   63.22   $   11.00               $   139.30   $   139.30
 5/27/2018 Jose Milla                    $12.00   63.57   $   11.00               $   141.40   $   141.40
  6/3/2018 Jose Milla                    $12.00   53.95   $   11.00               $    83.70   $    83.70
 6/10/2018 Jose Milla                    $12.00   66.97   $   11.00               $   161.80   $   161.80
 6/17/2018 Jose Milla                    $12.00   69.08   $   11.00               $   174.50   $   174.50
 6/24/2018 Jose Milla                    $12.00   68.93   $   11.00               $   173.60   $   173.60
  7/1/2018 Jose Milla                    $12.00   70.43   $   11.00               $   182.60   $   182.60
  7/8/2018 Jose Milla                    $12.00   56.45   $   11.00               $    98.70   $    98.70
 7/15/2018 Jose Milla                    $12.00   66.92   $   11.00               $   161.50   $   161.50
 7/22/2018 Jose Milla                    $12.00   63.83   $   11.00               $   143.00   $   143.00
 7/29/2018 Jose Milla                    $12.00   52.92   $   11.00               $    77.50   $    77.50
  8/5/2018 Jose Milla                    $12.00   60.95   $   11.00               $   125.70   $   125.70
 8/12/2018 Jose Milla                    $12.00   59.87   $   11.00               $   119.20   $   119.20
 8/19/2018 Jose Milla                    $12.00   62.88   $   11.00               $   137.30   $   137.30
 8/26/2018 Jose Milla                    $12.00   59.90   $   11.00               $   119.40   $   119.40
  9/2/2018 Jose Milla                    $12.00   61.87   $   11.00               $   131.20   $   131.20
  9/9/2018 Jose Milla                    $12.00   53.95   $   11.00               $    83.70   $    83.70
 9/16/2018 Jose Milla                    $12.00   56.98   $   11.00               $   101.90   $   101.90
 9/23/2018 Jose Milla                    $12.00   65.00   $   11.00               $   150.00   $   150.00
 9/30/2018 Jose Milla                    $12.00   66.02   $   11.00               $   156.10   $   156.10
 10/7/2018 Jose Milla                    $12.00   66.95   $   11.00               $   161.70   $   161.70
10/14/2018 Jose Milla                    $12.00   59.95   $   11.00               $   119.70   $   119.70
10/21/2018 Jose Milla                    $12.00   62.70   $   11.00               $   136.20   $   136.20



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  Week                                                State Section 7: Section 7: Total Section 7
                                     Hourly Hours /
 Ending                 Name                        Minimum Regular Half-Time Overtime Back
                                      Rate   Week
  Date                                               Wage   Rate Due     Due       Wages Due

10/28/2018 Jose Milla                $12.00   46.30   $   11.00          $    37.80   $    37.80
 11/4/2018 Jose Milla                $12.00   46.48   $   11.00          $    38.90   $    38.90
11/11/2018 Jose Milla                $12.00   51.93   $   11.00          $    71.60   $    71.60
11/18/2018 Jose Milla                $12.00   54.23   $   11.00          $    85.40   $    85.40
11/25/2018 Jose Milla                $12.00   46.53   $   11.00          $    39.20   $    39.20
 12/2/2018 Jose Milla                $12.00   59.28   $   11.00          $   115.70   $   115.70
 12/9/2018 Jose Milla                $12.00   58.35   $   11.00          $   110.10   $   110.10
12/16/2018 Jose Milla                $12.00   65.97   $   11.00          $   155.80   $   155.80
12/23/2018 Jose Milla                $12.00   64.97   $   11.00          $   149.80   $   149.80
12/30/2018 Jose Milla                $12.00   40.83   $   11.00          $     5.00   $     5.00
  1/6/2019 Jose Milla                $12.00   54.40   $   12.00          $    86.40   $    86.40
 1/13/2019 Jose Milla                $12.00   51.63   $   12.00          $    69.80   $    69.80
 1/20/2019 Jose Milla                $12.00   58.28   $   12.00          $   109.70   $   109.70
 1/27/2019 Jose Milla                $12.00   52.58   $   12.00          $    75.50   $    75.50
  2/3/2019 Jose Milla                $12.00   41.78   $   12.00          $    10.70   $    10.70
 2/10/2019 Jose Milla                $12.00   46.50   $   12.00          $    39.00   $    39.00
 2/24/2019 Jose Milla                $12.00   50.27   $   12.00          $    61.60   $    61.60
  3/3/2019 Jose Milla                $12.00   43.38   $   12.00          $    20.30   $    20.30
 3/10/2019 Jose Milla                $12.00   41.78   $   12.00          $    10.70   $    10.70
 3/17/2019 Jose Milla                $12.00   48.40   $   12.00          $    50.40   $    50.40
 3/24/2019 Jose Milla                $12.00   61.53   $   12.00          $   129.20   $   129.20
 3/31/2019 Jose Milla                $12.00   63.10   $   12.00          $   138.60   $   138.60
  4/7/2019 Jose Milla                $12.00   61.63   $   12.00          $   129.80   $   129.80
 4/14/2019 Jose Milla                $12.00   57.85   $   12.00          $   107.10   $   107.10
 4/21/2019 Jose Milla                $12.00   52.65   $   12.00          $    75.90   $    75.90
 4/28/2019 Jose Milla                $12.00   54.23   $   12.00          $    85.40   $    85.40
  5/5/2019 Jose Milla                $12.00   57.78   $   12.00          $   106.70   $   106.70
 5/12/2019 Jose Milla                $12.00   59.92   $   12.00          $   119.50   $   119.50
 5/26/2019 Jose Milla                $12.00   61.47   $   12.00          $   128.80   $   128.80
  6/2/2019 Jose Milla                $12.00   43.15   $   12.00          $    18.90   $    18.90
  6/9/2019 Jose Milla                $12.00   53.38   $   12.00          $    80.30   $    80.30
 6/16/2019 Jose Milla                $12.00   62.32   $   12.00          $   133.90   $   133.90
 6/23/2019 Jose Milla                $12.00   60.45   $   12.00          $   122.70   $   122.70
 6/30/2019 Jose Milla                $12.00   54.00   $   12.00          $    84.00   $    84.00
  7/7/2019 Jose Milla                $13.00   41.05   $   12.00          $     6.82   $     6.82
 7/14/2019 Jose Milla                $13.00   52.12   $   12.00          $    78.76   $    78.76
 7/21/2019 Jose Milla                $13.00   48.53   $   12.00          $    55.47   $    55.47
 7/28/2019 Jose Milla                $13.00   60.10   $   12.00          $   130.65   $   130.65
  8/4/2019 Jose Milla                $13.00   60.12   $   12.00          $   130.76   $   130.76
 8/11/2019 Jose Milla                $13.00   60.38   $   12.00          $   132.49   $   132.49
 8/18/2019 Jose Milla                $13.00   53.63   $   12.00          $    88.62   $    88.62
 8/25/2019 Jose Milla                $13.00   60.15   $   12.00          $   130.98   $   130.98
  9/1/2019 Jose Milla                $13.00   59.37   $   12.00          $   125.88   $   125.88
  9/8/2019 Jose Milla                $13.00   50.70   $   12.00          $    69.55   $    69.55
 9/15/2019 Jose Milla                $13.00   61.48   $   12.00          $   139.64   $   139.64
 9/22/2019 Jose Milla                $13.00   62.72   $   12.00          $   147.66   $   147.66
 9/29/2019 Jose Milla                $13.00   62.33   $   12.00          $   145.17   $   145.17
 10/6/2019 Jose Milla                $13.00   60.92   $   12.00          $   135.96   $   135.96
10/13/2019 Jose Milla                $13.00   55.67   $   12.00          $   101.83   $   101.83
10/20/2019 Jose Milla                $13.00   60.53   $   12.00          $   133.47   $   133.47
10/27/2019 Jose Milla                $13.00   62.93   $   12.00          $   149.07   $   149.07



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  Week                                                 State Section 7: Section 7: Total Section 7
                                      Hourly Hours /
 Ending                  Name                        Minimum Regular Half-Time Overtime Back
                                       Rate   Week
  Date                                                Wage   Rate Due     Due       Wages Due

 11/3/2019 Jose Milla                 $13.00   61.63   $   12.00                $   140.62   $   140.62
11/10/2019 Jose Milla                 $13.00   52.63   $   12.00                $    82.12   $    82.12
11/17/2019 Jose Milla                 $13.00   61.70   $   12.00                $   141.05   $   141.05
11/24/2019 Jose Milla                 $13.00   60.55   $   12.00                $   133.58   $   133.58
 12/1/2019 Jose Milla                 $13.00   50.52   $   12.00                $    68.36   $    68.36
 12/8/2019 Jose Milla                 $13.00   50.95   $   12.00                $    71.17   $    71.17
12/15/2019 Jose Milla                 $13.00   48.35   $   12.00                $    54.28   $    54.28
12/22/2019 Jose Milla                 $13.00   60.05   $   12.00                $   130.33   $   130.33
12/29/2019 Jose Milla                 $13.00   47.85   $   12.00                $    51.03   $    51.03
  1/5/2020 Jose Milla                 $13.00   49.45   $   13.00                $    61.43   $    61.43
 1/12/2020 Jose Milla                 $13.00   57.02   $   13.00                $   110.61   $   110.61
 1/19/2020 Jose Milla                 $13.00   60.23   $   13.00                $   131.52   $   131.52
 1/26/2020 Jose Milla                 $13.00   62.13   $   13.00                $   143.87   $   143.87
 4/28/2019 Jose Munoz                 $10.50   70.30   $   12.00   $   105.45   $   181.80   $   287.25
  5/5/2019 Jose Munoz                 $10.50   70.55   $   12.00   $   105.83   $   183.30   $   289.13
 5/12/2019 Jose Munoz                 $10.50   66.62   $   12.00   $    99.93   $   159.70   $   259.63
 5/19/2019 Jose Munoz                 $10.50   67.67   $   12.00   $   101.50   $   166.00   $   267.50
 5/26/2019 Jose Munoz                 $10.50   70.28   $   12.00   $   105.43   $   181.70   $   287.13
  6/2/2019 Jose Munoz                 $10.50   58.67   $   12.00   $    88.00   $   112.00   $   200.00
  6/9/2019 Jose Munoz                 $10.50   70.32   $   12.00   $   105.48   $   181.90   $   287.38
 6/16/2019 Jose Munoz                 $10.50   56.82   $   12.00   $    85.23   $   100.90   $   186.13
 6/23/2019 Jose Munoz                 $10.50   69.12   $   12.00   $   103.68   $   174.70   $   278.38
 6/30/2019 Jose Munoz                 $10.50   70.72   $   12.00   $   106.08   $   184.30   $   290.38
  7/7/2019 Jose Munoz                 $11.00   57.18   $   12.00   $    57.18   $   103.10   $   160.28
 7/14/2019 Jose Munoz                 $11.00   69.57   $   12.00   $    69.57   $   177.40   $   246.97
 7/21/2019 Jose Munoz                 $11.00   69.23   $   12.00   $    69.23   $   175.40   $   244.63
 7/28/2019 Jose Munoz                 $11.00   68.88   $   12.00   $    68.88   $   173.30   $   242.18
  8/4/2019 Jose Munoz                 $11.00   68.90   $   12.00   $    68.90   $   173.40   $   242.30
 8/11/2019 Jose Munoz                 $11.00   65.20   $   12.00   $    65.20   $   151.20   $   216.40
 8/18/2019 Jose Munoz                 $11.00   69.52   $   12.00   $    69.52   $   177.10   $   246.62
 8/25/2019 Jose Munoz                 $11.00   69.72   $   12.00   $    69.72   $   178.30   $   248.02
  9/1/2019 Jose Munoz                 $11.00   69.78   $   12.00   $    69.78   $   178.70   $   248.48
 3/12/2017 Juan Berroa                 $9.50   57.93   $   10.00   $    28.97   $    89.67   $   118.63
 3/19/2017 Juan Berroa                 $9.50   40.78   $   10.00   $    20.39   $     3.92   $    24.31
 3/26/2017 Juan Berroa                 $9.50   60.37   $   10.00   $    30.18   $   101.83   $   132.02
  4/2/2017 Juan Berroa                 $9.50   48.47   $   10.00   $    24.23   $    42.33   $    66.57
  4/9/2017 Juan Berroa                 $9.50   56.37   $   10.00   $    28.18   $    81.83   $   110.02
 4/16/2017 Juan Berroa                 $9.50   47.43   $   10.00   $    23.72   $    37.17   $    60.88
 4/23/2017 Juan Berroa                 $9.50   52.98   $   10.00   $    26.49   $    64.92   $    91.41
 4/30/2017 Juan Berroa                 $9.50   46.35   $   10.00   $    23.18   $    31.75   $    54.93
  5/7/2017 Juan Berroa                 $9.50   56.72   $   10.00   $    28.36   $    83.58   $   111.94
 5/14/2017 Juan Berroa                 $9.50   55.93   $   10.00   $    27.97   $    79.67   $   107.63
 5/21/2017 Juan Berroa                 $9.50   55.67   $   10.00   $    27.83   $    78.33   $   106.17
 5/28/2017 Juan Berroa                 $9.50   55.47   $   10.00   $    27.73   $    77.33   $   105.07
 6/11/2017 Juan Berroa                 $9.50   45.50   $   10.00   $    22.75   $    27.50   $    50.25
 6/18/2017 Juan Berroa                 $9.50   55.52   $   10.00   $    27.76   $    77.58   $   105.34
 6/25/2017 Juan Berroa                 $9.50   49.62   $   10.00   $    24.81   $    48.08   $    72.89
  7/2/2017 Juan Berroa                 $9.50   55.18   $   10.00   $    27.59   $    75.92   $   103.51
 7/16/2017 Juan Berroa                 $9.50   55.65   $   10.00   $    27.83   $    78.25   $   106.08
 7/23/2017 Juan Berroa                 $9.50   48.90   $   10.00   $    24.45   $    44.50   $    68.95
 7/30/2017 Juan Berroa                 $9.50   56.22   $   10.00   $    28.11   $    81.08   $   109.19



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                                        Exhibit 4
                                Westchester Computations


  Week                                                 State Section 7: Section 7: Total Section 7
                                      Hourly Hours /
 Ending                  Name                        Minimum Regular Half-Time Overtime Back
                                       Rate   Week
  Date                                                Wage   Rate Due     Due       Wages Due

  8/6/2017 Juan Berroa                 $9.50   54.68   $   10.00   $   27.34   $ 73.42    $   100.76
 8/13/2017 Juan Berroa                 $9.50   48.80   $   10.00   $   24.40   $ 44.00    $    68.40
 8/20/2017 Juan Berroa                 $9.50   54.98   $   10.00   $   27.49   $ 74.92    $   102.41
 8/27/2017 Juan Berroa                 $9.50   54.63   $   10.00   $   27.32   $ 73.17    $   100.48
  9/3/2017 Juan Berroa                 $9.50   55.22   $   10.00   $   27.61   $ 76.08    $   103.69
 9/17/2017 Juan Berroa                 $9.50   54.68   $   10.00   $   27.34   $ 73.42    $   100.76
 9/24/2017 Juan Berroa                 $9.50   51.18   $   10.00   $   25.59   $ 55.92    $    81.51
 10/1/2017 Juan Berroa                 $9.50   47.73   $   10.00   $   23.87   $ 38.67    $    62.53
 10/8/2017 Juan Berroa                 $9.50   55.02   $   10.00   $   27.51   $ 75.08    $   102.59
10/15/2017 Juan Berroa                 $9.50   54.53   $   10.00   $   27.27   $ 72.67    $    99.93
10/22/2017 Juan Berroa                 $9.50   50.18   $   10.00   $   25.09   $ 50.92    $    76.01
10/29/2017 Juan Berroa                 $9.50   56.53   $   10.00   $   28.27   $ 82.67    $   110.93
 11/5/2017 Juan Berroa                 $9.50   51.60   $   10.00   $   25.80   $ 58.00    $    83.80
11/12/2017 Juan Berroa                 $9.50   48.72   $   10.00   $   24.36   $ 43.58    $    67.94
11/19/2017 Juan Berroa                 $9.50   43.98   $   10.00   $   21.99   $ 19.92    $    41.91
 12/3/2017 Juan Berroa                 $9.50   54.45   $   10.00   $   27.23   $ 72.25    $    99.48
12/10/2017 Juan Berroa                 $9.50   47.88   $   10.00   $   23.94   $ 39.42    $    63.36
12/17/2017 Juan Berroa                 $9.50   47.55   $   10.00   $   23.78   $ 37.75    $    61.53
12/24/2017 Juan Berroa                 $9.50   55.77   $   10.00   $   27.88   $ 78.83    $   106.72
12/31/2017 Juan Berroa                 $9.50   46.20   $   11.00   $   69.30   $ 34.10    $   103.40
 1/14/2018 Juan Berroa                 $9.50   52.78   $   11.00   $   79.18   $ 70.31    $   149.48
 1/21/2018 Juan Berroa                 $9.50   47.65   $   11.00   $   71.48   $ 42.08    $   113.55
 1/28/2018 Juan Berroa                 $9.50   57.38   $   11.00   $   86.08   $ 95.61    $   181.68
  2/4/2018 Juan Berroa                 $9.50   56.58   $   11.00   $   84.88   $ 91.21    $   176.08
 2/11/2018 Juan Berroa                 $9.50   45.52   $   11.00   $   68.28   $ 30.34    $    98.62
 2/18/2018 Juan Berroa                 $9.50   47.55   $   11.00   $   71.33   $ 41.53    $   112.85
 2/25/2018 Juan Berroa                 $9.50   55.35   $   11.00   $   83.03   $ 84.43    $   167.45
  3/4/2018 Juan Berroa                 $9.50   53.55   $   11.00   $   80.33   $ 74.53    $   154.85
 4/29/2018 Juan Berroa                 $9.50   55.35   $   11.00   $   83.03   $ 84.43    $   167.45
  5/6/2018 Juan Berroa                 $9.50   48.95   $   11.00   $   73.43   $ 49.23    $   122.65
 5/13/2018 Juan Berroa                 $9.50   45.13   $   11.00   $   67.70   $ 28.23    $    95.93
 5/20/2018 Juan Berroa                 $9.50   48.37   $   11.00   $   72.55   $ 46.02    $   118.57
 5/27/2018 Juan Berroa                 $9.50   49.70   $   11.00   $   74.55   $ 53.35    $   127.90
 6/10/2018 Juan Berroa                 $9.50   54.65   $   11.00   $   81.98   $ 80.58    $   162.55
 6/17/2018 Juan Berroa                 $9.50   47.20   $   11.00   $   70.80   $ 39.60    $   110.40
 6/24/2018 Juan Berroa                 $9.50   55.27   $   11.00   $   82.90   $ 83.97    $   166.87
  7/1/2018 Juan Berroa                 $9.50   55.78   $   11.00   $   83.68   $ 86.81    $   170.48
 7/15/2018 Juan Berroa                 $9.50   53.73   $   11.00   $   80.60   $ 75.53    $   156.13
 7/22/2018 Juan Berroa                 $9.50   46.48   $   11.00   $   69.73   $ 35.66    $   105.38
 7/29/2018 Juan Berroa                 $9.50   51.90   $   11.00   $   77.85   $ 65.45    $   143.30
  8/5/2018 Juan Berroa                 $9.50   42.93   $   11.00   $   64.40   $ 16.13    $    80.53
 8/12/2018 Juan Berroa                 $9.50   47.15   $   11.00   $   70.73   $ 39.33    $   110.05
 8/26/2018 Juan Berroa                 $9.50   63.88   $   11.00   $   95.83   $ 131.36   $   227.18
  9/2/2018 Juan Berroa                 $9.50   64.10   $   11.00   $   96.15   $ 132.55   $   228.70
 9/30/2018 Juan Berroa                 $9.50   50.47   $   11.00   $   75.70   $ 57.57    $   133.27
 10/7/2018 Juan Berroa                 $9.50   41.25   $   11.00   $   61.88   $   6.88   $    68.75
10/14/2018 Juan Berroa                 $9.50   53.80   $   11.00   $   80.70   $ 75.90    $   156.60
10/21/2018 Juan Berroa                 $9.50   47.13   $   11.00   $   70.70   $ 39.23    $   109.93
10/28/2018 Juan Berroa                 $9.50   44.43   $   11.00   $   66.65   $ 24.38    $    91.03
 11/4/2018 Juan Berroa                 $9.50   57.40   $   11.00   $   86.10   $ 95.70    $   181.80
11/11/2018 Juan Berroa                 $9.50   58.63   $   11.00   $   87.95   $ 102.48   $   190.43



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  Week                                                 State Section 7: Section 7: Total Section 7
                                      Hourly Hours /
 Ending                  Name                        Minimum Regular Half-Time Overtime Back
                                       Rate   Week
  Date                                                Wage   Rate Due     Due       Wages Due

11/18/2018 Juan Berroa                 $9.50   51.47   $   11.00   $    77.20   $ 63.07    $   140.27
11/25/2018 Juan Berroa                 $9.50   43.85   $   11.00   $    65.78   $ 21.18    $    86.95
 12/2/2018 Juan Berroa                 $9.50   44.55   $   11.00   $    66.83   $ 25.03    $    91.85
 12/9/2018 Juan Berroa                 $9.50   51.43   $   11.00   $    77.15   $ 62.88    $   140.03
12/16/2018 Juan Berroa                 $9.50   48.97   $   11.00   $    73.45   $ 49.32    $   122.77
12/23/2018 Juan Berroa                 $9.50   53.77   $   11.00   $    80.65   $ 75.72    $   156.37
 1/13/2019 Juan Berroa                 $9.50   56.50   $   12.00   $   141.25   $ 99.00    $   240.25
 1/20/2019 Juan Berroa                 $9.50   40.92   $   12.00   $   102.29   $   5.50   $   107.79
 1/27/2019 Juan Berroa                 $9.50   53.55   $   12.00   $   133.88   $ 81.30    $   215.18
  2/3/2019 Juan Berroa                 $9.50   44.97   $   12.00   $   112.42   $ 29.80    $   142.22
 2/10/2019 Juan Berroa                 $9.50   50.35   $   12.00   $   125.88   $ 62.10    $   187.98
 2/17/2019 Juan Berroa                 $9.50   54.52   $   12.00   $   136.29   $ 87.10    $   223.39
 2/24/2019 Juan Berroa                 $9.50   53.68   $   12.00   $   134.21   $ 82.10    $   216.31
  3/3/2019 Juan Berroa                 $9.50   54.50   $   12.00   $   136.25   $ 87.00    $   223.25
 3/10/2019 Juan Berroa                 $9.50   46.00   $   12.00   $   115.00   $ 36.00    $   151.00
 3/17/2019 Juan Berroa                 $9.50   51.55   $   12.00   $   128.88   $ 69.30    $   198.18
 3/31/2019 Juan Berroa                 $9.50   44.97   $   12.00   $   112.42   $ 29.80    $   142.22
  4/7/2019 Juan Berroa                 $9.50   50.28   $   12.00   $   125.71   $ 61.70    $   187.41
 4/14/2019 Juan Berroa                 $9.50   53.75   $   12.00   $   134.38   $ 82.50    $   216.88
 4/21/2019 Juan Berroa                 $9.50   54.98   $   12.00   $   137.46   $ 89.90    $   227.36
 4/28/2019 Juan Berroa                 $9.50   54.77   $   12.00   $   136.92   $ 88.60    $   225.52
  5/5/2019 Juan Berroa                 $9.50   54.50   $   12.00   $   136.25   $ 87.00    $   223.25
 5/12/2019 Juan Berroa                 $9.50   54.98   $   12.00   $   137.46   $ 89.90    $   227.36
 5/19/2019 Juan Berroa                 $9.50   53.83   $   12.00   $   134.58   $ 83.00    $   217.58
 5/26/2019 Juan Berroa                 $9.50   54.35   $   12.00   $   135.88   $ 86.10    $   221.98
  6/9/2019 Juan Berroa                 $9.50   54.47   $   12.00   $   136.17   $ 86.80    $   222.97
 6/16/2019 Juan Berroa                 $9.50   45.00   $   12.00   $   112.50   $ 30.00    $   142.50
 6/23/2019 Juan Berroa                 $9.50   45.45   $   12.00   $   113.63   $ 32.70    $   146.33
 6/30/2019 Juan Berroa                 $9.50   56.27   $   12.00   $   140.67   $ 97.60    $   238.27
  7/7/2019 Juan Berroa                 $9.50   44.80   $   12.00   $   112.00   $ 28.80    $   140.80
 7/14/2019 Juan Berroa                 $9.50   53.35   $   12.00   $   133.38   $ 80.10    $   213.48
 7/21/2019 Juan Berroa                 $9.50   44.43   $   12.00   $   111.08   $ 26.60    $   137.68
 7/28/2019 Juan Berroa                 $9.50   53.83   $   12.00   $   134.58   $ 83.00    $   217.58
  8/4/2019 Juan Berroa                $10.50   57.17   $   12.00   $    85.75   $ 103.00   $   188.75
 8/11/2019 Juan Berroa                $10.50   54.65   $   12.00   $    81.98   $ 87.90    $   169.88
 8/18/2019 Juan Berroa                $10.50   47.03   $   12.00   $    70.55   $ 42.20    $   112.75
 8/25/2019 Juan Berroa                $10.50   55.12   $   12.00   $    82.68   $ 90.70    $   173.38
  9/1/2019 Juan Berroa                $10.50   54.68   $   12.00   $    82.03   $ 88.10    $   170.13
  9/8/2019 Juan Berroa                $10.50   45.32   $   12.00   $    67.98   $ 31.90    $    99.88
 9/15/2019 Juan Berroa                $10.50   56.80   $   12.00   $    85.20   $ 100.80   $   186.00
 9/22/2019 Juan Berroa                $10.50   48.55   $   12.00   $    72.83   $ 51.30    $   124.13
 9/29/2019 Juan Berroa                $10.50   54.83   $   12.00   $    82.25   $ 89.00    $   171.25
 10/6/2019 Juan Berroa                $10.50   55.03   $   12.00   $    82.55   $ 90.20    $   172.75
10/13/2019 Juan Berroa                $10.50   43.93   $   12.00   $    65.90   $ 23.60    $    89.50
10/20/2019 Juan Berroa                $13.00   49.02   $   12.00                $ 58.61    $    58.61
10/27/2019 Juan Berroa                $13.00   40.65   $   12.00                $   4.23   $     4.23
 11/3/2019 Juan Berroa                $13.00   52.17   $   12.00                $ 79.08    $    79.08
11/10/2019 Juan Berroa                $13.00   54.82   $   12.00                $ 96.31    $    96.31
11/17/2019 Juan Berroa                $13.00   49.07   $   12.00                $ 58.93    $    58.93
11/24/2019 Juan Berroa                $13.00   49.70   $   12.00                $ 63.05    $    63.05
 12/8/2019 Juan Berroa                $13.00   46.03   $   12.00                $ 39.22    $    39.22



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  Week                                                      State Section 7: Section 7: Total Section 7
                                           Hourly Hours /
 Ending                       Name                        Minimum Regular Half-Time Overtime Back
                                            Rate   Week
  Date                                                     Wage   Rate Due     Due       Wages Due

12/15/2019 Juan Berroa                     $10.50   43.53   $   12.00   $    65.30   $    21.20   $    86.50
12/22/2019 Juan Berroa                     $10.50   53.20   $   12.00   $    79.80   $    79.20   $   159.00
  1/5/2020 Juan Berroa                     $10.50   44.05   $   13.00   $   110.13   $    26.33   $   136.45
 1/12/2020 Juan Berroa                     $10.50   50.45   $   13.00   $   126.13   $    67.93   $   194.05
 1/19/2020 Juan Berroa                     $10.50   53.00   $   13.00   $   132.50   $    84.50   $   217.00
 1/26/2020 Juan Berroa                     $10.50   51.05   $   13.00   $   127.63   $    71.83   $   199.45
 9/17/2017 Juan C. Morrobel                $12.00   62.48   $   10.00                $   134.90   $   134.90
 9/24/2017 Juan C. Morrobel                $12.00   55.65   $   10.00                $    93.90   $    93.90
 10/1/2017 Juan C. Morrobel                $12.00   52.47   $   10.00                $    74.80   $    74.80
 10/8/2017 Juan C. Morrobel                $12.00   60.77   $   10.00                $   124.60   $   124.60
10/15/2017 Juan C. Morrobel                $12.00   60.42   $   10.00                $   122.50   $   122.50
10/22/2017 Juan C. Morrobel                $12.00   60.47   $   10.00                $   122.80   $   122.80
10/29/2017 Juan C. Morrobel                $12.00   61.83   $   10.00                $   131.00   $   131.00
 11/5/2017 Juan C. Morrobel                $12.00   58.30   $   10.00                $   109.80   $   109.80
11/12/2017 Juan C. Morrobel                $12.00   49.43   $   10.00                $    56.60   $    56.60
11/19/2017 Juan C. Morrobel                $12.00   64.57   $   10.00                $   147.40   $   147.40
11/26/2017 Juan C. Morrobel                $12.00   56.85   $   10.00                $   101.10   $   101.10
 12/3/2017 Juan C. Morrobel                $12.00   68.22   $   10.00                $   169.30   $   169.30
12/10/2017 Juan C. Morrobel                $12.00   63.73   $   10.00                $   142.40   $   142.40
12/17/2017 Juan C. Morrobel                $12.00   69.08   $   10.00                $   174.50   $   174.50
12/24/2017 Juan C. Morrobel                $12.00   68.52   $   10.00                $   171.10   $   171.10
12/31/2017 Juan C. Morrobel                $12.00   49.53   $   11.00                $    57.20   $    57.20
 1/14/2018 Juan C. Morrobel                $12.00   55.02   $   11.00                $    90.10   $    90.10
 1/21/2018 Juan C. Morrobel                $12.00   58.35   $   11.00                $   110.10   $   110.10
 1/28/2018 Juan C. Morrobel                $12.00   58.45   $   11.00                $   110.70   $   110.70
  2/4/2018 Juan C. Morrobel                $12.00   50.85   $   11.00                $    65.10   $    65.10
 2/11/2018 Juan C. Morrobel                $12.00   59.47   $   11.00                $   116.80   $   116.80
 2/18/2018 Juan C. Morrobel                $12.00   55.63   $   11.00                $    93.80   $    93.80
 2/25/2018 Juan C. Morrobel                $12.00   56.90   $   11.00                $   101.40   $   101.40
  3/4/2018 Juan C. Morrobel                $12.00   56.68   $   11.00                $   100.10   $   100.10
 3/25/2018 Juan C. Morrobel                $12.00   45.12   $   11.00                $    30.70   $    30.70
  4/1/2018 Juan C. Morrobel                $12.00   58.87   $   11.00                $   113.20   $   113.20
  4/8/2018 Juan C. Morrobel                $12.00   43.37   $   11.00                $    20.20   $    20.20
 5/20/2018 Juan C. Morrobel                $12.00   41.68   $   11.00                $    10.10   $    10.10
 5/27/2018 Juan C. Morrobel                $12.00   64.02   $   11.00                $   144.10   $   144.10
  6/3/2018 Juan C. Morrobel                $12.00   49.62   $   11.00                $    57.70   $    57.70
 6/10/2018 Juan C. Morrobel                $12.00   63.47   $   11.00                $   140.80   $   140.80
 6/17/2018 Juan C. Morrobel                $12.00   62.45   $   11.00                $   134.70   $   134.70
 6/24/2018 Juan C. Morrobel                $12.00   64.75   $   11.00                $   148.50   $   148.50
  7/1/2018 Juan C. Morrobel                $12.00   63.62   $   11.00                $   141.70   $   141.70
  7/8/2018 Juan C. Morrobel                $12.00   52.27   $   11.00                $    73.60   $    73.60
 7/15/2018 Juan C. Morrobel                $12.00   63.12   $   11.00                $   138.70   $   138.70
 7/22/2018 Juan C. Morrobel                $12.00   65.15   $   11.00                $   150.90   $   150.90
 7/29/2018 Juan C. Morrobel                $12.00   63.45   $   11.00                $   140.70   $   140.70
  8/5/2018 Juan C. Morrobel                $12.00   65.43   $   11.00                $   152.60   $   152.60
 8/12/2018 Juan C. Morrobel                $12.00   63.68   $   11.00                $   142.10   $   142.10
 8/19/2018 Juan C. Morrobel                $12.00   63.63   $   11.00                $   141.80   $   141.80
 8/26/2018 Juan C. Morrobel                $12.00   65.95   $   11.00                $   155.70   $   155.70
  9/2/2018 Juan C. Morrobel                $12.00   64.70   $   11.00                $   148.20   $   148.20
  9/9/2018 Juan C. Morrobel                $12.00   53.40   $   11.00                $    80.40   $    80.40
 9/16/2018 Juan C. Morrobel                $12.00   50.27   $   11.00                $    61.60   $    61.60



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  Week                                                      State Section 7: Section 7: Total Section 7
                                           Hourly Hours /
 Ending                       Name                        Minimum Regular Half-Time Overtime Back
                                            Rate   Week
  Date                                                     Wage   Rate Due     Due       Wages Due

 9/23/2018 Juan C. Morrobel                $12.00   63.17   $   11.00          $   139.00   $   139.00
 9/30/2018 Juan C. Morrobel                $12.00   61.18   $   11.00          $   127.10   $   127.10
 10/7/2018 Juan C. Morrobel                $12.00   64.57   $   11.00          $   147.40   $   147.40
10/14/2018 Juan C. Morrobel                $12.00   65.13   $   11.00          $   150.80   $   150.80
10/21/2018 Juan C. Morrobel                $12.00   65.85   $   11.00          $   155.10   $   155.10
10/28/2018 Juan C. Morrobel                $12.00   65.38   $   11.00          $   152.30   $   152.30
 11/4/2018 Juan C. Morrobel                $12.00   65.33   $   11.00          $   152.00   $   152.00
11/11/2018 Juan C. Morrobel                $12.00   67.55   $   11.00          $   165.30   $   165.30
11/18/2018 Juan C. Morrobel                $12.00   64.28   $   11.00          $   145.70   $   145.70
11/25/2018 Juan C. Morrobel                $12.00   44.85   $   11.00          $    29.10   $    29.10
 12/2/2018 Juan C. Morrobel                $12.00   50.08   $   11.00          $    60.50   $    60.50
 12/9/2018 Juan C. Morrobel                $12.00   58.40   $   11.00          $   110.40   $   110.40
12/16/2018 Juan C. Morrobel                $12.00   51.98   $   11.00          $    71.90   $    71.90
12/23/2018 Juan C. Morrobel                $12.00   63.30   $   11.00          $   139.80   $   139.80
12/30/2018 Juan C. Morrobel                $12.00   49.52   $   11.00          $    57.10   $    57.10
  1/6/2019 Juan C. Morrobel                $12.00   52.38   $   12.00          $    74.30   $    74.30
 1/13/2019 Juan C. Morrobel                $12.00   63.67   $   12.00          $   142.00   $   142.00
 1/20/2019 Juan C. Morrobel                $12.00   63.15   $   12.00          $   138.90   $   138.90
 1/27/2019 Juan C. Morrobel                $12.00   65.45   $   12.00          $   152.70   $   152.70
  2/3/2019 Juan C. Morrobel                $12.00   50.57   $   12.00          $    63.40   $    63.40
 2/10/2019 Juan C. Morrobel                $12.00   51.48   $   12.00          $    68.90   $    68.90
 2/17/2019 Juan C. Morrobel                $12.00   58.33   $   12.00          $   110.00   $   110.00
 2/24/2019 Juan C. Morrobel                $12.00   61.60   $   12.00          $   129.60   $   129.60
  3/3/2019 Juan C. Morrobel                $12.00   54.07   $   12.00          $    84.40   $    84.40
 3/10/2019 Juan C. Morrobel                $12.00   52.12   $   12.00          $    72.70   $    72.70
 3/17/2019 Juan C. Morrobel                $12.00   64.63   $   12.00          $   147.80   $   147.80
 3/24/2019 Juan C. Morrobel                $12.00   62.43   $   12.00          $   134.60   $   134.60
 3/31/2019 Juan C. Morrobel                $12.00   56.35   $   12.00          $    98.10   $    98.10
  5/5/2019 Juan C. Morrobel                $12.00   54.13   $   12.00          $    84.80   $    84.80
 5/12/2019 Juan C. Morrobel                $12.00   63.82   $   12.00          $   142.90   $   142.90
 5/19/2019 Juan C. Morrobel                $12.00   65.07   $   12.00          $   150.40   $   150.40
 5/26/2019 Juan C. Morrobel                $12.00   63.60   $   12.00          $   141.60   $   141.60
  6/2/2019 Juan C. Morrobel                $12.00   41.98   $   12.00          $    11.90   $    11.90
  6/9/2019 Juan C. Morrobel                $12.00   65.57   $   12.00          $   153.40   $   153.40
 6/16/2019 Juan C. Morrobel                $12.00   62.70   $   12.00          $   136.20   $   136.20
 6/23/2019 Juan C. Morrobel                $12.00   40.77   $   12.00          $     4.60   $     4.60
 6/30/2019 Juan C. Morrobel                $12.00   52.78   $   12.00          $    76.70   $    76.70
 7/14/2019 Juan C. Morrobel                $12.00   59.77   $   12.00          $   118.60   $   118.60
 7/21/2019 Juan C. Morrobel                $12.00   62.83   $   12.00          $   137.00   $   137.00
 7/28/2019 Juan C. Morrobel                $12.00   62.85   $   12.00          $   137.10   $   137.10
  8/4/2019 Juan C. Morrobel                $12.00   52.33   $   12.00          $    74.00   $    74.00
 8/11/2019 Juan C. Morrobel                $12.00   62.12   $   12.00          $   132.70   $   132.70
 8/18/2019 Juan C. Morrobel                $12.00   67.32   $   12.00          $   163.90   $   163.90
 8/25/2019 Juan C. Morrobel                $12.00   63.73   $   12.00          $   142.40   $   142.40
  9/1/2019 Juan C. Morrobel                $12.00   55.07   $   12.00          $    90.40   $    90.40
  9/8/2019 Juan C. Morrobel                $12.00   52.23   $   12.00          $    73.40   $    73.40
 9/15/2019 Juan C. Morrobel                $12.00   63.18   $   12.00          $   139.10   $   139.10
 9/22/2019 Juan C. Morrobel                $12.00   63.68   $   12.00          $   142.10   $   142.10
 9/29/2019 Juan C. Morrobel                $12.00   63.08   $   12.00          $   138.50   $   138.50
 10/6/2019 Juan C. Morrobel                $12.00   53.98   $   12.00          $    83.90   $    83.90
10/13/2019 Juan C. Morrobel                $12.00   63.67   $   12.00          $   142.00   $   142.00



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  Week                                                      State Section 7: Section 7: Total Section 7
                                           Hourly Hours /
 Ending                    Name                           Minimum Regular Half-Time Overtime Back
                                            Rate   Week
  Date                                                     Wage   Rate Due     Due       Wages Due

10/20/2019 Juan C. Morrobel                $12.00   62.85   $   12.00                $   137.10   $   137.10
10/27/2019 Juan C. Morrobel                $12.00   62.80   $   12.00                $   136.80   $   136.80
 11/3/2019 Juan C. Morrobel                $12.00   62.43   $   12.00                $   134.60   $   134.60
11/10/2019 Juan C. Morrobel                $12.00   63.18   $   12.00                $   139.10   $   139.10
11/17/2019 Juan C. Morrobel                $12.00   64.70   $   12.00                $   148.20   $   148.20
11/24/2019 Juan C. Morrobel                $12.00   64.05   $   12.00                $   144.30   $   144.30
 12/1/2019 Juan C. Morrobel                $12.00   52.35   $   12.00                $    74.10   $    74.10
 12/8/2019 Juan C. Morrobel                $12.00   61.55   $   12.00                $   129.30   $   129.30
12/15/2019 Juan C. Morrobel                $12.00   63.25   $   12.00                $   139.50   $   139.50
12/22/2019 Juan C. Morrobel                $12.00   54.93   $   12.00                $    89.60   $    89.60
12/29/2019 Juan C. Morrobel                $12.00   50.02   $   12.00                $    60.10   $    60.10
  1/5/2020 Juan C. Morrobel                $12.00   51.45   $   13.00   $    51.45   $    74.43   $   125.88
 1/12/2020 Juan C. Morrobel                $12.00   63.22   $   13.00   $    63.22   $   150.91   $   214.13
 1/19/2020 Juan C. Morrobel                $12.00   62.82   $   13.00   $    62.82   $   148.31   $   211.13
 1/26/2020 Juan C. Morrobel                $12.00   63.48   $   13.00   $    63.48   $   152.64   $   216.13
11/17/2019 Juan Camilo Perez               $10.00   43.92   $   12.00   $    87.83   $    23.50   $   111.33
11/24/2019 Juan Camilo Perez               $10.00   53.35   $   12.00   $   106.70   $    80.10   $   186.80
 12/1/2019 Juan Camilo Perez               $10.00   43.85   $   12.00   $    87.70   $    23.10   $   110.80
 12/8/2019 Juan Camilo Perez               $10.00   53.32   $   12.00   $   106.63   $    79.90   $   186.53
12/15/2019 Juan Camilo Perez               $10.00   53.52   $   12.00   $   107.03   $    81.10   $   188.13
12/22/2019 Juan Camilo Perez               $10.00   53.92   $   12.00   $   107.83   $    83.50   $   191.33
12/29/2019 Juan Camilo Perez               $10.00   42.92   $   12.00   $    85.83   $    17.50   $   103.33
  1/5/2020 Juan Camilo Perez               $10.00   46.48   $   13.00   $   139.45   $    42.14   $   181.59
 1/12/2020 Juan Camilo Perez               $10.00   56.37   $   13.00   $   169.10   $   106.38   $   275.48
 1/19/2020 Juan Camilo Perez               $10.00   55.90   $   13.00   $   167.70   $   103.35   $   271.05
 1/26/2020 Juan Camilo Perez               $10.00   55.30   $   13.00   $   165.90   $    99.45   $   265.35
 6/24/2018 Juan Francisco                   $9.50   68.43   $   11.00   $   102.65   $   156.38   $   259.03
  7/1/2018 Juan Francisco                   $9.50   69.32   $   11.00   $   103.98   $   161.24   $   265.22
  7/8/2018 Juan Francisco                   $9.50   42.43   $   11.00   $    63.65   $    13.38   $    77.03
 7/15/2018 Juan Francisco                   $9.50   48.77   $   11.00   $    73.15   $    48.22   $   121.37
 7/22/2018 Juan Francisco                   $9.50   49.22   $   11.00   $    73.83   $    50.69   $   124.52
 1/20/2019 Juan Jose Cruz Pichardo         $11.00   66.38   $   12.00   $    66.38   $   158.30   $   224.68
 1/27/2019 Juan Jose Cruz Pichardo         $11.00   57.13   $   12.00   $    57.13   $   102.80   $   159.93
  2/3/2019 Juan Jose Cruz Pichardo         $11.00   56.60   $   12.00   $    56.60   $    99.60   $   156.20
 2/10/2019 Juan Jose Cruz Pichardo         $11.00   61.57   $   12.00   $    61.57   $   129.40   $   190.97
 2/17/2019 Juan Jose Cruz Pichardo         $11.00   61.33   $   12.00   $    61.33   $   128.00   $   189.33
 2/24/2019 Juan Jose Cruz Pichardo         $11.00   62.88   $   12.00   $    62.88   $   137.30   $   200.18
  3/3/2019 Juan Jose Cruz Pichardo         $11.00   56.93   $   12.00   $    56.93   $   101.60   $   158.53
 3/10/2019 Juan Jose Cruz Pichardo         $11.00   60.95   $   12.00   $    60.95   $   125.70   $   186.65
 3/17/2019 Juan Jose Cruz Pichardo         $11.00   62.57   $   12.00   $    62.57   $   135.40   $   197.97
 3/24/2019 Juan Jose Cruz Pichardo         $11.00   57.17   $   12.00   $    57.17   $   103.00   $   160.17
 3/31/2019 Juan Jose Cruz Pichardo         $11.00   67.70   $   12.00   $    67.70   $   166.20   $   233.90
  4/7/2019 Juan Jose Cruz Pichardo         $11.00   55.27   $   12.00   $    55.27   $    91.60   $   146.87
 4/14/2019 Juan Jose Cruz Pichardo         $11.00   51.85   $   12.00   $    51.85   $    71.10   $   122.95
 4/21/2019 Juan Jose Cruz Pichardo         $11.00   53.47   $   12.00   $    53.47   $    80.80   $   134.27
 4/28/2019 Juan Jose Cruz Pichardo         $11.00   68.25   $   12.00   $    68.25   $   169.50   $   237.75
  5/5/2019 Juan Jose Cruz Pichardo         $11.00   69.28   $   12.00   $    69.28   $   175.70   $   244.98
 5/12/2019 Juan Jose Cruz Pichardo         $11.00   56.12   $   12.00   $    56.12   $    96.70   $   152.82
 5/19/2019 Juan Jose Cruz Pichardo         $11.00   64.02   $   12.00   $    64.02   $   144.10   $   208.12
 5/26/2019 Juan Jose Cruz Pichardo         $11.00   61.65   $   12.00   $    61.65   $   129.90   $   191.55
  6/2/2019 Juan Jose Cruz Pichardo         $11.00   60.25   $   12.00   $    60.25   $   121.50   $   181.75



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  Week                                                             State Section 7: Section 7: Total Section 7
                                                  Hourly Hours /
 Ending                    Name                                  Minimum Regular Half-Time Overtime Back
                                                   Rate   Week
  Date                                                            Wage   Rate Due     Due       Wages Due

  6/9/2019 Juan Jose Cruz Pichardo                $11.00   60.48   $   12.00   $   60.48   $   122.90   $   183.38
 6/16/2019 Juan Jose Cruz Pichardo                $11.00   50.97   $   12.00   $   50.97   $    65.80   $   116.77
 6/23/2019 Juan Jose Cruz Pichardo                $11.00   50.93   $   12.00   $   50.93   $    65.60   $   116.53
 6/30/2019 Juan Jose Cruz Pichardo                $11.00   58.63   $   12.00   $   58.63   $   111.80   $   170.43
 7/14/2019 Juan Jose Cruz Pichardo                $12.50   53.20   $   12.00               $    82.50   $    82.50
 7/21/2019 Juan Jose Cruz Pichardo                $12.50   59.95   $   12.00               $   124.69   $   124.69
 7/28/2019 Juan Jose Cruz Pichardo                $12.50   65.80   $   12.00               $   161.25   $   161.25
  8/4/2019 Juan Jose Cruz Pichardo                $12.50   58.45   $   12.00               $   115.31   $   115.31
 8/11/2019 Juan Jose Cruz Pichardo                $12.50   52.55   $   12.00               $    78.44   $    78.44
 8/18/2019 Juan Jose Cruz Pichardo                $12.50   47.65   $   12.00               $    47.81   $    47.81
 8/25/2019 Juan Jose Cruz Pichardo                $12.50   63.25   $   12.00               $   145.31   $   145.31
  9/1/2019 Juan Jose Cruz Pichardo                $12.50   56.28   $   12.00               $   101.77   $   101.77
  9/8/2019 Juan Jose Cruz Pichardo                $12.50   58.12   $   12.00               $   113.23   $   113.23
 9/15/2019 Juan Jose Cruz Pichardo                $12.50   56.60   $   12.00               $   103.75   $   103.75
 9/22/2019 Juan Jose Cruz Pichardo                $12.50   57.55   $   12.00               $   109.69   $   109.69
 9/29/2019 Juan Jose Cruz Pichardo                $12.50   60.57   $   12.00               $   128.54   $   128.54
 10/6/2019 Juan Jose Cruz Pichardo                $12.50   60.40   $   12.00               $   127.50   $   127.50
10/13/2019 Juan Jose Cruz Pichardo                $12.50   54.05   $   12.00               $    87.81   $    87.81
10/20/2019 Juan Jose Cruz Pichardo                $13.00   50.20   $   12.00               $    66.30   $    66.30
10/27/2019 Juan Jose Cruz Pichardo                $13.00   46.10   $   12.00               $    39.65   $    39.65
 11/3/2019 Juan Jose Cruz Pichardo                $13.00   48.38   $   12.00               $    54.49   $    54.49
11/10/2019 Juan Jose Cruz Pichardo                $13.00   47.08   $   12.00               $    46.04   $    46.04
11/17/2019 Juan Jose Cruz Pichardo                $13.00   49.83   $   12.00               $    63.92   $    63.92
11/24/2019 Juan Jose Cruz Pichardo                $13.00   52.12   $   12.00               $    78.76   $    78.76
 12/1/2019 Juan Jose Cruz Pichardo                $13.00   43.45   $   12.00               $    22.43   $    22.43
 12/8/2019 Juan Jose Cruz Pichardo                $13.00   50.32   $   12.00               $    67.06   $    67.06
12/15/2019 Juan Jose Cruz Pichardo                $12.50   58.52   $   12.00               $   115.73   $   115.73
12/22/2019 Juan Jose Cruz Pichardo                $12.50   52.60   $   12.00               $    78.75   $    78.75
12/29/2019 Juan Jose Cruz Pichardo                $12.50   46.57   $   12.00               $    41.04   $    41.04
 1/12/2020 Juan Jose Cruz Pichardo                $12.50   58.92   $   13.00   $   29.46   $   122.96   $   152.42
 1/19/2020 Juan Jose Cruz Pichardo                $12.50   53.15   $   13.00   $   26.58   $    85.47   $   112.05
 1/26/2020 Juan Jose Cruz Pichardo                $12.50   54.97   $   13.00   $   27.48   $    97.28   $   124.77
 5/19/2019 Juan Manuel Lopez Corzo                $12.00   55.77   $   12.00               $    94.60   $    94.60
 5/26/2019 Juan Manuel Lopez Corzo                $12.00   59.10   $   12.00               $   114.60   $   114.60
  6/2/2019 Juan Manuel Lopez Corzo                $12.00   58.23   $   12.00               $   109.40   $   109.40
  6/9/2019 Juan Manuel Lopez Corzo                $12.00   58.12   $   12.00               $   108.70   $   108.70
 6/16/2019 Juan Manuel Lopez Corzo                $12.00   58.62   $   12.00               $   111.70   $   111.70
 6/23/2019 Juan Manuel Lopez Corzo                $12.00   59.83   $   12.00               $   119.00   $   119.00
 6/30/2019 Juan Manuel Lopez Corzo                $12.00   63.67   $   12.00               $   142.00   $   142.00
 7/14/2019 Juan Manuel Lopez Corzo                $12.00   66.82   $   12.00               $   160.90   $   160.90
 7/21/2019 Juan Manuel Lopez Corzo                $12.00   71.17   $   12.00               $   187.00   $   187.00
 7/28/2019 Juan Manuel Lopez Corzo                $12.00   71.38   $   12.00               $   188.30   $   188.30
  8/4/2019 Juan Manuel Lopez Corzo                $12.00   59.22   $   12.00               $   115.30   $   115.30
 8/11/2019 Juan Manuel Lopez Corzo                $12.00   75.70   $   12.00               $   214.20   $   214.20
 7/15/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   40.60   $   11.00               $     4.50   $     4.50
 7/22/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   62.07   $   11.00               $   165.50   $   165.50
 7/29/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   63.92   $   11.00               $   179.38   $   179.38
  8/5/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   66.85   $   11.00               $   201.38   $   201.38
 8/12/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   63.55   $   11.00               $   176.63   $   176.63
 8/19/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   62.78   $   11.00               $   170.88   $   170.88
 8/26/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   56.00   $   11.00               $   120.00   $   120.00



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  Week                                                             State Section 7: Section 7: Total Section 7
                                                  Hourly Hours /
 Ending                    Name                                  Minimum Regular Half-Time Overtime Back
                                                   Rate   Week
  Date                                                            Wage   Rate Due     Due       Wages Due

  9/2/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   63.90   $   11.00          $   179.25   $   179.25
  9/9/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   52.20   $   11.00          $    91.50   $    91.50
 9/16/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   60.13   $   11.00          $   151.00   $   151.00
 9/23/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   64.22   $   11.00          $   181.63   $   181.63
 9/30/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   63.95   $   11.00          $   179.63   $   179.63
 10/7/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   64.93   $   11.00          $   187.00   $   187.00
10/14/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   65.15   $   11.00          $   188.63   $   188.63
10/21/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   64.80   $   11.00          $   186.00   $   186.00
10/28/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   63.45   $   11.00          $   175.88   $   175.88
 11/4/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   65.50   $   11.00          $   191.25   $   191.25
11/25/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   52.07   $   11.00          $    90.50   $    90.50
 12/2/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   61.93   $   11.00          $   164.50   $   164.50
 12/9/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   56.97   $   11.00          $   127.25   $   127.25
12/16/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   63.43   $   11.00          $   175.75   $   175.75
12/23/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   65.62   $   11.00          $   192.13   $   192.13
12/30/2018 Juan Pablo Tejeda - Car Wash Manager   $15.00   51.45   $   11.00          $    85.88   $    85.88
  1/6/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   44.05   $   12.00          $    30.38   $    30.38
 1/13/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   55.42   $   12.00          $   115.63   $   115.63
 1/20/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   65.32   $   12.00          $   189.88   $   189.88
 1/27/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   60.83   $   12.00          $   156.25   $   156.25
  2/3/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   56.60   $   12.00          $   124.50   $   124.50
 2/10/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   65.95   $   12.00          $   194.63   $   194.63
 2/17/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   65.58   $   12.00          $   191.88   $   191.88
 2/24/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   66.07   $   12.00          $   195.50   $   195.50
  3/3/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   66.80   $   12.00          $   201.00   $   201.00
 3/10/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   63.13   $   12.00          $   173.50   $   173.50
 3/17/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   70.23   $   12.00          $   226.75   $   226.75
 3/24/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   67.82   $   12.00          $   208.63   $   208.63
 3/31/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   70.30   $   12.00          $   227.25   $   227.25
  4/7/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   70.75   $   12.00          $   230.63   $   230.63
 4/14/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   59.68   $   12.00          $   147.63   $   147.63
 4/21/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   69.22   $   12.00          $   219.13   $   219.13
 4/28/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   70.18   $   12.00          $   226.38   $   226.38
  5/5/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   68.83   $   12.00          $   216.25   $   216.25
 5/12/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   64.33   $   12.00          $   182.50   $   182.50
 5/19/2019 Juan Pablo Tejeda - Car Wash Manager   $15.00   65.77   $   12.00          $   193.25   $   193.25
11/24/2019 Julian Maldonado                       $13.00   58.83   $   12.00          $   122.42   $   122.42
 12/1/2019 Julian Maldonado                       $13.00   48.40   $   12.00          $    54.60   $    54.60
 12/8/2019 Julian Maldonado                       $13.00   57.88   $   12.00          $   116.24   $   116.24
12/15/2019 Julian Maldonado                       $13.00   58.43   $   12.00          $   119.82   $   119.82
12/22/2019 Julian Maldonado                       $13.00   48.92   $   12.00          $    57.96   $    57.96
12/29/2019 Julian Maldonado                       $13.00   47.35   $   12.00          $    47.78   $    47.78
  1/5/2020 Julian Maldonado                       $13.00   48.60   $   13.00          $    55.90   $    55.90
 1/12/2020 Julian Maldonado                       $13.00   50.33   $   13.00          $    67.17   $    67.17
 1/19/2020 Julian Maldonado                       $13.00   59.95   $   13.00          $   129.68   $   129.68
 1/26/2020 Julian Maldonado                       $13.00   59.50   $   13.00          $   126.75   $   126.75
  7/9/2017 Julio Hernandez                        $10.00   42.43   $   10.00          $    12.17   $    12.17
 7/16/2017 Julio Hernandez                        $10.00   64.60   $   10.00          $   123.00   $   123.00
 7/23/2017 Julio Hernandez                        $10.00   47.43   $   10.00          $    37.17   $    37.17
 7/30/2017 Kevin Espinal                          $11.50   63.78   $   10.00          $   136.75   $   136.75
  8/6/2017 Kevin Espinal                          $11.50   66.10   $   10.00          $   150.08   $   150.08



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  Week                                                   State Section 7: Section 7: Total Section 7
                                        Hourly Hours /
 Ending                    Name                        Minimum Regular Half-Time Overtime Back
                                         Rate   Week
  Date                                                  Wage   Rate Due     Due       Wages Due

 8/13/2017 Kevin Espinal                $11.50   64.18   $   10.00          $   139.05   $   139.05
 8/20/2017 Kevin Espinal                $11.50   56.70   $   10.00          $    96.03   $    96.03
 8/27/2017 Kevin Espinal                $11.50   64.77   $   10.00          $   142.41   $   142.41
  9/3/2017 Kevin Espinal                $11.50   65.12   $   10.00          $   144.42   $   144.42
 9/10/2017 Kevin Espinal                $11.50   52.85   $   10.00          $    73.89   $    73.89
 9/17/2017 Kevin Espinal                $11.50   64.48   $   10.00          $   140.78   $   140.78
 9/24/2017 Kevin Espinal                $11.50   52.62   $   10.00          $    72.55   $    72.55
 10/1/2017 Kevin Espinal                $11.50   57.68   $   10.00          $   101.68   $   101.68
 10/8/2017 Kevin Espinal                $11.50   41.57   $   10.00          $     9.01   $     9.01
10/15/2017 Kevin Espinal                $11.50   68.30   $   10.00          $   162.73   $   162.73
10/22/2017 Kevin Espinal                $11.50   63.78   $   10.00          $   136.75   $   136.75
10/29/2017 Kevin Espinal                $11.50   68.53   $   10.00          $   164.07   $   164.07
 11/5/2017 Kevin Espinal                $11.50   67.80   $   10.00          $   159.85   $   159.85
11/12/2017 Kevin Espinal                $11.50   66.12   $   10.00          $   150.17   $   150.17
11/19/2017 Kevin Espinal                $11.50   66.38   $   10.00          $   151.70   $   151.70
11/26/2017 Kevin Espinal                $11.50   54.57   $   10.00          $    83.76   $    83.76
 12/3/2017 Kevin Espinal                $11.50   64.28   $   10.00          $   139.63   $   139.63
12/10/2017 Kevin Espinal                $11.50   66.05   $   10.00          $   149.79   $   149.79
12/17/2017 Kevin Espinal                $11.50   66.43   $   10.00          $   151.99   $   151.99
12/24/2017 Kevin Espinal                $11.50   66.45   $   10.00          $   152.09   $   152.09
12/31/2017 Kevin Espinal                $11.50   55.60   $   11.00          $    89.70   $    89.70
  1/7/2018 Kevin Espinal                $11.50   47.78   $   11.00          $    44.75   $    44.75
 1/14/2018 Kevin Espinal                $11.50   57.18   $   11.00          $    98.80   $    98.80
 1/21/2018 Kevin Espinal                $11.50   67.22   $   11.00          $   156.50   $   156.50
 1/28/2018 Kevin Espinal                $11.50   67.67   $   11.00          $   159.08   $   159.08
  2/4/2018 Kevin Espinal                $11.50   67.38   $   11.00          $   157.45   $   157.45
 2/11/2018 Kevin Espinal                $11.50   67.87   $   11.00          $   160.23   $   160.23
 2/18/2018 Kevin Espinal                $11.50   70.07   $   11.00          $   172.88   $   172.88
 2/25/2018 Kevin Espinal                $11.50   67.02   $   11.00          $   155.35   $   155.35
  3/4/2018 Kevin Espinal                $11.50   58.95   $   11.00          $   108.96   $   108.96
 3/25/2018 Kevin Espinal                $11.50   62.58   $   11.00          $   129.85   $   129.85
  4/8/2018 Kevin Espinal                $11.50   66.35   $   11.00          $   151.51   $   151.51
 4/15/2018 Kevin Espinal                $11.50   66.60   $   11.00          $   152.95   $   152.95
 4/22/2018 Kevin Espinal                $11.50   65.28   $   11.00          $   145.38   $   145.38
 4/29/2018 Kevin Espinal                $11.50   65.82   $   11.00          $   148.45   $   148.45
  5/6/2018 Kevin Espinal                $11.50   48.43   $   11.00          $    48.49   $    48.49
 5/13/2018 Kevin Espinal                $11.50   65.75   $   11.00          $   148.06   $   148.06
 5/20/2018 Kevin Espinal                $11.50   65.83   $   11.00          $   148.54   $   148.54
 5/27/2018 Kevin Espinal                $11.50   63.75   $   11.00          $   136.56   $   136.56
  6/3/2018 Kevin Espinal                $11.50   42.57   $   11.00          $    14.76   $    14.76
 6/10/2018 Kevin Espinal                $11.50   64.17   $   11.00          $   138.96   $   138.96
 6/17/2018 Kevin Espinal                $11.50   49.78   $   11.00          $    56.25   $    56.25
 6/24/2018 Kevin Espinal                $11.50   58.02   $   11.00          $   103.60   $   103.60
  7/1/2018 Kevin Espinal                $11.50   68.45   $   11.00          $   163.59   $   163.59
 7/15/2018 Kevin Espinal                $11.50   43.78   $   11.00          $    21.75   $    21.75
 7/22/2018 Kevin Espinal                $11.50   55.35   $   11.00          $    88.26   $    88.26
 7/29/2018 Kevin Espinal                $11.50   54.42   $   11.00          $    82.90   $    82.90
  8/5/2018 Kevin Espinal                $11.50   53.50   $   11.00          $    77.63   $    77.63
 8/12/2018 Kevin Espinal                $11.50   42.22   $   11.00          $    12.75   $    12.75
 8/19/2018 Kevin Espinal                $11.50   65.00   $   11.00          $   143.75   $   143.75
 8/26/2018 Kevin Espinal                $11.50   59.32   $   11.00          $   111.07   $   111.07



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  Week                                                   State Section 7: Section 7: Total Section 7
                                        Hourly Hours /
 Ending                    Name                        Minimum Regular Half-Time Overtime Back
                                         Rate   Week
  Date                                                  Wage   Rate Due     Due       Wages Due

  9/2/2018 Kevin Espinal                $11.50   63.73   $   11.00                $   136.47   $   136.47
  9/9/2018 Kevin Espinal                $11.50   40.13   $   11.00                $     0.77   $     0.77
  7/9/2017 Leonardo Grullon              $9.00   47.03   $   10.00   $ 47.03      $    35.17   $    82.20
 7/16/2017 Leonardo Grullon              $9.00   69.27   $   10.00   $ 69.27      $   146.33   $   215.60
 7/23/2017 Leonardo Grullon              $9.00   69.05   $   10.00   $ 69.05      $   145.25   $   214.30
 7/30/2017 Leonardo Grullon              $9.00   68.53   $   10.00   $ 68.53      $   142.67   $   211.20
 5/26/2019 Leonardo J. Martinez         $10.00   51.10   $   12.00   $ 102.20     $    66.60   $   168.80
  6/2/2019 Leonardo J. Martinez         $10.00   41.07   $   12.00   $ 82.13      $     6.40   $    88.53
  7/7/2019 Leonardo Lugo                $14.00   40.33   $   12.00                $     2.33   $     2.33
 7/14/2019 Leonardo Lugo                $14.00   45.48   $   12.00                $    38.38   $    38.38
 5/19/2019 Leonardo Peralta             $12.00   63.17   $   12.00                $   139.00   $   139.00
 5/26/2019 Leonardo Peralta             $12.00   63.22   $   12.00                $   139.30   $   139.30
  6/2/2019 Leonardo Peralta             $12.00   53.55   $   12.00                $    81.30   $    81.30
  6/9/2019 Leonardo Peralta             $12.00   64.10   $   12.00                $   144.60   $   144.60
 6/16/2019 Leonardo Peralta             $12.00   63.20   $   12.00                $   139.20   $   139.20
 6/23/2019 Leonardo Peralta             $12.00   62.33   $   12.00                $   134.00   $   134.00
 6/30/2019 Leonardo Peralta             $12.00   63.88   $   12.00                $   143.30   $   143.30
  7/7/2019 Leonardo Peralta              $9.50   51.68   $   12.00   $   129.21   $    70.10   $   199.31
 7/14/2019 Leonardo Peralta              $9.50   62.55   $   12.00   $   156.38   $   135.30   $   291.68
 7/21/2019 Leonardo Peralta              $9.50   62.03   $   12.00   $   155.08   $   132.20   $   287.28
 7/28/2019 Leonardo Peralta              $9.50   62.42   $   12.00   $   156.04   $   134.50   $   290.54
  8/4/2019 Leonardo Peralta              $9.50   62.23   $   12.00   $   155.58   $   133.40   $   288.98
 8/11/2019 Leonardo Peralta              $9.50   63.00   $   12.00   $   157.50   $   138.00   $   295.50
 8/18/2019 Leonardo Peralta              $9.50   62.60   $   12.00   $   156.50   $   135.60   $   292.10
 8/25/2019 Leonardo Peralta              $9.50   62.47   $   12.00   $   156.17   $   134.80   $   290.97
10/21/2018 Leonel Martinez               $9.50   64.10   $   11.00   $    96.15   $   132.55   $   228.70
10/28/2018 Leonel Martinez               $9.50   66.13   $   11.00   $    99.20   $   143.73   $   242.93
 11/4/2018 Leonel Martinez               $9.50   64.85   $   11.00   $    97.28   $   136.68   $   233.95
11/11/2018 Leonel Martinez               $9.50   65.13   $   11.00   $    97.70   $   138.23   $   235.93
11/18/2018 Leonel Martinez               $9.50   63.78   $   11.00   $    95.68   $   130.81   $   226.48
11/25/2018 Leonel Martinez               $9.50   51.87   $   11.00   $    77.80   $    65.27   $   143.07
 12/2/2018 Leonel Martinez               $9.50   63.82   $   11.00   $    95.73   $   130.99   $   226.72
 12/9/2018 Leonel Martinez               $9.50   64.18   $   11.00   $    96.28   $   133.01   $   229.28
12/24/2017 Leonel Taveras               $12.00   65.52   $   10.00                $   153.10   $   153.10
12/31/2017 Leonel Taveras               $12.00   54.05   $   11.00                $    84.30   $    84.30
  1/7/2018 Leonel Taveras               $12.00   41.50   $   11.00                $     9.00   $     9.00
 1/14/2018 Leonel Taveras               $12.00   61.32   $   11.00                $   127.90   $   127.90
 1/21/2018 Leonel Taveras               $12.00   66.58   $   11.00                $   159.50   $   159.50
 1/28/2018 Leonel Taveras               $12.00   65.60   $   11.00                $   153.60   $   153.60
  2/4/2018 Leonel Taveras               $12.00   40.45   $   11.00                $     2.70   $     2.70
 2/11/2018 Leonel Taveras               $12.00   62.43   $   11.00                $   134.60   $   134.60
 2/18/2018 Leonel Taveras               $12.00   66.63   $   11.00                $   159.80   $   159.80
 2/25/2018 Leonel Taveras               $12.00   62.52   $   11.00                $   135.10   $   135.10
  3/4/2018 Leonel Taveras               $12.00   47.73   $   11.00                $    46.40   $    46.40
 3/25/2018 Leonel Taveras               $12.00   64.57   $   11.00                $   147.40   $   147.40
  4/1/2018 Leonel Taveras               $12.00   65.12   $   11.00                $   150.70   $   150.70
  4/8/2018 Leonel Taveras               $12.00   63.58   $   11.00                $   141.50   $   141.50
 4/15/2018 Leonel Taveras               $12.00   58.38   $   11.00                $   110.30   $   110.30
 4/22/2018 Leonel Taveras               $12.00   61.72   $   11.00                $   130.30   $   130.30
11/25/2018 Luis Antonio Camacho          $9.50   51.28   $   11.00   $    76.93   $    62.06   $   138.98
 12/2/2018 Luis Antonio Camacho          $9.50   52.28   $   11.00   $    78.43   $    67.56   $   145.98



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  Week                                                          State Section 7: Section 7: Total Section 7
                                               Hourly Hours /
 Ending                     Name                              Minimum Regular Half-Time Overtime Back
                                                Rate   Week
  Date                                                         Wage   Rate Due     Due       Wages Due

 12/9/2018 Luis Antonio Camacho                 $9.50   53.22   $   11.00   $    79.83   $    72.69   $   152.52
12/16/2018 Luis Antonio Camacho                 $9.50   57.70   $   11.00   $    86.55   $    97.35   $   183.90
12/23/2018 Luis Antonio Camacho                 $9.50   44.03   $   11.00   $    66.05   $    22.18   $    88.23
  1/6/2019 Luis Antonio Camacho                 $9.50   48.68   $   12.00   $   121.71   $    52.10   $   173.81
 1/13/2019 Luis Antonio Camacho                $10.00   63.05   $   12.00   $   126.10   $   138.30   $   264.40
 1/20/2019 Luis Antonio Camacho                $10.00   63.30   $   12.00   $   126.60   $   139.80   $   266.40
 1/27/2019 Luis Antonio Camacho                $10.00   63.10   $   12.00   $   126.20   $   138.60   $   264.80
  2/3/2019 Luis Antonio Camacho                $10.00   54.13   $   12.00   $   108.27   $    84.80   $   193.07
 2/10/2019 Luis Antonio Camacho                $10.00   62.97   $   12.00   $   125.93   $   137.80   $   263.73
 2/17/2019 Luis Antonio Camacho                $10.00   62.83   $   12.00   $   125.67   $   137.00   $   262.67
 2/24/2019 Luis Antonio Camacho                $10.00   62.97   $   12.00   $   125.93   $   137.80   $   263.73
  3/3/2019 Luis Antonio Camacho                $10.00   62.82   $   12.00   $   125.63   $   136.90   $   262.53
 3/10/2019 Luis Antonio Camacho                $10.00   62.92   $   12.00   $   125.83   $   137.50   $   263.33
 3/17/2019 Luis Antonio Camacho                $10.00   62.53   $   12.00   $   125.07   $   135.20   $   260.27
 3/24/2019 Luis Antonio Camacho                $10.00   61.07   $   12.00   $   122.13   $   126.40   $   248.53
 3/31/2019 Luis Antonio Camacho                $10.00   60.47   $   12.00   $   120.93   $   122.80   $   243.73
  4/7/2019 Luis Antonio Camacho                $10.00   60.50   $   12.00   $   121.00   $   123.00   $   244.00
 4/14/2019 Luis Antonio Camacho                $10.00   61.85   $   12.00   $   123.70   $   131.10   $   254.80
  2/5/2017 Luis Eduardo Carbajal Ardon         $12.00   58.65   $   10.00                $   111.90   $   111.90
 2/12/2017 Luis Eduardo Carbajal Ardon         $12.00   53.23   $   10.00                $    79.40   $    79.40
 2/19/2017 Luis Eduardo Carbajal Ardon         $12.00   60.73   $   10.00                $   124.40   $   124.40
 2/26/2017 Luis Eduardo Carbajal Ardon         $12.00   65.42   $   10.00                $   152.50   $   152.50
  3/5/2017 Luis Eduardo Carbajal Ardon         $12.00   58.50   $   10.00                $   111.00   $   111.00
 3/12/2017 Luis Eduardo Carbajal Ardon         $12.00   56.03   $   10.00                $    96.20   $    96.20
 3/19/2017 Luis Eduardo Carbajal Ardon         $12.00   48.27   $   10.00                $    49.60   $    49.60
 3/26/2017 Luis Eduardo Carbajal Ardon         $12.00   61.45   $   10.00                $   128.70   $   128.70
  4/2/2017 Luis Eduardo Carbajal Ardon         $12.00   61.13   $   10.00                $   126.80   $   126.80
  4/9/2017 Luis Eduardo Carbajal Ardon         $12.00   61.90   $   10.00                $   131.40   $   131.40
 4/16/2017 Luis Eduardo Carbajal Ardon         $12.00   62.50   $   10.00                $   135.00   $   135.00
 4/23/2017 Luis Eduardo Carbajal Ardon         $12.00   66.28   $   10.00                $   157.70   $   157.70
 4/30/2017 Luis Eduardo Carbajal Ardon         $12.00   52.67   $   10.00                $    76.00   $    76.00
  5/7/2017 Luis Eduardo Carbajal Ardon         $12.00   60.97   $   10.00                $   125.80   $   125.80
 5/14/2017 Luis Eduardo Carbajal Ardon         $12.00   62.83   $   10.00                $   137.00   $   137.00
 5/21/2017 Luis Eduardo Carbajal Ardon         $12.00   51.30   $   10.00                $    67.80   $    67.80
 5/28/2017 Luis Eduardo Carbajal Ardon         $12.00   63.58   $   10.00                $   141.50   $   141.50
  6/4/2017 Luis Eduardo Carbajal Ardon         $12.00   51.58   $   10.00                $    69.50   $    69.50
 6/11/2017 Luis Eduardo Carbajal Ardon         $12.00   55.80   $   10.00                $    94.80   $    94.80
 6/18/2017 Luis Eduardo Carbajal Ardon         $12.00   59.67   $   10.00                $   118.00   $   118.00
 6/25/2017 Luis Eduardo Carbajal Ardon         $12.00   59.80   $   10.00                $   118.80   $   118.80
  7/2/2017 Luis Eduardo Carbajal Ardon         $12.00   61.28   $   10.00                $   127.70   $   127.70
  7/9/2017 Luis Eduardo Carbajal Ardon         $12.00   48.07   $   10.00                $    48.40   $    48.40
 7/16/2017 Luis Eduardo Carbajal Ardon         $12.00   61.22   $   10.00                $   127.30   $   127.30
 7/23/2017 Luis Eduardo Carbajal Ardon         $12.00   64.87   $   10.00                $   149.20   $   149.20
 7/30/2017 Luis Eduardo Carbajal Ardon         $12.00   66.48   $   10.00                $   158.90   $   158.90
 8/13/2017 Luis Eduardo Carbajal Ardon         $12.00   52.40   $   10.00                $    74.40   $    74.40
 8/20/2017 Luis Eduardo Carbajal Ardon         $12.00   62.72   $   10.00                $   136.30   $   136.30
 8/27/2017 Luis Eduardo Carbajal Ardon         $12.00   61.58   $   10.00                $   129.50   $   129.50
  9/3/2017 Luis Eduardo Carbajal Ardon         $12.00   63.77   $   10.00                $   142.60   $   142.60
 9/10/2017 Luis Eduardo Carbajal Ardon         $12.00   49.75   $   10.00                $    58.50   $    58.50
 9/17/2017 Luis Eduardo Carbajal Ardon         $12.00   62.42   $   10.00                $   134.50   $   134.50
 9/24/2017 Luis Eduardo Carbajal Ardon         $12.00   60.28   $   10.00                $   121.70   $   121.70



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  Week                                                          State Section 7: Section 7: Total Section 7
                                               Hourly Hours /
 Ending                     Name                              Minimum Regular Half-Time Overtime Back
                                                Rate   Week
  Date                                                         Wage   Rate Due     Due       Wages Due

 10/1/2017 Luis Eduardo Carbajal Ardon         $12.00   57.93   $   10.00          $   107.60   $   107.60
 10/8/2017 Luis Eduardo Carbajal Ardon         $12.00   49.68   $   10.00          $    58.10   $    58.10
10/15/2017 Luis Eduardo Carbajal Ardon         $12.00   58.63   $   10.00          $   111.80   $   111.80
10/22/2017 Luis Eduardo Carbajal Ardon         $12.00   59.27   $   10.00          $   115.60   $   115.60
10/29/2017 Luis Eduardo Carbajal Ardon         $12.00   57.03   $   10.00          $   102.20   $   102.20
 11/5/2017 Luis Eduardo Carbajal Ardon         $12.00   62.32   $   10.00          $   133.90   $   133.90
11/12/2017 Luis Eduardo Carbajal Ardon         $12.00   55.77   $   10.00          $    94.60   $    94.60
11/19/2017 Luis Eduardo Carbajal Ardon         $12.00   57.47   $   10.00          $   104.80   $   104.80
11/26/2017 Luis Eduardo Carbajal Ardon         $12.00   40.23   $   10.00          $     1.40   $     1.40
 12/3/2017 Luis Eduardo Carbajal Ardon         $12.00   58.10   $   10.00          $   108.60   $   108.60
12/10/2017 Luis Eduardo Carbajal Ardon         $12.00   59.58   $   10.00          $   117.50   $   117.50
12/17/2017 Luis Eduardo Carbajal Ardon         $12.00   67.70   $   10.00          $   166.20   $   166.20
12/24/2017 Luis Eduardo Carbajal Ardon         $12.00   61.97   $   10.00          $   131.80   $   131.80
12/31/2017 Luis Eduardo Carbajal Ardon         $12.00   56.23   $   11.00          $    97.40   $    97.40
  1/7/2018 Luis Eduardo Carbajal Ardon         $12.00   50.05   $   11.00          $    60.30   $    60.30
 1/14/2018 Luis Eduardo Carbajal Ardon         $12.00   71.50   $   11.00          $   189.00   $   189.00
 1/21/2018 Luis Eduardo Carbajal Ardon         $12.00   72.12   $   11.00          $   192.70   $   192.70
 1/28/2018 Luis Eduardo Carbajal Ardon         $12.00   71.40   $   11.00          $   188.40   $   188.40
  2/4/2018 Luis Eduardo Carbajal Ardon         $12.00   62.93   $   11.00          $   137.60   $   137.60
 2/11/2018 Luis Eduardo Carbajal Ardon         $12.00   70.92   $   11.00          $   185.50   $   185.50
 2/18/2018 Luis Eduardo Carbajal Ardon         $12.00   67.03   $   11.00          $   162.20   $   162.20
 2/25/2018 Luis Eduardo Carbajal Ardon         $12.00   54.07   $   11.00          $    84.40   $    84.40
  3/4/2018 Luis Eduardo Carbajal Ardon         $12.00   63.48   $   11.00          $   140.90   $   140.90
 3/25/2018 Luis Eduardo Carbajal Ardon         $12.00   62.83   $   11.00          $   137.00   $   137.00
  4/1/2018 Luis Eduardo Carbajal Ardon         $12.00   68.40   $   11.00          $   170.40   $   170.40
  4/8/2018 Luis Eduardo Carbajal Ardon         $12.00   66.07   $   11.00          $   156.40   $   156.40
 4/15/2018 Luis Eduardo Carbajal Ardon         $12.00   54.58   $   11.00          $    87.50   $    87.50
 4/22/2018 Luis Eduardo Carbajal Ardon         $12.00   61.73   $   11.00          $   130.40   $   130.40
 4/29/2018 Luis Eduardo Carbajal Ardon         $12.00   61.33   $   11.00          $   128.00   $   128.00
  5/6/2018 Luis Eduardo Carbajal Ardon         $12.00   66.63   $   11.00          $   159.80   $   159.80
 5/13/2018 Luis Eduardo Carbajal Ardon         $12.00   68.43   $   11.00          $   170.60   $   170.60
 5/20/2018 Luis Eduardo Carbajal Ardon         $12.00   65.25   $   11.00          $   151.50   $   151.50
  6/3/2018 Luis Eduardo Carbajal Ardon         $12.00   66.83   $   11.00          $   161.00   $   161.00
 6/10/2018 Luis Eduardo Carbajal Ardon         $12.00   64.93   $   11.00          $   149.60   $   149.60
 6/17/2018 Luis Eduardo Carbajal Ardon         $12.00   69.08   $   11.00          $   174.50   $   174.50
 6/24/2018 Luis Eduardo Carbajal Ardon         $12.00   63.25   $   11.00          $   139.50   $   139.50
  7/1/2018 Luis Eduardo Carbajal Ardon         $12.00   64.90   $   11.00          $   149.40   $   149.40
  7/8/2018 Luis Eduardo Carbajal Ardon         $12.00   55.42   $   11.00          $    92.50   $    92.50
 7/15/2018 Luis Eduardo Carbajal Ardon         $12.00   65.67   $   11.00          $   154.00   $   154.00
 7/22/2018 Luis Eduardo Carbajal Ardon         $12.00   68.57   $   11.00          $   171.40   $   171.40
 7/29/2018 Luis Eduardo Carbajal Ardon         $12.00   64.50   $   11.00          $   147.00   $   147.00
 8/19/2018 Luis Eduardo Carbajal Ardon         $12.00   66.57   $   11.00          $   159.40   $   159.40
 8/26/2018 Luis Eduardo Carbajal Ardon         $12.00   66.22   $   11.00          $   157.30   $   157.30
  9/2/2018 Luis Eduardo Carbajal Ardon         $12.00   45.33   $   11.00          $    32.00   $    32.00
  9/9/2018 Luis Eduardo Carbajal Ardon         $12.00   61.90   $   11.00          $   131.40   $   131.40
 9/23/2018 Luis Eduardo Carbajal Ardon         $12.00   63.17   $   11.00          $   139.00   $   139.00
 9/30/2018 Luis Eduardo Carbajal Ardon         $12.00   57.65   $   11.00          $   105.90   $   105.90
 10/7/2018 Luis Eduardo Carbajal Ardon         $12.00   62.95   $   11.00          $   137.70   $   137.70
10/14/2018 Luis Eduardo Carbajal Ardon         $12.00   45.13   $   11.00          $    30.80   $    30.80
10/21/2018 Luis Eduardo Carbajal Ardon         $12.00   56.88   $   11.00          $   101.30   $   101.30
10/28/2018 Luis Eduardo Carbajal Ardon         $12.00   68.90   $   11.00          $   173.40   $   173.40



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  Week                                                                 State Section 7: Section 7: Total Section 7
                                                      Hourly Hours /
 Ending                     Name                                     Minimum Regular Half-Time Overtime Back
                                                       Rate   Week
  Date                                                                Wage   Rate Due     Due       Wages Due

 11/4/2018 Luis Eduardo Carbajal Ardon                $12.00   66.68   $   11.00          $   160.10   $   160.10
11/11/2018 Luis Eduardo Carbajal Ardon                $12.00   57.33   $   11.00          $   104.00   $   104.00
11/18/2018 Luis Eduardo Carbajal Ardon                $12.00   64.60   $   11.00          $   147.60   $   147.60
 12/2/2018 Luis Eduardo Carbajal Ardon                $12.00   67.83   $   11.00          $   167.00   $   167.00
 12/9/2018 Luis Eduardo Carbajal Ardon                $12.00   54.85   $   11.00          $    89.10   $    89.10
12/16/2018 Luis Eduardo Carbajal Ardon                $12.00   67.73   $   11.00          $   166.40   $   166.40
12/23/2018 Luis Eduardo Carbajal Ardon                $12.00   55.73   $   11.00          $    94.40   $    94.40
12/30/2018 Luis Eduardo Carbajal Ardon                $12.00   51.87   $   11.00          $    71.20   $    71.20
  1/6/2019 Luis Eduardo Carbajal Ardon                $12.00   44.68   $   12.00          $    28.10   $    28.10
 1/13/2019 Luis Eduardo Carbajal Ardon                $12.00   62.17   $   12.00          $   133.00   $   133.00
 1/20/2019 Luis Eduardo Carbajal Ardon                $12.00   56.82   $   12.00          $   100.90   $   100.90
 1/27/2019 Luis Eduardo Carbajal Ardon                $12.00   62.98   $   12.00          $   137.90   $   137.90
  2/3/2019 Luis Eduardo Carbajal Ardon                $12.00   59.03   $   12.00          $   114.20   $   114.20
 2/10/2019 Luis Eduardo Carbajal Ardon                $12.00   47.18   $   12.00          $    43.10   $    43.10
 2/17/2019 Luis Eduardo Carbajal Ardon                $12.00   59.62   $   12.00          $   117.70   $   117.70
 2/24/2019 Luis Eduardo Carbajal Ardon                $12.00   57.03   $   12.00          $   102.20   $   102.20
  3/3/2019 Luis Eduardo Carbajal Ardon                $12.00   60.32   $   12.00          $   121.90   $   121.90
 3/10/2019 Luis Eduardo Carbajal Ardon                $12.00   55.33   $   12.00          $    92.00   $    92.00
 3/17/2019 Luis Eduardo Carbajal Ardon                $12.00   57.85   $   12.00          $   107.10   $   107.10
 3/24/2019 Luis Eduardo Carbajal Ardon                $12.00   62.52   $   12.00          $   135.10   $   135.10
 3/31/2019 Luis Eduardo Carbajal Ardon                $12.00   63.67   $   12.00          $   142.00   $   142.00
  4/7/2019 Luis Eduardo Carbajal Ardon                $12.00   52.47   $   12.00          $    74.80   $    74.80
 4/14/2019 Luis Eduardo Carbajal Ardon                $12.00   60.07   $   12.00          $   120.40   $   120.40
 4/21/2019 Luis Eduardo Carbajal Ardon                $12.00   58.67   $   12.00          $   112.00   $   112.00
 4/28/2019 Luis Eduardo Carbajal Ardon                $12.00   45.13   $   12.00          $    30.80   $    30.80
  5/5/2019 Luis Eduardo Carbajal Ardon                $12.00   57.98   $   12.00          $   107.90   $   107.90
 5/12/2019 Luis Eduardo Carbajal Ardon                $12.00   60.75   $   12.00          $   124.50   $   124.50
 5/19/2019 Luis Eduardo Carbajal Ardon                $12.00   43.27   $   12.00          $    19.60   $    19.60
 5/26/2019 Luis Eduardo Carbajal Ardon                $12.00   59.47   $   12.00          $   116.80   $   116.80
  6/2/2019 Luis Eduardo Carbajal Ardon                $12.00   62.85   $   12.00          $   137.10   $   137.10
  6/9/2019 Luis Eduardo Carbajal Ardon                $12.00   63.58   $   12.00          $   141.50   $   141.50
 6/16/2019 Luis Eduardo Carbajal Ardon                $12.00   43.58   $   12.00          $    21.50   $    21.50
 6/23/2019 Luis Eduardo Carbajal Ardon                $12.00   56.32   $   12.00          $    97.90   $    97.90
 6/30/2019 Luis Eduardo Carbajal Ardon                $12.00   61.37   $   12.00          $   128.20   $   128.20
 7/14/2019 Luis Eduardo Carbajal Ardon                $12.00   58.90   $   12.00          $   113.40   $   113.40
 7/28/2019 Luis Eduardo Carbajal Ardon                $12.00   58.63   $   12.00          $   111.80   $   111.80
  6/9/2019 Luis Hernandez                             $12.00   58.13   $   12.00          $   108.80   $   108.80
 6/16/2019 Luis Hernandez                             $12.00   58.60   $   12.00          $   111.60   $   111.60
 6/23/2019 Luis Hernandez                             $12.00   59.85   $   12.00          $   119.10   $   119.10
 6/30/2019 Luis Hernandez                             $12.00   63.65   $   12.00          $   141.90   $   141.90
  7/7/2019 Luis Hernandez                             $12.00   43.33   $   12.00          $    20.00   $    20.00
 7/14/2019 Luis Hernandez                             $12.00   66.80   $   12.00          $   160.80   $   160.80
 7/21/2019 Luis Hernandez                             $12.00   71.15   $   12.00          $   186.90   $   186.90
 7/28/2019 Luis Hernandez                             $12.00   71.38   $   12.00          $   188.30   $   188.30
  8/4/2019 Luis Hernandez                             $12.00   59.23   $   12.00          $   115.40   $   115.40
 8/11/2019 Luis Hernandez                             $12.00   75.68   $   12.00          $   214.10   $   214.10
  2/5/2017 Luis Rafael Salobo-On Site Manager         $11.00   58.18   $   10.00          $   100.01   $   100.01
 2/12/2017 Luis Rafael Salobo-On Site Manager         $11.00   40.73   $   10.00          $     4.03   $     4.03
 2/19/2017 Luis Rafael Salobo-On Site Manager         $11.00   57.90   $   10.00          $    98.45   $    98.45
 2/26/2017 Luis Rafael Salobo-On Site Manager         $11.00   57.78   $   10.00          $    97.81   $    97.81
  3/5/2017 Luis Rafael Salobo-On Site Manager         $11.00   61.28   $   10.00          $   117.06   $   117.06



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  Week                                                                 State Section 7: Section 7: Total Section 7
                                                      Hourly Hours /
 Ending                     Name                                     Minimum Regular Half-Time Overtime Back
                                                       Rate   Week
  Date                                                                Wage   Rate Due     Due       Wages Due

 3/12/2017 Luis Rafael Salobo-On Site Manager         $11.00   57.78   $   10.00          $    97.81   $    97.81
 3/26/2017 Luis Rafael Salobo-On Site Manager         $11.00   58.10   $   10.00          $    99.55   $    99.55
  4/2/2017 Luis Rafael Salobo-On Site Manager         $11.00   58.03   $   10.00          $    99.18   $    99.18
 5/14/2017 Luis Rafael Salobo-On Site Manager         $11.00   58.10   $   10.00          $    99.55   $    99.55
 5/21/2017 Luis Rafael Salobo-On Site Manager         $11.00   61.07   $   10.00          $   115.87   $   115.87
 5/28/2017 Luis Rafael Salobo-On Site Manager         $11.00   59.98   $   10.00          $   109.91   $   109.91
  6/4/2017 Luis Rafael Salobo-On Site Manager         $11.00   49.73   $   10.00          $    53.53   $    53.53
 6/11/2017 Luis Rafael Salobo-On Site Manager         $11.00   58.63   $   10.00          $   102.48   $   102.48
 6/18/2017 Luis Rafael Salobo-On Site Manager         $11.00   51.15   $   10.00          $    61.33   $    61.33
 6/25/2017 Luis Rafael Salobo-On Site Manager         $11.00   42.27   $   10.00          $    12.47   $    12.47
  7/2/2017 Luis Rafael Salobo-On Site Manager         $13.00   69.93   $   10.00          $   194.57   $   194.57
  7/9/2017 Luis Rafael Salobo-On Site Manager         $13.00   58.55   $   10.00          $   120.58   $   120.58
 7/16/2017 Luis Rafael Salobo-On Site Manager         $13.00   70.98   $   10.00          $   201.39   $   201.39
 7/23/2017 Luis Rafael Salobo-On Site Manager         $13.00   69.98   $   10.00          $   194.89   $   194.89
 7/30/2017 Luis Rafael Salobo-On Site Manager         $13.00   70.33   $   10.00          $   197.17   $   197.17
  8/6/2017 Luis Rafael Salobo-On Site Manager         $13.00   70.77   $   10.00          $   199.98   $   199.98
 8/13/2017 Luis Rafael Salobo-On Site Manager         $13.00   69.27   $   10.00          $   190.23   $   190.23
 8/20/2017 Luis Rafael Salobo-On Site Manager         $13.00   68.72   $   10.00          $   186.66   $   186.66
 8/27/2017 Luis Rafael Salobo-On Site Manager         $13.00   68.17   $   10.00          $   183.08   $   183.08
  9/3/2017 Luis Rafael Salobo-On Site Manager         $13.00   69.98   $   10.00          $   194.89   $   194.89
 9/10/2017 Luis Rafael Salobo-On Site Manager         $13.00   57.50   $   10.00          $   113.75   $   113.75
 9/17/2017 Luis Rafael Salobo-On Site Manager         $13.00   69.95   $   10.00          $   194.68   $   194.68
 9/24/2017 Luis Rafael Salobo-On Site Manager         $13.00   68.75   $   10.00          $   186.88   $   186.88
 10/1/2017 Luis Rafael Salobo-On Site Manager         $13.00   70.05   $   10.00          $   195.33   $   195.33
 10/8/2017 Luis Rafael Salobo-On Site Manager         $13.00   68.05   $   10.00          $   182.33   $   182.33
10/15/2017 Luis Rafael Salobo-On Site Manager         $13.00   57.23   $   10.00          $   112.02   $   112.02
10/22/2017 Luis Rafael Salobo-On Site Manager         $13.00   64.67   $   10.00          $   160.33   $   160.33
10/29/2017 Luis Rafael Salobo-On Site Manager         $13.00   67.88   $   10.00          $   181.24   $   181.24
 11/5/2017 Luis Rafael Salobo-On Site Manager         $13.00   68.57   $   10.00          $   185.68   $   185.68
11/12/2017 Luis Rafael Salobo-On Site Manager         $13.00   69.98   $   10.00          $   194.89   $   194.89
11/19/2017 Luis Rafael Salobo-On Site Manager         $13.00   71.57   $   10.00          $   205.18   $   205.18
11/26/2017 Luis Rafael Salobo-On Site Manager         $13.00   58.32   $   10.00          $   119.06   $   119.06
 12/3/2017 Luis Rafael Salobo-On Site Manager         $13.00   70.25   $   10.00          $   196.63   $   196.63
12/17/2017 Luis Rafael Salobo-On Site Manager         $13.00   45.92   $   10.00          $    38.46   $    38.46
12/24/2017 Luis Rafael Salobo-On Site Manager         $13.00   70.37   $   10.00          $   197.38   $   197.38
12/31/2017 Luis Rafael Salobo-On Site Manager         $13.00   58.70   $   11.00          $   121.55   $   121.55
  1/7/2018 Luis Rafael Salobo-On Site Manager         $13.00   47.97   $   11.00          $    51.78   $    51.78
 1/14/2018 Luis Rafael Salobo-On Site Manager         $13.00   67.57   $   11.00          $   179.18   $   179.18
 1/21/2018 Luis Rafael Salobo-On Site Manager         $13.00   66.52   $   11.00          $   172.36   $   172.36
 1/28/2018 Luis Rafael Salobo-On Site Manager         $13.00   70.12   $   11.00          $   195.76   $   195.76
  2/4/2018 Luis Rafael Salobo-On Site Manager         $13.00   70.33   $   11.00          $   197.17   $   197.17
 2/11/2018 Luis Rafael Salobo-On Site Manager         $13.00   69.58   $   11.00          $   192.29   $   192.29
 2/18/2018 Luis Rafael Salobo-On Site Manager         $13.00   68.53   $   11.00          $   185.47   $   185.47
 2/25/2018 Luis Rafael Salobo-On Site Manager         $13.00   70.05   $   11.00          $   195.33   $   195.33
  3/4/2018 Luis Rafael Salobo-On Site Manager         $13.00   70.15   $   11.00          $   195.98   $   195.98
 3/25/2018 Luis Rafael Salobo-On Site Manager         $13.00   65.40   $   11.00          $   165.10   $   165.10
  4/1/2018 Luis Rafael Salobo-On Site Manager         $13.00   70.33   $   11.00          $   197.17   $   197.17
  4/8/2018 Luis Rafael Salobo-On Site Manager         $13.00   69.33   $   11.00          $   190.67   $   190.67
 4/15/2018 Luis Rafael Salobo-On Site Manager         $13.00   69.60   $   11.00          $   192.40   $   192.40
 4/22/2018 Luis Rafael Salobo-On Site Manager         $13.00   69.75   $   11.00          $   193.38   $   193.38
 4/29/2018 Luis Rafael Salobo-On Site Manager         $13.00   69.13   $   11.00          $   189.37   $   189.37



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  Week                                                                 State Section 7: Section 7: Total Section 7
                                                      Hourly Hours /
 Ending                     Name                                     Minimum Regular Half-Time Overtime Back
                                                       Rate   Week
  Date                                                                Wage   Rate Due     Due       Wages Due

  5/6/2018 Luis Rafael Salobo-On Site Manager         $13.00   70.08   $   11.00               $   195.54   $   195.54
 5/13/2018 Luis Rafael Salobo-On Site Manager         $13.00   70.98   $   11.00               $   201.39   $   201.39
 5/20/2018 Luis Rafael Salobo-On Site Manager         $13.00   69.60   $   11.00               $   192.40   $   192.40
 5/27/2018 Luis Rafael Salobo-On Site Manager         $13.00   70.35   $   11.00               $   197.28   $   197.28
  6/3/2018 Luis Rafael Salobo-On Site Manager         $13.00   57.05   $   11.00               $   110.83   $   110.83
 6/10/2018 Luis Rafael Salobo-On Site Manager         $13.00   69.32   $   11.00               $   190.56   $   190.56
 6/17/2018 Luis Rafael Salobo-On Site Manager         $13.00   57.30   $   11.00               $   112.45   $   112.45
  7/1/2018 Luis Rafael Salobo-On Site Manager         $13.00   46.83   $   11.00               $    44.42   $    44.42
  7/8/2018 Luis Rafael Salobo-On Site Manager         $13.00   42.75   $   11.00               $    17.88   $    17.88
 4/21/2019 Luis Ricardo Octavalo                      $14.50   52.82   $   12.00               $    92.92   $    92.92
 4/28/2019 Luis Ricardo Octavalo                      $14.50   57.18   $   12.00               $   124.58   $   124.58
  5/5/2019 Luis Ricardo Octavalo                      $14.50   54.93   $   12.00               $   108.27   $   108.27
 5/19/2019 Luis Ricardo Octavalo                      $14.50   50.50   $   12.00               $    76.13   $    76.13
 5/26/2019 Luis Ricardo Octavalo                      $14.50   43.33   $   12.00               $    24.17   $    24.17
  2/5/2017 Luis Rosario                                $9.00   47.23   $   10.00   $   47.23   $    36.17   $    83.40
  7/2/2017 Madelyn Figueroa                           $11.50   50.13   $   10.00               $    58.27   $    58.27
  7/9/2017 Madelyn Figueroa                           $11.50   48.68   $   10.00               $    49.93   $    49.93
 7/16/2017 Madelyn Figueroa                           $11.50   50.97   $   10.00               $    63.06   $    63.06
 7/23/2017 Madelyn Figueroa                           $11.50   44.13   $   10.00               $    23.77   $    23.77
 7/30/2017 Madelyn Figueroa                           $11.50   52.20   $   10.00               $    70.15   $    70.15
  8/6/2017 Madelyn Figueroa                           $11.50   54.70   $   10.00               $    84.52   $    84.52
 8/20/2017 Madelyn Figueroa                           $12.00   42.72   $   10.00               $    16.30   $    16.30
 8/27/2017 Madelyn Figueroa                           $12.00   44.12   $   10.00               $    24.70   $    24.70
 9/17/2017 Madelyn Figueroa                           $12.00   52.85   $   10.00               $    77.10   $    77.10
 9/24/2017 Madelyn Figueroa                           $12.00   42.92   $   10.00               $    17.50   $    17.50
 10/1/2017 Madelyn Figueroa                           $12.00   44.88   $   10.00               $    29.30   $    29.30
 10/8/2017 Madelyn Figueroa                           $12.00   55.15   $   10.00               $    90.90   $    90.90
10/15/2017 Madelyn Figueroa                           $12.00   47.72   $   10.00               $    46.30   $    46.30
10/22/2017 Madelyn Figueroa                           $12.00   50.90   $   10.00               $    65.40   $    65.40
10/29/2017 Madelyn Figueroa                           $12.00   40.73   $   10.00               $     4.40   $     4.40
11/12/2017 Madelyn Figueroa                           $12.00   46.32   $   10.00               $    37.90   $    37.90
11/19/2017 Madelyn Figueroa                           $12.00   51.73   $   10.00               $    70.40   $    70.40
 12/3/2017 Madelyn Figueroa                           $12.00   51.25   $   10.00               $    67.50   $    67.50
12/10/2017 Madelyn Figueroa                           $12.00   49.22   $   10.00               $    55.30   $    55.30
12/17/2017 Madelyn Figueroa                           $12.00   40.40   $   10.00               $     2.40   $     2.40
12/24/2017 Madelyn Figueroa                           $12.00   46.22   $   10.00               $    37.30   $    37.30
12/31/2017 Madelyn Figueroa                           $12.00   40.35   $   11.00               $     2.10   $     2.10
 1/14/2018 Madelyn Figueroa                           $12.00   43.50   $   11.00               $    21.00   $    21.00
 1/21/2018 Madelyn Figueroa                           $12.00   48.00   $   11.00               $    48.00   $    48.00
 1/28/2018 Madelyn Figueroa                           $12.00   49.12   $   11.00               $    54.70   $    54.70
  2/4/2018 Madelyn Figueroa                           $12.00   41.00   $   11.00               $     6.00   $     6.00
 2/25/2018 Madelyn Figueroa                           $12.00   45.25   $   11.00               $    31.50   $    31.50
 4/22/2018 Madelyn Figueroa                           $12.00   53.18   $   11.00               $    79.10   $    79.10
 4/29/2018 Madelyn Figueroa                           $12.00   40.17   $   11.00               $     1.00   $     1.00
  5/6/2018 Madelyn Figueroa                           $12.00   50.43   $   11.00               $    62.60   $    62.60
 5/13/2018 Madelyn Figueroa                           $12.00   43.63   $   11.00               $    21.80   $    21.80
 5/27/2018 Madelyn Figueroa                           $12.00   54.05   $   11.00               $    84.30   $    84.30
 6/10/2018 Madelyn Figueroa                           $12.00   42.32   $   11.00               $    13.90   $    13.90
  9/2/2018 Manuel Rodriguez Taveras                   $10.00   60.15   $   11.00   $   60.15   $   110.83   $   170.98
  9/9/2018 Manuel Rodriguez Taveras                   $10.00   54.27   $   11.00   $   54.27   $    78.47   $   132.73
 9/16/2018 Manuel Rodriguez Taveras                   $10.00   65.92   $   11.00   $   65.92   $   142.54   $   208.46



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                                              Exhibit 4
                                      Westchester Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                            Hourly Hours /
 Ending                    Name                            Minimum Regular Half-Time Overtime Back
                                             Rate   Week
  Date                                                      Wage   Rate Due     Due       Wages Due

 9/23/2018 Manuel Rodriguez Taveras         $10.00   66.52   $   11.00   $    66.52   $   145.84   $   212.36
 9/30/2018 Manuel Rodriguez Taveras         $10.00   54.68   $   11.00   $    54.68   $    80.76   $   135.44
 10/7/2018 Manuel Rodriguez Taveras         $10.00   66.40   $   11.00   $    66.40   $   145.20   $   211.60
10/14/2018 Manuel Rodriguez Taveras         $10.00   60.08   $   11.00   $    60.08   $   110.46   $   170.54
10/21/2018 Manuel Rodriguez Taveras         $10.00   62.63   $   11.00   $    62.63   $   124.48   $   187.12
10/28/2018 Manuel Rodriguez Taveras         $10.00   64.18   $   11.00   $    64.18   $   133.01   $   197.19
 11/4/2018 Manuel Rodriguez Taveras         $10.00   53.85   $   11.00   $    53.85   $    76.18   $   130.03
11/11/2018 Manuel Rodriguez Taveras         $10.00   60.38   $   11.00   $    60.38   $   112.11   $   172.49
11/18/2018 Manuel Rodriguez Taveras         $10.00   65.10   $   11.00   $    65.10   $   138.05   $   203.15
11/25/2018 Manuel Rodriguez Taveras         $10.00   53.55   $   11.00   $    53.55   $    74.53   $   128.08
 12/2/2018 Manuel Rodriguez Taveras         $10.00   63.45   $   11.00   $    63.45   $   128.98   $   192.43
 12/9/2018 Manuel Rodriguez Taveras         $10.00   62.90   $   11.00   $    62.90   $   125.95   $   188.85
12/16/2018 Manuel Rodriguez Taveras         $10.00   66.60   $   11.00   $    66.60   $   146.30   $   212.90
12/23/2018 Manuel Rodriguez Taveras         $10.00   66.95   $   11.00   $    66.95   $   148.23   $   215.18
12/30/2018 Manuel Rodriguez Taveras         $10.00   52.20   $   11.00   $    52.20   $    67.10   $   119.30
  1/6/2019 Manuel Rodriguez Taveras         $10.00   53.93   $   12.00   $   107.87   $    83.60   $   191.47
 1/13/2019 Manuel Rodriguez Taveras         $10.00   66.77   $   12.00   $   133.53   $   160.60   $   294.13
 1/20/2019 Manuel Rodriguez Taveras         $10.00   66.57   $   12.00   $   133.13   $   159.40   $   292.53
 1/27/2019 Manuel Rodriguez Taveras         $10.00   67.82   $   12.00   $   135.63   $   166.90   $   302.53
  2/3/2019 Manuel Rodriguez Taveras         $10.00   67.00   $   12.00   $   134.00   $   162.00   $   296.00
 2/10/2019 Manuel Rodriguez Taveras         $10.00   65.98   $   12.00   $   131.97   $   155.90   $   287.87
 2/17/2019 Manuel Rodriguez Taveras         $10.00   65.10   $   12.00   $   130.20   $   150.60   $   280.80
 3/10/2019 Manuel Rodriguez Taveras         $10.00   66.70   $   12.00   $   133.40   $   160.20   $   293.60
 3/17/2019 Manuel Rodriguez Taveras         $10.00   66.03   $   12.00   $   132.07   $   156.20   $   288.27
 3/24/2019 Manuel Rodriguez Taveras         $10.00   66.60   $   12.00   $   133.20   $   159.60   $   292.80
 3/31/2019 Manuel Rodriguez Taveras         $10.00   63.62   $   12.00   $   127.23   $   141.70   $   268.93
  4/7/2019 Manuel Rodriguez Taveras         $10.00   67.55   $   12.00   $   135.10   $   165.30   $   300.40
 4/14/2019 Manuel Rodriguez Taveras         $10.00   64.73   $   12.00   $   129.47   $   148.40   $   277.87
 4/21/2019 Manuel Rodriguez Taveras         $10.00   66.93   $   12.00   $   133.87   $   161.60   $   295.47
 4/28/2019 Manuel Rodriguez Taveras         $10.00   68.28   $   12.00   $   136.57   $   169.70   $   306.27
  5/5/2019 Manuel Rodriguez Taveras         $10.00   66.90   $   12.00   $   133.80   $   161.40   $   295.20
 5/12/2019 Manuel Rodriguez Taveras         $10.00   68.17   $   12.00   $   136.33   $   169.00   $   305.33
 5/19/2019 Manuel Rodriguez Taveras         $10.00   68.33   $   12.00   $   136.67   $   170.00   $   306.67
 5/26/2019 Manuel Rodriguez Taveras         $10.00   68.17   $   12.00   $   136.33   $   169.00   $   305.33
  6/2/2019 Manuel Rodriguez Taveras         $10.00   54.55   $   12.00   $   109.10   $    87.30   $   196.40
  6/9/2019 Manuel Rodriguez Taveras         $10.00   67.75   $   12.00   $   135.50   $   166.50   $   302.00
 6/16/2019 Manuel Rodriguez Taveras         $10.00   66.20   $   12.00   $   132.40   $   157.20   $   289.60
 6/23/2019 Manuel Rodriguez Taveras         $10.00   66.50   $   12.00   $   133.00   $   159.00   $   292.00
 6/30/2019 Manuel Rodriguez Taveras         $10.00   65.37   $   12.00   $   130.73   $   152.20   $   282.93
  7/7/2019 Manuel Rodriguez Taveras         $10.00   55.37   $   12.00   $   110.73   $    92.20   $   202.93
 7/14/2019 Manuel Rodriguez Taveras         $10.00   67.50   $   12.00   $   135.00   $   165.00   $   300.00
 7/21/2019 Manuel Rodriguez Taveras         $10.00   67.37   $   12.00   $   134.73   $   164.20   $   298.93
 7/28/2019 Manuel Rodriguez Taveras         $10.00   67.30   $   12.00   $   134.60   $   163.80   $   298.40
  8/4/2019 Manuel Rodriguez Taveras         $10.00   67.18   $   12.00   $   134.37   $   163.10   $   297.47
 8/11/2019 Manuel Rodriguez Taveras         $10.00   66.80   $   12.00   $   133.60   $   160.80   $   294.40
 8/18/2019 Manuel Rodriguez Taveras         $10.00   66.93   $   12.00   $   133.87   $   161.60   $   295.47
 8/25/2019 Manuel Rodriguez Taveras         $10.00   67.10   $   12.00   $   134.20   $   162.60   $   296.80
  9/1/2019 Manuel Rodriguez Taveras         $10.00   67.28   $   12.00   $   134.57   $   163.70   $   298.27
  9/8/2019 Manuel Rodriguez Taveras         $10.00   55.25   $   12.00   $   110.50   $    91.50   $   202.00
 9/15/2019 Manuel Rodriguez Taveras         $10.00   66.80   $   12.00   $   133.60   $   160.80   $   294.40
 9/22/2019 Manuel Rodriguez Taveras         $10.00   66.65   $   12.00   $   133.30   $   159.90   $   293.20



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                                      Westchester Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                            Hourly Hours /
 Ending                    Name                            Minimum Regular Half-Time Overtime Back
                                             Rate   Week
  Date                                                      Wage   Rate Due     Due       Wages Due

 9/29/2019 Manuel Rodriguez Taveras         $10.00   65.90   $   12.00   $   131.80   $   155.40   $   287.20
 10/6/2019 Manuel Rodriguez Taveras         $10.00   66.47   $   12.00   $   132.93   $   158.80   $   291.73
10/13/2019 Manuel Rodriguez Taveras         $10.00   66.33   $   12.00   $   132.67   $   158.00   $   290.67
10/20/2019 Manuel Rodriguez Taveras         $10.00   66.18   $   12.00   $   132.37   $   157.10   $   289.47
10/27/2019 Manuel Rodriguez Taveras         $10.00   70.32   $   12.00   $   140.63   $   181.90   $   322.53
 11/3/2019 Manuel Rodriguez Taveras         $10.00   54.60   $   12.00   $   109.20   $    87.60   $   196.80
11/10/2019 Manuel Rodriguez Taveras         $10.00   65.73   $   12.00   $   131.47   $   154.40   $   285.87
11/17/2019 Manuel Rodriguez Taveras         $10.00   67.55   $   12.00   $   135.10   $   165.30   $   300.40
11/24/2019 Manuel Rodriguez Taveras         $10.00   65.95   $   12.00   $   131.90   $   155.70   $   287.60
 12/1/2019 Manuel Rodriguez Taveras         $10.00   54.93   $   12.00   $   109.87   $    89.60   $   199.47
 12/8/2019 Manuel Rodriguez Taveras         $10.00   65.72   $   12.00   $   131.43   $   154.30   $   285.73
12/15/2019 Manuel Rodriguez Taveras         $10.00   66.47   $   12.00   $   132.93   $   158.80   $   291.73
12/22/2019 Manuel Rodriguez Taveras         $10.00   65.37   $   12.00   $   130.73   $   152.20   $   282.93
12/29/2019 Manuel Rodriguez Taveras         $10.00   51.60   $   12.00   $   103.20   $    69.60   $   172.80
  1/5/2020 Manuel Rodriguez Taveras         $10.00   53.25   $   13.00   $   159.75   $    86.13   $   245.88
 1/12/2020 Manuel Rodriguez Taveras         $10.00   66.35   $   13.00   $   199.05   $   171.28   $   370.33
 1/19/2020 Manuel Rodriguez Taveras         $10.00   66.22   $   13.00   $   198.65   $   170.41   $   369.06
 1/26/2020 Manuel Rodriguez Taveras         $10.00   66.23   $   13.00   $   198.70   $   170.52   $   369.22
 2/18/2018 Marco Zamora                      $9.00   55.67   $   11.00   $   111.33   $    86.17   $   197.50
 2/25/2018 Marco Zamora                      $9.00   68.78   $   11.00   $   137.57   $   158.31   $   295.88
  3/4/2018 Marco Zamora                      $9.00   66.37   $   11.00   $   132.73   $   145.02   $   277.75
 3/25/2018 Marco Zamora                      $9.00   58.10   $   11.00   $   116.20   $    99.55   $   215.75
  4/1/2018 Marco Zamora                      $9.00   65.55   $   11.00   $   131.10   $   140.53   $   271.63
  4/8/2018 Marco Zamora                      $9.00   65.47   $   11.00   $   130.93   $   140.07   $   271.00
 4/15/2018 Marco Zamora                      $9.00   65.58   $   11.00   $   131.17   $   140.71   $   271.88
 4/22/2018 Marco Zamora                      $9.00   65.72   $   11.00   $   131.43   $   141.44   $   272.88
 4/29/2018 Marco Zamora                      $9.00   66.12   $   11.00   $   132.23   $   143.64   $   275.88
  5/6/2018 Marco Zamora                      $9.00   66.78   $   11.00   $   133.57   $   147.31   $   280.88
 5/13/2018 Marco Zamora                      $9.00   66.48   $   11.00   $   132.97   $   145.66   $   278.63
 5/20/2018 Marco Zamora                      $9.00   65.93   $   11.00   $   131.87   $   142.63   $   274.50
 5/27/2018 Marco Zamora                      $9.00   71.10   $   11.00   $   142.20   $   171.05   $   313.25
  7/9/2017 Maximo Polanco                    $9.00   57.20   $   10.00   $    57.20   $    86.00   $   143.20
 7/16/2017 Maximo Polanco                    $9.00   71.65   $   10.00   $    71.65   $   158.25   $   229.90
 7/23/2017 Maximo Polanco                    $9.00   71.90   $   10.00   $    71.90   $   159.50   $   231.40
 7/30/2017 Maximo Polanco                    $9.00   71.45   $   10.00   $    71.45   $   157.25   $   228.70
  8/6/2017 Maximo Polanco                    $9.00   71.35   $   10.00   $    71.35   $   156.75   $   228.10
 8/13/2017 Maximo Polanco                    $9.00   69.97   $   10.00   $    69.97   $   149.83   $   219.80
 8/20/2017 Maximo Polanco                    $9.00   69.75   $   10.00   $    69.75   $   148.75   $   218.50
 8/27/2017 Maximo Polanco                    $9.00   70.32   $   10.00   $    70.32   $   151.58   $   221.90
  9/3/2017 Maximo Polanco                    $9.00   69.70   $   10.00   $    69.70   $   148.50   $   218.20
 9/10/2017 Maximo Polanco                    $9.00   57.88   $   10.00   $    57.88   $    89.42   $   147.30
 9/17/2017 Maximo Polanco                    $9.00   70.65   $   10.00   $    70.65   $   153.25   $   223.90
 9/24/2017 Maximo Polanco                    $9.00   70.25   $   10.00   $    70.25   $   151.25   $   221.50
 10/1/2017 Maximo Polanco                    $9.00   57.88   $   10.00   $    57.88   $    89.42   $   147.30
 10/8/2017 Maximo Polanco                    $9.00   68.92   $   10.00   $    68.92   $   144.58   $   213.50
10/15/2017 Maximo Polanco                    $9.00   71.12   $   10.00   $    71.12   $   155.58   $   226.70
10/22/2017 Maximo Polanco                    $9.00   71.25   $   10.00   $    71.25   $   156.25   $   227.50
10/29/2017 Maximo Polanco                    $9.00   70.60   $   10.00   $    70.60   $   153.00   $   223.60
 11/5/2017 Maximo Polanco                    $9.00   70.23   $   10.00   $    70.23   $   151.17   $   221.40
11/12/2017 Maximo Polanco                    $9.00   60.13   $   10.00   $    60.13   $   100.67   $   160.80
  2/5/2017 Melbin Ramos                     $11.50   66.87   $   10.00                $   154.48   $   154.48



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  Week                                                  State Section 7: Section 7: Total Section 7
                                       Hourly Hours /
 Ending                   Name                        Minimum Regular Half-Time Overtime Back
                                        Rate   Week
  Date                                                 Wage   Rate Due     Due       Wages Due

 2/12/2017 Melbin Ramos                $11.50   51.23   $   10.00          $    64.59   $    64.59
 2/19/2017 Melbin Ramos                $11.50   62.93   $   10.00          $   131.87   $   131.87
 2/26/2017 Melbin Ramos                $11.50   64.00   $   10.00          $   138.00   $   138.00
  3/5/2017 Melbin Ramos                $11.50   63.25   $   10.00          $   133.69   $   133.69
 3/12/2017 Melbin Ramos                $11.50   60.73   $   10.00          $   119.22   $   119.22
 3/19/2017 Melbin Ramos                $11.50   45.67   $   10.00          $    32.58   $    32.58
 3/26/2017 Melbin Ramos                $11.50   65.22   $   10.00          $   145.00   $   145.00
  4/2/2017 Melbin Ramos                $11.50   59.60   $   10.00          $   112.70   $   112.70
  4/9/2017 Melbin Ramos                $11.50   61.48   $   10.00          $   123.53   $   123.53
 4/16/2017 Melbin Ramos                $11.50   63.85   $   10.00          $   137.14   $   137.14
 4/23/2017 Melbin Ramos                $11.50   59.92   $   10.00          $   114.52   $   114.52
 4/30/2017 Melbin Ramos                $11.50   59.52   $   10.00          $   112.22   $   112.22
  5/7/2017 Melbin Ramos                $11.50   62.38   $   10.00          $   128.70   $   128.70
 5/14/2017 Melbin Ramos                $11.50   52.82   $   10.00          $    73.70   $    73.70
 5/21/2017 Melbin Ramos                $11.50   52.80   $   10.00          $    73.60   $    73.60
 5/28/2017 Melbin Ramos                $11.50   64.35   $   10.00          $   140.01   $   140.01
  6/4/2017 Melbin Ramos                $11.50   53.25   $   10.00          $    76.19   $    76.19
 6/11/2017 Melbin Ramos                $11.50   55.67   $   10.00          $    90.08   $    90.08
 6/18/2017 Melbin Ramos                $11.50   61.40   $   10.00          $   123.05   $   123.05
 6/25/2017 Melbin Ramos                $11.50   61.07   $   10.00          $   121.13   $   121.13
  7/2/2017 Melbin Ramos                $11.50   62.90   $   10.00          $   131.68   $   131.68
  7/9/2017 Melbin Ramos                $11.50   52.12   $   10.00          $    69.67   $    69.67
 7/16/2017 Melbin Ramos                $11.50   61.77   $   10.00          $   125.16   $   125.16
 7/23/2017 Melbin Ramos                $11.50   51.02   $   10.00          $    63.35   $    63.35
 7/30/2017 Melbin Ramos                $11.50   63.73   $   10.00          $   136.47   $   136.47
  8/6/2017 Melbin Ramos                $11.50   62.03   $   10.00          $   126.69   $   126.69
 8/13/2017 Melbin Ramos                $11.50   57.30   $   10.00          $    99.48   $    99.48
 8/20/2017 Melbin Ramos                $11.50   53.82   $   10.00          $    79.45   $    79.45
 8/27/2017 Melbin Ramos                $11.50   58.65   $   10.00          $   107.24   $   107.24
  9/3/2017 Melbin Ramos                $11.50   60.03   $   10.00          $   115.19   $   115.19
 9/10/2017 Melbin Ramos                $11.50   42.15   $   10.00          $    12.36   $    12.36
 9/17/2017 Melbin Ramos                $11.00   58.42   $   10.00          $   101.29   $   101.29
 9/24/2017 Melbin Ramos                $11.00   59.88   $   10.00          $   109.36   $   109.36
 10/1/2017 Melbin Ramos                $11.00   56.23   $   10.00          $    89.28   $    89.28
 10/8/2017 Melbin Ramos                $11.00   59.68   $   10.00          $   108.26   $   108.26
10/15/2017 Melbin Ramos                $11.00   58.12   $   10.00          $    99.64   $    99.64
10/22/2017 Melbin Ramos                $11.00   60.93   $   10.00          $   115.13   $   115.13
10/29/2017 Melbin Ramos                $11.00   53.63   $   10.00          $    74.98   $    74.98
 11/5/2017 Melbin Ramos                $11.00   59.38   $   10.00          $   106.61   $   106.61
11/12/2017 Melbin Ramos                $11.00   52.92   $   10.00          $    71.04   $    71.04
11/19/2017 Melbin Ramos                $11.00   59.48   $   10.00          $   107.16   $   107.16
11/26/2017 Melbin Ramos                $11.00   46.43   $   10.00          $    35.38   $    35.38
 12/3/2017 Melbin Ramos                $11.00   57.45   $   10.00          $    95.98   $    95.98
12/10/2017 Melbin Ramos                $11.00   54.68   $   10.00          $    80.76   $    80.76
12/17/2017 Melbin Ramos                $11.00   50.50   $   10.00          $    57.75   $    57.75
12/24/2017 Melbin Ramos                $11.00   58.53   $   10.00          $   101.93   $   101.93
12/31/2017 Melbin Ramos                $11.00   59.93   $   11.00          $   109.63   $   109.63
  1/7/2018 Melbin Ramos                $11.00   46.67   $   11.00          $    36.67   $    36.67
 1/14/2018 Melbin Ramos                $11.00   66.50   $   11.00          $   145.75   $   145.75
 1/21/2018 Melbin Ramos                $11.00   66.17   $   11.00          $   143.92   $   143.92
 1/28/2018 Melbin Ramos                $11.50   53.57   $   11.00          $    78.01   $    78.01



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  Week                                                  State Section 7: Section 7: Total Section 7
                                       Hourly Hours /
 Ending                   Name                        Minimum Regular Half-Time Overtime Back
                                        Rate   Week
  Date                                                 Wage   Rate Due     Due       Wages Due

 2/11/2018 Melbin Ramos                $11.50   64.83   $   11.00               $   142.79   $   142.79
 2/18/2018 Melbin Ramos                $11.50   64.15   $   11.00               $   138.86   $   138.86
 2/25/2018 Melbin Ramos                $11.50   66.55   $   11.00               $   152.66   $   152.66
  3/4/2018 Melbin Ramos                $11.50   66.13   $   11.00               $   150.27   $   150.27
 3/25/2018 Melbin Ramos                $11.50   65.57   $   11.00               $   147.01   $   147.01
  4/1/2018 Melbin Ramos                $11.50   65.88   $   11.00               $   148.83   $   148.83
  4/8/2018 Melbin Ramos                $11.50   63.85   $   11.00               $   137.14   $   137.14
 4/15/2018 Melbin Ramos                $11.50   66.70   $   11.00               $   153.53   $   153.53
 4/29/2018 Melbin Ramos                $11.50   65.85   $   11.00               $   148.64   $   148.64
  5/6/2018 Melbin Ramos                $11.50   68.45   $   11.00               $   163.59   $   163.59
 5/13/2018 Melbin Ramos                $11.50   65.33   $   11.00               $   145.67   $   145.67
 5/20/2018 Melbin Ramos                $11.50   69.08   $   11.00               $   167.23   $   167.23
 5/27/2018 Melbin Ramos                $11.50   74.87   $   11.00               $   200.48   $   200.48
  6/3/2018 Melbin Ramos                $11.50   66.15   $   11.00               $   150.36   $   150.36
 6/10/2018 Melbin Ramos                $11.50   68.05   $   11.00               $   161.29   $   161.29
 6/17/2018 Melbin Ramos                $11.50   66.97   $   11.00               $   155.06   $   155.06
 6/24/2018 Melbin Ramos                $11.50   56.82   $   11.00               $    96.70   $    96.70
  7/1/2018 Melbin Ramos                $11.50   65.50   $   11.00               $   146.63   $   146.63
  7/8/2018 Melbin Ramos                $11.50   55.02   $   11.00               $    86.35   $    86.35
 7/15/2018 Melbin Ramos                $11.50   70.02   $   11.00               $   172.60   $   172.60
 7/22/2018 Melbin Ramos                $11.50   69.78   $   11.00               $   171.25   $   171.25
 7/29/2018 Melbin Ramos                $11.50   77.75   $   11.00               $   217.06   $   217.06
  8/5/2018 Melbin Ramos                $11.50   71.55   $   11.00               $   181.41   $   181.41
 8/12/2018 Melbin Ramos                $11.50   67.82   $   11.00               $   159.95   $   159.95
 8/19/2018 Melbin Ramos                $11.50   69.50   $   11.00               $   169.63   $   169.63
 8/26/2018 Melbin Ramos                $11.50   66.90   $   11.00               $   154.68   $   154.68
  9/2/2018 Melbin Ramos                $11.50   66.75   $   11.00               $   153.81   $   153.81
  9/9/2018 Melbin Ramos                $11.50   62.60   $   11.00               $   129.95   $   129.95
 9/16/2018 Melbin Ramos                $11.50   69.22   $   11.00               $   168.00   $   168.00
 9/23/2018 Melbin Ramos                $11.50   66.98   $   11.00               $   155.15   $   155.15
 9/30/2018 Melbin Ramos                $11.50   76.05   $   11.00               $   207.29   $   207.29
 10/7/2018 Melbin Ramos                $11.50   64.13   $   11.00               $   138.77   $   138.77
10/14/2018 Melbin Ramos                $11.50   64.55   $   11.00               $   141.16   $   141.16
10/21/2018 Melbin Ramos                $11.50   66.85   $   11.00               $   154.39   $   154.39
10/28/2018 Melbin Ramos                $11.50   55.50   $   11.00               $    89.13   $    89.13
 11/4/2018 Melbin Ramos                $11.50   62.78   $   11.00               $   131.00   $   131.00
11/11/2018 Melbin Ramos                $11.50   63.28   $   11.00               $   133.88   $   133.88
11/18/2018 Melbin Ramos                $11.50   62.93   $   11.00               $   131.87   $   131.87
11/25/2018 Melbin Ramos                $11.50   52.73   $   11.00               $    73.22   $    73.22
 12/2/2018 Melbin Ramos                $11.50   56.20   $   11.00               $    93.15   $    93.15
 12/9/2018 Melbin Ramos                $11.50   60.83   $   11.00               $   119.79   $   119.79
12/16/2018 Melbin Ramos                $11.50   63.92   $   11.00               $   137.52   $   137.52
12/23/2018 Melbin Ramos                $11.50   52.53   $   11.00               $    72.07   $    72.07
12/30/2018 Melbin Ramos                $11.50   56.95   $   11.00               $    97.46   $    97.46
  1/6/2019 Melbin Ramos                $11.50   51.87   $   12.00   $   25.93   $    71.20   $    97.13
 1/13/2019 Melbin Ramos                $11.50   64.25   $   12.00   $   32.13   $   145.50   $   177.63
 1/20/2019 Melbin Ramos                $11.50   64.35   $   12.00   $   32.18   $   146.10   $   178.28
 1/27/2019 Melbin Ramos                $11.50   58.80   $   12.00   $   29.40   $   112.80   $   142.20
  2/3/2019 Melbin Ramos                $11.50   40.08   $   12.00   $   20.04   $     0.50   $    20.54
 2/10/2019 Melbin Ramos                $11.50   57.82   $   12.00   $   28.91   $   106.90   $   135.81
 2/17/2019 Melbin Ramos                $11.50   60.10   $   12.00   $   30.05   $   120.60   $   150.65



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  Week                                                      State Section 7: Section 7: Total Section 7
                                           Hourly Hours /
 Ending                       Name                        Minimum Regular Half-Time Overtime Back
                                            Rate   Week
  Date                                                     Wage   Rate Due     Due       Wages Due

 2/24/2019 Melbin Ramos                    $11.50    63.43   $   12.00   $    31.72   $   140.60   $   172.32
  3/3/2019 Melbin Ramos                    $11.50    51.83   $   12.00   $    25.92   $    71.00   $    96.92
 3/10/2019 Melbin Ramos                    $11.50    64.83   $   12.00   $    32.42   $   149.00   $   181.42
 3/17/2019 Melbin Ramos                    $11.50    63.05   $   12.00   $    31.53   $   138.30   $   169.83
 3/24/2019 Melbin Ramos                    $11.50    63.57   $   12.00   $    31.78   $   141.40   $   173.18
 3/31/2019 Melbin Ramos                    $11.50    69.00   $   12.00   $    34.50   $   174.00   $   208.50
  4/7/2019 Melbin Ramos                    $11.50    62.75   $   12.00   $    31.38   $   136.50   $   167.88
 4/14/2019 Melbin Ramos                    $11.50   102.45   $   12.00   $    51.23   $   374.70   $   425.93
 6/11/2017 Michel Ramos                    $12.00    44.65   $   10.00                $    27.90   $    27.90
 6/18/2017 Michel Ramos                    $12.00    50.52   $   10.00                $    63.10   $    63.10
 6/25/2017 Michel Ramos                    $12.00    53.77   $   10.00                $    82.60   $    82.60
  7/2/2017 Michel Ramos                    $12.00    58.70   $   10.00                $   112.20   $   112.20
  7/9/2017 Michel Ramos                    $12.00    47.02   $   10.00                $    42.10   $    42.10
 7/16/2017 Michel Ramos                    $12.00    56.58   $   10.00                $    99.50   $    99.50
 7/23/2017 Michel Ramos                    $12.00    46.72   $   10.00                $    40.30   $    40.30
 7/30/2017 Michel Ramos                    $12.00    56.30   $   10.00                $    97.80   $    97.80
  8/6/2017 Michel Ramos                    $12.00    56.50   $   10.00                $    99.00   $    99.00
 1/26/2020 Miguel Andonaire                $12.00    57.38   $   13.00   $    57.38   $   112.99   $   170.38
 8/19/2018 Miguel Polanco                  $10.00    68.83   $   11.00   $    68.83   $   158.58   $   227.42
 8/26/2018 Miguel Polanco                  $10.00    68.00   $   11.00   $    68.00   $   154.00   $   222.00
  9/2/2018 Miguel Polanco                  $10.00    70.93   $   11.00   $    70.93   $   170.13   $   241.07
  9/9/2018 Miguel Polanco                  $10.00    57.62   $   11.00   $    57.62   $    96.89   $   154.51
 9/16/2018 Miguel Polanco                  $10.00    67.03   $   11.00   $    67.03   $   148.68   $   215.72
 4/28/2019 Miguel Polanco                  $10.00    64.15   $   12.00   $   128.30   $   144.90   $   273.20
  5/5/2019 Miguel Polanco                  $10.00    64.65   $   12.00   $   129.30   $   147.90   $   277.20
 5/12/2019 Miguel Polanco                  $10.00    61.42   $   12.00   $   122.83   $   128.50   $   251.33
 5/19/2019 Miguel Polanco                  $10.00    63.15   $   12.00   $   126.30   $   138.90   $   265.20
 5/26/2019 Miguel Polanco                  $10.00    68.63   $   12.00   $   137.27   $   171.80   $   309.07
  6/2/2019 Miguel Polanco                  $10.00    68.32   $   12.00   $   136.63   $   169.90   $   306.53
  6/9/2019 Miguel Polanco                  $10.00    54.38   $   12.00   $   108.77   $    86.30   $   195.07
 6/16/2019 Miguel Polanco                  $10.00    61.20   $   12.00   $   122.40   $   127.20   $   249.60
 6/23/2019 Miguel Polanco                  $10.00    54.22   $   12.00   $   108.43   $    85.30   $   193.73
 6/30/2019 Miguel Polanco                  $10.00    68.67   $   12.00   $   137.33   $   172.00   $   309.33
  7/7/2019 Miguel Polanco                  $10.50    54.15   $   12.00   $    81.23   $    84.90   $   166.13
 7/14/2019 Miguel Polanco                  $10.50    66.47   $   12.00   $    99.70   $   158.80   $   258.50
 7/21/2019 Miguel Polanco                  $10.50    67.02   $   12.00   $   100.53   $   162.10   $   262.63
 7/28/2019 Miguel Polanco                  $10.50    66.43   $   12.00   $    99.65   $   158.60   $   258.25
  8/4/2019 Miguel Polanco                  $10.50    67.35   $   12.00   $   101.03   $   164.10   $   265.13
 8/11/2019 Miguel Polanco                  $10.50    67.13   $   12.00   $   100.70   $   162.80   $   263.50
 8/18/2019 Miguel Polanco                  $10.50    68.18   $   12.00   $   102.28   $   169.10   $   271.38
 8/25/2019 Miguel Polanco                  $10.50    70.03   $   12.00   $   105.05   $   180.20   $   285.25
  9/1/2019 Miguel Polanco                  $10.50    67.07   $   12.00   $   100.60   $   162.40   $   263.00
  9/8/2019 Miguel Polanco                  $10.50    69.93   $   12.00   $   104.90   $   179.60   $   284.50
 9/15/2019 Miguel Polanco                  $10.50    68.77   $   12.00   $   103.15   $   172.60   $   275.75
 9/22/2019 Miguel Polanco                  $10.50    67.15   $   12.00   $   100.73   $   162.90   $   263.63
 9/29/2019 Miguel Polanco                  $10.50    72.58   $   12.00   $   108.88   $   195.50   $   304.38
 10/6/2019 Miguel Polanco                  $10.50    58.70   $   12.00   $    88.05   $   112.20   $   200.25
10/13/2019 Miguel Polanco                  $10.50    66.77   $   12.00   $   100.15   $   160.60   $   260.75
10/20/2019 Miguel Polanco                  $13.00    57.97   $   12.00                $   116.78   $   116.78
10/27/2019 Miguel Polanco                  $13.00    60.43   $   12.00                $   132.82   $   132.82
 11/3/2019 Miguel Polanco                  $13.00    56.08   $   12.00                $   104.54   $   104.54



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                                          Exhibit 4
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  Week                                                   State Section 7: Section 7: Total Section 7
                                        Hourly Hours /
 Ending                    Name                        Minimum Regular Half-Time Overtime Back
                                         Rate   Week
  Date                                                  Wage   Rate Due     Due       Wages Due

11/10/2019 Miguel Polanco               $13.00   57.83   $   12.00                $   115.92   $   115.92
11/17/2019 Miguel Polanco               $13.00   56.35   $   12.00                $   106.28   $   106.28
11/24/2019 Miguel Polanco               $13.00   58.07   $   12.00                $   117.43   $   117.43
 12/1/2019 Miguel Polanco               $13.00   47.10   $   12.00                $    46.15   $    46.15
 12/8/2019 Miguel Polanco               $13.00   56.63   $   12.00                $   108.12   $   108.12
12/15/2019 Miguel Polanco               $10.50   66.72   $   12.00   $   100.08   $   160.30   $   260.38
12/22/2019 Miguel Polanco               $10.50   54.25   $   12.00   $    81.38   $    85.50   $   166.88
12/29/2019 Miguel Polanco               $10.50   57.42   $   12.00   $    86.13   $   104.50   $   190.63
  1/5/2020 Miguel Polanco               $10.50   55.38   $   13.00   $   138.46   $    99.99   $   238.45
 1/12/2020 Miguel Polanco               $10.50   68.03   $   13.00   $   170.08   $   182.22   $   352.30
 1/19/2020 Miguel Polanco               $10.50   67.67   $   13.00   $   169.17   $   179.83   $   349.00
 1/26/2020 Miguel Polanco               $10.50   66.40   $   13.00   $   166.00   $   171.60   $   337.60
10/20/2019 Miguel Ramirez               $12.00   66.18   $   12.00                $   157.10   $   157.10
10/27/2019 Miguel Ramirez               $12.00   66.98   $   12.00                $   161.90   $   161.90
 11/3/2019 Miguel Ramirez               $12.00   65.92   $   12.00                $   155.50   $   155.50
11/10/2019 Miguel Ramirez               $12.00   69.78   $   12.00                $   178.70   $   178.70
11/17/2019 Miguel Ramirez               $12.00   45.62   $   12.00                $    33.70   $    33.70
11/24/2019 Miguel Ramirez               $12.00   68.28   $   12.00                $   169.70   $   169.70
 12/1/2019 Miguel Ramirez               $12.00   56.85   $   12.00                $   101.10   $   101.10
12/15/2019 Miguel Ramirez               $12.00   64.42   $   12.00                $   146.50   $   146.50
12/22/2019 Miguel Ramirez               $12.00   67.87   $   12.00                $   167.20   $   167.20
12/29/2019 Miguel Ramirez               $12.00   54.05   $   12.00                $    84.30   $    84.30
  1/5/2020 Miguel Ramirez               $12.00   56.43   $   13.00   $    56.43   $   106.82   $   163.25
 1/12/2020 Miguel Ramirez               $12.00   57.62   $   13.00   $    57.62   $   114.51   $   172.13
 1/19/2020 Miguel Ramirez               $12.00   70.50   $   13.00   $    70.50   $   198.25   $   268.75
 1/26/2020 Miguel Ramirez               $12.00   68.50   $   13.00   $    68.50   $   185.25   $   253.75
11/18/2018 Mikael Mota Ramirez          $11.00   50.78   $   11.00                $    59.31   $    59.31
11/25/2018 Mikael Mota Ramirez          $11.00   48.92   $   11.00                $    49.04   $    49.04
 6/25/2017 Nedrick Smith                $10.00   45.60   $   10.00                $    28.00   $    28.00
  7/2/2017 Nedrick Smith                 $9.50   69.98   $   10.00   $    34.99   $   149.92   $   184.91
  7/9/2017 Nedrick Smith                 $9.50   58.25   $   10.00   $    29.13   $    91.25   $   120.38
 7/16/2017 Nedrick Smith                 $9.50   70.47   $   10.00   $    35.23   $   152.33   $   187.57
 7/23/2017 Nedrick Smith                 $9.50   71.12   $   10.00   $    35.56   $   155.58   $   191.14
 7/30/2017 Nedrick Smith                 $9.50   70.97   $   10.00   $    35.48   $   154.83   $   190.32
  8/6/2017 Nedrick Smith                 $9.50   70.52   $   10.00   $    35.26   $   152.58   $   187.84
 8/13/2017 Nedrick Smith                 $9.50   71.00   $   10.00   $    35.50   $   155.00   $   190.50
 8/20/2017 Nedrick Smith                 $9.50   70.80   $   10.00   $    35.40   $   154.00   $   189.40
 8/27/2017 Nedrick Smith                 $9.50   70.65   $   10.00   $    35.33   $   153.25   $   188.58
  9/3/2017 Nedrick Smith                 $9.50   70.85   $   10.00   $    35.43   $   154.25   $   189.68
 9/10/2017 Nedrick Smith                 $9.50   58.53   $   10.00   $    29.27   $    92.67   $   121.93
 9/17/2017 Nedrick Smith                 $9.50   71.42   $   10.00   $    35.71   $   157.08   $   192.79
 9/24/2017 Nedrick Smith                 $9.50   71.05   $   10.00   $    35.53   $   155.25   $   190.78
 10/1/2017 Nedrick Smith                 $9.50   71.37   $   10.00   $    35.68   $   156.83   $   192.52
 10/8/2017 Nedrick Smith                 $9.50   71.25   $   10.00   $    35.63   $   156.25   $   191.88
10/15/2017 Nedrick Smith                 $9.50   71.42   $   10.00   $    35.71   $   157.08   $   192.79
10/22/2017 Nedrick Smith                 $9.50   71.47   $   10.00   $    35.73   $   157.33   $   193.07
10/29/2017 Nedrick Smith                 $9.50   71.38   $   10.00   $    35.69   $   156.92   $   192.61
 11/5/2017 Nedrick Smith                 $9.50   71.02   $   10.00   $    35.51   $   155.08   $   190.59
11/12/2017 Nedrick Smith                 $9.50   71.57   $   10.00   $    35.78   $   157.83   $   193.62
11/19/2017 Nedrick Smith                 $9.50   60.83   $   10.00   $    30.42   $   104.17   $   134.58
11/26/2017 Nedrick Smith                 $9.50   59.38   $   10.00   $    29.69   $    96.92   $   126.61



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                                          Exhibit 4
                                  Westchester Computations


  Week                                                   State Section 7: Section 7: Total Section 7
                                        Hourly Hours /
 Ending                    Name                        Minimum Regular Half-Time Overtime Back
                                         Rate   Week
  Date                                                  Wage   Rate Due     Due       Wages Due

 12/3/2017 Nedrick Smith                 $9.50   64.72   $   10.00   $    32.36   $   123.58   $   155.94
12/10/2017 Nedrick Smith                 $9.50   71.13   $   10.00   $    35.57   $   155.67   $   191.23
12/17/2017 Nedrick Smith                 $9.50   71.52   $   10.00   $    35.76   $   157.58   $   193.34
12/24/2017 Nedrick Smith                 $9.50   70.72   $   10.00   $    35.36   $   153.58   $   188.94
12/31/2017 Nedrick Smith                 $9.50   58.78   $   11.00   $    88.18   $   103.31   $   191.48
  1/7/2018 Nedrick Smith                 $9.50   40.92   $   11.00   $    61.38   $     5.04   $    66.42
 1/14/2018 Nedrick Smith                 $9.50   61.53   $   11.00   $    92.30   $   118.43   $   210.73
 1/21/2018 Nedrick Smith                 $9.50   69.47   $   11.00   $   104.20   $   162.07   $   266.27
 1/28/2018 Nedrick Smith                 $9.50   71.65   $   11.00   $   107.48   $   174.08   $   281.55
  2/4/2018 Nedrick Smith                 $9.50   71.12   $   11.00   $   106.68   $   171.14   $   277.82
 2/11/2018 Nedrick Smith                 $9.50   71.23   $   11.00   $   106.85   $   171.78   $   278.63
 2/18/2018 Nedrick Smith                 $9.50   69.28   $   11.00   $   103.93   $   161.06   $   264.98
 2/25/2018 Nedrick Smith                 $9.50   68.80   $   11.00   $   103.20   $   158.40   $   261.60
  3/4/2018 Nedrick Smith                 $9.50   71.25   $   11.00   $   106.88   $   171.88   $   278.75
 3/25/2018 Nedrick Smith                 $9.50   67.50   $   11.00   $   101.25   $   151.25   $   252.50
  4/1/2018 Nedrick Smith                 $9.50   57.07   $   11.00   $    85.60   $    93.87   $   179.47
  4/8/2018 Nedrick Smith                 $9.50   69.72   $   11.00   $   104.58   $   163.44   $   268.02
 4/15/2018 Nedrick Smith                 $9.50   72.38   $   11.00   $   108.58   $   178.11   $   286.68
 4/22/2018 Nedrick Smith                 $9.50   72.37   $   11.00   $   108.55   $   178.02   $   286.57
 4/29/2018 Nedrick Smith                 $9.50   72.30   $   11.00   $   108.45   $   177.65   $   286.10
  5/6/2018 Nedrick Smith                 $9.50   73.32   $   11.00   $   109.98   $   183.24   $   293.22
 5/13/2018 Nedrick Smith                 $9.50   72.02   $   11.00   $   108.03   $   176.09   $   284.12
 5/20/2018 Nedrick Smith                 $9.50   72.75   $   11.00   $   109.13   $   180.13   $   289.25
 5/27/2018 Nedrick Smith                 $9.50   73.18   $   11.00   $   109.78   $   182.51   $   292.28
  6/3/2018 Nedrick Smith                 $9.50   60.65   $   11.00   $    90.98   $   113.58   $   204.55
 6/10/2018 Nedrick Smith                 $9.50   73.27   $   11.00   $   109.90   $   182.97   $   292.87
 6/17/2018 Nedrick Smith                 $9.50   72.78   $   11.00   $   109.18   $   180.31   $   289.48
 6/24/2018 Nedrick Smith                 $9.50   73.27   $   11.00   $   109.90   $   182.97   $   292.87
  7/1/2018 Nedrick Smith                 $9.50   73.92   $   11.00   $   110.88   $   186.54   $   297.42
  7/8/2018 Nedrick Smith                 $9.50   60.50   $   11.00   $    90.75   $   112.75   $   203.50
 7/15/2018 Nedrick Smith                 $9.50   72.83   $   11.00   $   109.25   $   180.58   $   289.83
 7/22/2018 Nedrick Smith                 $9.50   70.82   $   11.00   $   106.23   $   169.49   $   275.72
 7/29/2018 Nedrick Smith                 $9.50   72.48   $   11.00   $   108.73   $   178.66   $   287.38
  8/5/2018 Nedrick Smith                 $9.50   72.55   $   11.00   $   108.83   $   179.03   $   287.85
 8/12/2018 Nedrick Smith                 $9.50   72.72   $   11.00   $   109.08   $   179.94   $   289.02
 8/19/2018 Nedrick Smith                 $9.50   72.33   $   11.00   $   108.50   $   177.83   $   286.33
 8/26/2018 Nedrick Smith                 $9.50   72.92   $   11.00   $   109.38   $   181.04   $   290.42
  9/2/2018 Nedrick Smith                 $9.50   72.60   $   11.00   $   108.90   $   179.30   $   288.20
  9/9/2018 Nedrick Smith                 $9.50   60.02   $   11.00   $    90.03   $   110.09   $   200.12
 9/16/2018 Nedrick Smith                 $9.50   70.22   $   11.00   $   105.33   $   166.19   $   271.52
 9/23/2018 Nedrick Smith                 $9.50   72.78   $   11.00   $   109.18   $   180.31   $   289.48
 9/30/2018 Nedrick Smith                 $9.50   72.50   $   11.00   $   108.75   $   178.75   $   287.50
 10/7/2018 Nedrick Smith                 $9.50   72.65   $   11.00   $   108.98   $   179.58   $   288.55
10/14/2018 Nedrick Smith                 $9.50   61.93   $   11.00   $    92.90   $   120.63   $   213.53
10/21/2018 Nedrick Smith                 $9.50   59.48   $   11.00   $    89.23   $   107.16   $   196.38
10/28/2018 Nedrick Smith                 $9.50   72.50   $   11.00   $   108.75   $   178.75   $   287.50
 11/4/2018 Nedrick Smith                 $9.50   67.75   $   11.00   $   101.63   $   152.63   $   254.25
11/11/2018 Nedrick Smith                 $9.50   73.05   $   11.00   $   109.58   $   181.78   $   291.35
11/18/2018 Nedrick Smith                 $9.50   70.68   $   11.00   $   106.03   $   168.76   $   274.78
11/25/2018 Nedrick Smith                 $9.50   59.60   $   11.00   $    89.40   $   107.80   $   197.20
 12/2/2018 Nedrick Smith                 $9.50   72.52   $   11.00   $   108.78   $   178.84   $   287.62



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                                                    Exhibit 4
                                            Westchester Computations


  Week                                                             State Section 7: Section 7: Total Section 7
                                                  Hourly Hours /
 Ending                     Name                                 Minimum Regular Half-Time Overtime Back
                                                   Rate   Week
  Date                                                            Wage   Rate Due     Due       Wages Due

 2/10/2019 Nedrick Smith                           $9.50   69.88   $   12.00   $   174.71   $   179.30   $   354.01
 8/18/2019 Nedrick Smith                          $10.50   59.63   $   12.00   $    89.45   $   117.80   $   207.25
 8/25/2019 Nedrick Smith                          $10.50   60.67   $   12.00   $    91.00   $   124.00   $   215.00
  9/1/2019 Nedrick Smith                          $10.50   82.85   $   12.00   $   124.28   $   257.10   $   381.38
  9/8/2019 Nedrick Smith                          $10.50   57.37   $   12.00   $    86.05   $   104.20   $   190.25
 9/15/2019 Nedrick Smith                          $10.50   70.53   $   12.00   $   105.80   $   183.20   $   289.00
 9/22/2019 Nedrick Smith                          $10.50   71.03   $   12.00   $   106.55   $   186.20   $   292.75
 9/29/2019 Nedrick Smith                          $10.50   71.63   $   12.00   $   107.45   $   189.80   $   297.25
 10/6/2019 Nedrick Smith                          $10.50   71.45   $   12.00   $   107.18   $   188.70   $   295.88
10/13/2019 Nedrick Smith                          $10.50   70.20   $   12.00   $   105.30   $   181.20   $   286.50
10/20/2019 Nedrick Smith                          $10.50   64.72   $   12.00   $    97.08   $   148.30   $   245.38
10/27/2019 Nedrick Smith                          $10.50   64.77   $   12.00   $    97.15   $   148.60   $   245.75
 11/3/2019 Nedrick Smith                          $10.50   67.83   $   12.00   $   101.75   $   167.00   $   268.75
11/10/2019 Nedrick Smith                          $10.50   67.43   $   12.00   $   101.15   $   164.60   $   265.75
11/17/2019 Nedrick Smith                          $10.50   68.35   $   12.00   $   102.53   $   170.10   $   272.63
11/24/2019 Nedrick Smith                          $10.50   57.52   $   12.00   $    86.28   $   105.10   $   191.38
 12/1/2019 Nedrick Smith                          $10.50   54.90   $   12.00   $    82.35   $    89.40   $   171.75
 12/8/2019 Nedrick Smith                          $10.50   66.12   $   12.00   $    99.18   $   156.70   $   255.88
12/15/2019 Nedrick Smith                          $10.50   58.53   $   12.00   $    87.80   $   111.20   $   199.00
12/22/2019 Nedrick Smith                          $10.50   63.38   $   12.00   $    95.08   $   140.30   $   235.38
  1/5/2020 Nedrick Smith                          $10.50   56.38   $   13.00   $   140.96   $   106.49   $   247.45
 1/12/2020 Nedrick Smith                          $10.50   69.28   $   13.00   $   173.21   $   190.34   $   363.55
 1/19/2020 Nedrick Smith                          $10.50   69.13   $   13.00   $   172.83   $   189.37   $   362.20
 1/26/2020 Nedrick Smith                          $10.50   65.47   $   13.00   $   163.67   $   165.53   $   329.20
  2/5/2017 Nelson Enrique Carbajal Garcia         $10.50   59.28   $   10.00                $   101.24   $   101.24
 2/12/2017 Nelson Enrique Carbajal Garcia         $10.50   48.43   $   10.00                $    44.28   $    44.28
 2/19/2017 Nelson Enrique Carbajal Garcia         $10.50   59.15   $   10.00                $   100.54   $   100.54
 2/26/2017 Nelson Enrique Carbajal Garcia         $10.50   59.20   $   10.00                $   100.80   $   100.80
  3/5/2017 Nelson Enrique Carbajal Garcia         $10.50   58.30   $   10.00                $    96.08   $    96.08
 3/12/2017 Nelson Enrique Carbajal Garcia         $10.50   58.58   $   10.00                $    97.56   $    97.56
 3/19/2017 Nelson Enrique Carbajal Garcia         $10.50   49.12   $   10.00                $    47.86   $    47.86
 3/26/2017 Nelson Enrique Carbajal Garcia         $10.50   59.27   $   10.00                $   101.15   $   101.15
  4/2/2017 Nelson Enrique Carbajal Garcia         $10.50   53.03   $   10.00                $    68.43   $    68.43
  4/9/2017 Nelson Enrique Carbajal Garcia         $10.50   58.33   $   10.00                $    96.25   $    96.25
 4/16/2017 Nelson Enrique Carbajal Garcia         $10.50   58.28   $   10.00                $    95.99   $    95.99
 4/23/2017 Nelson Enrique Carbajal Garcia         $10.50   57.77   $   10.00                $    93.28   $    93.28
 4/30/2017 Nelson Enrique Carbajal Garcia         $10.50   58.73   $   10.00                $    98.35   $    98.35
  5/7/2017 Nelson Enrique Carbajal Garcia         $10.50   58.62   $   10.00                $    97.74   $    97.74
 5/14/2017 Nelson Enrique Carbajal Garcia         $10.50   57.53   $   10.00                $    92.05   $    92.05
 5/21/2017 Nelson Enrique Carbajal Garcia         $10.50   58.48   $   10.00                $    97.04   $    97.04
 5/28/2017 Nelson Enrique Carbajal Garcia         $10.50   57.77   $   10.00                $    93.28   $    93.28
  6/4/2017 Nelson Enrique Carbajal Garcia         $10.50   47.58   $   10.00                $    39.81   $    39.81
 6/11/2017 Nelson Enrique Carbajal Garcia         $10.50   57.48   $   10.00                $    91.79   $    91.79
 6/18/2017 Nelson Enrique Carbajal Garcia         $10.50   57.33   $   10.00                $    91.00   $    91.00
 6/25/2017 Nelson Enrique Carbajal Garcia         $10.50   57.43   $   10.00                $    91.53   $    91.53
  7/2/2017 Nelson Enrique Carbajal Garcia         $10.50   57.83   $   10.00                $    93.63   $    93.63
  7/9/2017 Nelson Enrique Carbajal Garcia         $10.50   47.10   $   10.00                $    37.28   $    37.28
  8/6/2017 Nelson Enrique Carbajal Garcia         $10.50   59.55   $   10.00                $   102.64   $   102.64
 8/13/2017 Nelson Enrique Carbajal Garcia         $10.50   60.67   $   10.00                $   108.50   $   108.50
 8/20/2017 Nelson Enrique Carbajal Garcia         $10.50   60.47   $   10.00                $   107.45   $   107.45
 8/27/2017 Nelson Enrique Carbajal Garcia         $10.50   60.77   $   10.00                $   109.03   $   109.03



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                                                    Exhibit 4
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  Week                                                             State Section 7: Section 7: Total Section 7
                                                  Hourly Hours /
 Ending                     Name                                 Minimum Regular Half-Time Overtime Back
                                                   Rate   Week
  Date                                                            Wage   Rate Due     Due       Wages Due

  9/3/2017 Nelson Enrique Carbajal Garcia         $10.50   64.20   $   10.00               $   127.05   $   127.05
 9/10/2017 Nelson Enrique Carbajal Garcia         $10.50   53.67   $   10.00               $    71.75   $    71.75
 9/17/2017 Nelson Enrique Carbajal Garcia         $10.50   60.83   $   10.00               $   109.38   $   109.38
 9/24/2017 Nelson Enrique Carbajal Garcia         $10.50   64.47   $   10.00               $   128.45   $   128.45
 10/1/2017 Nelson Enrique Carbajal Garcia         $10.50   60.45   $   10.00               $   107.36   $   107.36
 10/8/2017 Nelson Enrique Carbajal Garcia         $10.50   63.45   $   10.00               $   123.11   $   123.11
10/15/2017 Nelson Enrique Carbajal Garcia         $10.50   55.55   $   10.00               $    81.64   $    81.64
10/22/2017 Nelson Enrique Carbajal Garcia         $10.50   65.45   $   10.00               $   133.61   $   133.61
10/29/2017 Nelson Enrique Carbajal Garcia         $10.50   67.00   $   10.00               $   141.75   $   141.75
 11/5/2017 Nelson Enrique Carbajal Garcia         $10.50   66.20   $   10.00               $   137.55   $   137.55
11/12/2017 Nelson Enrique Carbajal Garcia         $10.50   66.28   $   10.00               $   137.99   $   137.99
11/19/2017 Nelson Enrique Carbajal Garcia         $10.50   66.72   $   10.00               $   140.26   $   140.26
11/26/2017 Nelson Enrique Carbajal Garcia         $10.50   54.78   $   10.00               $    77.61   $    77.61
 12/3/2017 Nelson Enrique Carbajal Garcia         $10.50   66.85   $   10.00               $   140.96   $   140.96
12/10/2017 Nelson Enrique Carbajal Garcia         $10.50   58.48   $   10.00               $    97.04   $    97.04
12/17/2017 Nelson Enrique Carbajal Garcia         $10.50   66.25   $   10.00               $   137.81   $   137.81
12/24/2017 Nelson Enrique Carbajal Garcia         $10.50   66.72   $   10.00               $   140.26   $   140.26
12/31/2017 Nelson Enrique Carbajal Garcia         $10.50   48.60   $   11.00   $   24.30   $    47.30   $    71.60
  1/7/2018 Nelson Enrique Carbajal Garcia         $10.50   42.95   $   11.00   $   21.48   $    16.23   $    37.70
 1/14/2018 Nelson Enrique Carbajal Garcia         $10.50   62.78   $   11.00   $   31.39   $   125.31   $   156.70
 1/21/2018 Nelson Enrique Carbajal Garcia         $10.50   67.60   $   11.00   $   33.80   $   151.80   $   185.60
 1/28/2018 Nelson Enrique Carbajal Garcia         $12.00   67.43   $   11.00               $   164.60   $   164.60
  2/4/2018 Nelson Enrique Carbajal Garcia         $12.00   58.57   $   11.00               $   111.40   $   111.40
 2/11/2018 Nelson Enrique Carbajal Garcia         $12.00   62.68   $   11.00               $   136.10   $   136.10
 2/18/2018 Nelson Enrique Carbajal Garcia         $12.00   62.65   $   11.00               $   135.90   $   135.90
 2/25/2018 Nelson Enrique Carbajal Garcia         $12.00   62.80   $   11.00               $   136.80   $   136.80
  3/4/2018 Nelson Enrique Carbajal Garcia         $12.00   52.03   $   11.00               $    72.20   $    72.20
 3/25/2018 Nelson Enrique Carbajal Garcia         $12.00   51.88   $   11.00               $    71.30   $    71.30
  4/1/2018 Nelson Enrique Carbajal Garcia         $12.00   67.53   $   11.00               $   165.20   $   165.20
  4/8/2018 Nelson Enrique Carbajal Garcia         $12.00   65.93   $   11.00               $   155.60   $   155.60
 4/15/2018 Nelson Enrique Carbajal Garcia         $12.00   65.80   $   11.00               $   154.80   $   154.80
 4/22/2018 Nelson Enrique Carbajal Garcia         $12.00   67.43   $   11.00               $   164.60   $   164.60
 4/29/2018 Nelson Enrique Carbajal Garcia         $12.00   67.45   $   11.00               $   164.70   $   164.70
  5/6/2018 Nelson Enrique Carbajal Garcia         $12.00   64.52   $   11.00               $   147.10   $   147.10
 5/13/2018 Nelson Enrique Carbajal Garcia         $12.50   55.60   $   11.00               $    97.50   $    97.50
 5/20/2018 Nelson Enrique Carbajal Garcia         $12.50   65.73   $   11.00               $   160.83   $   160.83
 5/27/2018 Nelson Enrique Carbajal Garcia         $12.50   70.15   $   11.00               $   188.44   $   188.44
  6/3/2018 Nelson Enrique Carbajal Garcia         $12.50   64.37   $   11.00               $   152.29   $   152.29
 6/10/2018 Nelson Enrique Carbajal Garcia         $12.50   66.63   $   11.00               $   166.46   $   166.46
 6/17/2018 Nelson Enrique Carbajal Garcia         $12.50   66.27   $   11.00               $   164.17   $   164.17
 6/24/2018 Nelson Enrique Carbajal Garcia         $12.50   65.15   $   11.00               $   157.19   $   157.19
  7/1/2018 Nelson Enrique Carbajal Garcia         $12.50   65.67   $   11.00               $   160.42   $   160.42
  7/8/2018 Nelson Enrique Carbajal Garcia         $12.50   55.17   $   11.00               $    94.79   $    94.79
 7/15/2018 Nelson Enrique Carbajal Garcia         $12.50   65.82   $   11.00               $   161.35   $   161.35
 7/29/2018 Nelson Enrique Carbajal Garcia         $12.50   58.28   $   11.00               $   114.27   $   114.27
  8/5/2018 Nelson Enrique Carbajal Garcia         $12.50   70.58   $   11.00               $   191.15   $   191.15
 8/12/2018 Nelson Enrique Carbajal Garcia         $12.50   67.22   $   11.00               $   170.10   $   170.10
 8/19/2018 Nelson Enrique Carbajal Garcia         $12.50   60.03   $   11.00               $   125.21   $   125.21
 8/26/2018 Nelson Enrique Carbajal Garcia         $12.50   59.77   $   11.00               $   123.54   $   123.54
  9/2/2018 Nelson Enrique Carbajal Garcia         $12.50   72.28   $   11.00               $   201.77   $   201.77
  9/9/2018 Nelson Enrique Carbajal Garcia         $12.50   66.48   $   11.00               $   165.52   $   165.52



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                                                    Exhibit 4
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  Week                                                             State Section 7: Section 7: Total Section 7
                                                  Hourly Hours /
 Ending                     Name                                 Minimum Regular Half-Time Overtime Back
                                                   Rate   Week
  Date                                                            Wage   Rate Due     Due       Wages Due

 9/23/2018 Nelson Enrique Carbajal Garcia         $12.50   67.02   $   11.00                $   168.85   $   168.85
 9/30/2018 Nelson Enrique Carbajal Garcia         $12.50   63.60   $   11.00                $   147.50   $   147.50
 10/7/2018 Nelson Enrique Carbajal Garcia         $12.50   62.70   $   11.00                $   141.88   $   141.88
10/14/2018 Nelson Enrique Carbajal Garcia         $12.50   66.08   $   11.00                $   163.02   $   163.02
10/21/2018 Nelson Enrique Carbajal Garcia         $12.50   59.27   $   11.00                $   120.42   $   120.42
10/28/2018 Nelson Enrique Carbajal Garcia         $12.50   69.13   $   11.00                $   182.08   $   182.08
 11/4/2018 Nelson Enrique Carbajal Garcia         $12.50   57.02   $   11.00                $   106.35   $   106.35
11/11/2018 Nelson Enrique Carbajal Garcia         $12.50   66.50   $   11.00                $   165.63   $   165.63
11/18/2018 Nelson Enrique Carbajal Garcia         $12.50   60.77   $   11.00                $   129.79   $   129.79
11/25/2018 Nelson Enrique Carbajal Garcia         $12.50   55.43   $   11.00                $    96.46   $    96.46
 12/2/2018 Nelson Enrique Carbajal Garcia         $12.50   68.57   $   11.00                $   178.54   $   178.54
 12/9/2018 Nelson Enrique Carbajal Garcia         $12.50   65.43   $   11.00                $   158.96   $   158.96
12/16/2018 Nelson Enrique Carbajal Garcia         $12.50   64.77   $   11.00                $   154.79   $   154.79
12/23/2018 Nelson Enrique Carbajal Garcia         $12.50   54.02   $   11.00                $    87.60   $    87.60
12/30/2018 Nelson Enrique Carbajal Garcia         $12.50   50.45   $   11.00                $    65.31   $    65.31
  1/6/2019 Nelson Enrique Carbajal Garcia         $12.50   42.63   $   12.00                $    16.46   $    16.46
 1/13/2019 Nelson Enrique Carbajal Garcia         $12.50   66.10   $   12.00                $   163.13   $   163.13
 1/20/2019 Nelson Enrique Carbajal Garcia         $12.50   64.72   $   12.00                $   154.48   $   154.48
 1/27/2019 Nelson Enrique Carbajal Garcia         $12.50   68.33   $   12.00                $   177.08   $   177.08
  2/3/2019 Nelson Enrique Carbajal Garcia         $12.50   62.77   $   12.00                $   142.29   $   142.29
 2/10/2019 Nelson Enrique Carbajal Garcia         $12.50   51.18   $   12.00                $    69.90   $    69.90
 2/17/2019 Nelson Enrique Carbajal Garcia         $12.50   62.42   $   12.00                $   140.10   $   140.10
 2/24/2019 Nelson Enrique Carbajal Garcia         $12.50   60.65   $   12.00                $   129.06   $   129.06
  3/3/2019 Nelson Enrique Carbajal Garcia         $12.50   62.03   $   12.00                $   137.71   $   137.71
 3/10/2019 Nelson Enrique Carbajal Garcia         $12.50   61.50   $   12.00                $   134.38   $   134.38
 3/17/2019 Nelson Enrique Carbajal Garcia         $12.50   65.80   $   12.00                $   161.25   $   161.25
 3/24/2019 Nelson Enrique Carbajal Garcia         $12.50   61.75   $   12.00                $   135.94   $   135.94
 3/31/2019 Nelson Enrique Carbajal Garcia         $12.50   54.55   $   12.00                $    90.94   $    90.94
  4/7/2019 Nelson Enrique Carbajal Garcia         $12.50   55.85   $   12.00                $    99.06   $    99.06
 4/14/2019 Nelson Enrique Carbajal Garcia         $12.50   51.72   $   12.00                $    73.23   $    73.23
 4/21/2019 Nelson Enrique Carbajal Garcia         $12.50   60.77   $   12.00                $   129.79   $   129.79
 4/28/2019 Nelson Enrique Carbajal Garcia         $12.50   61.00   $   12.00                $   131.25   $   131.25
  5/5/2019 Nelson Enrique Carbajal Garcia         $12.50   62.50   $   12.00                $   140.63   $   140.63
 5/12/2019 Nelson Enrique Carbajal Garcia         $12.50   63.57   $   12.00                $   147.29   $   147.29
 5/19/2019 Nelson Enrique Carbajal Garcia         $12.50   60.97   $   12.00                $   131.04   $   131.04
 5/26/2019 Nelson Enrique Carbajal Garcia         $12.50   63.15   $   12.00                $   144.69   $   144.69
  6/2/2019 Nelson Enrique Carbajal Garcia         $12.50   50.60   $   12.00                $    66.25   $    66.25
  6/9/2019 Nelson Enrique Carbajal Garcia         $12.50   51.72   $   12.00                $    73.23   $    73.23
 6/16/2019 Nelson Enrique Carbajal Garcia         $12.50   50.77   $   12.00                $    67.29   $    67.29
 6/23/2019 Nelson Enrique Carbajal Garcia         $12.50   63.33   $   12.00                $   145.83   $   145.83
 6/30/2019 Nelson Enrique Carbajal Garcia         $12.50   56.85   $   12.00                $   105.31   $   105.31
 7/14/2019 Nelson Enrique Carbajal Garcia         $12.50   57.68   $   12.00                $   110.52   $   110.52
 7/21/2019 Nelson Enrique Carbajal Garcia         $12.50   48.98   $   12.00                $    56.15   $    56.15
 7/28/2019 Nelson Enrique Carbajal Garcia         $12.50   58.48   $   12.00                $   115.52   $   115.52
  8/4/2019 Nelson Enrique Carbajal Garcia         $12.50   49.63   $   12.00                $    60.21   $    60.21
 8/11/2019 Nelson Enrique Carbajal Garcia         $12.50   49.08   $   12.00                $    56.77   $    56.77
 8/18/2019 Nelson Enrique Carbajal Garcia         $12.50   58.98   $   12.00                $   118.65   $   118.65
 3/17/2019 Nelson Salobo - Car Washer              $9.00   59.00   $   12.00   $   177.00   $   114.00   $   291.00
 4/14/2019 Nelson Salobo - Car Washer              $9.00   66.10   $   12.00   $   198.30   $   156.60   $   354.90
 4/21/2019 Nelson Salobo - Car Washer              $9.00   57.65   $   12.00   $   172.95   $   105.90   $   278.85
 4/28/2019 Nelson Salobo - Car Washer              $9.00   70.35   $   12.00   $   211.05   $   182.10   $   393.15



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                                                Exhibit 4
                                        Westchester Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                              Hourly Hours /
 Ending                    Name                              Minimum Regular Half-Time Overtime Back
                                               Rate   Week
  Date                                                        Wage   Rate Due     Due       Wages Due

  5/5/2019 Nelson Salobo - Car Washer          $9.00   71.53   $   12.00   $   214.60   $   189.20   $   403.80
 5/12/2019 Nelson Salobo - Car Washer          $9.00   67.77   $   12.00   $   203.30   $   166.60   $   369.90
 5/19/2019 Nelson Salobo - Car Washer          $9.00   49.53   $   12.00   $   148.60   $    57.20   $   205.80
 5/26/2019 Nelson Salobo - Car Washer          $9.00   62.40   $   12.00   $   187.20   $   134.40   $   321.60
  6/2/2019 Nelson Salobo - Car Washer          $9.00   52.57   $   12.00   $   157.70   $    75.40   $   233.10
10/20/2019 Osman Eduardo Mejia                $10.00   63.63   $   12.00   $   127.27   $   141.80   $   269.07
10/27/2019 Osman Eduardo Mejia                $10.00   63.12   $   12.00   $   126.23   $   138.70   $   264.93
 11/3/2019 Osman Eduardo Mejia                $10.00   64.85   $   12.00   $   129.70   $   149.10   $   278.80
 8/25/2019 Pedro De La Cruz                   $10.00   59.72   $   12.00   $   119.43   $   118.30   $   237.73
  9/1/2019 Pedro De La Cruz                   $10.00   58.78   $   12.00   $   117.57   $   112.70   $   230.27
  9/8/2019 Pedro De La Cruz                   $10.00   47.05   $   12.00   $    94.10   $    42.30   $   136.40
 9/15/2019 Pedro De La Cruz                   $10.00   56.62   $   12.00   $   113.23   $    99.70   $   212.93
 9/22/2019 Pedro De La Cruz                   $10.00   59.15   $   12.00   $   118.30   $   114.90   $   233.20
 9/29/2019 Pedro De La Cruz                   $10.00   58.18   $   12.00   $   116.37   $   109.10   $   225.47
 10/6/2019 Pedro De La Cruz                   $10.00   59.72   $   12.00   $   119.43   $   118.30   $   237.73
10/13/2019 Pedro De La Cruz                   $10.00   58.83   $   12.00   $   117.67   $   113.00   $   230.67
10/20/2019 Pedro De La Cruz                   $10.00   56.72   $   12.00   $   113.43   $   100.30   $   213.73
10/27/2019 Pedro De La Cruz                   $10.00   59.52   $   12.00   $   119.03   $   117.10   $   236.13
 11/3/2019 Pedro De La Cruz                   $10.00   58.80   $   12.00   $   117.60   $   112.80   $   230.40
11/10/2019 Pedro De La Cruz                   $10.00   59.53   $   12.00   $   119.07   $   117.20   $   236.27
11/17/2019 Pedro De La Cruz                   $10.00   58.72   $   12.00   $   117.43   $   112.30   $   229.73
11/24/2019 Pedro De La Cruz                   $10.00   57.47   $   12.00   $   114.93   $   104.80   $   219.73
 12/1/2019 Pedro De La Cruz                   $10.00   46.42   $   12.00   $    92.83   $    38.50   $   131.33
 12/8/2019 Pedro De La Cruz                   $10.00   57.65   $   12.00   $   115.30   $   105.90   $   221.20
12/15/2019 Pedro De La Cruz                   $10.00   58.55   $   12.00   $   117.10   $   111.30   $   228.40
12/22/2019 Pedro De La Cruz                   $10.00   58.25   $   12.00   $   116.50   $   109.50   $   226.00
12/29/2019 Pedro De La Cruz                   $10.00   45.62   $   12.00   $    91.23   $    33.70   $   124.93
  1/5/2020 Pedro De La Cruz                   $10.00   48.15   $   13.00   $   144.45   $    52.98   $   197.43
 1/12/2020 Pedro De La Cruz                   $10.00   60.02   $   13.00   $   180.05   $   130.11   $   310.16
 1/19/2020 Pedro De La Cruz                   $10.00   55.27   $   13.00   $   165.80   $    99.23   $   265.03
 1/26/2020 Pedro De La Cruz                   $10.00   57.35   $   13.00   $   172.05   $   112.78   $   284.83
 1/13/2019 Pedro Hansel Urena                  $9.50   69.70   $   12.00   $   174.25   $   178.20   $   352.45
 1/20/2019 Pedro Hansel Urena                  $9.50   70.03   $   12.00   $   175.08   $   180.20   $   355.28
 1/27/2019 Pedro Hansel Urena                  $9.50   69.50   $   12.00   $   173.75   $   177.00   $   350.75
  2/3/2019 Pedro Hansel Urena                  $9.50   65.03   $   12.00   $   162.58   $   150.20   $   312.78
 2/10/2019 Pedro Hansel Urena                  $9.50   70.72   $   12.00   $   176.79   $   184.30   $   361.09
 2/17/2019 Pedro Hansel Urena                  $9.50   69.52   $   12.00   $   173.79   $   177.10   $   350.89
 2/24/2019 Pedro Hansel Urena                  $9.50   70.22   $   12.00   $   175.54   $   181.30   $   356.84
  3/3/2019 Pedro Hansel Urena                  $9.50   70.30   $   12.00   $   175.75   $   181.80   $   357.55
 3/10/2019 Pedro Hansel Urena                  $9.50   70.38   $   12.00   $   175.96   $   182.30   $   358.26
 3/17/2019 Pedro Hansel Urena                  $9.50   70.67   $   12.00   $   176.67   $   184.00   $   360.67
 3/24/2019 Pedro Hansel Urena                  $9.50   70.25   $   12.00   $   175.63   $   181.50   $   357.13
 3/31/2019 Pedro Hansel Urena                  $9.50   70.27   $   12.00   $   175.67   $   181.60   $   357.27
  4/7/2019 Pedro Hansel Urena                  $9.50   70.37   $   12.00   $   175.92   $   182.20   $   358.12
 4/14/2019 Pedro Hansel Urena                  $9.50   70.33   $   12.00   $   175.83   $   182.00   $   357.83
 4/21/2019 Pedro Hansel Urena                  $9.50   70.63   $   12.00   $   176.58   $   183.80   $   360.38
 4/28/2019 Pedro Hansel Urena                  $9.50   70.35   $   12.00   $   175.88   $   182.10   $   357.98
  5/5/2019 Pedro Hansel Urena                  $9.50   70.68   $   12.00   $   176.71   $   184.10   $   360.81
 5/12/2019 Pedro Hansel Urena                  $9.50   68.05   $   12.00   $   170.13   $   168.30   $   338.43
 5/19/2019 Pedro Hansel Urena                  $9.50   67.73   $   12.00   $   169.33   $   166.40   $   335.73
 5/26/2019 Pedro Hansel Urena                  $9.50   69.73   $   12.00   $   174.33   $   178.40   $   352.73



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                                          Exhibit 4
                                  Westchester Computations


  Week                                                   State Section 7: Section 7: Total Section 7
                                        Hourly Hours /
 Ending                    Name                        Minimum Regular Half-Time Overtime Back
                                         Rate   Week
  Date                                                  Wage   Rate Due     Due       Wages Due

  6/2/2019 Pedro Hansel Urena            $9.50   57.87   $   12.00   $   144.67   $   107.20   $   251.87
  6/9/2019 Pedro Hansel Urena            $9.50   69.47   $   12.00   $   173.67   $   176.80   $   350.47
 6/16/2019 Pedro Hansel Urena            $9.50   68.55   $   12.00   $   171.38   $   171.30   $   342.68
 6/23/2019 Pedro Hansel Urena            $9.50   69.17   $   12.00   $   172.92   $   175.00   $   347.92
 6/30/2019 Pedro Hansel Urena            $9.50   69.23   $   12.00   $   173.08   $   175.40   $   348.48
  7/7/2019 Pedro Hansel Urena           $10.00   56.78   $   12.00   $   113.57   $   100.70   $   214.27
 7/14/2019 Pedro Hansel Urena           $10.00   69.28   $   12.00   $   138.57   $   175.70   $   314.27
 7/21/2019 Pedro Hansel Urena           $10.00   68.83   $   12.00   $   137.67   $   173.00   $   310.67
 7/28/2019 Pedro Hansel Urena           $10.00   69.08   $   12.00   $   138.17   $   174.50   $   312.67
  8/4/2019 Pedro Hansel Urena           $10.00   69.05   $   12.00   $   138.10   $   174.30   $   312.40
 8/11/2019 Pedro Hansel Urena           $10.00   69.08   $   12.00   $   138.17   $   174.50   $   312.67
 8/18/2019 Pedro Hansel Urena           $10.00   69.78   $   12.00   $   139.57   $   178.70   $   318.27
 8/25/2019 Pedro Hansel Urena           $10.00   69.77   $   12.00   $   139.53   $   178.60   $   318.13
  9/1/2019 Pedro Hansel Urena           $10.00   69.78   $   12.00   $   139.57   $   178.70   $   318.27
  9/8/2019 Pedro Hansel Urena           $10.00   57.97   $   12.00   $   115.93   $   107.80   $   223.73
 9/15/2019 Pedro Hansel Urena           $10.00   69.90   $   12.00   $   139.80   $   179.40   $   319.20
 9/22/2019 Pedro Hansel Urena           $10.00   69.33   $   12.00   $   138.67   $   176.00   $   314.67
 9/29/2019 Pedro Hansel Urena           $10.00   69.23   $   12.00   $   138.47   $   175.40   $   313.87
 10/6/2019 Pedro Hansel Urena           $10.00   69.48   $   12.00   $   138.97   $   176.90   $   315.87
10/13/2019 Pedro Hansel Urena           $10.00   68.98   $   12.00   $   137.97   $   173.90   $   311.87
10/20/2019 Pedro Hansel Urena           $13.00   63.38   $   12.00                $   151.99   $   151.99
10/27/2019 Pedro Hansel Urena           $13.00   63.50   $   12.00                $   152.75   $   152.75
 11/3/2019 Pedro Hansel Urena           $13.00   63.47   $   12.00                $   152.53   $   152.53
11/10/2019 Pedro Hansel Urena           $13.00   63.50   $   12.00                $   152.75   $   152.75
11/17/2019 Pedro Hansel Urena           $13.00   63.50   $   12.00                $   152.75   $   152.75
11/24/2019 Pedro Hansel Urena           $13.00   63.42   $   12.00                $   152.21   $   152.21
 12/1/2019 Pedro Hansel Urena           $13.00   52.10   $   12.00                $    78.65   $    78.65
 12/8/2019 Pedro Hansel Urena           $13.00   62.87   $   12.00                $   148.63   $   148.63
12/15/2019 Pedro Hansel Urena           $10.00   69.08   $   12.00   $   138.17   $   174.50   $   312.67
12/22/2019 Pedro Hansel Urena           $10.00   69.28   $   12.00   $   138.57   $   175.70   $   314.27
12/29/2019 Pedro Hansel Urena           $10.00   54.83   $   12.00   $   109.67   $    89.00   $   198.67
  1/5/2020 Pedro Hansel Urena           $10.00   56.57   $   13.00   $   169.70   $   107.68   $   277.38
 1/12/2020 Pedro Hansel Urena           $10.00   69.33   $   13.00   $   208.00   $   190.67   $   398.67
 1/19/2020 Pedro Hansel Urena           $10.00   69.35   $   13.00   $   208.05   $   190.78   $   398.83
 1/26/2020 Pedro Hansel Urena           $10.00   62.27   $   13.00   $   186.80   $   144.73   $   331.53
  2/5/2017 Pedro Lopez                  $12.00   53.62   $   10.00                $    81.70   $    81.70
 2/12/2017 Pedro Lopez                  $12.00   45.52   $   10.00                $    33.10   $    33.10
 2/19/2017 Pedro Lopez                  $12.00   58.73   $   10.00                $   112.40   $   112.40
 2/26/2017 Pedro Lopez                  $12.00   59.57   $   10.00                $   117.40   $   117.40
  3/5/2017 Pedro Lopez                  $12.00   49.18   $   10.00                $    55.10   $    55.10
 3/12/2017 Pedro Lopez                  $12.00   48.05   $   10.00                $    48.30   $    48.30
 3/19/2017 Pedro Lopez                  $12.00   47.25   $   10.00                $    43.50   $    43.50
 3/26/2017 Pedro Lopez                  $12.00   49.57   $   10.00                $    57.40   $    57.40
  4/2/2017 Pedro Lopez                  $12.00   54.00   $   10.00                $    84.00   $    84.00
  4/9/2017 Pedro Lopez                  $12.00   58.93   $   10.00                $   113.60   $   113.60
 4/16/2017 Pedro Lopez                  $12.00   63.80   $   10.00                $   142.80   $   142.80
 4/23/2017 Pedro Lopez                  $12.00   55.50   $   10.00                $    93.00   $    93.00
 4/30/2017 Pedro Lopez                  $12.00   49.98   $   10.00                $    59.90   $    59.90
  5/7/2017 Pedro Lopez                  $12.00   64.07   $   10.00                $   144.40   $   144.40
 5/14/2017 Pedro Lopez                  $12.00   48.12   $   10.00                $    48.70   $    48.70
 5/21/2017 Pedro Lopez                  $12.00   55.52   $   10.00                $    93.10   $    93.10



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  Week                                                 State Section 7: Section 7: Total Section 7
                                      Hourly Hours /
 Ending                  Name                        Minimum Regular Half-Time Overtime Back
                                       Rate   Week
  Date                                                Wage   Rate Due     Due       Wages Due

 5/28/2017 Pedro Lopez                $12.00   63.90   $   10.00              $   143.40   $   143.40
  6/4/2017 Pedro Lopez                $12.00   52.83   $   10.00              $    77.00   $    77.00
 6/11/2017 Pedro Lopez                $12.00   50.42   $   10.00              $    62.50   $    62.50
 6/18/2017 Pedro Lopez                $12.00   61.52   $   10.00              $   129.10   $   129.10
 6/25/2017 Pedro Lopez                $12.00   52.88   $   10.00              $    77.30   $    77.30
  7/2/2017 Pedro Lopez                $12.00   59.73   $   10.00              $   118.40   $   118.40
  7/9/2017 Pedro Lopez                $12.00   53.28   $   10.00              $    79.70   $    79.70
 7/16/2017 Pedro Lopez                $12.00   51.45   $   10.00              $    68.70   $    68.70
 7/23/2017 Pedro Lopez                $12.00   60.95   $   10.00              $   125.70   $   125.70
 7/30/2017 Pedro Lopez                $12.00   59.42   $   10.00              $   116.50   $   116.50
  8/6/2017 Pedro Lopez                $12.00   52.70   $   10.00              $    76.20   $    76.20
 8/13/2017 Pedro Lopez                $12.00   62.63   $   10.00              $   135.80   $   135.80
 8/20/2017 Pedro Lopez                $12.00   64.83   $   10.00              $   149.00   $   149.00
 8/27/2017 Pedro Lopez                $12.00   60.85   $   10.00              $   125.10   $   125.10
  9/3/2017 Pedro Lopez                $12.00   60.00   $   10.00              $   120.00   $   120.00
 9/10/2017 Pedro Lopez                $12.00   46.58   $   10.00              $    39.50   $    39.50
 9/17/2017 Pedro Lopez                $12.00   63.98   $   10.00              $   143.90   $   143.90
 9/24/2017 Pedro Lopez                $12.00   68.33   $   10.00              $   170.00   $   170.00
 10/1/2017 Pedro Lopez                $12.00   61.10   $   10.00              $   126.60   $   126.60
 10/8/2017 Pedro Lopez                $12.00   55.62   $   10.00              $    93.70   $    93.70
10/15/2017 Pedro Lopez                $12.00   71.05   $   10.00              $   186.30   $   186.30
10/22/2017 Pedro Lopez                $12.00   57.27   $   10.00              $   103.60   $   103.60
10/29/2017 Pedro Lopez                $12.00   71.50   $   10.00              $   189.00   $   189.00
 11/5/2017 Pedro Lopez                $12.00   56.00   $   10.00              $    96.00   $    96.00
11/12/2017 Pedro Lopez                $12.00   55.27   $   10.00              $    91.60   $    91.60
11/19/2017 Pedro Lopez                $12.00   71.47   $   10.00              $   188.80   $   188.80
11/26/2017 Pedro Lopez                $12.00   42.57   $   10.00              $    15.40   $    15.40
 12/3/2017 Pedro Lopez                $12.00   72.88   $   10.00              $   197.30   $   197.30
12/10/2017 Pedro Lopez                $12.00   71.20   $   10.00              $   187.20   $   187.20
12/24/2017 Pedro Lopez                $12.00   59.82   $   10.00              $   118.90   $   118.90
 6/16/2019 Puro Perez                 $10.50   60.53   $   12.00   $ 90.80    $   123.20   $   214.00
 6/23/2019 Puro Perez                 $10.50   56.47   $   12.00   $ 84.70    $    98.80   $   183.50
 6/30/2019 Puro Perez                 $10.50   72.87   $   12.00   $ 109.30   $   197.20   $   306.50
  7/7/2019 Puro Perez                 $10.50   47.88   $   12.00   $ 71.83    $    47.30   $   119.13
 7/14/2019 Puro Perez                 $10.50   63.00   $   12.00   $ 94.50    $   138.00   $   232.50
 7/21/2019 Puro Perez                 $10.50   61.80   $   12.00   $ 92.70    $   130.80   $   223.50
 7/28/2019 Puro Perez                 $10.50   62.00   $   12.00   $ 93.00    $   132.00   $   225.00
  8/4/2019 Puro Perez                 $10.50   61.88   $   12.00   $ 92.83    $   131.30   $   224.13
 8/11/2019 Puro Perez                 $10.50   61.05   $   12.00   $ 91.58    $   126.30   $   217.88
 8/18/2019 Puro Perez                 $10.50   61.50   $   12.00   $ 92.25    $   129.00   $   221.25
 8/25/2019 Puro Perez                 $10.50   62.13   $   12.00   $ 93.20    $   132.80   $   226.00
 9/22/2019 Puro Perez                 $10.50   40.52   $   12.00   $ 60.78    $     3.10   $    63.88
 9/29/2019 Puro Perez                 $10.50   68.60   $   12.00   $ 102.90   $   171.60   $   274.50
 10/6/2019 Puro Perez                 $10.50   62.13   $   12.00   $ 93.20    $   132.80   $   226.00
10/13/2019 Puro Perez                 $10.50   61.25   $   12.00   $ 91.88    $   127.50   $   219.38
10/20/2019 Puro Perez                 $10.50   62.25   $   12.00   $ 93.38    $   133.50   $   226.88
10/27/2019 Puro Perez                 $10.50   66.22   $   12.00   $ 99.33    $   157.30   $   256.63
 11/3/2019 Puro Perez                 $10.50   61.72   $   12.00   $ 92.58    $   130.30   $   222.88
11/10/2019 Puro Perez                 $10.50   61.98   $   12.00   $ 92.98    $   131.90   $   224.88
11/24/2019 Puro Perez                 $10.50   62.03   $   12.00   $ 93.05    $   132.20   $   225.25
 12/1/2019 Puro Perez                 $10.50   51.85   $   12.00   $ 77.78    $    71.10   $   148.88



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  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                     Name                         Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 12/8/2019 Puro Perez                     $10.50   58.25   $   12.00   $    87.38   $   109.50   $   196.88
12/15/2019 Puro Perez                     $10.50   57.18   $   12.00   $    85.78   $   103.10   $   188.88
12/22/2019 Puro Perez                     $10.50   62.03   $   12.00   $    93.05   $   132.20   $   225.25
 12/2/2018 Rafel Cueto-7165                $9.50   43.42   $   11.00   $    65.13   $    18.79   $    83.92
 12/9/2018 Rafel Cueto-7165                $9.50   56.23   $   11.00   $    84.35   $    89.28   $   173.63
12/16/2018 Rafel Cueto-7165                $9.50   56.08   $   11.00   $    84.13   $    88.46   $   172.58
12/23/2018 Rafel Cueto-7165                $9.50   57.55   $   11.00   $    86.33   $    96.53   $   182.85
12/30/2018 Rafel Cueto-7165                $9.50   52.70   $   11.00   $    79.05   $    69.85   $   148.90
 1/20/2019 Rafel Cueto-7165                $9.50   66.58   $   12.00   $   166.46   $   159.50   $   325.96
 1/27/2019 Rafel Cueto-7165                $9.50   44.52   $   12.00   $   111.29   $    27.10   $   138.39
 6/24/2018 Ramon Alberto Ferreria         $10.50   68.52   $   11.00   $    34.26   $   156.84   $   191.10
  7/1/2018 Ramon Alberto Ferreria         $10.50   67.77   $   11.00   $    33.88   $   152.72   $   186.60
  7/8/2018 Ramon Alberto Ferreria         $10.50   56.52   $   11.00   $    28.26   $    90.84   $   119.10
 7/15/2018 Ramon Alberto Ferreria         $10.50   65.85   $   11.00   $    32.93   $   142.18   $   175.10
 7/22/2018 Ramon Alberto Ferreria         $10.50   67.75   $   11.00   $    33.88   $   152.63   $   186.50
 7/29/2018 Ramon Alberto Ferreria         $10.50   67.53   $   11.00   $    33.77   $   151.43   $   185.20
  8/5/2018 Ramon Alberto Ferreria         $10.50   66.80   $   11.00   $    33.40   $   147.40   $   180.80
 8/12/2018 Ramon Alberto Ferreria         $10.50   66.85   $   11.00   $    33.43   $   147.68   $   181.10
 8/19/2018 Ramon Alberto Ferreria         $10.50   54.15   $   11.00   $    27.08   $    77.83   $   104.90
 8/26/2018 Ramon Alberto Ferreria         $10.50   66.38   $   11.00   $    33.19   $   145.11   $   178.30
  9/2/2018 Ramon Alberto Ferreria         $10.50   60.67   $   11.00   $    30.33   $   113.67   $   144.00
  9/9/2018 Ramon Alberto Ferreria         $10.50   54.37   $   11.00   $    27.18   $    79.02   $   106.20
 9/16/2018 Ramon Alberto Ferreria         $10.50   65.95   $   11.00   $    32.98   $   142.73   $   175.70
 9/23/2018 Ramon Alberto Ferreria         $10.50   66.55   $   11.00   $    33.28   $   146.03   $   179.30
 9/30/2018 Ramon Alberto Ferreria         $10.50   66.88   $   11.00   $    33.44   $   147.86   $   181.30
 10/7/2018 Ramon Alberto Ferreria         $10.50   66.43   $   11.00   $    33.22   $   145.38   $   178.60
10/14/2018 Ramon Alberto Ferreria         $10.50   53.08   $   11.00   $    26.54   $    71.96   $    98.50
10/21/2018 Ramon Alberto Ferreria         $10.50   66.13   $   11.00   $    33.07   $   143.73   $   176.80
10/28/2018 Ramon Alberto Ferreria         $10.50   65.72   $   11.00   $    32.86   $   141.44   $   174.30
 11/4/2018 Ramon Alberto Ferreria         $10.50   65.88   $   11.00   $    32.94   $   142.36   $   175.30
11/11/2018 Ramon Alberto Ferreria         $10.50   66.52   $   11.00   $    33.26   $   145.84   $   179.10
11/18/2018 Ramon Alberto Ferreria         $10.50   65.28   $   11.00   $    32.64   $   139.06   $   171.70
11/25/2018 Ramon Alberto Ferreria         $10.50   53.92   $   11.00   $    26.96   $    76.54   $   103.50
 12/2/2018 Ramon Alberto Ferreria         $10.50   65.77   $   11.00   $    32.88   $   141.72   $   174.60
 12/9/2018 Ramon Alberto Ferreria         $10.50   65.82   $   11.00   $    32.91   $   141.99   $   174.90
12/16/2018 Ramon Alberto Ferreria         $10.50   66.75   $   11.00   $    33.38   $   147.13   $   180.50
12/23/2018 Ramon Alberto Ferreria         $10.50   66.90   $   11.00   $    33.45   $   147.95   $   181.40
12/30/2018 Ramon Alberto Ferreria         $10.50   52.63   $   11.00   $    26.32   $    69.48   $    95.80
  1/6/2019 Ramon Alberto Ferreria         $10.50   54.08   $   12.00   $    81.13   $    84.50   $   165.63
 1/13/2019 Ramon Alberto Ferreria         $10.50   66.73   $   12.00   $   100.10   $   160.40   $   260.50
 1/20/2019 Ramon Alberto Ferreria         $10.50   66.58   $   12.00   $    99.88   $   159.50   $   259.38
 1/27/2019 Ramon Alberto Ferreria         $10.50   67.57   $   12.00   $   101.35   $   165.40   $   266.75
  2/3/2019 Ramon Alberto Ferreria         $10.50   67.07   $   12.00   $   100.60   $   162.40   $   263.00
 2/10/2019 Ramon Alberto Ferreria         $10.50   66.35   $   12.00   $    99.53   $   158.10   $   257.63
 2/17/2019 Ramon Alberto Ferreria         $10.50   65.13   $   12.00   $    97.70   $   150.80   $   248.50
 2/24/2019 Ramon Alberto Ferreria         $10.50   65.95   $   12.00   $    98.93   $   155.70   $   254.63
  3/3/2019 Ramon Alberto Ferreria         $10.50   65.77   $   12.00   $    98.65   $   154.60   $   253.25
 3/10/2019 Ramon Alberto Ferreria         $10.50   67.40   $   12.00   $   101.10   $   164.40   $   265.50
 3/17/2019 Ramon Alberto Ferreria         $10.50   66.47   $   12.00   $    99.70   $   158.80   $   258.50
 3/24/2019 Ramon Alberto Ferreria         $10.50   68.02   $   12.00   $   102.03   $   168.10   $   270.13
 3/31/2019 Ramon Alberto Ferreria         $10.50   67.03   $   12.00   $   100.55   $   162.20   $   262.75



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  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                     Name                         Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

  4/7/2019 Ramon Alberto Ferreria         $10.50   67.07   $   12.00   $   100.60   $   162.40   $   263.00
 4/14/2019 Ramon Alberto Ferreria         $10.50   67.70   $   12.00   $   101.55   $   166.20   $   267.75
 4/21/2019 Ramon Alberto Ferreria         $10.50   66.13   $   12.00   $    99.20   $   156.80   $   256.00
 4/28/2019 Ramon Alberto Ferreria         $10.50   68.30   $   12.00   $   102.45   $   169.80   $   272.25
  5/5/2019 Ramon Alberto Ferreria         $10.50   66.90   $   12.00   $   100.35   $   161.40   $   261.75
 5/12/2019 Ramon Alberto Ferreria         $10.50   68.18   $   12.00   $   102.28   $   169.10   $   271.38
 5/19/2019 Ramon Alberto Ferreria         $10.50   68.43   $   12.00   $   102.65   $   170.60   $   273.25
 5/26/2019 Ramon Alberto Ferreria         $10.50   68.15   $   12.00   $   102.23   $   168.90   $   271.13
  6/2/2019 Ramon Alberto Ferreria         $10.50   55.27   $   12.00   $    82.90   $    91.60   $   174.50
  6/9/2019 Ramon Alberto Ferreria         $10.50   67.05   $   12.00   $   100.58   $   162.30   $   262.88
 6/16/2019 Ramon Alberto Ferreria         $10.50   65.50   $   12.00   $    98.25   $   153.00   $   251.25
 6/23/2019 Ramon Alberto Ferreria         $10.50   66.53   $   12.00   $    99.80   $   159.20   $   259.00
 6/30/2019 Ramon Alberto Ferreria         $10.50   67.00   $   12.00   $   100.50   $   162.00   $   262.50
  7/7/2019 Ramon Alberto Ferreria         $10.50   55.35   $   12.00   $    83.03   $    92.10   $   175.13
 7/14/2019 Ramon Alberto Ferreria         $10.50   67.40   $   12.00   $   101.10   $   164.40   $   265.50
 7/21/2019 Ramon Alberto Ferreria         $10.50   67.37   $   12.00   $   101.05   $   164.20   $   265.25
 7/28/2019 Ramon Alberto Ferreria         $10.50   67.30   $   12.00   $   100.95   $   163.80   $   264.75
  8/4/2019 Ramon Alberto Ferreria         $10.50   67.17   $   12.00   $   100.75   $   163.00   $   263.75
 8/11/2019 Ramon Alberto Ferreria         $10.50   66.75   $   12.00   $   100.13   $   160.50   $   260.63
 8/18/2019 Ramon Alberto Ferreria         $10.50   66.93   $   12.00   $   100.40   $   161.60   $   262.00
 8/25/2019 Ramon Alberto Ferreria         $10.50   67.10   $   12.00   $   100.65   $   162.60   $   263.25
  9/1/2019 Ramon Alberto Ferreria         $10.50   65.50   $   12.00   $    98.25   $   153.00   $   251.25
  9/8/2019 Ramon Alberto Ferreria         $10.50   55.25   $   12.00   $    82.88   $    91.50   $   174.38
 9/15/2019 Ramon Alberto Ferreria         $10.50   66.78   $   12.00   $   100.18   $   160.70   $   260.88
 9/22/2019 Ramon Alberto Ferreria         $10.50   65.68   $   12.00   $    98.53   $   154.10   $   252.63
 9/29/2019 Ramon Alberto Ferreria         $10.50   66.75   $   12.00   $   100.13   $   160.50   $   260.63
 10/6/2019 Ramon Alberto Ferreria         $10.50   66.35   $   12.00   $    99.53   $   158.10   $   257.63
10/13/2019 Ramon Alberto Ferreria         $10.50   66.22   $   12.00   $    99.33   $   157.30   $   256.63
10/20/2019 Ramon Alberto Ferreria         $10.50   66.28   $   12.00   $    99.43   $   157.70   $   257.13
10/27/2019 Ramon Alberto Ferreria         $10.50   66.47   $   12.00   $    99.70   $   158.80   $   258.50
 11/3/2019 Ramon Alberto Ferreria         $10.50   66.57   $   12.00   $    99.85   $   159.40   $   259.25
11/10/2019 Ramon Alberto Ferreria         $10.50   66.88   $   12.00   $   100.33   $   161.30   $   261.63
11/17/2019 Ramon Alberto Ferreria         $10.50   67.52   $   12.00   $   101.28   $   165.10   $   266.38
11/24/2019 Ramon Alberto Ferreria         $10.50   52.93   $   12.00   $    79.40   $    77.60   $   157.00
 12/1/2019 Ramon Alberto Ferreria         $10.50   54.90   $   12.00   $    82.35   $    89.40   $   171.75
 12/8/2019 Ramon Alberto Ferreria         $10.50   65.72   $   12.00   $    98.58   $   154.30   $   252.88
12/15/2019 Ramon Alberto Ferreria         $10.50   53.52   $   12.00   $    80.28   $    81.10   $   161.38
12/22/2019 Ramon Alberto Ferreria         $10.50   63.85   $   12.00   $    95.78   $   143.10   $   238.88
12/29/2019 Ramon Alberto Ferreria         $10.50   51.60   $   12.00   $    77.40   $    69.60   $   147.00
  1/5/2020 Ramon Alberto Ferreria         $10.50   53.25   $   13.00   $   133.13   $    86.13   $   219.25
 1/12/2020 Ramon Alberto Ferreria         $10.50   66.32   $   13.00   $   165.79   $   171.06   $   336.85
 1/19/2020 Ramon Alberto Ferreria         $10.50   66.23   $   13.00   $   165.58   $   170.52   $   336.10
 1/26/2020 Ramon Alberto Ferreria         $10.50   66.12   $   13.00   $   165.29   $   169.76   $   335.05
  7/9/2017 Randy Patricio                 $10.00   51.52   $   10.00                $    57.58   $    57.58
 7/16/2017 Randy Patricio                 $10.00   62.07   $   10.00                $   110.33   $   110.33
 7/23/2017 Randy Patricio                 $10.00   63.52   $   10.00                $   117.58   $   117.58
 7/30/2017 Randy Patricio                 $10.00   51.30   $   10.00                $    56.50   $    56.50
  8/6/2017 Randy Patricio                 $10.00   62.48   $   10.00                $   112.42   $   112.42
 8/13/2017 Randy Patricio                 $10.00   60.80   $   10.00                $   104.00   $   104.00
 8/20/2017 Randy Patricio                 $10.00   62.05   $   10.00                $   110.25   $   110.25
 8/27/2017 Randy Patricio                 $10.00   63.75   $   10.00                $   118.75   $   118.75



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  Week                                                    State Section 7: Section 7: Total Section 7
                                         Hourly Hours /
 Ending                     Name                        Minimum Regular Half-Time Overtime Back
                                          Rate   Week
  Date                                                   Wage   Rate Due     Due       Wages Due

  9/3/2017 Randy Patricio                $10.00   63.50   $   10.00               $   117.50   $   117.50
 9/10/2017 Randy Patricio                $10.00   52.63   $   10.00               $    63.17   $    63.17
 9/17/2017 Randy Patricio                $10.00   62.60   $   10.00               $   113.00   $   113.00
 9/24/2017 Randy Patricio                $10.00   64.72   $   10.00               $   123.58   $   123.58
 10/1/2017 Randy Patricio                $10.00   62.85   $   10.00               $   114.25   $   114.25
 10/8/2017 Randy Patricio                $10.00   49.60   $   10.00               $    48.00   $    48.00
10/15/2017 Randy Patricio                $10.00   60.38   $   10.00               $   101.92   $   101.92
10/22/2017 Randy Patricio                $10.00   60.47   $   10.00               $   102.33   $   102.33
10/29/2017 Randy Patricio                $10.00   61.60   $   10.00               $   108.00   $   108.00
 11/5/2017 Randy Patricio                $10.00   58.55   $   10.00               $    92.75   $    92.75
11/12/2017 Randy Patricio                $10.00   52.72   $   10.00               $    63.58   $    63.58
11/19/2017 Randy Patricio                $10.00   64.55   $   10.00               $   122.75   $   122.75
11/26/2017 Randy Patricio                $10.00   56.85   $   10.00               $    84.25   $    84.25
 12/3/2017 Randy Patricio                $10.00   68.18   $   10.00               $   140.92   $   140.92
12/10/2017 Randy Patricio                $10.00   65.12   $   10.00               $   125.58   $   125.58
12/17/2017 Randy Patricio                $10.00   69.08   $   10.00               $   145.42   $   145.42
12/24/2017 Randy Patricio                $10.00   58.60   $   10.00               $    93.00   $    93.00
 1/21/2018 Randy Patricio                $10.00   58.35   $   11.00   $   58.35   $   100.93   $   159.28
 1/28/2018 Randy Patricio                $10.00   48.13   $   11.00   $   48.13   $    44.73   $    92.87
  2/4/2018 Randy Patricio                $10.00   61.28   $   11.00   $   61.28   $   117.06   $   178.34
 2/11/2018 Randy Patricio                $10.00   50.50   $   11.00   $   50.50   $    57.75   $   108.25
 2/18/2018 Randy Patricio                $10.00   55.73   $   11.00   $   55.73   $    86.53   $   142.27
 2/25/2018 Randy Patricio                $10.00   48.10   $   11.00   $   48.10   $    44.55   $    92.65
  3/4/2018 Randy Patricio                $10.00   55.25   $   11.00   $   55.25   $    83.88   $   139.13
 3/25/2018 Randy Patricio                $10.00   50.35   $   11.00   $   50.35   $    56.93   $   107.28
  4/1/2018 Randy Patricio                $10.00   53.20   $   11.00   $   53.20   $    72.60   $   125.80
  4/8/2018 Randy Patricio                $10.00   51.13   $   11.00   $   51.13   $    61.23   $   112.37
 4/15/2018 Randy Patricio                $10.00   63.48   $   11.00   $   63.48   $   129.16   $   192.64
 4/22/2018 Randy Patricio                $10.00   58.23   $   11.00   $   58.23   $   100.28   $   158.52
 4/29/2018 Randy Patricio                $10.00   59.10   $   11.00   $   59.10   $   105.05   $   164.15
  5/6/2018 Randy Patricio                $10.00   55.92   $   11.00   $   55.92   $    87.54   $   143.46
 5/13/2018 Randy Patricio                $10.00   61.38   $   11.00   $   61.38   $   117.61   $   178.99
 5/20/2018 Randy Patricio                $10.00   50.33   $   11.00   $   50.33   $    56.83   $   107.17
 5/27/2018 Randy Patricio                $10.00   49.93   $   11.00   $   49.93   $    54.63   $   104.57
  6/3/2018 Randy Patricio                $10.00   50.13   $   11.00   $   50.13   $    55.73   $   105.87
 6/10/2018 Randy Patricio                $10.00   58.73   $   11.00   $   58.73   $   103.03   $   161.77
 6/17/2018 Randy Patricio                $10.00   50.72   $   11.00   $   50.72   $    58.94   $   109.66
 6/24/2018 Randy Patricio                $10.00   62.52   $   11.00   $   62.52   $   123.84   $   186.36
  7/1/2018 Randy Patricio                $10.00   55.53   $   11.00   $   55.53   $    85.43   $   140.97
 7/15/2018 Randy Patricio                $10.00   65.07   $   11.00   $   65.07   $   137.87   $   202.93
 7/22/2018 Randy Patricio                $10.00   66.07   $   11.00   $   66.07   $   143.37   $   209.43
 7/29/2018 Randy Patricio                $10.00   46.00   $   11.00   $   46.00   $    33.00   $    79.00
  8/5/2018 Randy Patricio                $10.00   40.95   $   11.00   $   40.95   $     5.22   $    46.18
 8/12/2018 Randy Patricio                $10.00   63.48   $   11.00   $   63.48   $   129.16   $   192.64
 8/19/2018 Randy Patricio                $10.00   63.12   $   11.00   $   63.12   $   127.14   $   190.26
 8/26/2018 Randy Patricio                $10.00   64.57   $   11.00   $   64.57   $   135.12   $   199.68
  9/2/2018 Randy Patricio                $10.00   49.10   $   11.00   $   49.10   $    50.05   $    99.15
  9/9/2018 Randy Patricio                $10.00   52.63   $   11.00   $   52.63   $    69.48   $   122.12
 9/16/2018 Randy Patricio                $10.00   50.82   $   11.00   $   50.82   $    59.49   $   110.31
 9/23/2018 Randy Patricio                $10.00   64.60   $   11.00   $   64.60   $   135.30   $   199.90
 9/30/2018 Randy Patricio                $10.00   64.90   $   11.00   $   64.90   $   136.95   $   201.85



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                                           Exhibit 4
                                   Westchester Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                         Hourly Hours /
 Ending                     Name                        Minimum Regular Half-Time Overtime Back
                                          Rate   Week
  Date                                                   Wage   Rate Due     Due       Wages Due

 10/7/2018 Randy Patricio                $10.00   52.90   $   11.00   $    52.90   $    70.95   $   123.85
10/14/2018 Randy Patricio                $10.00   58.95   $   11.00   $    58.95   $   104.23   $   163.18
10/21/2018 Randy Patricio                $10.00   63.63   $   11.00   $    63.63   $   129.98   $   193.62
10/28/2018 Randy Patricio                $10.00   61.85   $   11.00   $    61.85   $   120.18   $   182.03
 11/4/2018 Randy Patricio                $10.00   64.12   $   11.00   $    64.12   $   132.64   $   196.76
11/11/2018 Randy Patricio                $10.00   63.25   $   11.00   $    63.25   $   127.88   $   191.13
11/18/2018 Randy Patricio                $10.00   54.48   $   11.00   $    54.48   $    79.66   $   134.14
 12/2/2018 Randy Patricio                $10.00   57.60   $   11.00   $    57.60   $    96.80   $   154.40
 12/9/2018 Randy Patricio                $10.00   58.43   $   11.00   $    58.43   $   101.38   $   159.82
12/16/2018 Randy Patricio                $10.00   62.50   $   11.00   $    62.50   $   123.75   $   186.25
12/23/2018 Randy Patricio                $10.00   52.07   $   11.00   $    52.07   $    66.37   $   118.43
12/30/2018 Randy Patricio                $10.00   42.65   $   11.00   $    42.65   $    14.58   $    57.23
 1/20/2019 Randy Patricio                $10.00   51.67   $   12.00   $   103.33   $    70.00   $   173.33
 1/27/2019 Randy Patricio                $10.00   53.48   $   12.00   $   106.97   $    80.90   $   187.87
  2/3/2019 Randy Patricio                $10.00   50.55   $   12.00   $   101.10   $    63.30   $   164.40
 2/10/2019 Randy Patricio                $10.00   51.50   $   12.00   $   103.00   $    69.00   $   172.00
 2/17/2019 Randy Patricio                $10.00   47.17   $   12.00   $    94.33   $    43.00   $   137.33
 2/24/2019 Randy Patricio                $10.00   61.58   $   12.00   $   123.17   $   129.50   $   252.67
  3/3/2019 Randy Patricio                $10.00   60.45   $   12.00   $   120.90   $   122.70   $   243.60
 3/10/2019 Randy Patricio                $10.00   63.08   $   12.00   $   126.17   $   138.50   $   264.67
 3/17/2019 Randy Patricio                $10.00   57.17   $   12.00   $   114.33   $   103.00   $   217.33
 3/24/2019 Randy Patricio                $10.00   64.03   $   12.00   $   128.07   $   144.20   $   272.27
 3/31/2019 Randy Patricio                $10.00   63.90   $   12.00   $   127.80   $   143.40   $   271.20
  4/7/2019 Randy Patricio                $10.00   62.45   $   12.00   $   124.90   $   134.70   $   259.60
 4/14/2019 Randy Patricio                $10.00   60.93   $   12.00   $   121.87   $   125.60   $   247.47
 4/21/2019 Randy Patricio                $10.00   59.77   $   12.00   $   119.53   $   118.60   $   238.13
 4/28/2019 Randy Patricio                $10.00   53.98   $   12.00   $   107.97   $    83.90   $   191.87
  5/5/2019 Randy Patricio                $10.00   63.75   $   12.00   $   127.50   $   142.50   $   270.00
 5/12/2019 Randy Patricio                $10.00   55.75   $   12.00   $   111.50   $    94.50   $   206.00
 5/19/2019 Randy Patricio                $10.00   62.92   $   12.00   $   125.83   $   137.50   $   263.33
 5/26/2019 Randy Patricio                $10.00   44.53   $   12.00   $    89.07   $    27.20   $   116.27
  6/2/2019 Randy Patricio                $10.00   53.18   $   12.00   $   106.37   $    79.10   $   185.47
  6/9/2019 Randy Patricio                $10.00   65.58   $   12.00   $   131.17   $   153.50   $   284.67
 6/16/2019 Randy Patricio                $10.00   62.70   $   12.00   $   125.40   $   136.20   $   261.60
 6/23/2019 Randy Patricio                $10.00   62.57   $   12.00   $   125.13   $   135.40   $   260.53
 6/30/2019 Randy Patricio                $10.00   63.97   $   12.00   $   127.93   $   143.80   $   271.73
 7/14/2019 Randy Patricio                $11.50   54.97   $   12.00   $    27.48   $    89.80   $   117.28
 7/21/2019 Randy Patricio                $11.50   62.80   $   12.00   $    31.40   $   136.80   $   168.20
 7/28/2019 Randy Patricio                $11.50   62.83   $   12.00   $    31.42   $   137.00   $   168.42
  8/4/2019 Randy Patricio                $11.50   62.40   $   12.00   $    31.20   $   134.40   $   165.60
 8/11/2019 Randy Patricio                $11.50   62.05   $   12.00   $    31.03   $   132.30   $   163.33
 8/18/2019 Randy Patricio                $11.50   63.20   $   12.00   $    31.60   $   139.20   $   170.80
 8/25/2019 Randy Patricio                $11.50   63.50   $   12.00   $    31.75   $   141.00   $   172.75
  9/1/2019 Randy Patricio                $11.50   63.68   $   12.00   $    31.84   $   142.10   $   173.94
  9/8/2019 Randy Patricio                $11.50   52.13   $   12.00   $    26.07   $    72.80   $    98.87
 9/15/2019 Randy Patricio                $11.50   63.13   $   12.00   $    31.57   $   138.80   $   170.37
 9/22/2019 Randy Patricio                $11.50   52.40   $   12.00   $    26.20   $    74.40   $   100.60
 9/29/2019 Randy Patricio                $11.50   52.07   $   12.00   $    26.03   $    72.40   $    98.43
 10/6/2019 Randy Patricio                $11.50   63.28   $   12.00   $    31.64   $   139.70   $   171.34
10/13/2019 Randy Patricio                $11.50   63.67   $   12.00   $    31.83   $   142.00   $   173.83
10/20/2019 Randy Patricio                $11.50   62.83   $   12.00   $    31.42   $   137.00   $   168.42



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  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

10/27/2019 Randy Patricio                 $11.50   62.73   $   12.00   $   31.37   $   136.40   $   167.77
 11/3/2019 Randy Patricio                 $11.50   62.42   $   12.00   $   31.21   $   134.50   $   165.71
11/10/2019 Randy Patricio                 $11.50   63.18   $   12.00   $   31.59   $   139.10   $   170.69
11/17/2019 Randy Patricio                 $11.50   64.67   $   12.00   $   32.33   $   148.00   $   180.33
11/24/2019 Randy Patricio                 $11.50   63.92   $   12.00   $   31.96   $   143.50   $   175.46
 12/1/2019 Randy Patricio                 $11.50   52.33   $   12.00   $   26.17   $    74.00   $   100.17
 12/8/2019 Randy Patricio                 $11.50   62.37   $   12.00   $   31.18   $   134.20   $   165.38
12/15/2019 Randy Patricio                 $11.50   63.12   $   12.00   $   31.56   $   138.70   $   170.26
12/22/2019 Randy Patricio                 $11.50   62.90   $   12.00   $   31.45   $   137.40   $   168.85
12/29/2019 Randy Patricio                 $11.50   49.98   $   12.00   $   24.99   $    59.90   $    84.89
  1/5/2020 Randy Patricio                 $11.50   51.47   $   13.00   $   77.20   $    74.53   $   151.73
 1/12/2020 Randy Patricio                 $11.50   63.20   $   13.00   $   94.80   $   150.80   $   245.60
 1/19/2020 Randy Patricio                 $11.50   62.77   $   13.00   $   94.15   $   147.98   $   242.13
 1/26/2020 Randy Patricio                 $11.50   63.43   $   13.00   $   95.15   $   152.32   $   247.47
 3/25/2018 Raymond Morales                $11.50   62.12   $   11.00               $   127.17   $   127.17
  4/1/2018 Raymond Morales                $11.50   67.93   $   11.00               $   160.62   $   160.62
  4/8/2018 Raymond Morales                $11.50   66.35   $   11.00               $   151.51   $   151.51
 4/15/2018 Raymond Morales                $11.50   65.83   $   11.00               $   148.54   $   148.54
 4/22/2018 Raymond Morales                $11.50   65.25   $   11.00               $   145.19   $   145.19
 4/29/2018 Raymond Morales                $11.50   54.98   $   11.00               $    86.15   $    86.15
  5/6/2018 Raymond Morales                $11.50   65.95   $   11.00               $   149.21   $   149.21
 5/13/2018 Raymond Morales                $11.50   65.85   $   11.00               $   148.64   $   148.64
 5/20/2018 Raymond Morales                $11.50   65.55   $   11.00               $   146.91   $   146.91
 5/27/2018 Raymond Morales                $11.50   64.22   $   11.00               $   139.25   $   139.25
 6/24/2018 Raymond Morales                $11.50   65.45   $   11.00               $   146.34   $   146.34
  7/1/2018 Raymond Morales                $11.50   65.53   $   11.00               $   146.82   $   146.82
  7/8/2018 Raymond Morales                $11.50   43.38   $   11.00               $    19.45   $    19.45
 7/15/2018 Raymond Morales                $11.50   41.67   $   11.00               $     9.58   $     9.58
 7/22/2018 Raymond Morales                $11.50   65.98   $   11.00               $   149.40   $   149.40
 7/29/2018 Raymond Morales                $11.50   61.88   $   11.00               $   125.83   $   125.83
  8/5/2018 Raymond Morales                $11.50   63.83   $   11.00               $   137.04   $   137.04
 8/12/2018 Raymond Morales                $11.50   55.45   $   11.00               $    88.84   $    88.84
 8/19/2018 Raymond Morales                $11.50   66.58   $   11.00               $   152.85   $   152.85
 8/26/2018 Raymond Morales                $11.50   55.72   $   11.00               $    90.37   $    90.37
  9/2/2018 Raymond Morales                $11.50   63.37   $   11.00               $   134.36   $   134.36
  9/9/2018 Raymond Morales                $11.50   51.77   $   11.00               $    67.66   $    67.66
 9/16/2018 Raymond Morales                $11.50   63.93   $   11.00               $   137.62   $   137.62
 9/23/2018 Raymond Morales                $11.50   62.82   $   11.00               $   131.20   $   131.20
 9/30/2018 Raymond Morales                $11.50   60.67   $   11.00               $   118.83   $   118.83
 10/7/2018 Raymond Morales                $11.50   51.18   $   11.00               $    64.30   $    64.30
10/14/2018 Raymond Morales                $11.50   62.80   $   11.00               $   131.10   $   131.10
10/21/2018 Raymond Morales                $11.50   65.38   $   11.00               $   145.95   $   145.95
10/28/2018 Raymond Morales                $11.50   64.57   $   11.00               $   141.26   $   141.26
 11/4/2018 Raymond Morales                $11.50   59.40   $   11.00               $   111.55   $   111.55
11/11/2018 Raymond Morales                $11.50   60.27   $   11.00               $   116.53   $   116.53
11/18/2018 Raymond Morales                $11.50   51.10   $   11.00               $    63.83   $    63.83
11/25/2018 Raymond Morales                $11.50   43.32   $   11.00               $    19.07   $    19.07
 12/2/2018 Raymond Morales                $11.50   63.93   $   11.00               $   137.62   $   137.62
 12/9/2018 Raymond Morales                $11.50   61.78   $   11.00               $   125.25   $   125.25
12/16/2018 Raymond Morales                $11.50   60.88   $   11.00               $   120.08   $   120.08
12/23/2018 Raymond Morales                $11.50   62.43   $   11.00               $   128.99   $   128.99



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  Week                                                  State Section 7: Section 7: Total Section 7
                                       Hourly Hours /
 Ending                   Name                        Minimum Regular Half-Time Overtime Back
                                        Rate   Week
  Date                                                 Wage   Rate Due     Due       Wages Due

12/30/2018 Raymond Morales             $11.50   49.92   $   11.00               $    57.02   $    57.02
  1/6/2019 Raymond Morales             $11.50   51.83   $   12.00   $   25.92   $    71.00   $    96.92
 1/13/2019 Raymond Morales             $11.50   64.53   $   12.00   $   32.27   $   147.20   $   179.47
 1/20/2019 Raymond Morales             $11.50   63.10   $   12.00   $   31.55   $   138.60   $   170.15
 1/27/2019 Raymond Morales             $11.50   51.97   $   12.00   $   25.98   $    71.80   $    97.78
  2/3/2019 Raymond Morales             $11.50   63.67   $   12.00   $   31.83   $   142.00   $   173.83
 2/10/2019 Raymond Morales             $11.50   41.38   $   12.00   $   20.69   $     8.30   $    28.99
 2/17/2019 Raymond Morales             $11.50   58.18   $   12.00   $   29.09   $   109.10   $   138.19
  4/7/2019 Raymond Morales             $11.50   61.70   $   12.00   $   30.85   $   130.20   $   161.05
 4/14/2019 Raymond Morales             $11.50   50.82   $   12.00   $   25.41   $    64.90   $    90.31
 4/21/2019 Raymond Morales             $11.50   56.38   $   12.00   $   28.19   $    98.30   $   126.49
 4/28/2019 Raymond Morales             $11.50   60.13   $   12.00   $   30.07   $   120.80   $   150.87
  5/5/2019 Raymond Morales             $11.50   48.37   $   12.00   $   24.18   $    50.20   $    74.38
 5/12/2019 Raymond Morales             $11.50   49.22   $   12.00   $   24.61   $    55.30   $    79.91
 5/19/2019 Raymond Morales             $11.50   52.02   $   12.00   $   26.01   $    72.10   $    98.11
 5/26/2019 Raymond Morales             $11.50   56.28   $   12.00   $   28.14   $    97.70   $   125.84
  6/2/2019 Raymond Morales             $11.50   51.35   $   12.00   $   25.68   $    68.10   $    93.78
  6/9/2019 Raymond Morales             $11.50   48.58   $   12.00   $   24.29   $    51.50   $    75.79
 6/16/2019 Raymond Morales             $11.50   57.87   $   12.00   $   28.93   $   107.20   $   136.13
 6/23/2019 Raymond Morales             $11.50   57.67   $   12.00   $   28.83   $   106.00   $   134.83
 6/30/2019 Raymond Morales             $11.50   48.72   $   12.00   $   24.36   $    52.30   $    76.66
  7/7/2019 Raymond Morales             $12.50   44.53   $   12.00               $    28.33   $    28.33
 7/14/2019 Raymond Morales             $12.50   52.50   $   12.00               $    78.13   $    78.13
 7/21/2019 Raymond Morales             $12.50   57.35   $   12.00               $   108.44   $   108.44
 7/28/2019 Raymond Morales             $12.50   53.58   $   12.00               $    84.90   $    84.90
  8/4/2019 Raymond Morales             $12.50   66.95   $   12.00               $   168.44   $   168.44
 8/11/2019 Raymond Morales             $12.50   41.67   $   12.00               $    10.42   $    10.42
 8/18/2019 Raymond Morales             $12.50   49.75   $   12.00               $    60.94   $    60.94
 8/25/2019 Raymond Morales             $12.50   58.22   $   12.00               $   113.85   $   113.85
  9/1/2019 Raymond Morales             $12.50   48.02   $   12.00               $    50.10   $    50.10
  9/8/2019 Raymond Morales             $12.50   48.97   $   12.00               $    56.04   $    56.04
 9/15/2019 Raymond Morales             $12.50   47.00   $   12.00               $    43.75   $    43.75
 9/22/2019 Raymond Morales             $12.50   50.77   $   12.00               $    67.29   $    67.29
 9/29/2019 Raymond Morales             $12.50   46.42   $   12.00               $    40.10   $    40.10
 10/6/2019 Raymond Morales             $12.50   59.12   $   12.00               $   119.48   $   119.48
10/13/2019 Raymond Morales             $12.50   57.32   $   12.00               $   108.23   $   108.23
10/20/2019 Raymond Morales             $12.50   46.50   $   12.00               $    40.63   $    40.63
10/27/2019 Raymond Morales             $12.50   49.33   $   12.00               $    58.33   $    58.33
 11/3/2019 Raymond Morales             $12.50   48.70   $   12.00               $    54.38   $    54.38
11/10/2019 Raymond Morales             $12.50   49.32   $   12.00               $    58.23   $    58.23
11/17/2019 Raymond Morales             $12.50   50.82   $   12.00               $    67.60   $    67.60
11/24/2019 Raymond Morales             $12.50   59.83   $   12.00               $   123.96   $   123.96
 12/1/2019 Raymond Morales             $12.50   49.17   $   12.00               $    57.29   $    57.29
 12/8/2019 Raymond Morales             $12.50   59.60   $   12.00               $   122.50   $   122.50
12/15/2019 Raymond Morales             $12.50   49.50   $   12.00               $    59.38   $    59.38
12/22/2019 Raymond Morales             $12.50   50.07   $   12.00               $    62.92   $    62.92
 1/12/2020 Raymond Morales             $12.50   46.63   $   13.00   $   23.32   $    43.12   $    66.43
 1/19/2020 Raymond Morales             $12.50   59.25   $   13.00   $   29.63   $   125.13   $   154.75
  7/2/2017 Reny Cueto Jimenez          $12.00   62.05   $   10.00               $   132.30   $   132.30
  7/9/2017 Reny Cueto Jimenez          $12.00   51.65   $   10.00               $    69.90   $    69.90
 7/16/2017 Reny Cueto Jimenez          $12.00   55.60   $   10.00               $    93.60   $    93.60



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  Week                                                  State Section 7: Section 7: Total Section 7
                                       Hourly Hours /
 Ending                   Name                        Minimum Regular Half-Time Overtime Back
                                        Rate   Week
  Date                                                 Wage   Rate Due     Due       Wages Due

 7/23/2017 Reny Cueto Jimenez          $12.00   63.42   $   10.00          $   140.50   $   140.50
 7/30/2017 Reny Cueto Jimenez          $12.00   62.43   $   10.00          $   134.60   $   134.60
  8/6/2017 Reny Cueto Jimenez          $12.00   62.57   $   10.00          $   135.40   $   135.40
 8/13/2017 Reny Cueto Jimenez          $12.00   60.77   $   10.00          $   124.60   $   124.60
 8/20/2017 Reny Cueto Jimenez          $12.00   61.97   $   10.00          $   131.80   $   131.80
 8/27/2017 Reny Cueto Jimenez          $12.00   63.60   $   10.00          $   141.60   $   141.60
  9/3/2017 Reny Cueto Jimenez          $12.00   63.53   $   10.00          $   141.20   $   141.20
 9/10/2017 Reny Cueto Jimenez          $12.00   41.63   $   10.00          $     9.80   $     9.80
 9/17/2017 Reny Cueto Jimenez          $12.00   62.58   $   10.00          $   135.50   $   135.50
 9/24/2017 Reny Cueto Jimenez          $12.00   64.83   $   10.00          $   149.00   $   149.00
 10/1/2017 Reny Cueto Jimenez          $12.00   63.00   $   10.00          $   138.00   $   138.00
 10/8/2017 Reny Cueto Jimenez          $12.00   60.43   $   10.00          $   122.60   $   122.60
10/15/2017 Reny Cueto Jimenez          $12.00   60.50   $   10.00          $   123.00   $   123.00
10/22/2017 Reny Cueto Jimenez          $12.00   60.47   $   10.00          $   122.80   $   122.80
10/29/2017 Reny Cueto Jimenez          $12.00   61.55   $   10.00          $   129.30   $   129.30
 11/5/2017 Reny Cueto Jimenez          $12.00   47.93   $   10.00          $    47.60   $    47.60
11/12/2017 Reny Cueto Jimenez          $12.00   59.40   $   10.00          $   116.40   $   116.40
11/19/2017 Reny Cueto Jimenez          $12.00   64.57   $   10.00          $   147.40   $   147.40
11/26/2017 Reny Cueto Jimenez          $12.00   56.87   $   10.00          $   101.20   $   101.20
 12/3/2017 Reny Cueto Jimenez          $12.00   68.18   $   10.00          $   169.10   $   169.10
12/10/2017 Reny Cueto Jimenez          $12.00   65.12   $   10.00          $   150.70   $   150.70
12/17/2017 Reny Cueto Jimenez          $12.00   69.08   $   10.00          $   174.50   $   174.50
12/24/2017 Reny Cueto Jimenez          $12.00   68.57   $   10.00          $   171.40   $   171.40
12/31/2017 Reny Cueto Jimenez          $12.00   49.72   $   11.00          $    58.30   $    58.30
 1/14/2018 Reny Cueto Jimenez          $12.00   60.65   $   11.00          $   123.90   $   123.90
 1/21/2018 Reny Cueto Jimenez          $12.00   58.35   $   11.00          $   110.10   $   110.10
 1/28/2018 Reny Cueto Jimenez          $12.00   58.50   $   11.00          $   111.00   $   111.00
  2/4/2018 Reny Cueto Jimenez          $12.00   59.80   $   11.00          $   118.80   $   118.80
 2/11/2018 Reny Cueto Jimenez          $12.00   49.60   $   11.00          $    57.60   $    57.60
 2/18/2018 Reny Cueto Jimenez          $12.00   55.72   $   11.00          $    94.30   $    94.30
 2/25/2018 Reny Cueto Jimenez          $12.00   56.93   $   11.00          $   101.60   $   101.60
  3/4/2018 Reny Cueto Jimenez          $12.00   40.60   $   11.00          $     3.60   $     3.60
  4/1/2018 Reny Cueto Jimenez          $12.00   58.93   $   11.00          $   113.60   $   113.60
 4/15/2018 Reny Cueto Jimenez          $12.00   63.13   $   11.00          $   138.80   $   138.80
 4/22/2018 Reny Cueto Jimenez          $12.00   58.12   $   11.00          $   108.70   $   108.70
 4/29/2018 Reny Cueto Jimenez          $12.00   59.02   $   11.00          $   114.10   $   114.10
  5/6/2018 Reny Cueto Jimenez          $12.00   62.07   $   11.00          $   132.40   $   132.40
 5/13/2018 Reny Cueto Jimenez          $12.00   59.77   $   11.00          $   118.60   $   118.60
 5/20/2018 Reny Cueto Jimenez          $12.00   62.77   $   11.00          $   136.60   $   136.60
 5/27/2018 Reny Cueto Jimenez          $12.00   63.97   $   11.00          $   143.80   $   143.80
  6/3/2018 Reny Cueto Jimenez          $12.00   49.58   $   11.00          $    57.50   $    57.50
 6/10/2018 Reny Cueto Jimenez          $12.00   52.25   $   11.00          $    73.50   $    73.50
 6/17/2018 Reny Cueto Jimenez          $12.00   62.50   $   11.00          $   135.00   $   135.00
 6/24/2018 Reny Cueto Jimenez          $12.00   64.80   $   11.00          $   148.80   $   148.80
  7/1/2018 Reny Cueto Jimenez          $12.00   63.70   $   11.00          $   142.20   $   142.20
  7/8/2018 Reny Cueto Jimenez          $12.00   52.45   $   11.00          $    74.70   $    74.70
 7/15/2018 Reny Cueto Jimenez          $12.00   62.93   $   11.00          $   137.60   $   137.60
 7/22/2018 Reny Cueto Jimenez          $12.00   65.15   $   11.00          $   150.90   $   150.90
 7/29/2018 Reny Cueto Jimenez          $12.00   63.60   $   11.00          $   141.60   $   141.60
  8/5/2018 Reny Cueto Jimenez          $12.00   54.15   $   11.00          $    84.90   $    84.90
 8/12/2018 Reny Cueto Jimenez          $12.00   63.88   $   11.00          $   143.30   $   143.30



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                                 Westchester Computations


  Week                                                  State Section 7: Section 7: Total Section 7
                                       Hourly Hours /
 Ending                   Name                        Minimum Regular Half-Time Overtime Back
                                        Rate   Week
  Date                                                 Wage   Rate Due     Due       Wages Due

 8/19/2018 Reny Cueto Jimenez          $12.00   63.48   $   11.00          $   140.90   $   140.90
 8/26/2018 Reny Cueto Jimenez          $12.00   65.53   $   11.00          $   153.20   $   153.20
  9/2/2018 Reny Cueto Jimenez          $12.00   63.62   $   11.00          $   141.70   $   141.70
  9/9/2018 Reny Cueto Jimenez          $12.00   50.92   $   11.00          $    65.50   $    65.50
 9/16/2018 Reny Cueto Jimenez          $12.00   52.97   $   11.00          $    77.80   $    77.80
 9/23/2018 Reny Cueto Jimenez          $12.00   61.60   $   11.00          $   129.60   $   129.60
 9/30/2018 Reny Cueto Jimenez          $12.00   67.92   $   11.00          $   167.50   $   167.50
 10/7/2018 Reny Cueto Jimenez          $12.00   57.77   $   11.00          $   106.60   $   106.60
10/28/2018 Reny Cueto Jimenez          $12.00   48.92   $   11.00          $    53.50   $    53.50
 11/4/2018 Reny Cueto Jimenez          $12.00   45.90   $   11.00          $    35.40   $    35.40
11/11/2018 Reny Cueto Jimenez          $12.00   60.57   $   11.00          $   123.40   $   123.40
11/18/2018 Reny Cueto Jimenez          $12.00   58.05   $   11.00          $   108.30   $   108.30
11/25/2018 Reny Cueto Jimenez          $12.00   48.87   $   11.00          $    53.20   $    53.20
 12/2/2018 Reny Cueto Jimenez          $12.00   46.80   $   11.00          $    40.80   $    40.80
 12/9/2018 Reny Cueto Jimenez          $12.00   55.00   $   11.00          $    90.00   $    90.00
12/16/2018 Reny Cueto Jimenez          $12.00   51.08   $   11.00          $    66.50   $    66.50
12/23/2018 Reny Cueto Jimenez          $12.00   46.88   $   11.00          $    41.30   $    41.30
12/30/2018 Reny Cueto Jimenez          $12.00   42.50   $   11.00          $    15.00   $    15.00
  1/6/2019 Reny Cueto Jimenez          $12.00   46.12   $   12.00          $    36.70   $    36.70
 1/13/2019 Reny Cueto Jimenez          $12.00   60.18   $   12.00          $   121.10   $   121.10
 1/20/2019 Reny Cueto Jimenez          $12.00   61.22   $   12.00          $   127.30   $   127.30
 1/27/2019 Reny Cueto Jimenez          $12.00   56.30   $   12.00          $    97.80   $    97.80
  2/3/2019 Reny Cueto Jimenez          $12.00   46.65   $   12.00          $    39.90   $    39.90
 2/10/2019 Reny Cueto Jimenez          $12.00   47.97   $   12.00          $    47.80   $    47.80
 2/17/2019 Reny Cueto Jimenez          $12.00   57.75   $   12.00          $   106.50   $   106.50
 2/24/2019 Reny Cueto Jimenez          $12.00   58.17   $   12.00          $   109.00   $   109.00
  3/3/2019 Reny Cueto Jimenez          $12.00   47.40   $   12.00          $    44.40   $    44.40
 3/10/2019 Reny Cueto Jimenez          $12.00   56.22   $   12.00          $    97.30   $    97.30
 3/17/2019 Reny Cueto Jimenez          $12.00   50.77   $   12.00          $    64.60   $    64.60
 4/21/2019 Reny Cueto Jimenez          $12.00   41.65   $   12.00          $     9.90   $     9.90
 4/28/2019 Reny Cueto Jimenez          $12.00   61.48   $   12.00          $   128.90   $   128.90
  5/5/2019 Reny Cueto Jimenez          $12.00   64.83   $   12.00          $   149.00   $   149.00
 5/12/2019 Reny Cueto Jimenez          $12.00   50.40   $   12.00          $    62.40   $    62.40
 5/19/2019 Reny Cueto Jimenez          $12.00   61.77   $   12.00          $   130.60   $   130.60
 5/26/2019 Reny Cueto Jimenez          $12.00   61.80   $   12.00          $   130.80   $   130.80
  6/2/2019 Reny Cueto Jimenez          $12.00   51.62   $   12.00          $    69.70   $    69.70
  6/9/2019 Reny Cueto Jimenez          $12.00   62.00   $   12.00          $   132.00   $   132.00
 6/16/2019 Reny Cueto Jimenez          $12.00   51.38   $   12.00          $    68.30   $    68.30
 6/23/2019 Reny Cueto Jimenez          $12.00   61.90   $   12.00          $   131.40   $   131.40
 6/30/2019 Reny Cueto Jimenez          $12.00   51.53   $   12.00          $    69.20   $    69.20
  7/7/2019 Reny Cueto Jimenez          $12.00   40.45   $   12.00          $     2.70   $     2.70
 7/14/2019 Reny Cueto Jimenez          $12.00   60.22   $   12.00          $   121.30   $   121.30
 7/21/2019 Reny Cueto Jimenez          $12.00   50.22   $   12.00          $    61.30   $    61.30
 7/28/2019 Reny Cueto Jimenez          $12.00   50.53   $   12.00          $    63.20   $    63.20
  8/4/2019 Reny Cueto Jimenez          $12.00   50.97   $   12.00          $    65.80   $    65.80
 8/11/2019 Reny Cueto Jimenez          $12.00   60.63   $   12.00          $   123.80   $   123.80
 8/18/2019 Reny Cueto Jimenez          $12.00   50.75   $   12.00          $    64.50   $    64.50
 8/25/2019 Reny Cueto Jimenez          $12.00   61.32   $   12.00          $   127.90   $   127.90
  9/1/2019 Reny Cueto Jimenez          $12.00   61.95   $   12.00          $   131.70   $   131.70
  9/8/2019 Reny Cueto Jimenez          $12.00   60.20   $   12.00          $   121.20   $   121.20
 9/15/2019 Reny Cueto Jimenez          $12.00   49.92   $   12.00          $    59.50   $    59.50



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  Week                                                         State Section 7: Section 7: Total Section 7
                                              Hourly Hours /
 Ending                    Name                              Minimum Regular Half-Time Overtime Back
                                               Rate   Week
  Date                                                        Wage   Rate Due     Due       Wages Due

 9/22/2019 Reny Cueto Jimenez                 $12.00   60.48   $   12.00               $   122.90   $   122.90
 9/29/2019 Reny Cueto Jimenez                 $12.00   50.90   $   12.00               $    65.40   $    65.40
 10/6/2019 Reny Cueto Jimenez                 $12.00   62.95   $   12.00               $   137.70   $   137.70
10/13/2019 Reny Cueto Jimenez                 $12.00   49.92   $   12.00               $    59.50   $    59.50
10/20/2019 Reny Cueto Jimenez                 $12.00   47.80   $   12.00               $    46.80   $    46.80
10/27/2019 Reny Cueto Jimenez                 $12.00   55.48   $   12.00               $    92.90   $    92.90
 11/3/2019 Reny Cueto Jimenez                 $12.00   51.97   $   12.00               $    71.80   $    71.80
11/10/2019 Reny Cueto Jimenez                 $12.00   40.83   $   12.00               $     5.00   $     5.00
11/17/2019 Reny Cueto Jimenez                 $12.00   43.17   $   12.00               $    19.00   $    19.00
 8/26/2018 Richard Polanco                     $9.50   64.67   $   11.00   $   97.00   $   135.67   $   232.67
  9/2/2018 Richard Polanco                     $9.50   65.63   $   11.00   $   98.45   $   140.98   $   239.43
  9/9/2018 Richard Polanco                     $9.50   53.82   $   11.00   $   80.73   $    75.99   $   156.72
 9/16/2018 Richard Polanco                     $9.50   64.98   $   11.00   $   97.48   $   137.41   $   234.88
 9/23/2018 Richard Polanco                     $9.50   55.25   $   11.00   $   82.88   $    83.88   $   166.75
 9/30/2018 Richard Polanco                     $9.50   64.28   $   11.00   $   96.43   $   133.56   $   229.98
 10/7/2018 Richard Polanco                     $9.50   64.80   $   11.00   $   97.20   $   136.40   $   233.60
10/14/2018 Richard Polanco                     $9.50   65.23   $   11.00   $   97.85   $   138.78   $   236.63
10/21/2018 Richard Polanco                     $9.50   65.07   $   11.00   $   97.60   $   137.87   $   235.47
10/28/2018 Richard Polanco                     $9.50   64.67   $   11.00   $   97.00   $   135.67   $   232.67
 11/4/2018 Richard Polanco                     $9.50   65.38   $   11.00   $   98.08   $   139.61   $   237.68
11/11/2018 Richard Polanco                     $9.50   64.80   $   11.00   $   97.20   $   136.40   $   233.60
11/18/2018 Richard Polanco                     $9.50   61.10   $   11.00   $   91.65   $   116.05   $   207.70
11/25/2018 Richard Polanco                     $9.50   53.15   $   11.00   $   79.73   $    72.33   $   152.05
 12/2/2018 Richard Polanco                     $9.50   62.75   $   11.00   $   94.13   $   125.13   $   219.25
 12/9/2018 Richard Polanco                     $9.50   63.32   $   11.00   $   94.98   $   128.24   $   223.22
  2/5/2017 Roberto Sanchez - New Cars         $11.50   59.27   $   10.00               $   110.78   $   110.78
 2/12/2017 Roberto Sanchez - New Cars         $11.50   49.30   $   10.00               $    53.48   $    53.48
 2/19/2017 Roberto Sanchez - New Cars         $11.50   47.10   $   10.00               $    40.83   $    40.83
 2/26/2017 Roberto Sanchez - New Cars         $11.50   54.22   $   10.00               $    81.75   $    81.75
  3/5/2017 Roberto Sanchez - New Cars         $11.50   59.42   $   10.00               $   111.65   $   111.65
 3/12/2017 Roberto Sanchez - New Cars         $11.50   47.30   $   10.00               $    41.98   $    41.98
 3/19/2017 Roberto Sanchez - New Cars         $11.50   46.97   $   10.00               $    40.06   $    40.06
 3/26/2017 Roberto Sanchez - New Cars         $11.50   50.25   $   10.00               $    58.94   $    58.94
  4/2/2017 Roberto Sanchez - New Cars         $11.50   51.03   $   10.00               $    63.44   $    63.44
  4/9/2017 Roberto Sanchez - New Cars         $11.50   57.08   $   10.00               $    98.23   $    98.23
  7/2/2017 Roberto Sanchez - New Cars         $12.50   67.17   $   10.00               $   169.79   $   169.79
  7/9/2017 Roberto Sanchez - New Cars         $12.50   51.35   $   10.00               $    70.94   $    70.94
 7/16/2017 Roberto Sanchez - New Cars         $12.50   65.23   $   10.00               $   157.71   $   157.71
 7/23/2017 Roberto Sanchez - New Cars         $12.50   66.13   $   10.00               $   163.33   $   163.33
 7/30/2017 Roberto Sanchez - New Cars         $12.50   65.45   $   10.00               $   159.06   $   159.06
  8/6/2017 Roberto Sanchez - New Cars         $12.50   63.83   $   10.00               $   148.96   $   148.96
 8/13/2017 Roberto Sanchez - New Cars         $12.50   65.48   $   10.00               $   159.27   $   159.27
 8/20/2017 Roberto Sanchez - New Cars         $12.50   61.12   $   10.00               $   131.98   $   131.98
 8/27/2017 Roberto Sanchez - New Cars         $12.50   66.35   $   10.00               $   164.69   $   164.69
  9/3/2017 Roberto Sanchez - New Cars         $12.50   67.12   $   10.00               $   169.48   $   169.48
 9/10/2017 Roberto Sanchez - New Cars         $12.50   53.92   $   10.00               $    86.98   $    86.98
 9/17/2017 Roberto Sanchez - New Cars         $12.50   67.35   $   10.00               $   170.94   $   170.94
 9/24/2017 Roberto Sanchez - New Cars         $12.50   67.28   $   10.00               $   170.52   $   170.52
 10/1/2017 Roberto Sanchez - New Cars         $12.50   67.62   $   10.00               $   172.60   $   172.60
 10/8/2017 Roberto Sanchez - New Cars         $12.50   67.42   $   10.00               $   171.35   $   171.35
10/15/2017 Roberto Sanchez - New Cars         $12.50   67.57   $   10.00               $   172.29   $   172.29



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                                        Westchester Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                              Hourly Hours /
 Ending                    Name                              Minimum Regular Half-Time Overtime Back
                                               Rate   Week
  Date                                                        Wage   Rate Due     Due       Wages Due

10/22/2017 Roberto Sanchez - New Cars         $12.50   66.17   $   10.00                $   163.54   $   163.54
10/29/2017 Roberto Sanchez - New Cars         $12.50   65.18   $   10.00                $   157.40   $   157.40
 11/5/2017 Roberto Sanchez - New Cars         $12.50   63.48   $   10.00                $   146.77   $   146.77
11/12/2017 Roberto Sanchez - New Cars         $12.50   67.80   $   10.00                $   173.75   $   173.75
11/19/2017 Roberto Sanchez - New Cars         $12.50   67.52   $   10.00                $   171.98   $   171.98
11/26/2017 Roberto Sanchez - New Cars         $12.50   55.50   $   10.00                $    96.88   $    96.88
 12/3/2017 Roberto Sanchez - New Cars         $12.50   67.68   $   10.00                $   173.02   $   173.02
12/10/2017 Roberto Sanchez - New Cars         $12.50   61.88   $   10.00                $   136.77   $   136.77
12/17/2017 Roberto Sanchez - New Cars         $12.50   67.23   $   10.00                $   170.21   $   170.21
12/24/2017 Roberto Sanchez - New Cars         $12.50   66.95   $   10.00                $   168.44   $   168.44
12/31/2017 Roberto Sanchez - New Cars         $12.50   55.93   $   11.00                $    99.58   $    99.58
  1/7/2018 Roberto Sanchez - New Cars         $12.50   41.52   $   11.00                $     9.48   $     9.48
 1/14/2018 Roberto Sanchez - New Cars         $12.50   53.97   $   11.00                $    87.29   $    87.29
 1/21/2018 Roberto Sanchez - New Cars         $12.50   64.40   $   11.00                $   152.50   $   152.50
 1/28/2018 Roberto Sanchez - New Cars         $12.50   67.65   $   11.00                $   172.81   $   172.81
  2/4/2018 Roberto Sanchez - New Cars         $12.50   51.60   $   11.00                $    72.50   $    72.50
 2/11/2018 Roberto Sanchez - New Cars         $12.50   64.77   $   11.00                $   154.79   $   154.79
 2/18/2018 Roberto Sanchez - New Cars         $12.50   50.30   $   11.00                $    64.38   $    64.38
 7/21/2019 Ronal Manuel Cabrera               $10.00   58.20   $   12.00   $   116.40   $   109.20   $   225.60
 7/28/2019 Ronal Manuel Cabrera               $10.00   68.87   $   12.00   $   137.73   $   173.20   $   310.93
  8/4/2019 Ronal Manuel Cabrera               $10.00   70.32   $   12.00   $   140.63   $   181.90   $   322.53
 8/11/2019 Ronal Manuel Cabrera               $10.00   58.87   $   12.00   $   117.73   $   113.20   $   230.93
 8/18/2019 Ronal Manuel Cabrera               $10.00   68.98   $   12.00   $   137.97   $   173.90   $   311.87
 8/25/2019 Ronal Manuel Cabrera               $10.00   67.22   $   12.00   $   134.43   $   163.30   $   297.73
  9/1/2019 Ronal Manuel Cabrera               $10.00   70.97   $   12.00   $   141.93   $   185.80   $   327.73
  9/8/2019 Ronal Manuel Cabrera               $10.00   57.02   $   12.00   $   114.03   $   102.10   $   216.13
 9/15/2019 Ronal Manuel Cabrera               $10.00   70.65   $   12.00   $   141.30   $   183.90   $   325.20
 9/22/2019 Ronal Manuel Cabrera               $10.00   71.30   $   12.00   $   142.60   $   187.80   $   330.40
 9/29/2019 Ronal Manuel Cabrera               $10.00   71.20   $   12.00   $   142.40   $   187.20   $   329.60
 10/6/2019 Ronal Manuel Cabrera               $10.00   72.37   $   12.00   $   144.73   $   194.20   $   338.93
10/13/2019 Ronal Manuel Cabrera               $10.00   70.13   $   12.00   $   140.27   $   180.80   $   321.07
10/20/2019 Ronal Manuel Cabrera               $10.00   71.18   $   12.00   $   142.37   $   187.10   $   329.47
10/27/2019 Ronal Manuel Cabrera               $10.00   71.05   $   12.00   $   142.10   $   186.30   $   328.40
 11/3/2019 Ronal Manuel Cabrera               $10.00   70.45   $   12.00   $   140.90   $   182.70   $   323.60
11/10/2019 Ronal Manuel Cabrera               $10.00   58.63   $   12.00   $   117.27   $   111.80   $   229.07
11/17/2019 Ronal Manuel Cabrera               $10.00   71.50   $   12.00   $   143.00   $   189.00   $   332.00
11/24/2019 Ronal Manuel Cabrera               $10.00   70.80   $   12.00   $   141.60   $   184.80   $   326.40
 12/1/2019 Ronal Manuel Cabrera               $10.00   59.08   $   12.00   $   118.17   $   114.50   $   232.67
 12/8/2019 Ronal Manuel Cabrera               $10.00   71.62   $   12.00   $   143.23   $   189.70   $   332.93
12/15/2019 Ronal Manuel Cabrera               $10.00   71.50   $   12.00   $   143.00   $   189.00   $   332.00
12/22/2019 Ronal Manuel Cabrera               $10.00   70.57   $   12.00   $   141.13   $   183.40   $   324.53
12/29/2019 Ronal Manuel Cabrera               $10.00   42.98   $   12.00   $    85.97   $    17.90   $   103.87
 3/25/2018 Sadiel Petralta                     $9.50   54.47   $   11.00   $    81.70   $    79.57   $   161.27
  4/1/2018 Sadiel Petralta                     $9.50   66.63   $   11.00   $    99.95   $   146.48   $   246.43
  4/8/2018 Sadiel Petralta                     $9.50   65.63   $   11.00   $    98.45   $   140.98   $   239.43
 4/15/2018 Sadiel Petralta                     $9.50   66.38   $   11.00   $    99.58   $   145.11   $   244.68
 4/22/2018 Sadiel Petralta                     $9.50   65.58   $   11.00   $    98.38   $   140.71   $   239.08
 4/29/2018 Sadiel Petralta                     $9.50   66.25   $   11.00   $    99.38   $   144.38   $   243.75
  5/6/2018 Sadiel Petralta                     $9.50   54.83   $   11.00   $    82.25   $    81.58   $   163.83
 5/13/2018 Sadiel Petralta                     $9.50   66.88   $   11.00   $   100.33   $   147.86   $   248.18
 5/20/2018 Sadiel Petralta                     $9.50   66.93   $   11.00   $   100.40   $   148.13   $   248.53



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  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 5/27/2018 Sadiel Petralta                 $9.50   72.23   $   11.00   $   108.35   $   177.28   $   285.63
  6/3/2018 Sadiel Petralta                 $9.50   70.02   $   11.00   $   105.03   $   165.09   $   270.12
 6/10/2018 Sadiel Petralta                 $9.50   73.55   $   11.00   $   110.33   $   184.53   $   294.85
 6/17/2018 Sadiel Petralta                 $9.50   72.37   $   11.00   $   108.55   $   178.02   $   286.57
 6/24/2018 Sadiel Petralta                 $9.50   68.77   $   11.00   $   103.15   $   158.22   $   261.37
  7/1/2018 Sadiel Petralta                 $9.50   71.78   $   11.00   $   107.68   $   174.81   $   282.48
  7/8/2018 Sadiel Petralta                 $9.50   46.78   $   11.00   $    70.18   $    37.31   $   107.48
 7/15/2018 Sadiel Petralta                 $9.50   57.25   $   11.00   $    85.88   $    94.88   $   180.75
 7/22/2018 Sadiel Petralta                 $9.50   69.28   $   11.00   $   103.93   $   161.06   $   264.98
 7/29/2018 Sadiel Petralta                $12.00   68.53   $   11.00                $   171.20   $   171.20
  8/5/2018 Sadiel Petralta                $12.00   56.82   $   11.00                $   100.90   $   100.90
 8/12/2018 Sadiel Petralta                $12.00   68.50   $   11.00                $   171.00   $   171.00
 8/19/2018 Sadiel Petralta                $12.00   68.97   $   11.00                $   173.80   $   173.80
 8/26/2018 Sadiel Petralta                $12.00   68.17   $   11.00                $   169.00   $   169.00
  9/2/2018 Sadiel Petralta                $12.00   70.97   $   11.00                $   185.80   $   185.80
  9/9/2018 Sadiel Petralta                $12.00   57.67   $   11.00                $   106.00   $   106.00
 9/16/2018 Sadiel Petralta                $12.00   69.43   $   11.00                $   176.60   $   176.60
 9/23/2018 Sadiel Petralta                $12.00   69.15   $   11.00                $   174.90   $   174.90
 9/30/2018 Sadiel Petralta                $12.00   70.23   $   11.00                $   181.40   $   181.40
 10/7/2018 Sadiel Petralta                $12.00   69.37   $   11.00                $   176.20   $   176.20
10/14/2018 Sadiel Petralta                $12.00   69.52   $   11.00                $   177.10   $   177.10
10/21/2018 Sadiel Petralta                $12.00   58.37   $   11.00                $   110.20   $   110.20
10/28/2018 Sadiel Petralta                $12.00   70.97   $   11.00                $   185.80   $   185.80
 11/4/2018 Sadiel Petralta                $12.00   68.03   $   11.00                $   168.20   $   168.20
11/11/2018 Sadiel Petralta                $12.00   70.57   $   11.00                $   183.40   $   183.40
11/18/2018 Sadiel Petralta                $12.00   69.43   $   11.00                $   176.60   $   176.60
11/25/2018 Sadiel Petralta                $12.00   58.73   $   11.00                $   112.40   $   112.40
 12/2/2018 Sadiel Petralta                $12.00   72.10   $   11.00                $   192.60   $   192.60
 12/9/2018 Sadiel Petralta                $12.00   70.32   $   11.00                $   181.90   $   181.90
12/16/2018 Sadiel Petralta                $12.00   70.72   $   11.00                $   184.30   $   184.30
12/23/2018 Sadiel Petralta                $12.00   71.55   $   11.00                $   189.30   $   189.30
12/30/2018 Sadiel Petralta                $12.00   54.27   $   11.00                $    85.60   $    85.60
  1/6/2019 Sadiel Petralta                $12.00   57.78   $   12.00                $   106.70   $   106.70
 1/13/2019 Sadiel Petralta                $12.00   70.63   $   12.00                $   183.80   $   183.80
 1/20/2019 Sadiel Petralta                $12.00   71.88   $   12.00                $   191.30   $   191.30
 1/27/2019 Sadiel Petralta                $12.00   68.90   $   12.00                $   173.40   $   173.40
  2/3/2019 Sadiel Petralta                $12.00   73.37   $   12.00                $   200.20   $   200.20
 2/10/2019 Sadiel Petralta                $12.00   72.63   $   12.00                $   195.80   $   195.80
 2/17/2019 Sadiel Petralta                $12.00   69.42   $   12.00                $   176.50   $   176.50
 3/31/2019 Sadiel Petralta                $12.00   47.70   $   12.00                $    46.20   $    46.20
  4/7/2019 Sadiel Petralta                $12.00   72.60   $   12.00                $   195.60   $   195.60
 4/14/2019 Sadiel Petralta                $12.00   73.98   $   12.00                $   203.90   $   203.90
 4/21/2019 Sadiel Petralta                $12.00   73.97   $   12.00                $   203.80   $   203.80
 4/28/2019 Sadiel Petralta                $12.00   74.42   $   12.00                $   206.50   $   206.50
  5/5/2019 Sadiel Petralta                $12.00   63.47   $   12.00                $   140.80   $   140.80
 5/12/2019 Sadiel Petralta                $12.00   73.32   $   12.00                $   199.90   $   199.90
 5/19/2019 Sadiel Petralta                $12.00   74.82   $   12.00                $   208.90   $   208.90
 5/26/2019 Sadiel Petralta                $12.00   73.07   $   12.00                $   198.40   $   198.40
  6/2/2019 Sadiel Petralta                $12.00   62.62   $   12.00                $   135.70   $   135.70
  6/9/2019 Sadiel Petralta                $12.00   73.28   $   12.00                $   199.70   $   199.70
 6/16/2019 Sadiel Petralta                $12.00   61.70   $   12.00                $   130.20   $   130.20



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                                  Westchester Computations


  Week                                                   State Section 7: Section 7: Total Section 7
                                        Hourly Hours /
 Ending                    Name                        Minimum Regular Half-Time Overtime Back
                                         Rate   Week
  Date                                                  Wage   Rate Due     Due       Wages Due

 6/23/2019 Sadiel Petralta              $12.00   72.32   $   12.00          $   193.90   $   193.90
 6/30/2019 Sadiel Petralta              $12.00   73.07   $   12.00          $   198.40   $   198.40
  7/7/2019 Sadiel Petralta              $13.00   60.62   $   12.00          $   134.01   $   134.01
 7/14/2019 Sadiel Petralta              $13.00   72.10   $   12.00          $   208.65   $   208.65
 7/21/2019 Sadiel Petralta              $13.00   72.80   $   12.00          $   213.20   $   213.20
 7/28/2019 Sadiel Petralta              $13.00   73.03   $   12.00          $   214.72   $   214.72
  8/4/2019 Sadiel Petralta              $13.00   72.58   $   12.00          $   211.79   $   211.79
 8/11/2019 Sadiel Petralta              $13.00   59.48   $   12.00          $   126.64   $   126.64
 8/18/2019 Sadiel Petralta              $13.00   71.02   $   12.00          $   201.61   $   201.61
 8/25/2019 Sadiel Petralta              $13.00   69.48   $   12.00          $   191.64   $   191.64
  9/1/2019 Sadiel Petralta              $13.00   72.47   $   12.00          $   211.03   $   211.03
  9/8/2019 Sadiel Petralta              $13.00   59.55   $   12.00          $   127.08   $   127.08
 9/15/2019 Sadiel Petralta              $13.00   71.30   $   12.00          $   203.45   $   203.45
 9/22/2019 Sadiel Petralta              $13.00   73.22   $   12.00          $   215.91   $   215.91
 9/29/2019 Sadiel Petralta              $13.00   71.47   $   12.00          $   204.53   $   204.53
 10/6/2019 Sadiel Petralta              $13.00   73.45   $   12.00          $   217.43   $   217.43
10/13/2019 Sadiel Petralta              $13.00   70.58   $   12.00          $   198.79   $   198.79
10/20/2019 Sadiel Petralta              $13.00   71.78   $   12.00          $   206.59   $   206.59
10/27/2019 Sadiel Petralta              $13.00   71.70   $   12.00          $   206.05   $   206.05
 11/3/2019 Sadiel Petralta              $13.00   69.68   $   12.00          $   192.94   $   192.94
11/10/2019 Sadiel Petralta              $13.00   70.65   $   12.00          $   199.23   $   199.23
11/17/2019 Sadiel Petralta              $13.00   71.83   $   12.00          $   206.92   $   206.92
11/24/2019 Sadiel Petralta              $13.00   68.78   $   12.00          $   187.09   $   187.09
 12/1/2019 Sadiel Petralta              $13.00   60.00   $   12.00          $   130.00   $   130.00
 12/8/2019 Sadiel Petralta              $13.00   72.03   $   12.00          $   208.22   $   208.22
12/15/2019 Sadiel Petralta              $13.00   72.35   $   12.00          $   210.28   $   210.28
12/22/2019 Sadiel Petralta              $13.00   71.53   $   12.00          $   204.97   $   204.97
12/29/2019 Sadiel Petralta              $13.00   58.83   $   12.00          $   122.42   $   122.42
  1/5/2020 Sadiel Petralta              $13.00   59.02   $   13.00          $   123.61   $   123.61
 1/12/2020 Sadiel Petralta              $13.00   73.32   $   13.00          $   216.56   $   216.56
 1/19/2020 Sadiel Petralta              $13.00   72.25   $   13.00          $   209.63   $   209.63
 1/26/2020 Sadiel Petralta              $13.00   71.15   $   13.00          $   202.48   $   202.48
 5/19/2019 Sandro Paloguachi            $16.00   57.48   $   12.00          $   139.87   $   139.87
 5/26/2019 Sandro Paloguachi            $16.00   57.17   $   12.00          $   137.33   $   137.33
  6/9/2019 Sandro Paloguachi            $16.00   59.67   $   12.00          $   157.33   $   157.33
 6/16/2019 Sandro Paloguachi            $16.00   60.08   $   12.00          $   160.67   $   160.67
 6/23/2019 Sandro Paloguachi            $16.00   49.32   $   12.00          $    74.53   $    74.53
 6/30/2019 Sandro Paloguachi            $16.00   62.40   $   12.00          $   179.20   $   179.20
  7/7/2019 Sandro Paloguachi            $16.00   46.43   $   12.00          $    51.47   $    51.47
 7/14/2019 Sandro Paloguachi            $16.00   59.93   $   12.00          $   159.47   $   159.47
 7/21/2019 Sandro Paloguachi            $16.00   57.33   $   12.00          $   138.67   $   138.67
 7/28/2019 Sandro Paloguachi            $16.00   54.77   $   12.00          $   118.13   $   118.13
  8/4/2019 Sandro Paloguachi            $16.00   59.78   $   12.00          $   158.27   $   158.27
 8/11/2019 Sandro Paloguachi            $16.00   64.90   $   12.00          $   199.20   $   199.20
 8/18/2019 Sandro Paloguachi            $16.00   56.45   $   12.00          $   131.60   $   131.60
 8/25/2019 Sandro Paloguachi            $16.00   64.73   $   12.00          $   197.87   $   197.87
  9/1/2019 Sandro Paloguachi            $16.00   61.87   $   12.00          $   174.93   $   174.93
  9/8/2019 Sandro Paloguachi            $16.00   55.60   $   12.00          $   124.80   $   124.80
 9/15/2019 Sandro Paloguachi            $16.00   66.33   $   12.00          $   210.67   $   210.67
 9/22/2019 Sandro Paloguachi            $16.00   57.27   $   12.00          $   138.13   $   138.13
 9/29/2019 Sandro Paloguachi            $16.00   67.83   $   12.00          $   222.67   $   222.67



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                                           Exhibit 4
                                   Westchester Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                         Hourly Hours /
 Ending                    Name                         Minimum Regular Half-Time Overtime Back
                                          Rate   Week
  Date                                                   Wage   Rate Due     Due       Wages Due

 10/6/2019 Sandro Paloguachi             $16.00   66.87   $   12.00               $   214.93   $   214.93
10/13/2019 Sandro Paloguachi             $16.00   67.25   $   12.00               $   218.00   $   218.00
10/20/2019 Sandro Paloguachi             $16.00   61.12   $   12.00               $   168.93   $   168.93
10/27/2019 Sandro Paloguachi             $16.00   61.15   $   12.00               $   169.20   $   169.20
 11/3/2019 Sandro Paloguachi             $16.00   59.85   $   12.00               $   158.80   $   158.80
11/10/2019 Sandro Paloguachi             $16.00   52.17   $   12.00               $    97.33   $    97.33
11/17/2019 Sandro Paloguachi             $16.00   61.78   $   12.00               $   174.27   $   174.27
11/24/2019 Sandro Paloguachi             $16.00   56.00   $   12.00               $   128.00   $   128.00
 12/1/2019 Sandro Paloguachi             $16.00   49.67   $   12.00               $    77.33   $    77.33
 12/8/2019 Sandro Paloguachi             $16.00   50.27   $   12.00               $    82.13   $    82.13
12/15/2019 Sandro Paloguachi             $16.00   67.62   $   12.00               $   220.93   $   220.93
12/22/2019 Sandro Paloguachi             $16.00   66.58   $   12.00               $   212.67   $   212.67
  1/5/2020 Sandro Paloguachi             $16.00   54.88   $   13.00               $   119.07   $   119.07
 1/12/2020 Sandro Paloguachi             $16.00   66.77   $   13.00               $   214.13   $   214.13
 1/19/2020 Sandro Paloguachi             $16.00   60.73   $   13.00               $   165.87   $   165.87
 1/26/2020 Sandro Paloguachi             $16.00   63.30   $   13.00               $   186.40   $   186.40
 9/17/2017 Santo Marte Rodriguez          $9.00   63.28   $   10.00   $   63.28   $   116.42   $   179.70
 9/24/2017 Santo Marte Rodriguez          $9.00   64.78   $   10.00   $   64.78   $   123.92   $   188.70
 10/1/2017 Santo Marte Rodriguez          $9.00   59.82   $   10.00   $   59.82   $    99.08   $   158.90
 10/8/2017 Santo Marte Rodriguez          $9.00   62.28   $   10.00   $   62.28   $   111.42   $   173.70
10/15/2017 Santo Marte Rodriguez          $9.00   62.82   $   10.00   $   62.82   $   114.08   $   176.90
10/22/2017 Santo Marte Rodriguez          $9.00   51.23   $   10.00   $   51.23   $    56.17   $   107.40
10/29/2017 Santo Marte Rodriguez          $9.00   62.57   $   10.00   $   62.57   $   112.83   $   175.40
 11/5/2017 Santo Marte Rodriguez          $9.00   57.08   $   10.00   $   57.08   $    85.42   $   142.50
 3/25/2018 Silverio Cruz Linares         $10.00   43.73   $   11.00   $   43.73   $    20.53   $    64.27
  4/1/2018 Silverio Cruz Linares         $10.00   58.10   $   11.00   $   58.10   $    99.55   $   157.65
  4/8/2018 Silverio Cruz Linares         $10.00   57.78   $   11.00   $   57.78   $    97.81   $   155.59
 4/15/2018 Silverio Cruz Linares         $10.00   61.85   $   11.00   $   61.85   $   120.18   $   182.03
 4/22/2018 Silverio Cruz Linares         $10.00   61.85   $   11.00   $   61.85   $   120.18   $   182.03
 4/29/2018 Silverio Cruz Linares         $10.00   62.43   $   11.00   $   62.43   $   123.38   $   185.82
  5/6/2018 Silverio Cruz Linares         $10.00   63.28   $   11.00   $   63.28   $   128.06   $   191.34
 5/13/2018 Silverio Cruz Linares         $10.00   62.12   $   11.00   $   62.12   $   121.64   $   183.76
 5/20/2018 Silverio Cruz Linares         $10.00   63.23   $   11.00   $   63.23   $   127.78   $   191.02
 5/27/2018 Silverio Cruz Linares         $10.00   63.57   $   11.00   $   63.57   $   129.62   $   193.18
  6/3/2018 Silverio Cruz Linares         $10.00   53.95   $   11.00   $   53.95   $    76.73   $   130.68
 6/10/2018 Silverio Cruz Linares         $10.00   66.00   $   11.00   $   66.00   $   143.00   $   209.00
 6/17/2018 Silverio Cruz Linares         $10.00   64.72   $   11.00   $   64.72   $   135.94   $   200.66
 6/24/2018 Silverio Cruz Linares         $10.00   64.02   $   11.00   $   64.02   $   132.09   $   196.11
  7/1/2018 Silverio Cruz Linares         $10.00   65.95   $   11.00   $   65.95   $   142.73   $   208.68
  7/8/2018 Silverio Cruz Linares         $10.00   53.67   $   11.00   $   53.67   $    75.17   $   128.83
 7/15/2018 Silverio Cruz Linares         $10.00   61.85   $   11.00   $   61.85   $   120.18   $   182.03
 7/22/2018 Silverio Cruz Linares         $10.00   58.93   $   11.00   $   58.93   $   104.13   $   163.07
 7/29/2018 Silverio Cruz Linares         $10.00   56.50   $   11.00   $   56.50   $    90.75   $   147.25
  8/5/2018 Silverio Cruz Linares         $10.00   59.80   $   11.00   $   59.80   $   108.90   $   168.70
 8/12/2018 Silverio Cruz Linares         $10.00   59.85   $   11.00   $   59.85   $   109.18   $   169.03
 8/19/2018 Silverio Cruz Linares         $10.00   60.35   $   11.00   $   60.35   $   111.93   $   172.28
 8/26/2018 Silverio Cruz Linares         $10.00   59.93   $   11.00   $   59.93   $   109.63   $   169.57
  9/2/2018 Silverio Cruz Linares         $10.00   59.65   $   11.00   $   59.65   $   108.08   $   167.73
  9/9/2018 Silverio Cruz Linares         $10.00   50.82   $   11.00   $   50.82   $    59.49   $   110.31
 9/16/2018 Silverio Cruz Linares         $10.00   55.02   $   11.00   $   55.02   $    82.59   $   137.61
 9/23/2018 Silverio Cruz Linares         $10.00   58.55   $   11.00   $   58.55   $   102.03   $   160.58



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                                            Exhibit 4
                                    Westchester Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 9/30/2018 Silverio Cruz Linares          $10.00   56.05   $   11.00   $    56.05   $    88.28   $   144.33
 10/7/2018 Silverio Cruz Linares          $10.00   61.93   $   11.00   $    61.93   $   120.63   $   182.57
10/14/2018 Silverio Cruz Linares          $10.00   59.78   $   11.00   $    59.78   $   108.81   $   168.59
10/21/2018 Silverio Cruz Linares          $10.00   57.03   $   11.00   $    57.03   $    93.68   $   150.72
10/28/2018 Silverio Cruz Linares          $10.00   53.82   $   11.00   $    53.82   $    75.99   $   129.81
 11/4/2018 Silverio Cruz Linares          $10.00   59.65   $   11.00   $    59.65   $   108.08   $   167.73
11/11/2018 Silverio Cruz Linares          $10.00   57.72   $   11.00   $    57.72   $    97.44   $   155.16
11/18/2018 Silverio Cruz Linares          $10.00   56.98   $   11.00   $    56.98   $    93.41   $   150.39
11/25/2018 Silverio Cruz Linares          $10.00   42.23   $   11.00   $    42.23   $    12.28   $    54.52
 12/2/2018 Silverio Cruz Linares          $10.00   59.82   $   11.00   $    59.82   $   108.99   $   168.81
 12/9/2018 Silverio Cruz Linares          $10.00   57.95   $   11.00   $    57.95   $    98.73   $   156.68
12/16/2018 Silverio Cruz Linares          $10.00   62.30   $   11.00   $    62.30   $   122.65   $   184.95
12/23/2018 Silverio Cruz Linares          $10.00   62.55   $   11.00   $    62.55   $   124.03   $   186.58
12/30/2018 Silverio Cruz Linares          $10.00   47.42   $   11.00   $    47.42   $    40.79   $    88.21
  1/6/2019 Silverio Cruz Linares          $10.00   49.42   $   12.00   $    98.83   $    56.50   $   155.33
 1/13/2019 Silverio Cruz Linares          $10.00   60.07   $   12.00   $   120.13   $   120.40   $   240.53
 1/20/2019 Silverio Cruz Linares          $10.00   52.88   $   12.00   $   105.77   $    77.30   $   183.07
 1/27/2019 Silverio Cruz Linares          $10.00   60.37   $   12.00   $   120.73   $   122.20   $   242.93
  2/3/2019 Silverio Cruz Linares          $10.00   55.07   $   12.00   $   110.13   $    90.40   $   200.53
 2/10/2019 Silverio Cruz Linares          $10.00   59.05   $   12.00   $   118.10   $   114.30   $   232.40
 2/17/2019 Silverio Cruz Linares          $10.00   54.18   $   12.00   $   108.37   $    85.10   $   193.47
 2/24/2019 Silverio Cruz Linares          $10.00   56.85   $   12.00   $   113.70   $   101.10   $   214.80
  3/3/2019 Silverio Cruz Linares          $10.00   51.22   $   12.00   $   102.43   $    67.30   $   169.73
 3/10/2019 Silverio Cruz Linares          $10.00   56.27   $   12.00   $   112.53   $    97.60   $   210.13
 3/17/2019 Silverio Cruz Linares          $10.00   59.15   $   12.00   $   118.30   $   114.90   $   233.20
 3/24/2019 Silverio Cruz Linares          $10.00   57.75   $   12.00   $   115.50   $   106.50   $   222.00
 3/31/2019 Silverio Cruz Linares          $10.00   58.13   $   12.00   $   116.27   $   108.80   $   225.07
  4/7/2019 Silverio Cruz Linares          $10.00   59.78   $   12.00   $   119.57   $   118.70   $   238.27
 4/14/2019 Silverio Cruz Linares          $10.00   54.65   $   12.00   $   109.30   $    87.90   $   197.20
 4/21/2019 Silverio Cruz Linares          $10.00   61.00   $   12.00   $   122.00   $   126.00   $   248.00
 4/28/2019 Silverio Cruz Linares          $10.00   60.07   $   12.00   $   120.13   $   120.40   $   240.53
  5/5/2019 Silverio Cruz Linares          $10.00   55.18   $   12.00   $   110.37   $    91.10   $   201.47
 5/12/2019 Silverio Cruz Linares          $10.00   59.08   $   12.00   $   118.17   $   114.50   $   232.67
 5/19/2019 Silverio Cruz Linares          $10.00   60.35   $   12.00   $   120.70   $   122.10   $   242.80
 5/26/2019 Silverio Cruz Linares          $10.00   58.70   $   12.00   $   117.40   $   112.20   $   229.60
  6/2/2019 Silverio Cruz Linares          $10.00   50.00   $   12.00   $   100.00   $    60.00   $   160.00
  6/9/2019 Silverio Cruz Linares          $10.00   61.07   $   12.00   $   122.13   $   126.40   $   248.53
 6/16/2019 Silverio Cruz Linares          $10.00   58.83   $   12.00   $   117.67   $   113.00   $   230.67
 6/23/2019 Silverio Cruz Linares          $10.00   59.13   $   12.00   $   118.27   $   114.80   $   233.07
 6/30/2019 Silverio Cruz Linares          $10.00   58.10   $   12.00   $   116.20   $   108.60   $   224.80
  7/7/2019 Silverio Cruz Linares          $10.00   43.60   $   12.00   $    87.20   $    21.60   $   108.80
 7/14/2019 Silverio Cruz Linares          $10.00   57.78   $   12.00   $   115.57   $   106.70   $   222.27
 7/21/2019 Silverio Cruz Linares          $10.00   58.20   $   12.00   $   116.40   $   109.20   $   225.60
 7/28/2019 Silverio Cruz Linares          $10.00   59.32   $   12.00   $   118.63   $   115.90   $   234.53
  8/4/2019 Silverio Cruz Linares          $10.00   59.93   $   12.00   $   119.87   $   119.60   $   239.47
 8/11/2019 Silverio Cruz Linares          $10.00   56.70   $   12.00   $   113.40   $   100.20   $   213.60
 8/18/2019 Silverio Cruz Linares          $10.00   57.50   $   12.00   $   115.00   $   105.00   $   220.00
 8/25/2019 Silverio Cruz Linares          $10.00   59.00   $   12.00   $   118.00   $   114.00   $   232.00
  9/1/2019 Silverio Cruz Linares          $10.00   58.87   $   12.00   $   117.73   $   113.20   $   230.93
  9/8/2019 Silverio Cruz Linares          $10.00   43.57   $   12.00   $    87.13   $    21.40   $   108.53
 9/15/2019 Silverio Cruz Linares          $10.00   56.47   $   12.00   $   112.93   $    98.80   $   211.73



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                                    Westchester Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 9/22/2019 Silverio Cruz Linares          $10.00   59.83   $   12.00   $   119.67   $   119.00   $   238.67
 9/29/2019 Silverio Cruz Linares          $10.00   62.18   $   12.00   $   124.37   $   133.10   $   257.47
 10/6/2019 Silverio Cruz Linares          $10.00   60.02   $   12.00   $   120.03   $   120.10   $   240.13
10/13/2019 Silverio Cruz Linares          $10.00   53.33   $   12.00   $   106.67   $    80.00   $   186.67
10/20/2019 Silverio Cruz Linares          $10.00   59.72   $   12.00   $   119.43   $   118.30   $   237.73
10/27/2019 Silverio Cruz Linares          $10.00   59.90   $   12.00   $   119.80   $   119.40   $   239.20
 11/3/2019 Silverio Cruz Linares          $10.00   59.82   $   12.00   $   119.63   $   118.90   $   238.53
11/10/2019 Silverio Cruz Linares          $10.00   59.58   $   12.00   $   119.17   $   117.50   $   236.67
11/17/2019 Silverio Cruz Linares          $10.00   58.77   $   12.00   $   117.53   $   112.60   $   230.13
11/24/2019 Silverio Cruz Linares          $10.00   58.52   $   12.00   $   117.03   $   111.10   $   228.13
 12/1/2019 Silverio Cruz Linares          $10.00   50.00   $   12.00   $   100.00   $    60.00   $   160.00
 12/8/2019 Silverio Cruz Linares          $10.00   57.02   $   12.00   $   114.03   $   102.10   $   216.13
12/15/2019 Silverio Cruz Linares          $10.00   59.18   $   12.00   $   118.37   $   115.10   $   233.47
12/22/2019 Silverio Cruz Linares          $10.00   58.30   $   12.00   $   116.60   $   109.80   $   226.40
12/29/2019 Silverio Cruz Linares          $10.00   45.87   $   12.00   $    91.73   $    35.20   $   126.93
  1/5/2020 Silverio Cruz Linares          $10.00   48.18   $   13.00   $   144.55   $    53.19   $   197.74
 1/12/2020 Silverio Cruz Linares          $10.00   60.28   $   13.00   $   180.85   $   131.84   $   312.69
 1/19/2020 Silverio Cruz Linares          $10.00   55.83   $   13.00   $   167.50   $   102.92   $   270.42
 1/26/2020 Silverio Cruz Linares          $10.00   57.35   $   13.00   $   172.05   $   112.78   $   284.83
  7/2/2017 Steven Agudelo                  $9.00   66.62   $   10.00   $    66.62   $   133.08   $   199.70
  7/9/2017 Steven Agudelo                  $9.00   43.17   $   10.00   $    43.17   $    15.83   $    59.00
 7/16/2017 Steven Agudelo                  $9.00   66.17   $   10.00   $    66.17   $   130.83   $   197.00
 7/23/2017 Steven Agudelo                  $9.00   65.70   $   10.00   $    65.70   $   128.50   $   194.20
 7/30/2017 Steven Agudelo                  $9.00   66.32   $   10.00   $    66.32   $   131.58   $   197.90
  8/6/2017 Steven Agudelo                  $9.00   65.65   $   10.00   $    65.65   $   128.25   $   193.90
 8/13/2017 Steven Agudelo                  $9.00   66.75   $   10.00   $    66.75   $   133.75   $   200.50
 8/20/2017 Steven Agudelo                  $9.00   66.95   $   10.00   $    66.95   $   134.75   $   201.70
 8/27/2017 Steven Agudelo                  $9.00   67.23   $   10.00   $    67.23   $   136.17   $   203.40
  9/3/2017 Steven Agudelo                  $9.00   66.90   $   10.00   $    66.90   $   134.50   $   201.40
 9/10/2017 Steven Agudelo                  $9.00   54.80   $   10.00   $    54.80   $    74.00   $   128.80
 9/17/2017 Steven Agudelo                  $9.00   67.17   $   10.00   $    67.17   $   135.83   $   203.00
 9/24/2017 Steven Agudelo                  $9.00   67.13   $   10.00   $    67.13   $   135.67   $   202.80
 10/1/2017 Steven Agudelo                  $9.00   66.87   $   10.00   $    66.87   $   134.33   $   201.20
 10/8/2017 Steven Agudelo                  $9.00   67.40   $   10.00   $    67.40   $   137.00   $   204.40
10/15/2017 Steven Agudelo                  $9.00   60.10   $   10.00   $    60.10   $   100.50   $   160.60
10/22/2017 Steven Agudelo                  $9.00   66.55   $   10.00   $    66.55   $   132.75   $   199.30
10/29/2017 Steven Agudelo                  $9.00   67.33   $   10.00   $    67.33   $   136.67   $   204.00
 11/5/2017 Steven Agudelo                  $9.00   67.13   $   10.00   $    67.13   $   135.67   $   202.80
11/12/2017 Steven Agudelo                  $9.00   65.55   $   10.00   $    65.55   $   127.75   $   193.30
11/19/2017 Steven Agudelo                  $9.00   67.60   $   10.00   $    67.60   $   138.00   $   205.60
11/26/2017 Steven Agudelo                  $9.00   54.63   $   10.00   $    54.63   $    73.17   $   127.80
 12/3/2017 Steven Agudelo                  $9.00   67.58   $   10.00   $    67.58   $   137.92   $   205.50
12/10/2017 Steven Agudelo                  $9.00   61.87   $   10.00   $    61.87   $   109.33   $   171.20
12/17/2017 Steven Agudelo                  $9.00   67.08   $   10.00   $    67.08   $   135.42   $   202.50
12/24/2017 Steven Agudelo                  $9.00   66.68   $   10.00   $    66.68   $   133.42   $   200.10
12/31/2017 Steven Agudelo                  $9.00   50.23   $   11.00   $   100.47   $    56.28   $   156.75
  1/7/2018 Steven Agudelo                  $9.00   43.02   $   11.00   $    86.03   $    16.59   $   102.63
 1/26/2020 Venancio Colin                 $11.50   57.73   $   13.00   $    86.60   $   115.27   $   201.87
 1/14/2018 Victor Peralta                 $11.00   55.12   $   11.00                $    83.14   $    83.14
 1/21/2018 Victor Peralta                 $11.00   66.22   $   11.00                $   144.19   $   144.19
 1/28/2018 Victor Peralta                 $11.00   66.88   $   11.00                $   147.86   $   147.86



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                                             Exhibit 4
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  Week                                                      State Section 7: Section 7: Total Section 7
                                           Hourly Hours /
 Ending                     Name                          Minimum Regular Half-Time Overtime Back
                                            Rate   Week
  Date                                                     Wage   Rate Due     Due       Wages Due

  2/4/2018 Victor Peralta                  $11.00   67.13   $   11.00                $   149.23   $   149.23
 1/14/2018 Victor Colin                    $10.00   44.62   $   11.00   $    44.62   $    25.39   $    70.01
 1/21/2018 Victor Colin                    $10.00   53.42   $   11.00   $    53.42   $    73.79   $   127.21
 1/28/2018 Victor Colin                    $10.00   53.15   $   11.00   $    53.15   $    72.33   $   125.48
  2/4/2018 Victor Colin                    $10.00   55.27   $   11.00   $    55.27   $    83.97   $   139.23
 2/11/2018 Victor Colin                    $10.00   53.75   $   11.00   $    53.75   $    75.63   $   129.38
 2/18/2018 Victor Colin                    $10.00   53.55   $   11.00   $    53.55   $    74.53   $   128.08
 2/25/2018 Victor Colin                    $10.00   52.23   $   11.00   $    52.23   $    67.28   $   119.52
  3/4/2018 Victor Colin                    $10.00   56.05   $   11.00   $    56.05   $    88.28   $   144.33
 3/25/2018 Victor Colin                    $10.00   52.83   $   11.00   $    52.83   $    70.58   $   123.42
  4/1/2018 Victor Colin                    $10.00   56.12   $   11.00   $    56.12   $    88.64   $   144.76
 7/23/2017 Victor Daniel Hernandez          $9.00   66.05   $   10.00   $    66.05   $   130.25   $   196.30
 7/30/2017 Victor Daniel Hernandez          $9.00   55.22   $   10.00   $    55.22   $    76.08   $   131.30
  8/6/2017 Victor Daniel Hernandez          $9.00   67.20   $   10.00   $    67.20   $   136.00   $   203.20
 8/13/2017 Victor Daniel Hernandez          $9.00   67.02   $   10.00   $    67.02   $   135.08   $   202.10
 8/20/2017 Victor Daniel Hernandez          $9.00   66.98   $   10.00   $    66.98   $   134.92   $   201.90
 8/27/2017 Victor Daniel Hernandez          $9.00   67.20   $   10.00   $    67.20   $   136.00   $   203.20
  9/3/2017 Victor Daniel Hernandez          $9.00   67.50   $   10.00   $    67.50   $   137.50   $   205.00
 9/10/2017 Victor Daniel Hernandez          $9.00   54.88   $   10.00   $    54.88   $    74.42   $   129.30
 9/17/2017 Victor Daniel Hernandez          $9.00   67.23   $   10.00   $    67.23   $   136.17   $   203.40
 9/24/2017 Victor Daniel Hernandez          $9.00   67.60   $   10.00   $    67.60   $   138.00   $   205.60
 10/1/2017 Victor Daniel Hernandez          $9.00   67.58   $   10.00   $    67.58   $   137.92   $   205.50
 10/8/2017 Victor Daniel Hernandez          $9.00   67.43   $   10.00   $    67.43   $   137.17   $   204.60
10/15/2017 Victor Daniel Hernandez          $9.00   67.67   $   10.00   $    67.67   $   138.33   $   206.00
10/22/2017 Victor Daniel Hernandez          $9.00   67.05   $   10.00   $    67.05   $   135.25   $   202.30
10/29/2017 Victor Daniel Hernandez          $9.00   65.58   $   10.00   $    65.58   $   127.92   $   193.50
 11/5/2017 Victor Daniel Hernandez          $9.00   67.22   $   10.00   $    67.22   $   136.08   $   203.30
11/12/2017 Victor Daniel Hernandez          $9.00   67.93   $   10.00   $    67.93   $   139.67   $   207.60
11/19/2017 Victor Daniel Hernandez          $9.00   67.70   $   10.00   $    67.70   $   138.50   $   206.20
11/26/2017 Victor Daniel Hernandez          $9.00   55.50   $   10.00   $    55.50   $    77.50   $   133.00
 12/3/2017 Victor Daniel Hernandez          $9.00   67.57   $   10.00   $    67.57   $   137.83   $   205.40
12/10/2017 Victor Daniel Hernandez          $9.00   59.85   $   10.00   $    59.85   $    99.25   $   159.10
12/17/2017 Victor Daniel Hernandez          $9.00   67.48   $   10.00   $    67.48   $   137.42   $   204.90
12/24/2017 Victor Daniel Hernandez          $9.00   67.05   $   10.00   $    67.05   $   135.25   $   202.30
12/31/2017 Victor Daniel Hernandez          $9.00   54.45   $   11.00   $   108.90   $    79.48   $   188.38
  1/7/2018 Victor Daniel Hernandez          $9.00   42.58   $   11.00   $    85.17   $    14.21   $    99.38
 1/14/2018 Victor Daniel Hernandez          $9.00   52.07   $   11.00   $   104.13   $    66.37   $   170.50
 1/21/2018 Victor Daniel Hernandez          $9.00   48.78   $   11.00   $    97.57   $    48.31   $   145.88
 1/28/2018 Victor Daniel Hernandez          $9.00   64.70   $   11.00   $   129.40   $   135.85   $   265.25
  2/4/2018 Victor Daniel Hernandez          $9.00   56.07   $   11.00   $   112.13   $    88.37   $   200.50
 2/18/2018 Victor Daniel Hernandez          $9.00   51.27   $   11.00   $   102.53   $    61.97   $   164.50
 2/25/2018 Victor Daniel Hernandez          $9.00   44.27   $   11.00   $    88.53   $    23.47   $   112.00
 4/15/2018 Victor Daniel Hernandez          $9.00   49.05   $   11.00   $    98.10   $    49.78   $   147.88
 4/21/2019 Victor Torres                   $12.00   55.85   $   12.00                $    95.10   $    95.10
 4/28/2019 Victor Torres                   $12.00   48.68   $   12.00                $    52.10   $    52.10
  5/5/2019 Victor Torres                   $12.00   56.07   $   12.00                $    96.40   $    96.40
 5/19/2019 Victor Torres                   $12.00   56.18   $   12.00                $    97.10   $    97.10
 5/26/2019 Victor Torres                   $12.00   56.47   $   12.00                $    98.80   $    98.80
  6/2/2019 Victor Torres                   $12.00   46.60   $   12.00                $    39.60   $    39.60
 6/23/2019 Victor Torres                   $12.00   55.73   $   12.00                $    94.40   $    94.40
 6/30/2019 Victor Torres                   $12.00   56.87   $   12.00                $   101.20   $   101.20



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                                    Westchester Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 7/14/2019 Victor Torres                  $12.50   55.62   $   12.00               $    97.60   $    97.60
 7/21/2019 Victor Torres                  $12.50   51.20   $   12.00               $    70.00   $    70.00
 7/28/2019 Victor Torres                  $12.50   55.38   $   12.00               $    96.15   $    96.15
  8/4/2019 Victor Torres                  $12.50   54.82   $   12.00               $    92.60   $    92.60
 8/11/2019 Victor Torres                  $12.50   55.17   $   12.00               $    94.79   $    94.79
 8/18/2019 Victor Torres                  $12.50   55.85   $   12.00               $    99.06   $    99.06
 8/25/2019 Victor Torres                  $12.50   55.60   $   12.00               $    97.50   $    97.50
  9/1/2019 Victor Torres                  $12.50   55.72   $   12.00               $    98.23   $    98.23
  9/8/2019 Victor Torres                  $12.50   52.88   $   12.00               $    80.52   $    80.52
 9/15/2019 Victor Torres                  $12.50   55.78   $   12.00               $    98.65   $    98.65
 9/22/2019 Victor Torres                  $12.50   54.80   $   12.00               $    92.50   $    92.50
 9/29/2019 Victor Torres                  $12.50   49.83   $   12.00               $    61.46   $    61.46
 10/6/2019 Victor Torres                  $12.50   56.43   $   12.00               $   102.71   $   102.71
10/13/2019 Victor Torres                  $12.50   44.67   $   12.00               $    29.17   $    29.17
 11/3/2019 Victor Torres                  $12.50   48.80   $   12.00               $    55.00   $    55.00
11/10/2019 Victor Torres                  $12.50   56.15   $   12.00               $   100.94   $   100.94
11/17/2019 Victor Torres                  $12.50   57.80   $   12.00               $   111.25   $   111.25
11/24/2019 Victor Torres                  $12.50   45.37   $   12.00               $    33.54   $    33.54
 12/1/2019 Victor Torres                  $12.50   46.28   $   12.00               $    39.27   $    39.27
 4/14/2019 Wadis A. Mendez                $13.00   61.72   $   12.00               $   141.16   $   141.16
 4/21/2019 Wadis A. Mendez                $13.00   63.08   $   12.00               $   150.04   $   150.04
 4/28/2019 Wadis A. Mendez                $13.00   63.95   $   12.00               $   155.68   $   155.68
  5/5/2019 Wadis A. Mendez                $13.00   64.95   $   12.00               $   162.18   $   162.18
 5/12/2019 Wadis A. Mendez                $13.00   61.32   $   12.00               $   138.56   $   138.56
 5/19/2019 Wadis A. Mendez                $13.00   61.80   $   12.00               $   141.70   $   141.70
 5/26/2019 Wadis A. Mendez                $13.00   61.58   $   12.00               $   140.29   $   140.29
  6/2/2019 Wadis A. Mendez                $13.00   61.92   $   12.00               $   142.46   $   142.46
  6/9/2019 Wadis A. Mendez                $13.00   62.05   $   12.00               $   143.33   $   143.33
 6/16/2019 Wadis A. Mendez                $13.00   62.23   $   12.00               $   144.52   $   144.52
 6/23/2019 Wadis A. Mendez                $13.00   62.03   $   12.00               $   143.22   $   143.22
 6/30/2019 Wadis A. Mendez                $13.00   61.23   $   12.00               $   138.02   $   138.02
  7/7/2019 Wadis A. Mendez                $13.00   58.23   $   12.00               $   118.52   $   118.52
 7/14/2019 Wadis A. Mendez                $13.00   55.75   $   12.00               $   102.38   $   102.38
 7/21/2019 Wadis A. Mendez                $13.00   60.35   $   12.00               $   132.28   $   132.28
 7/28/2019 Wadis A. Mendez                $13.00   59.55   $   12.00               $   127.08   $   127.08
 8/18/2019 Wadis A. Mendez                $13.00   51.22   $   12.00               $    72.91   $    72.91
  9/8/2019 Wadis A. Mendez                $13.00   59.13   $   12.00               $   124.37   $   124.37
 9/15/2019 Wadis A. Mendez                $13.00   59.70   $   12.00               $   128.05   $   128.05
 9/22/2019 Wadis A. Mendez                $13.00   49.30   $   12.00               $    60.45   $    60.45
 9/29/2019 Wadis A. Mendez                $13.00   54.38   $   12.00               $    93.49   $    93.49
 10/6/2019 Wadis A. Mendez                $13.00   61.40   $   12.00               $   139.10   $   139.10
10/13/2019 Wadis A. Mendez                $13.00   59.43   $   12.00               $   126.32   $   126.32
 1/14/2018 Wilbert Taveras                 $9.50   61.75   $   11.00   $   92.63   $   119.63   $   212.25
 1/21/2018 Wilbert Taveras                 $9.50   63.38   $   11.00   $   95.08   $   128.61   $   223.68
 9/15/2019 Wilbert Taveras                $11.00   68.03   $   12.00   $   68.03   $   168.20   $   236.23
 9/22/2019 Wilbert Taveras                $11.00   67.48   $   12.00   $   67.48   $   164.90   $   232.38
 9/29/2019 Wilbert Taveras                $11.00   68.17   $   12.00   $   68.17   $   169.00   $   237.17
 10/6/2019 Wilbert Taveras                $11.00   67.80   $   12.00   $   67.80   $   166.80   $   234.60
10/13/2019 Wilbert Taveras                $11.00   67.17   $   12.00   $   67.17   $   163.00   $   230.17
10/20/2019 Wilbert Taveras                $13.00   61.40   $   12.00               $   139.10   $   139.10
10/27/2019 Wilbert Taveras                $13.00   62.05   $   12.00               $   143.33   $   143.33



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                                            Exhibit 4
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  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                      Name                        Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 11/3/2019 Wilbert Taveras                $13.00   61.80   $   12.00                $   141.70   $   141.70
11/10/2019 Wilbert Taveras                $13.00   61.53   $   12.00                $   139.97   $   139.97
11/17/2019 Wilbert Taveras                $13.00   61.57   $   12.00                $   140.18   $   140.18
11/24/2019 Wilbert Taveras                $13.00   62.08   $   12.00                $   143.54   $   143.54
 12/1/2019 Wilbert Taveras                $13.00   51.02   $   12.00                $    71.61   $    71.61
 12/8/2019 Wilbert Taveras                $13.00   60.08   $   12.00                $   130.54   $   130.54
12/15/2019 Wilbert Taveras                $11.00   67.58   $   12.00   $    67.58   $   165.50   $   233.08
12/22/2019 Wilbert Taveras                $11.00   68.20   $   12.00   $    68.20   $   169.20   $   237.40
12/29/2019 Wilbert Taveras                $11.00   54.12   $   12.00   $    54.12   $    84.70   $   138.82
  1/5/2020 Wilbert Taveras                $11.00   55.82   $   13.00   $   111.63   $   102.81   $   214.44
 1/12/2020 Wilbert Taveras                $11.00   68.35   $   13.00   $   136.70   $   184.28   $   320.98
 1/19/2020 Wilbert Taveras                $11.00   65.58   $   13.00   $   131.17   $   166.29   $   297.46
 1/26/2020 Wilbert Taveras                $11.00   64.98   $   13.00   $   129.97   $   162.39   $   292.36
12/23/2018 Wilfredo Gross                  $9.50   64.95   $   11.00   $    97.43   $   137.23   $   234.65
12/30/2018 Wilfredo Gross                  $9.50   51.47   $   11.00   $    77.20   $    63.07   $   140.27
  1/6/2019 Wilfredo Gross                  $9.50   54.13   $   12.00   $   135.33   $    84.80   $   220.13
 1/13/2019 Wilfredo Gross                  $9.50   64.93   $   12.00   $   162.33   $   149.60   $   311.93
 1/20/2019 Wilfredo Gross                  $9.50   64.92   $   12.00   $   162.29   $   149.50   $   311.79
 1/27/2019 Wilfredo Gross                  $9.50   65.97   $   12.00   $   164.92   $   155.80   $   320.72
  2/3/2019 Wilfredo Gross                  $9.50   59.35   $   12.00   $   148.38   $   116.10   $   264.48
 2/10/2019 Wilfredo Gross                  $9.50   66.57   $   12.00   $   166.42   $   159.40   $   325.82
 2/17/2019 Wilfredo Gross                  $9.50   63.52   $   12.00   $   158.79   $   141.10   $   299.89
 2/24/2019 Wilfredo Gross                  $9.50   67.08   $   12.00   $   167.71   $   162.50   $   330.21
  3/3/2019 Wilfredo Gross                  $9.50   65.07   $   12.00   $   162.67   $   150.40   $   313.07
 3/10/2019 Wilfredo Gross                  $9.50   64.73   $   12.00   $   161.83   $   148.40   $   310.23
 3/17/2019 Wilfredo Gross                  $9.50   65.95   $   12.00   $   164.88   $   155.70   $   320.58
 3/24/2019 Wilfredo Gross                  $9.50   64.97   $   12.00   $   162.42   $   149.80   $   312.22
 3/31/2019 Wilfredo Gross                  $9.50   70.17   $   12.00   $   175.42   $   181.00   $   356.42
  4/7/2019 Wilfredo Gross                  $9.50   68.15   $   12.00   $   170.38   $   168.90   $   339.28
 4/14/2019 Wilfredo Gross                  $9.50   68.83   $   12.00   $   172.08   $   173.00   $   345.08
 4/21/2019 Wilfredo Gross                  $9.50   69.28   $   12.00   $   173.21   $   175.70   $   348.91
 4/28/2019 Wilfredo Gross                  $9.50   70.02   $   12.00   $   175.04   $   180.10   $   355.14
  5/5/2019 Wilfredo Gross                  $9.50   70.25   $   12.00   $   175.63   $   181.50   $   357.13
 5/12/2019 Wilfredo Gross                  $9.50   66.70   $   12.00   $   166.75   $   160.20   $   326.95
 5/19/2019 Wilfredo Gross                  $9.50   66.62   $   12.00   $   166.54   $   159.70   $   326.24
 5/26/2019 Wilfredo Gross                  $9.50   68.57   $   12.00   $   171.42   $   171.40   $   342.82
  6/2/2019 Wilfredo Gross                  $9.50   58.45   $   12.00   $   146.13   $   110.70   $   256.83
  6/9/2019 Wilfredo Gross                  $9.50   70.08   $   12.00   $   175.21   $   180.50   $   355.71
 6/16/2019 Wilfredo Gross                  $9.50   69.27   $   12.00   $   173.17   $   175.60   $   348.77
 6/23/2019 Wilfredo Gross                  $9.50   68.87   $   12.00   $   172.17   $   173.20   $   345.37
 6/30/2019 Wilfredo Gross                  $9.50   69.87   $   12.00   $   174.67   $   179.20   $   353.87
  7/7/2019 Wilfredo Gross                 $10.00   56.37   $   12.00   $   112.73   $    98.20   $   210.93
 7/14/2019 Wilfredo Gross                 $10.00   65.88   $   12.00   $   131.77   $   155.30   $   287.07
 7/21/2019 Wilfredo Gross                 $10.00   68.90   $   12.00   $   137.80   $   173.40   $   311.20
 7/28/2019 Wilfredo Gross                 $10.00   68.62   $   12.00   $   137.23   $   171.70   $   308.93
  8/4/2019 Wilfredo Gross                 $10.00   68.75   $   12.00   $   137.50   $   172.50   $   310.00
 8/11/2019 Wilfredo Gross                 $10.00   68.78   $   12.00   $   137.57   $   172.70   $   310.27
 8/18/2019 Wilfredo Gross                 $10.00   68.70   $   12.00   $   137.40   $   172.20   $   309.60
 8/25/2019 Wilfredo Gross                 $10.00   68.70   $   12.00   $   137.40   $   172.20   $   309.60
  9/1/2019 Wilfredo Gross                 $10.00   68.38   $   12.00   $   136.77   $   170.30   $   307.07
  9/8/2019 Wilfredo Gross                 $10.00   56.05   $   12.00   $   112.10   $    96.30   $   208.40



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                                    Westchester Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                          Hourly Hours /
 Ending                     Name                         Minimum Regular Half-Time Overtime Back
                                           Rate   Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 9/15/2019 Wilfredo Gross                 $10.00   67.48   $   12.00   $   134.97   $   164.90   $   299.87
 9/22/2019 Wilfredo Gross                 $10.00   67.87   $   12.00   $   135.73   $   167.20   $   302.93
 9/29/2019 Wilfredo Gross                 $10.00   68.45   $   12.00   $   136.90   $   170.70   $   307.60
 10/6/2019 Wilfredo Gross                 $10.00   69.17   $   12.00   $   138.33   $   175.00   $   313.33
10/13/2019 Wilfredo Gross                 $10.00   67.40   $   12.00   $   134.80   $   164.40   $   299.20
10/20/2019 Wilfredo Gross                 $13.00   61.47   $   12.00                $   139.53   $   139.53
10/27/2019 Wilfredo Gross                 $13.00   62.48   $   12.00                $   146.14   $   146.14
 11/3/2019 Wilfredo Gross                 $13.00   62.25   $   12.00                $   144.63   $   144.63
11/10/2019 Wilfredo Gross                 $13.00   62.38   $   12.00                $   145.49   $   145.49
11/17/2019 Wilfredo Gross                 $13.00   62.37   $   12.00                $   145.38   $   145.38
11/24/2019 Wilfredo Gross                 $13.00   62.35   $   12.00                $   145.28   $   145.28
 12/1/2019 Wilfredo Gross                 $13.00   51.52   $   12.00                $    74.86   $    74.86
 12/8/2019 Wilfredo Gross                 $13.00   60.52   $   12.00                $   133.36   $   133.36
12/15/2019 Wilfredo Gross                 $10.00   68.15   $   12.00   $   136.30   $   168.90   $   305.20
12/22/2019 Wilfredo Gross                 $10.00   68.30   $   12.00   $   136.60   $   169.80   $   306.40
12/29/2019 Wilfredo Gross                 $10.00   54.18   $   12.00   $   108.37   $    85.10   $   193.47
  1/5/2020 Wilfredo Gross                 $10.00   55.82   $   13.00   $   167.45   $   102.81   $   270.26
 1/12/2020 Wilfredo Gross                 $10.00   68.33   $   13.00   $   205.00   $   184.17   $   389.17
 1/19/2020 Wilfredo Gross                 $10.00   67.92   $   13.00   $   203.75   $   181.46   $   385.21
 1/26/2020 Wilfredo Gross                 $10.00   67.53   $   13.00   $   202.60   $   178.97   $   381.57
 8/13/2017 Wilson Antonio Ynfante          $9.00   69.92   $   10.00   $    69.92   $   149.58   $   219.50
 8/20/2017 Wilson Antonio Ynfante          $9.00   69.73   $   10.00   $    69.73   $   148.67   $   218.40
 8/27/2017 Wilson Antonio Ynfante          $9.00   70.32   $   10.00   $    70.32   $   151.58   $   221.90
  9/3/2017 Wilson Antonio Ynfante          $9.00   69.70   $   10.00   $    69.70   $   148.50   $   218.20
 9/10/2017 Wilson Antonio Ynfante          $9.00   58.12   $   10.00   $    58.12   $    90.58   $   148.70
 9/17/2017 Wilson Antonio Ynfante          $9.00   68.95   $   10.00   $    68.95   $   144.75   $   213.70
 9/24/2017 Wilson Antonio Ynfante          $9.00   69.68   $   10.00   $    69.68   $   148.42   $   218.10
 10/1/2017 Wilson Antonio Ynfante          $9.00   69.57   $   10.00   $    69.57   $   147.83   $   217.40
 10/8/2017 Wilson Antonio Ynfante          $9.00   70.73   $   10.00   $    70.73   $   153.67   $   224.40
10/15/2017 Wilson Antonio Ynfante          $9.00   48.53   $   10.00   $    48.53   $    42.67   $    91.20
12/23/2018 Yhan Carlos Almanzar            $9.50   49.08   $   11.00   $    73.63   $    49.96   $   123.58
12/30/2018 Yhan Carlos Almanzar            $9.50   40.42   $   11.00   $    60.63   $     2.29   $    62.92
 5/13/2018 Yoel Diaz                       $9.50   66.77   $   11.00   $   100.15   $   147.22   $   247.37
 5/20/2018 Yoel Diaz                       $9.50   66.93   $   11.00   $   100.40   $   148.13   $   248.53
 5/27/2018 Yoel Diaz                       $9.50   70.05   $   11.00   $   105.08   $   165.28   $   270.35
  6/3/2018 Yoel Diaz                       $9.50   59.27   $   11.00   $    88.90   $   105.97   $   194.87
 6/10/2018 Yoel Diaz                       $9.50   72.25   $   11.00   $   108.38   $   177.38   $   285.75
 6/17/2018 Yoel Diaz                       $9.50   71.40   $   11.00   $   107.10   $   172.70   $   279.80
 6/24/2018 Yoel Diaz                       $9.50   70.92   $   11.00   $   106.38   $   170.04   $   276.42
  7/1/2018 Yoel Diaz                       $9.50   71.35   $   11.00   $   107.03   $   172.43   $   279.45
  7/8/2018 Yoel Diaz                       $9.50   46.93   $   11.00   $    70.40   $    38.13   $   108.53
 7/15/2018 Yoel Diaz                       $9.50   57.23   $   11.00   $    85.85   $    94.78   $   180.63
 7/22/2018 Yoel Diaz                       $9.50   69.30   $   11.00   $   103.95   $   161.15   $   265.10
 7/29/2018 Yoel Diaz                      $11.00   44.32   $   11.00                $    23.74   $    23.74
  8/5/2018 Yoel Diaz                      $11.00   69.02   $   11.00                $   159.59   $   159.59
 8/12/2018 Yoel Diaz                      $11.00   68.47   $   11.00                $   156.57   $   156.57
 8/19/2018 Yoel Diaz                      $11.00   68.95   $   11.00                $   159.23   $   159.23
 8/26/2018 Yoel Diaz                      $11.00   68.12   $   11.00                $   154.64   $   154.64
  9/2/2018 Yoel Diaz                      $11.00   70.93   $   11.00                $   170.13   $   170.13
  9/9/2018 Yoel Diaz                      $11.00   57.67   $   11.00                $    97.17   $    97.17
 9/16/2018 Yoel Diaz                      $11.00   69.45   $   11.00                $   161.98   $   161.98



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                                        Exhibit 4
                                Westchester Computations


  Week                                                 State Section 7: Section 7: Total Section 7
                                      Hourly Hours /
 Ending                Name                          Minimum Regular Half-Time Overtime Back
                                       Rate   Week
  Date                                                Wage   Rate Due     Due       Wages Due

 9/23/2018 Yoel Diaz                  $11.00    69.52   $   11.00               $   162.34   $   162.34
 9/30/2018 Yoel Diaz                  $11.00    70.20   $   11.00               $   166.10   $   166.10
 10/7/2018 Yoel Diaz                  $11.00    69.37   $   11.00               $   161.52   $   161.52
10/14/2018 Yoel Diaz                  $11.00    69.60   $   11.00               $   162.80   $   162.80
10/21/2018 Yoel Diaz                  $11.00    70.70   $   11.00               $   168.85   $   168.85
10/28/2018 Yoel Diaz                  $11.00    71.00   $   11.00               $   170.50   $   170.50
 11/4/2018 Yoel Diaz                  $11.00    70.18   $   11.00               $   166.01   $   166.01
11/11/2018 Yoel Diaz                  $11.00    70.57   $   11.00               $   168.12   $   168.12
11/18/2018 Yoel Diaz                  $11.00    68.85   $   11.00               $   158.68   $   158.68
11/25/2018 Yoel Diaz                  $11.00    58.70   $   11.00               $   102.85   $   102.85
 12/2/2018 Yoel Diaz                  $11.00    72.08   $   11.00               $   176.46   $   176.46
 12/9/2018 Yoel Diaz                  $11.00    71.22   $   11.00               $   171.69   $   171.69
12/16/2018 Yoel Diaz                  $11.00    70.75   $   11.00               $   169.13   $   169.13
12/23/2018 Yoel Diaz                  $11.00    71.55   $   11.00               $   173.53   $   173.53
12/30/2018 Yoel Diaz                  $11.00    54.25   $   11.00               $    78.38   $    78.38
  1/6/2019 Yoel Diaz                  $11.00    57.77   $   12.00   $   57.77   $   106.60   $   164.37
 1/13/2019 Yoel Diaz                  $11.00    70.57   $   12.00   $   70.57   $   183.40   $   253.97
 1/20/2019 Yoel Diaz                  $11.00    71.87   $   12.00   $   71.87   $   191.20   $   263.07
 1/27/2019 Yoel Diaz                  $11.00    68.93   $   12.00   $   68.93   $   173.60   $   242.53
  2/3/2019 Yoel Diaz                  $11.00    73.37   $   12.00   $   73.37   $   200.20   $   273.57
 2/10/2019 Yoel Diaz                  $11.00    72.63   $   12.00   $   72.63   $   195.80   $   268.43
 2/17/2019 Yoel Diaz                  $11.00    69.38   $   12.00   $   69.38   $   176.30   $   245.68
 3/31/2019 Yoel Diaz                  $11.00    47.72   $   12.00   $   47.72   $    46.30   $    94.02
  4/7/2019 Yoel Diaz                  $11.00    72.60   $   12.00   $   72.60   $   195.60   $   268.20
 4/14/2019 Yoel Diaz                  $11.00    73.98   $   12.00   $   73.98   $   203.90   $   277.88
 4/21/2019 Yoel Diaz                  $11.00    73.95   $   12.00   $   73.95   $   203.70   $   277.65
 4/28/2019 Yoel Diaz                  $11.00    74.42   $   12.00   $   74.42   $   206.50   $   280.92
  5/5/2019 Yoel Diaz                  $11.00    63.47   $   12.00   $   63.47   $   140.80   $   204.27
 5/12/2019 Yoel Diaz                  $11.00    73.45   $   12.00   $   73.45   $   200.70   $   274.15
 5/19/2019 Yoel Diaz                  $11.00    74.82   $   12.00   $   74.82   $   208.90   $   283.72
 5/26/2019 Yoel Diaz                  $11.00    73.07   $   12.00   $   73.07   $   198.40   $   271.47
  6/2/2019 Yoel Diaz                  $11.00    62.62   $   12.00   $   62.62   $   135.70   $   198.32
  6/9/2019 Yoel Diaz                  $11.00    73.27   $   12.00   $   73.27   $   199.60   $   272.87
 6/16/2019 Yoel Diaz                  $11.00    61.68   $   12.00   $   61.68   $   130.10   $   191.78
 6/23/2019 Yoel Diaz                  $11.00    72.32   $   12.00   $   72.32   $   193.90   $   266.22
 6/30/2019 Yoel Diaz                  $11.00    72.70   $   12.00   $   72.70   $   196.20   $   268.90
  7/7/2019 Yoel Diaz                  $12.00    60.62   $   12.00               $   123.70   $   123.70
 7/14/2019 Yoel Diaz                  $12.00    72.10   $   12.00               $   192.60   $   192.60
 7/21/2019 Yoel Diaz                  $12.00    72.80   $   12.00               $   196.80   $   196.80
 7/28/2019 Yoel Diaz                  $12.00    73.03   $   12.00               $   198.20   $   198.20
  8/4/2019 Yoel Diaz                  $12.00    72.58   $   12.00               $   195.50   $   195.50
 8/11/2019 Yoel Diaz                  $12.00    72.43   $   12.00               $   194.60   $   194.60
 8/18/2019 Yoel Diaz                  $12.00    71.90   $   12.00               $   191.40   $   191.40
 8/25/2019 Yoel Diaz                  $12.00    71.38   $   12.00               $   188.30   $   188.30
  9/1/2019 Yoel Diaz                  $12.00    71.52   $   12.00               $   189.10   $   189.10
  9/8/2019 Yoel Diaz                  $12.00    59.55   $   12.00               $   117.30   $   117.30
 9/15/2019 Yoel Diaz                  $12.00    71.83   $   12.00               $   191.00   $   191.00
 9/22/2019 Yoel Diaz                  $12.00    73.22   $   12.00               $   199.30   $   199.30
 9/29/2019 Yoel Diaz                  $12.00    71.83   $   12.00               $   191.00   $   191.00
 10/6/2019 Yoel Diaz                  $12.00    73.85   $   12.00               $   203.10   $   203.10
10/13/2019 Yoel Diaz                  $12.00    71.00   $   12.00               $   186.00   $   186.00



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                                         Exhibit 4
                                 Westchester Computations


  Week                                                  State Section 7: Section 7: Total Section 7
                                       Hourly Hours /
 Ending                   Name                        Minimum Regular Half-Time Overtime Back
                                        Rate   Week
  Date                                                 Wage   Rate Due     Due       Wages Due

10/20/2019 Yoel Diaz                   $12.00    72.72   $   12.00               $   196.30   $   196.30
10/27/2019 Yoel Diaz                   $12.00    72.15   $   12.00               $   192.90   $   192.90
 11/3/2019 Yoel Diaz                   $12.00    73.03   $   12.00               $   198.20   $   198.20
11/10/2019 Yoel Diaz                   $12.00    71.98   $   12.00               $   191.90   $   191.90
11/17/2019 Yoel Diaz                   $12.00    71.83   $   12.00               $   191.00   $   191.00
11/24/2019 Yoel Diaz                   $12.00    71.58   $   12.00               $   189.50   $   189.50
 12/1/2019 Yoel Diaz                   $12.00    60.40   $   12.00               $   122.40   $   122.40
 12/8/2019 Yoel Diaz                   $12.00    72.10   $   12.00               $   192.60   $   192.60
12/15/2019 Yoel Diaz                   $12.00    72.37   $   12.00               $   194.20   $   194.20
12/22/2019 Yoel Diaz                   $12.00    71.53   $   12.00               $   189.20   $   189.20
12/29/2019 Yoel Diaz                   $12.00    59.25   $   12.00               $   115.50   $   115.50
  1/5/2020 Yoel Diaz                   $12.00    59.10   $   13.00   $   59.10   $   124.15   $   183.25
 1/12/2020 Yoel Diaz                   $12.00    73.32   $   13.00   $   73.32   $   216.56   $   289.88
 1/19/2020 Yoel Diaz                   $12.00    72.23   $   13.00   $   72.23   $   209.52   $   281.75
 1/26/2020 Yoel Diaz                   $12.00    71.52   $   13.00   $   71.52   $   204.86   $   276.38
  9/2/2018 Yordany Sosa                $10.00    62.45   $   11.00   $   62.45   $   123.48   $   185.93
  9/9/2018 Yordany Sosa                $10.00    50.10   $   11.00   $   50.10   $    55.55   $   105.65
 9/16/2018 Yordany Sosa                $10.00    61.57   $   11.00   $   61.57   $   118.62   $   180.18
 9/23/2018 Yordany Sosa                $10.00    61.63   $   11.00   $   61.63   $   118.98   $   180.62
 9/30/2018 Yordany Sosa                $10.00    63.82   $   11.00   $   63.82   $   130.99   $   194.81
 10/7/2018 Yordany Sosa                $10.00    54.47   $   11.00   $   54.47   $    79.57   $   134.03
10/14/2018 Yordany Sosa                $10.00    46.62   $   11.00   $   46.62   $    36.39   $    83.01
10/21/2018 Yordany Sosa                $10.00    62.68   $   11.00   $   62.68   $   124.76   $   187.44
 11/4/2018 Yordany Sosa                $10.00    49.25   $   11.00   $   49.25   $    50.88   $   100.13
11/11/2018 Yordany Sosa                $10.00    50.60   $   11.00   $   50.60   $    58.30   $   108.90
11/18/2018 Yordany Sosa                $10.00    45.62   $   11.00   $   45.62   $    30.89   $    76.51
11/25/2018 Yordany Sosa                $10.00    46.93   $   11.00   $   46.93   $    38.13   $    85.07




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